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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                             §
                                                       § Case No. 23-34815 (JPN)
    GALLERIA 2425 Owner, LLC                           §
                                                       § Chapter 11
                     Debtor.                           §

             DECLARATION OF MICHAEL C. CARTER IN SUPPORT OF
        CONFIRMATION OF NATIONAL BANK OF KUWAIT S.A.K.P., NEW YORK
          BRANCH’S CHAPTER 11 PLAN OF LIQUIDATION OF THE DEBTOR

             I, Michael C. Carter, hereby declare under penalty of perjury:

             1.     I am the Vice President of National Bank of Kuwait, S.A.K.P.’s New York Branch

(“NBK”) and I also serve as the relationship manager for Galleria 2425 Owner, LLC (the

“Debtor”).

             2.     I submit this declaration (this “Declaration”) in support of the Memorandum of Law

(the “Confirmation Brief”) in Support of Confirmation of the Chapter 11 Plan of Liquidation of

the Debtor (the “Plan”). 1

             3.     Except as otherwise indicated herein, all facts set forth in this Declaration are based

on my personal knowledge of the Debtor’s operations and finances, information learned from my

review of relevant documents, including documents and other information supplied to me, or my

opinion based on my personal experience, knowledge, and information concerning the Debtor’s

operations and financial condition.




1
     Capitalized terms used but not defined in this Declaration shall have the meanings given those terms in the Plan
     and the Confirmation Brief, as applicable.


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       4.       I am over the age of 18 and am authorized to submit this Declaration on behalf of

NBK. If called to testify, I could and would testify competently to the statements set forth in this

Declaration, as the information in this Declaration is accurate to the best of my knowledge.

                                PROFESSIONAL QUALIFICATIONS

       5.       I obtained my Bachelor of Arts degree from Trinity College-Hartford and a Master

of Business Administration (MBA) degree with a focus on Accounting and Finance from

Columbia Business School. I joined NBK as its Vice President and Head of Real Estate Lending

in May 2018. Before joining NBK, I served in various senior positions, including Head of New

York Representative Office and Head of US Real Estate Finance at HSH Nordbank (2006-2017),

Senior Vice President at Aareal Bank (2002-2006), Senior Vice President at Forest City Ratner

Companies (1999-2002), Senior Vice President at Credit Lyonnais (1992-1997) and Assistant Vice

President at Bank of New York (1988-1992).

       6.       I have managed a team of loan originators and credit analysts. My professional

experience includes financial structuring, portfolio management, credit analysis, asset

management, foreclosure, investment banking, property development, loan origination, loan

structuring, portfolio management, non-performing loans, debt restructuring, loan workouts, loan

sales, mezzanine loans, loan syndication, subordinate debt, senior debt, construction loans, and

foreclosures.

                                          BACKGROUND

       7.       This case involves a single real estate asset located at 2425 West Loop South,

Houston, Texas 77027 (the “Property”). Additional factual background about this case and the

history between the Debtor and NBK is set forth in detail in the National Bank of Kuwait, S.A.K.P.

New York Branch’s Motion Pursuant to 11 U.S.C. § 1112(b) to Convert Chapter 11 Case to

Chapter 7. See ECF No. 72.


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                                        LIQUIDATION PLAN

       8.      The Plan is based on the sale of Property at a public auction scheduled for June 18,

2024. The Trustee will conduct the sale under the supervision of this Court and the value of the

Property will be determined by the winning bid at auction. Additional information about the public

auction is set forth in the Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving

Procedures for the Sale of Property Free and Clear of All Liens, Claims and Encumbrances; (II)

Scheduling an Auction; (III) Authorizing Entry Into the Stalking Horse Purchase Agreement; (IV)

Approving Assumption and Assignment Procedures; (V) Approving Form of Notice; and (VI)

Granting Related Relief (the “Sale Procedure Motion”) See ECF No. 188.

       9.      As described in the Confirmation Brief and Sale Procedure Motion, pursuant to the

Stalking Horse Agreement, NBK has agreed to purchase the Property for $18,600,000 by way of

a credit bid, subject to (i) higher and better offers at a public auction, and (ii) outstanding claims

secured by ad valorem tax liens which will be paid under the Plan.

       10.     The Plan provides the following recoveries for creditors:

               Class 1: Other Secured Claims. Each Holder of an Allowed Other Secured
               Claim will receive Cash in an amount equal to the Allowed amount of such
               Claim or, at the discretion of the Liquidation Trustee, shall be given the
               property securing its claim in full satisfaction of that claim.

               Class 2: Other Priority Claims. Each Holder of an Allowed Other Priority
               Claim will receive Cash in an amount equal to the Allowed amount of such
               Claim.

               Class 3: NBK Tax Claim. The Holder of an Allowed NBK Tax Claim will
               receive Cash equal to the Allowed amount of such Claim if NBK is not the
               Purchaser of the Property. However, if NBK is the Purchaser, the Holder of
               a Claim in Class 3 will not receive a distribution on account of such Claim.

               Class 4: NBK Secured Claim. The Holder of an Allowed NBK Secured
               Claim will not receive any distribution if NBK is the Purchaser of the
               Property. If NBK is not the Purchaser, the Holder of such Claim will receive
               in full and final satisfaction of the NBK Secured Claim: (x) the Remaining



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              Cash and (y) any excess proceeds after payment of the Distribution Account
              Claims.

              Class 5(a): Trade General Unsecured Claims. Each Holder of an Allowed
              Trade General Unsecured Claim will receive (x) Cash equal to 70% of the
              Allowed amount of such Claim, and (y) a pro-rata share of the Liquidation
              Trust Assets.

              Class 5(b): Other General Unsecured Claims. Each Holder of an Allowed
              Other General Unsecured Claim will receive a pro-rata share of the
              Liquidation Trust Assets; provided, however, NBK will have an Other
              General Unsecured Claim equal to 90% of the Allowed amount of the NBK
              Deficiency Claim as determined by the Successful Bid and in accordance
              with section 506 of the Bankruptcy Code.

              Class 6: Insider Claims. Each Holder of an Insider Claim will not receive
              or retain any property under the Plan on account of such Insider Claims.

              Class 7: Subordinated Claims. Each Holder of a Subordinated Claim will
              not receive or retain any property under the Plan on account of such
              Subordinated Claims.

              Class 8: Interests. Each Holder of an Interest in the Debtor will not receive
              or retain any property under the Plan on account of such Interests.

       11.    If NBK is not the Successful Bidder, then the sale proceeds of the Property will be

used first to pay (i) Allowed Administrative Claims (including any commission owed to the

Broker), (ii) Allowed Priority Tax Claims, (iii) Allowed Other Secured Claims (which includes a

Claim of a governmental unit and Caz Creek TX, LLC for the payment of ad valorem real estate

taxes that is secured by the Property), (iv) Allowed Other Priority Claims, (v) the Allowed NBK

Tax Claim, and (vi) 70% of the Allowed Amount of Trade General Unsecured Claims. The total

amount of these payments together with $150,000 to fund the Liquidation Trust is estimated to be

$6.2 million, and the balance will be paid to NBK on the NBK Secured Claim.

       12.    If NBK is the Successful Bidder through its credit bid, NBK will contribute cash to

the estate in the amounts necessary to pay (i) Allowed Administrative Claims (including any

commission owed to the Broker), (ii) Allowed Priority Tax Claims, (iii) Allowed Other Secured




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Claims (which includes a Claim of a governmental unit and Caz Creek TX, LLC for the payment

of ad valorem real estate taxes that is secured by the Property), (iv) Allowed Other Priority Claims,

(v) the Allowed NBK Tax Claim, and (vi) 70% of the Allowed Amount of Trade General

Unsecured Claims. The total amount of these payments, together with $150,000 to fund the

Liquidation Trust is estimated to be $3.6 million.

     THE PLAN COMPLIES WITH THE APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE

        13.     I understand that confirmation of the Plan requires the satisfaction of various

requirements set forth in the Bankruptcy Code. The following summarizes my understanding of

the reasons the Plan satisfies these requirements. Unless otherwise stated, all section references

are references to sections of the Bankruptcy Code.

A.      Section 1122: Classification Requirements

        14.     I understand that section 1122(a) permits a plan to place a claim or interest in a

different class so long as that claim or interest is substantially similar to the other claims or interests

within that class. I further understand that section 1122(b) permits separate classification of certain

claims for purposes of administrative convenience.

        15.     I believe that the Plan complies with the requirements of section 1122 because the

Plan provides for separate classification of Claims and Interests based on the differing factual and

legal nature and priority of such Claims and Interests. Each of the Claims and Interests within a

Class is substantially like the other Claims and Interests in that Class, and the Plan’s classification

scheme tracks the underlying debts and instruments, or circumstances giving rise to such Claims

and Interests, and complies with applicable provisions of the Bankruptcy Code.

B.      Section 1123(a): Mandatory Requirements

        16.     I understand that section 1123(a) requires that the Plan meet certain mandatory

requirements, each of which I believe have been satisfied.


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          17.      I believe that the Plan satisfies sections 1123(a)(1)-(3) because Article III of the

Plan designates the eight classes of claims and interests, specifies the classes of claims and interests

that are unimpaired, 2 and specifies the treatment of claims and interests that are impaired. 3

          18.      I believe that the Plan satisfies section 1123(a)(4) because Article III of the Plan

provides for equal treatment of all claims and interests within each class. The Plan does not

provide for different treatment among the members of a specific class. In other words, all holders

of allowed claims or interests within a class receive the same treatment under the Plan. Paragraph

10, above, summarized the treatment of each class under the Plan.

          19.      I believe that the Plan satisfies section 1123(a)(5) because Article VI of the Plan

provides adequate means for implementation as described in paragraphs 11 and 12 hereof.

          20.      I believe that the Plan satisfies section 1123(a)(6) because no securities will be

issued under the Plan and thus non-voting equity securities will not be issued.

          21.      I believe that the Plan satisfies section 1123(a)(7), which requires that the selection

of “any officer, director, or trustee under the” Plan “be consistent with the interests of creditors

and equity security holders.” On the Effective Date, all managers, officers and directors of the

Debtor shall be deemed to have resigned from their respective positions, the Chapter 11 Trustee’s

appointment will terminate, and a Liquidating Trustee will be appointed to liquidate remaining

assets, if any, prosecute affirmative claims, resolve claims against the estate and distribute funds

to holders of Allowed claims in accordance with the terms of the Plan. The current Chapter 11

Trustee will serve as the Liquidation Trustee, and his appointment to this role is consistent with

the interests of creditors and equity holders and public policy.



2
    Claims and interests that are unimpaired are in Class 1 and Class 2 (collectively, the “Unimpaired Classes”).
3
    Claims and interests that are impaired are in Class 3, Class 4, Class 5(a), Class 5(b), Class 6, Class 7, and Class 8
    (together, the “Impaired Classes”).


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C.     Section 1123(b): Plan Incorporates Certain Permissive Provisions

       22.     I understand that section 1123(b) identifies certain provisions that may be

incorporated into a chapter 11 plan. The Plan incorporates the following permissive provisions,

which I believe comply with section 1123(b):

       23.     Impairment and Unimpairment. As permitted by section 1123(b)(1), the Plan

impairs Claims and Interests in Classes 3, 4, 5(a), 5(b), 6, 7 and 8 and leaves other Claims

unimpaired in Classes 1 and 2.

       24.     Assumption and Rejection. As permitted by section 1123(b)(2) of the Bankruptcy

Code, Article V of the Plan provides for the assumption or rejection of the Debtor’s executory

contracts and unexpired leases. If NBK is the Successful Bidder, all executory contracts and

unexpired leases will be deemed rejected. If a party other than NBK is the Successful Bidder, that

party will determine what executory contracts and unexpired leases will be assumed or rejected.

       25.     Compromise, Settlement, and Retention of Causes of Action. As permitted by

section 1123(b)(3), the Plan effectuates a compromise and settlement of claims and Article IX.D

of the Plan provides for a release of certain Claims and Causes of Action of the Estate. Article

VI.K of the Plan preserves the Liquidation Trustee’s rights to commence, pursue and settle all

Causes of Action, whether arising before or after the Petition Date, including any actions

enumerated in the Schedule of Retained Causes of Action that will be filed in the Plan Supplement

(the “Retained Causes of Action”).

       26.     Other Appropriate Provisions. As permitted by section 1123(b)(4)-(5), the Plan

(i) encompasses the sale of all or substantially all of the property of the estate through the auction

process described above, and distribution of the proceeds of such sale among holders of claims

and interests pursuant to the Plan, and (ii) modifies the rights of Holders of Claims or Interests in




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the Impaired Classes (Classes 3, 4, 5(a), 5(b), 6, 7 and 8), and leaves unaffected the rights of

Holders of Claims in the Unimpaired Classes (Class 1 and Class 2).

       27.     Estate Release. As permitted by sections 1123(b)(3)(A) and 1123(b)(6), the Plan

contains an Estate Release, under which the Trustee is releasing the Estate’s Claims, Interests, or

Causes of Action against each Released Party, including NBK, other than any obligations arising

under the Plan and the Confirmation Order and the Retained Causes of Action. I believe the Estate

Release is reasonable and understand that the Trustee believes giving the Estate Release reflects

his sound business judgment. I understand that the Trustee, with the assistance of its advisors,

investigated and assessed claims and causes of action against the Released Parties. With respect

to NBK, I understand that NBK produced documents to the Trustee in response to requests and

based on that investigation, NBK and the Trustee have agreed settle any and all potential issues

relating to NBK, which will be reflected in a settlement agreement and for which separate court

approval will be requested and which will include a release of the Estate’s Claims, Interests and

Causes of Action against NBK. I note that if any claims were to be asserted against NBK, NBK

would defend against those claims vigorously and without the Estate Release, NBK will not be

obligated to fund the Plan.

       28.     Exculpation.       As permitted by section 1123(b)(6), the Plan contains an

Exculpation, which provides protection to Exculpated Parties while also carving out fraud, gross

negligence, and willful misconduct in relation to court-approved transactions that contribute to the

Estate’s administration.      In light of the United States Trustee’s informal objection to the

Exculpation, I understand that the Confirmation Order to be presented to the Court will address

this issue by making it clear that only the Trustee is being exculpated and NBK is not being

exculpated. I believe that the modified Exculpation is appropriate and necessary because, without




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it, the Exculpated Parties would likely not have been willing to continue to assist the estate during

this case and the only alternative would been to convert this case to Chapter 7 to detriment of

unsecured creditors who will not receive any recovery as demonstrated in the Liquidation

Analysis.

       29.     Injunction and Gatekeeping Provision. As permitted by section 1123(b), the

Plan contains an Injunction, which permanently enjoins all Persons from commencing any action

or proceeding against the Released Parties with respect to any Claims that have been discharged,

released or exculpated under the Plan, and a “gatekeeper provision” that requires any party to seek

court approval before that party can try sue or continue a suit against any Released Parties based

on a claim related to the Debtor that the party believes is not a claim that has been discharged,

released or exculpated under the Plan. I believe that the Injunction is appropriate and necessary to

preserve and enforce other provisions in the Plan, including the release, discharge, and exculpation

provisions that are central to the Plan and are narrowly tailored to achieve that purpose. With

respect to the gatekeeper provision, it does not prejudice any party affected by the provision

because it is tailored to permit claims which are not without merit and have not been released,

discharged or exculpated under the Plan.

D.     Section 1123(d): Curing Defaults

       30.     I understand that section 1123(d) provides that “if it is proposed in a plan to cure a

default the amount necessary to cure the default shall be determined in accordance with the

underlying agreement and applicable nonbankruptcy law.”

       31.     I believe that the Plan satisfies section 1123(d) because Article V.D of the Plan

provides for the payment of Allowed Cure Claims in cash on the Effective Date or in the ordinary

course of business, or as otherwise agreed by a counterparty to any assumed (and assigned)

executory contract or unexpired lease.


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E.     Section 1129(a)(2): Applicable Provisions of the Bankruptcy Code

       32.     I understand that section 1129(a)(2) requires the plan proponent to comply with

applicable provisions of the Bankruptcy Code, including the disclosure and solicitation of

requirements of sections 1125 and 1126.

       33.     I understand that NBK solicited votes on the Plan in accordance with the Court’s

order that directed NBK, among other things, to transmit the Disclosure Statement and Plan to the

Voting Classes. Further, I understand that NBK complied with the notice requirements by

(i) noticing and soliciting acceptances from Holders of Claims in the Voting Classes; and

(ii) noticing but not soliciting votes to accept or reject the Plan from Holders of Claims and

Interests in the Non-Voting Classes. As I understand it, Voting Classes are classes of claims which

are receiving something of value under the Plan but are not being paid in full or getting the full

legal benefit of their claims against the Estate, and Non-Voting Classes are classes of claims which

either are (a) being paid in full and thus are deemed to have accepted the Plan under section

1126(f), or (b) are getting nothing of value under the Plan and thus are deemed to have rejected

the Plan.

F.     Section 1129(a)(3): Good Faith

       34.     I understand that section 1129(a)(3) of the Bankruptcy Code requires a plan to be

“proposed in good faith and not by any means forbidden by law.”

       35.     I believe the Plan satisfies this requirement because it is proposed with the

legitimate and honest purpose of liquidating the Estate and maximizing value for creditors through

a competitive auction process. Any bidder (including insiders of the Debtor) determined to be

qualified by the Trustee can participate in the auction and the Successful Bidder will be determined

by the Trustee. Furthermore, to the extent that NBK is the Successfully Bidder, it will fund various




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payments under the Plan as set forth above and unsecured creditors will get the benefit of

recoveries from any Retained Causes of Action prosecuted by the Liquidation Trustee.

G.        Section 1129(a)(4): Payment of Certain Administrative Payments

          36.    I understand that Section 1129(a)(4) requires the Court to approve all payments

made or to be made by NBK as the Plan proponent for services or costs and expenses in or in

connection with the case and Plan to be approved by the Court as reasonable.

          37.    I believe the Plan satisfies section 1129(a)(4) because all fees for services rendered

and expenses incurred by the Trustee and other professionals in connection with this case,

including all Professional Fee Claims, are subject to review and approval by the Court. Only

Allowed Professional Fee Claims based on all final requests for payment filed no later than 45

days after the Effective Date (in accordance with Bankruptcy Code procedures, Bankruptcy Rules,

and prior Court orders) will be paid. I understand that NBK’s costs and expenses incurred in

connection with this Chapter 11 Case or proposing the Plan will not be paid from the Estate.

H.        Section 1129(a)(5): Governance Disclosure Requirement

          38.    I understand that section 1129(a)(5) requires the plan proponent to disclose the

identity and affiliations of new directors or officers to serve in such capacity for the Debtor and

the identity of any insider to be employed by the Debtor.

          39.    I believe the Plan satisfies section 1129(a)(5) because (a) the Estate will be

liquidated and no new directors or officers are being appointed for the Debtor and (b) Article VI

of the Plan and the Plan Supplement (containing the Liquidation Trust Agreement) provides

information about the Liquidation Trustee (the current Trustee) and the way the trustee will be

selected, which is consistent with the Bankruptcy Code and the interests of creditors and public

policy.




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I.     Section 1129(a)(6): The Plan Does Not Require Regulatory Approval

       40.     I understand that section 1129(a)(6) permits plan confirmation only if any

regulatory commission that has or will have jurisdiction over a debtor after confirmation has

approved any rate change (e.g., the price of utility services) provided for in the plan.

       41.     I believe this requirement does not apply to the Plan because no governmental

regulatory commission has jurisdiction over the Debtor or will have jurisdiction over the Debtor

after confirmation of the Plan.

J.     Section 1129(a)(8) and (10) and 1129(b): Acceptance by Impaired Classes

       42.     I understand that, in combination, sections 1129(a)(8), 1129(a)(10) and section

1129(b) provide that if not all classes of claims or interests accept the Plan or are unimpaired, a

Plan may still be confirmed under section 1129(b) if at least one impaired class of claims accepts

the Plan, without counting the votes of insiders. Because the Impaired Classes 4, 5(a) and 5(b)

which contain only non-insiders voted to accept the Plan, I understand the Plan may still be

confirmed and “crammed down” on the Impaired Classes 6, 7 and 8 that are deemed to reject the

Plan based these sections of the Bankruptcy Code.

K.     Section 1129(a)(9): Treatment Of Administrative And Priority Tax Claims

       43.     I understand that section 1129(a)(9) generally requires that claims entitled to

administrative priority be paid in full in cash on the Effective Date or in the ordinary course of

business and that priority tax claims also be paid in full on the Effective Date or paid over time

pursuant to certain payment terms provided in the Bankruptcy Code.

       44.     I believe the Plan satisfies this requirement because Article II of the Plan provides

for full payment of Administrative Claims and Priority Tax Claims on the Effective Date or as

soon as reasonably practicable thereafter.




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L.     Section 1129(a)(11): Feasibility

       45.     I understand that section 1129(a)(11) requires a plan to be feasible. I believe that

the Plan is feasible because it ensures the payment of claims regardless of the outcome of the

auction. Attached as Exhibit A is a true and correct copy of the 2023 annual report for National

Bank of Kuwait S.A.K.P. (the New York Branch does not publish separate public reports of its

financial condition). I understand based on this report that the bank’s profit for 2023 was

$1,918,086,000 and that as of December 31, 2023 the bank held cash and other short term funds

in the amount of $14,294,050,000. See Exhibit A at 119-21.

M.     Section 1129(a)(12): Full Payment of Statutory Fees

       46.     I understand that section 1129(a)(12) requires all fees payable under section 1930

of title 28 of the United States Code to be paid when due and payable, and that section 507 of the

Bankruptcy Code provides that those fees be treated as administrative expenses. I believe the Plan

satisfies this requirement because Article XI of the Plan provides for the payment of all statutory

fees until this case is converted, dismissed or closed.

N.     Section 1129(a)(13): Retiree Benefit Obligations

       47.     I understand that section 1129(a)(13) of the Bankruptcy Code requires a plan to

provide for retiree benefits at levels established pursuant to section 1114 of the Bankruptcy Code.

       48.     I believe this requirement does not apply to the Plan because there are no retiree

benefit obligations of the sort described in section 1114 of the Bankruptcy Code. To the extent

applicable, I believe that the Plan satisfies section 1129(a)(13) of the Bankruptcy Code.

O.     Section 1129(a)(14)-(16): Not Applicable

       49.     I believe that sections 1129(a)(14), 1129(a)(15) and 1129(a)(16) of the Bankruptcy

Code do not apply because the Debtor: (i) is not an individual or subject to any domestic support

obligations; and (ii) is a moneyed, business, or commercial corporation.


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P.     Section 1129(b): The Plan is Fair and Equitable to, and Does Not Unfairly Discriminate
       Against, Rejecting Classes

       50.     I understand the Court can cramdown an impaired class of creditors and equity

security holders under section 1129(b) if all the requirements of section 1129(a), except section

1129(a)(8), are met and the plan does not “unfairly discriminate” and is “fair and equitable” with

respect to each impaired claims or interests that has not accepted the plan.

       51.     I believe the Plan satisfies the cramdown requirements. In particular, the Plan does

not unfairly discriminate against Classes 6 (Insider Claims), 7 (Subordinated Claims) and 8

(Interests), which are deemed to reject the Plan, because there is a reasonable basis for separately

classifying those Claims and Interests based on the different facts that give rise to these Claims

and Interests. . In addition, section 1129(a)(10) permits the separate classification of, for example,

the Insider Claims because their votes would not have counted in determining whether the

Impaired Claims in Class 5(b) have accepted the Plan, and the Class 5(a) Claims are dissimilar

from the Claims in Classes 6, 7 and 8.

       52.     I also believe the Plan is fair and equitable as to the Impaired Classes deemed to

reject the Plan because (a) the value of the Property does not exceed the total amount of NBK’s

claims and therefore these classes would not be entitled to any distributions based on the value of

the Debtor and (b) no claim or interest junior to the claims or interests in Classes 6, 7 and 8 receive

any recovery under the Plan.

R.     Section 1129(d): Avoidance of Taxes and Securities Laws

       53.     I understand that section 1129(d) prohibits the Court from confirming “a plan if the

principal purpose of the plan is the avoidance of taxes or the avoidance of the application of section

5 of the Securities Act of 1933.”




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       54.      As described above, the principal purpose of the plan is to maximize value through

a court-approved, public auction process and distribute value to creditors as set forth in the Plan.

Further, the Plan does not seek to avoid taxes (Article II.C of the Plan provides for the full payment

of Allowed Priority Tax Claims) or section 5 of the Securities Act (as no securities are being issued

under the Plan). I am not aware of any tax obligation of the Estate that will be avoided if the Plan

is confirmed.

S.     Waiver of Stay of Confirmation Order

       55.      I understand that Bankruptcy Rules 3020(e) effectively stays an order confirming a

plan for 14 days, unless otherwise ordered by the Court.

       56.      I believe that the Court should modify the stay, to the extent applicable, and make

the Confirmation Order effective immediately upon entry for the following reasons. First, the

entry of the Confirmation Order will enable the Chapter 11 Trustee to effectuate the sale of the

Property contemplated in the Plan, with the Successful Bidder knowing that the terms of the Plan

have otherwise been approved. Second, immediate entry and effect of the Confirmation Order

will permit the sale to close and the Plan to go effective promptly. I understand that the auction is

scheduled for the day after the confirmation hearing. Third, permitting the Plan to go effective as

promptly as possible will minimize additional administrative and professional costs associated

with being in chapter 11.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury, under the laws of the

United States of America, that the foregoing statements are true and correct.

Dated: June 14, 2024                                 /s/ Michael C. Carter
                                                     Michael C. Carter
                                                     Vice President




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                                Exhibit A

                National Bank of Kuwait 2023 Annual Report




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Annual Report
2023




                                 Empowering Tomorrow:
                                 Navigating a Digitized and
                                       Sustainable Future
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                             HH Sheikh
             Mishal Al-Ahmad Al-Jaber Al-Sabah

                     Emir of the State of Kuwait
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NBK at a Glance
At NBK, our purpose is to create enduring value and trust for our customers, shareholders, and
the communities we serve. Through the integration of sustainability, the prioritization of digital
transformation, and a strong belief in the power of our people, we embark on a journey of
empowerment. Committed to excellence, transparency, and ESG principles, we aim to positively impact
our customers, shareholders, and communities, thus shaping a future where financial success and
sustainability go hand in hand. Our commitment to empowering tomorrow is the cornerstone of our
endeavors as we navigate the dynamic landscape of digitization and sustainability.



Operational Performance and Profitability

                                                                                                           72,636
                                                                     122,787
                                                        118,462                               68,454

       4
       Continents
                                            108,416
                                                                                   64,295




       8,049
       Global Employees
                                             2021         2022        2023          2021       2022         2023

                                            Total Assets (USD million)            Loans, Advances and Islamic
                                                                                  Financing (USD million)



                                                                                                           71,553

       1.38%
       NPL Ratio                                        11,195
                                                                     12,015
                                                                                   59,596
                                                                                              65,780

                                             10,835




       15.0%
       Return on Average
       Equity
                                             2021         2022        2023          2021       2022         2023

                                             Total Equity (USD million)           Customer Deposits (USD million)


       122.8
       USD Billion Total                                                                                   3,804
       Assets
                                                                      1,828                    3,292
                                                         1,660

                                             1,181                                 2,933

       17.3%
       Capital Adequacy
       Ratio


                                             2021         2022        2023          2021       2022         2023

                                            Net Profit Attributable               Net Operating Income (USD million)
                                            to Shareholders (USD million)
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About NBK
Established in the heart of Kuwait City in 1952, the National Bank of Kuwait S.A.K.P. (‘NBK’ or the ‘Bank’) stands as the
cornerstone of the nation’s financial landscape. As the first shareholding company in Kuwait and the Gulf Cooperation
Council (‘GCC’), NBK has been a steadfast pioneer, establishing itself as the country’s longest-serving local bank. With over
70 years of unwavering commitment, NBK has evolved into Kuwait’s preeminent financial institution, extending its influence
far beyond national borders to captivate regional and global markets. Through a successful digital transformation journey,
NBK has seamlessly blended tradition with innovation, earning acclaim and trust among stakeholders. Today, the Bank
boasts a network of more than 140 branches spread across 13 countries, spanning 4 continents.

Established by a group of leading Kuwaiti merchants, NBK has retained its core shareholder base since inception. Its shares
have been listed on the Kuwait Stock Exchange since 1984, with a single shareholder (the Public Institution for Social
Security) owning more than 5% of the share capital (6.0% as of 31 December 2023). NBK’s market capitalization as of 31
December 2023 was USD 23.1 billion.

Renowned for its seasoned and stable management, NBK pursues a clear strategy aimed at strengthening its core business
while expanding into new segments and markets. The Bank has consistently achieved remarkable profitability, resulting in
robust shareholder returns. This success is underpinned by a portfolio of high-quality assets and a robust level of capitalization.

NBK prides itself in being a comprehensive financial partner, offering a diverse range of products and services. Catering
to individuals, corporates, and financial institutions alike, NBK has solidified its position as Kuwait’s leading conventional
banking Group in terms of assets, customer deposits, and customer loans and advances, all the while Empowering Tomorrow
and Navigating a Digitized and Sustainable Future.



                                                                                             Main Business Segments



                         Mission                                                             Consumer Banking
                         • To deliver world class products
                           and the highest service quality to
                           our customers
 Vision                  • To attract, develop and retain the
                                                                Values
 The trusted               best banking talent in the region    • Passion                    Corporate Banking
 bank of choice,         • To support the communities in        • Integrity
 building on our           which we operate                     • Conservatism
 core values,            • To adhere to our core values of      • Knowledge
 people and                passion, integrity, conservatism
                           and knowledge
 expertise                                                                                   NBK Wealth
                         • By doing so, we believe that
                           we will be able to achieve
                           consistently superior returns to
                           our shareholders


                                                                                             Islamic Banking (through
                                                                                             subsidiary Boubyan Bank)
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             Strategic Review
             For over seven decades,
             we have been dedicated
             to nurturing the success of
             our stakeholders in Kuwait,
             the broader region, and
             globally, empowering them
             to thrive and flourish. Our
             journey is one of unwavering
             commitment to sustainability,
             digital transformation, and
             the paramount importance of
             people.




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    Empowering Tomorrow: Navigating a
    Digitized and Sustainable Future
    Our journey is one of unwavering commitment to sustainability,            Across the Group, we maintain an ongoing dialogue with our                                                                                    Empowering tomorrow is when
    digital transformation, and the paramount importance of people.           workforce, attentively listening to their needs, allowing us to        Bankee Initiative: 15,130 students                                     We Foster Financial Growth
                                                                              proactively address their aspirations and provide valuable support
    Through strategic initiatives and forward-thinking practices, we
    have navigated a path that integrates sustainability, embraces the        throughout their individual journeys within the Bank, ensuring that
                                                                                                                                                     - boarded from 30 schools                                              NBK is a leading provider of corporate banking products and
    transformative power of digital innovation, and places people at          NBK remains the preferred employer of choice.                                                                                                 services that cater to various business needs. We have a long
    the heart of our endeavors. We are responsible stewards and we                                                                                                                                                          history of transforming landscapes and empowering corporates to
    recognize that the value we create today and the plans we lay for                                                                                Empowering tomorrow is when                                            achieve their aspirations. We believe that empowerment is more
    tomorrow should contribute to a legacy that endures.                                 Achieved Employee Sustainable                               We Protect the Environment                                             than just numbers; it is also about supporting economic growth
                                                                                                                                                                                                                            and providing financial resources for businesses to thrive. We are
    Our 2023 Annual Report reflects a journey marked by sustainable                      Engagement score of 84%                                     As a Group, we continue to champion environmental                      dedicated to fostering innovation and success in the corporate
    growth, technological advancement, and a profound dedication to                                                                                  sustainability in our unwavering dedication to minimizing our          sector and the economy. We deliver customized financial
    the well-being and empowerment of individuals as we aspire to leave                                                                              carbon footprint. The LEED Gold Certification awarded to NBK’s         solutions that are perfectly suited to meet diverse organizational
    an indelible mark, a legacy of positive influence and lasting value.      Empowering tomorrow is when                                            HQ in 2022, symbolizes our strides towards a greener future,           requirements.
                                                                              We Support National Initiatives                                        recognizing our achievements and serving as a catalyst propelling
    For over seven decades, we have been dedicated to nurturing                                                                                      us into the forefront of sustainable practices. In 2023 and beyond,
    the success of our stakeholders in Kuwait, the broader region,            NBK is committed to supporting the Kuwait National Development         we are poised to leverage our LEED Gold Certification as a
    and globally, empowering them to thrive and flourish. In 2023,            Plan – Vision 2035 initiative to promote environmental, social,        cornerstone for further environmental leadership and innovation.                 Fostering the growth of our
    we strategically invested our time and resources to unlock                and economic prosperity, in line with the country’s net zero           Building on this achievement, our strategy involves continuous
    unprecedented opportunities for individuals and businesses alike,         pledge. In this context, NBK committed to achieve carbon               improvement and the implementation of cutting-edge sustainable
                                                                                                                                                                                                                                      mid-sized corporate clients
    aligning with our resolute commitment to serve their best interests.      neutrality by 2060, and we pride ourselves with being the only         practices.
                                                                              institution in Kuwait to have a carbon neutrality pledge. As part
    As we recount our achievements, challenges, and aspirations, we           of this commitment, we have set interim goals to reduce our            Within our efforts to lead responsible practices, NBK joined
    invite you to join us in shaping a future where sustainability, digital   gross operational emissions by 25% by 2025 and are actively            the United Nations Global Compact (UNGC) in February 2023,
    excellence, and the well-being of people converge to deliver value,       exploring innovative research and development technologies to          committed to adopt all ten principles in the areas of human rights,    I AM NBK Principles
    empower individuals, and create a lasting positive impact for             magnify our reliance on renewable energy beyond 2025. We have          labor, the environment, and anti-corruption. Our endorsement
    today, tomorrow and the future.                                           been reporting our ESG practices in line with Kuwait’s National        to the UNGC reaffirms our catalyst role in driving Kuwait’s                      Empathy                   Excellence
                                                                              Development Plan since 2016 as part of our commitment to               sustainable economic development.
    Empowering tomorrow is when                                               support Kuwait’s sustainability plans and ambitions as a leading
    We Listen to Our Customers                                                financial service provider in Kuwait and the region.
                                                                                                                                                     Joined the United Nations
    Central to our strategy is fostering meaningful conversations
    with our clients, establishing the groundwork for enduring
                                                                                         Community Contributions:                                    Global Compact (UNGC)
    relationships built on trust. Our responsive support services
                                                                                                                                                                                                                                      Accessibility
    ensure that clients receive seamless assistance anytime,                             KD 28 million in 2023                                                                                                                        & Availability            Communication
    anywhere, reaffirming our commitment to their financial well-                                                                                    Empowering tomorrow is when
    being and developing a lasting, trusted relationship. Embracing a                                                                                We Cultivate a Unique Culture
    customer-centric philosophy, we assimilated valuable feedback             Empowering tomorrow is when
    from our clients, ensuring an intuitive and personalized interface        We Invest in Our Communities                                           In our collective pursuit of fostering a workplace culture grounded
    across all interactions.                                                                                                                         in the principles that define NBK, our unique “I Am NBK Principles”
                                                                              At NBK, we are deeply committed to fostering positive change           program aimed at recognizing and nurturing outstanding behavior
                                                                              and nurturing the well-being of the communities we serve.              among employees stands as a testament to our dedication.
    Launched the First Digital                                                Our overarching objective is to enhance our social impact              This distinctive initiative not only serves as a powerful means of
                                                                                                                                                     acknowledging and understanding our core values, but also plays                  Consistency               Integrity
                                                                              and steadfastly prioritize ongoing, substantial investments in
    Bank in Kuwait - “Weyay”                                                  community development. Our community investment initiatives            a pivotal role in instilling a sense of purpose and unity within our
                                                                              are strategically aligned with key focus areas, including optimizing   workforce.
                                                                              customer service and advocacy, promoting financial inclusion,
    Empowering tomorrow is when                                               enhancing accessibility and literacy, and ensuring customer            “I Am NBK Principles” program distinguishes itself with
    We Engage with Our People                                                 protection, as well as data privacy and security.                      unparalleled uniqueness within Kuwait’s Banking sector. Its
                                                                                                                                                     innovation lies in its structure and in the genuine esteem it
    At NBK, we are continuously engaging with our employees in                In this context, NBK launched the “Bankee” financial literacy          commands from our valued employees as the intrinsic worth                        Teamwork                  Trust
    shaping our journey of excellence; it is embedded in our mission          program in Kuwait with the aim to increase financial literacy and      of this initiative extends far beyond routine recognition efforts;
    and is our comprehensive commitment to their well-being and               inclusion among school students at a young age, equipping them         cultivating an environment where individuals are not only
    professional growth.                                                      with the right skills and knowledge to recognize the value of the      acknowledged for their contributions, but are also inspired by the
                                                                              resources at the reach of their hands.                                 overarching principles of NBK.


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                                                                                                                               as a trusted institution solidifies our position as a safe haven for

    Chairman’s                                                                                                                 investors, depositors, wealth management clientele, individuals,
                                                                                                                               and corporates.


    Statement                                                                                                                  Innovation and Diversification at the Core
                                                                                                                               This year was underscored by the launch of NBK Wealth,                                              35%
                                                                                                                               consolidating private banking and asset management businesses
                                                                                                                               under one leadership. This transformational journey was based                                       Total recommended cash
                                                                                                                               on the adoption of innovation as the core of our value proposition                                  dividends to be distributed
                                                                                                                               through a holistic client-centric approach. Many successes have
                                                                                                                               been pinned since then, adding to our portfolio of achievements                                     to shareholders in 2023
                                                                                                                               and “firsts” in Kuwait and beyond, widely recognized by prominent
                                                                                                                               awards and ratings. More importantly, the prevailing success
                                                                                                                               of our institution can be primarily ascribed to the tactical
                                                                                                                               diversification approach we adopt at our core. By strategically
                                                                                                                               diversifying our portfolio and services across different
                                                                                                                                                                                                                                   Our governance
                                                                                                                               geographies, we mitigate risks and capitalize on emerging                                           framework is a dynamic
                                                                                                                               opportunities, demonstrating our commitment to adaptability
                                                                                                                               and long-term stability.
                                                                                                                                                                                                                                   and proactive system
                                                                                                                                                                                                                                   that fosters transparency,
                                                                                                                               Digital Transformation
                                                                                                                               Building on this foundation, our relentless focus on digital
                                                                                                                                                                                                                                   accountability, and
                                                                                                                               transformation has borne fruit. The successful digitization of                                      ethical conduct at every
                                                                                                                               our Bank and the seamless transition of our valued customers to
                                                                                                                                                                                                                                   level.
                   Hamad Mohamed Al-Bahar                                                                                      digital banking platforms reflect our dedication to staying ahead
                                                                                                                               of the curve. We take pride in our pioneering role in launching
                                          Chairman                                                                             Weyay, the first digital bank in Kuwait, a testament to our
                                                                                                                               commitment to trendsetting in the market since we embarked
                                                     Dear Shareholders, Investors and Partners,                                on this journey a few years ago. Our digital banking strategy has      Looking ahead to 2024, our expansion targets Kuwait as the main
                                                     On behalf of the Board of Directors, it is with great pleasure that I     proven instrumental in customer acquisition, particularly while        market, with strategic moves into the GCC. We plan to strengthen
    “Empowering Tomorrow:                            present to you the National Bank of Kuwait’s 2023 Annual Report           tapping into the tech-savvy and the youth segments, positioning        our footprint in existing markets through strategic investments,
                                                                                                                                                                                                      and we eagerly anticipate government led business activity that
    Navigating a Digitized                           and audited financial statements for the year ended December              us as the bank of tomorrow.
                                                     31, 2023.                                                                                                                                        will spur growth in the domestic banking market. We aim to
    and Sustainable Future”,                                                                                                   People Power                                                           implement our successful digital banking value proposition in
    marks our dedication to                          As I reflect on the past year, I am filled with pride and gratitude for   Throughout 2023, we continued our investment in our greatest           other markets, with a keen eye on the MENA region.
                                                     the remarkable journey we have undertaken together, one defined           asset, our people. Our team comprises experienced, skilled,
    fostering innovation, cultivating                not only by financial accomplishments but, more importantly, by           and motivated professionals who have steered our bank in the           I am proud to confirm once again our unwavering commitment to
    environmental stewardship,                       the values that shape our identity and the commitment to ESG              right direction, contributing significantly to our ongoing success.    the highest standards of ethics and corporate governance. Our
                                                                                                                               Recognizing the pivotal role our workforce plays, we remain            governance framework is a dynamic and proactive system that
    and embracing technological                      principles that underscore our impact on Kuwait and the world.
                                                                                                                               deeply engaged with every function, fostering cohesive synergies       fosters transparency, accountability, and ethical conduct at every
    advancements.                                    “Empowering Tomorrow: Navigating a Digitized and Sustainable              both locally and internationally across the Group. Their dedication    level. The Board, in collaboration with our dedicated leadership
                                                     Future”, marks our dedication to fostering innovation, cultivating        and expertise drive our daily operations and form the bedrock of       team, ensures that strategic decisions align with our core values
                                                     environmental stewardship, and embracing technological                    our strategic initiatives, ensuring sustained growth and resilience    and serve the best interests of our shareholders.
                                                     advancements that will shape a resilient and equitable world for          in an ever-evolving financial landscape.
    By strategically diversifying our                generations to come. We strive to harness the power of digital                                                                                   NBK held its 2022 Annual General Meeting (AGM) on 18 March 2023,
    portfolio and services, we mitigate              transformation and sustainability initiatives, working hand in hand       National and Ethical Excellence                                        with a quorum of 71.47%. The AGM approved the Board of Directors’
                                                     with communities, businesses, and individuals to build a brighter         Consistently, our support to national prosperity remains prime         recommendation to distribute 25% cash dividends to shareholders
    risks and capitalize on emerging                 and more inclusive future.                                                within the country’s strategic Vision 2035 framework, the Kuwait       for the second half of the financial year (25 fils per share; bringing
    opportunities, demonstrating                                                                                               National Development Plan (KNDP), and beyond. Our continuous           total cash dividends for the year to 35 fils per share) in addition to
                                                     2023 was a year of challenges underpinned by local and regional           fulfillment of our national duty serves as a catalyst for national     5% bonus shares (5 shares for every 100 shares owned).
    our commitment to                                regulatory tightening and political volatility in Kuwait and in the       development. We maintained our strong relationships with
    adaptability and long-term                       world more broadly, in addition to a slowing but still prevailing         regulators both in and outside Kuwait, working hand in hand with       Moreover, the Board of Directors recommended the distribution
                                                     global inflation. However, our strategy demonstrated our                  them to improve the banking and business environment. We have          of 25 fils per share for the second half of 2023, bringing the total
    stability.                                       resilience, our commitment to our customers and our promise               successfully navigated challenges in our international presence,       cash dividend distribution for the year 2023 to 35 fils per share, in
                                                     for a trusted banking relationship. NBK managed to do well                strengthening our footprint in the 13 countries where we operate       addition to 5% bonus shares. That brings the cash payout ratio for
                                                     and to deliver on its promises to stakeholders. Our concerted             through strategic moves on both conventional and Islamic banking       2023 to 50% of the profits attributable. This step demonstrates
                                                     efforts yielded in significant improvements across all key ratios         fronts. Our continuous expansion efforts focus on maximizing our       NBK’s solid capital adequacy, confidence in its financial position,
                                                     compared to the previous year and demonstrated the potential              presence and customer base across our growth markets in the            and ability to generate profits.
                                                     and resilience of our strategy established years ago. NBK’s role          MENA region while concurrently building a global network that
                                                                                                                               facilitates our customers’ trade, investment, and broader banking
                                                                                                                               requirements.

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1         Strategic Review




                                                                         serving as a model for sustainable development. The four pillars
                                                                         of our ESG Strategy are: Governance for Resilience, Responsible
    NBK’s commitment                                                     Banking, Capitalizing on Our Capabilities, and Investing in Our
    extends beyond financial                                             Communities.

    success, with a dedicated                                            ESG has always been a key element in our strategic focus across
    focus on responsible banking,                                        the years. Our new ESG Strategy draws a clear pathway forward by
                                                                         integrating ESG into the Group’s business strategy and shifting our
    fostering economic prosperity,                                       approach to a pro-active, stakeholder driven stance.
    and contributing to sustainable
                                                                         Looking ahead, we acknowledge the prevailing uncertainties in the
    development.                                                         landscape. The challenges tied to political tensions and economic
                                                                         issues will undoubtedly test the resilience of the banking sector,
                                                                         challenging its capacity to support and safeguard customers.
    We are Resilient for Tomorrow and Beyond,                            However, I assure you that our focus will be sharper, our resolve
    The year 2023 witnessed NBK’s unwavering dedication to               stronger, and our ambitions higher and I maintain confidence
    Environmental, Social, and Governance (ESG) principles,              that our strategic vision and commitment to being a purpose-
    building on the momentum gained after a landmark year in             driven business will help us navigate these challenges and fortify
    2022. Recognizing the global imperative for sustainable growth,      the long-term future of the Group, yielding benefits for all our
    NBK made significant strides in ESG, earning recognition and         stakeholders.
    solidifying its position as a responsible corporate entity.
                                                                         We will embark on the next phase of our journey together, with
    In 2022, NBK’s Executive Management approved the Group’s             knowledge and a sense of purpose, driven by our values and
    new ESG Strategy and key ESG strategic initiatives; while in         culture.
    2023, we finalized the Bank’s ESG Governance Framework that
    outlines a comprehensive governance structure with specialized       Thank you for your continued trust and partnership
    committees to drive ESG Strategy implementation across the
    Bank by assigning each ESG strategic pillar to a member of the
    Executive Management as key owners. It ensures utmost levels
    of accountability and commitment are maintained to support the
    Bank in achieving its ESG-related KPIs and ambitions, defining
    clear deliverables and milestones, and establishing accountability
    with the Board’s oversight to achieve our ambitions and targets.

    In line with the ESG Strategy, we crafted a comprehensive
    3-year roadmap, outlining key targets and commitments                Acknowledgments
    in areas where the Bank holds the greatest potential.                On behalf of the Board, I would like to extend my sincere
    This strategic framework aims to drive a sustainable                 gratitude to all our stakeholders for their continued
    and equitable transition to a low-carbon economy,
                                                                         support. I would also like to thank my fellow directors
    delivering a positive social impact on people and
                                                                         and our executive management for their dedication
    communities. Our ESG Governance Structure
    is based on the four pillars of NBK’s evolved
                                                                         and invaluable contributions bringing our mission to
    ESG Strategy Framework and focuses on                                success in 2023. To our customers, we highly value
    promoting economic prosperity and                                    your continued trust and confidence in NBK, and we are
                                                                         steadfast in our commitment to providing you with a
                                                                         valuable relationship that goes beyond bank offerings. A
                                                                         special acknowledgment goes to our devoted team; your
                                                                         dedication and tireless efforts are the backbone of our
                                                                         success. On a final note, thanks are also due to the Central
                                                                         Bank of Kuwait and the Capital Markets Authority for their
                                                                         persistent efforts in advancing the banking sector. To our
                                                                         valued shareholders, thank you for your enduring support
                                                                         as we strive to solidify NBK’s leadership in the Kuwaiti
                                                                         banking sector.



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    Year in Review                                                                                                                       Institutional Strength
                                                                                                                                         Credit Ratings
      January                                                            July                                                            NBK is a robust financial institution, as demonstrated by the trust that its customers and shareholders have placed in it, as well as its
                                                                                                                                         long-term credit ratings.
    • NBK becomes the First Financial Institution in Kuwait to Align   • NBK Launches Enhanced IVR Services
      with the State’s Pledge to become Carbon Neutral by 2060         • NBK Publishes its Annual Sustainability Report 2022                 Rating agency                                             Long-term rating     Standalone rating              Outlook
    • NBK Embraces Environmental Transparency by Disclosing            • SmartWealth by NBKC Launches Its Investment Services on the
      through CDP                                                        NBK Mobile Banking Application                                                                                                A1                   a3                             Stable
    • NBK Introduced New Designs fo All Its Cards
    • NBK Donates KD 13 million for NBK Hospital Expansion               August                                                                                                                        A                    a-                             Stable


      February                                                         • NBK Academy Celebrates the Graduation of Wave 28                                                                              A+                   a-                             Stable
                                                                       • NBK Enables Complaint Submission via NBK Mobile Banking
    • NBK Joins the United Nations Global Compact                        Application
    • NBK Donates KD 1 Million to Support KRCS’ Relief of Quake-       • NBK Supports the Kuwait Dive Team Project To Protect Coral
      affected in Syria and Turkey                                       Reefs
                                                                                                                                         Awards and Accolades
    • NBK Launches Its New Mobile Banking Application
    • NBK is the First Bank in Kuwait to Introduce SWIFT g4C Service     September
    • NBK Contributes KD 3 Million for the Development of Shuwaikh
      Waterfront
                                                                       • NBK Launches “NBK Tech Academy”
                                                                       • NBK Launches “Credit Administration and Credit Operations
      March                                                              Certification”
                                                                       • NBK Opens Its New Branches at Al Khiran Hybrid Outlet Mall
                                                                         and at The Warehouse Mall in Subahiya                           •   Best SME Bank Award - Kuwait 2023
    • NBK Banque Privée Suisse Relocates to a New Headquarters in
                                                                                                                                         •   Best Private Bank for Sustainable Investing - ME 2023
      Geneva
                                                                                                                                         •   Best Foreign exchange Provider - Kuwait 2023
    • NBK’s AGM approved distribution of 25% cash dividends for          October                                                         •   Best Foreign exchange Provider - ME 2023
                                                                                                                                                                                                                                 NBK’s rating at ‘BBB’ per the MSCI audit
      2H22 and 5% bonus shares                                                                                                           •   Best Bank in Kuwait 2023
    • NBK Recognized With Visa’s “Excellence in Product Design                                                                           •   Best Trade Finance - Kuwait 2023
                                                                       • NBK Officially Launches «Bankee» in Cooperation with MoE
      Award”                                                                                                                             •   Best Bank for Cash Management in Kuwait 2023
                                                                         and «Nazaha»
    • NBK provides Multi-currency Cash Delivery Service for its                                                                          •   Top Innovations in Finance in Kuwait 2023 – Mobile Banking / Apps
                                                                       • NBK Attends the Annual Meetings of IMF and the World Bank
      customers                                                                                                                          •   Best Financial Innovation Lab in Kuwait for 2023 - NBK Group Digital Office
                                                                         Group
                                                                                                                                         •   Best Consumer Digital Bank in Kuwait 2023
                                                                       • NBK and PT Kilang Pertamina Internasional Sign Strategic MOU
                                                                                                                                         •   Best Online Product Offerings - Kuwait 2023
      April                                                              at ADIPEC 2023                                                  •   Best Bill Payment and Presentment - Kuwait 2023
                                                                                                                                         •   Best User Experience (UX) Design - Kuwait 2023                                  Constituent of the FTSE4Good Index Series
    • NBK unveiled one-of-a-kind Commercial Credit Cards for             November                                                        •   Best Mobile Banking App - Kuwait 2023
      Corporate Customers                                                                                                                •   Best in Social Media Marketing and Services - Kuwait 2023
                                                                                                                                         •   Best Innovation and Transformation - Kuwait 2023
                                                                       • NBK Organizes a Training for Financial Crime Unit Officers      •   Best Product Offerings – Middle East 2023
      May                                                              • NBK Recognized by Mastercard for “Driving E-Commerce            •   Best Mobile Banking App – Middle East 2023
                                                                         Tokenization for Seamless Checkout”                             •   Best Innovation and Transformation – Middle East 2023
    • NBK Launches the New “Plus” Package with Exceptional             • NBK Hosts CreditLens Workshop for Kuwaiti Bankers               •   Best Consumer Digital Bank - Middle East 2023
                                                                                                                                                                                                                                   Number 1 Banking Brand in Kuwait
      Benefits for retail customers                                    • NBK Organizes “Collective Executive Development Program” in     •   Best Innovation and Transformation - Global 2023
    • NBK Partners with Visa to Launch ‘She’s Next’ Program for the      Cooperation with INSEAD Business School
      First Time in Kuwait                                             • New Innovative Features Introduced to NBK Mobile Banking        •   Best Bank for Corporate Responsibility in the Middle East 2023 (Euromoney)
    • NBK Provides Cash Withdrawal through Digital Wallet                Application                                                     •   Best Bank in Kuwait 2023 (Euromoney)
                                                                                                                                         •   Best Bank for CSR in Kuwait 2023 (Euromoney)

      June                                                               December                                                        •
                                                                                                                                         •
                                                                                                                                             Euromoney Cash Management survey 2023- Kuwait (Euromoney)
                                                                                                                                             Best Retail Bank – Kuwait 2023 (MEED)
                                                                                                                                         •   Best Youth Programme Initiative 2023 (MEED)
    • NBK Launches the Eighth Cohort of Its “High-Fliers” Program      • NBK Completely Revamps “Moody’s Credit Curriculum –             •   Excellence in Service: Priority Banking 2023 (MEED)
    • NBK organized Blood Donation Campaign for its staff                Foundation Level” Program                                       •   Best Initiative for Women in Business 2023 (MEED)
                                                                       • NBK Partners with Qatar Airways and British Airways to Launch   •   Best Implementation of Diversity & Inclusion Initiatives 2023 (MEED)          “C” Score for 2023 for both the Climate Change
                                                                         NBK Avios Visa Signature Card                                   •   Best Trade Finance 2023 - Kuwait (GTR)                                                    and Forests Categories
                                                                       • NBK inks a financing facility to fund P-1 of The Avenues Al     •   Bankee Program - Bronze (Qorus)
                                                                                                                                         •   SME Bank of the year - Silver (Qorus)
                                                                         Khobar
                                                                                                                                         •   Digital payments - Bronze (Qorus)
                                                                       • NBK Hosts a Media Awareness Workshop on Sustainability and
                                                                                                                                         •   self service branches - Gold (Qorus)
                                                                         Climate Change
                                                                                                                                         •   Excellence in Diversity & Inclusion - Bronze (SHRM)
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    Vice Chairman
    & Group CEO’s                                                                                                                            In 2023, NBK delivered exceptional
                                                                                                                                             results as it leveraged its
    Statement                                                                                                                                geographical diversification,
                                                                                                                                             digital advancement, and strong
                                                                                                                                             financial position.



                                                                                                                                                                                                                    Rigorous compliance with
                                                                                                                                                                                                                    local and international
                                                                                                                                                                                                                    regulations is not only a
                                                                                                                                                                                                                    legal requirement, but a
                                                                                                                                                                                                                    fundamental commitment to
                                    Isam J. Al-Sager                                                                                                                                                                ethical business practices.
                                                Vice Chairman &
                                    Group Chief Executive Officer


                                                                    Dear Shareholders, Investors and Partners,                              Market Outlook                                                          Robust Compliance and Risk Management
                                                                    I am pleased to share with you that 2023 marked a year of               In 2023, Kuwait faced challenges similar to the rest of the world,      In parallel, our dedication to transparency, compliance, and
                                                                    positive progress and sustained stability for the Group, with           including high and persistent inflation, higher interest rate cycle     risk management remains unwavering. As a cornerstone
                                                                    our financial indicators demonstrating strong performance. Our          and supply chain disruptions leading to slower global economic          of our corporate ethos, transparency is embedded in our
                                                                    local and international businesses have adeptly driven the Bank         activity. However, the year also presented opportunities captured       communication channels, ensuring that our stakeholders are well-
    2023 marked a year of positive                                  forward, creating value for our shareholders and reinforcing our        in sustained high oil prices, resilient consumer spending,              informed about our operations, financial health, and strategic
                                                                    Group financial strength.                                               increased project market activity, positive employment and              initiatives. Rigorous compliance with local and international
    progress and sustained                                                                                                                  population growth, gains in the refining sector, and a less             regulations is not only a legal requirement, but a fundamental
    stability for the Group, with                                   Total assets as at 31 December 2023 reached KD 37.7 billion,            aggressive approach to monetary policy tightening, contributing to      commitment to ethical business practices. Our robust risk
                                                                    growing by 3.7% year-on-year. The growth was mainly attributed          Kuwait’s macroeconomic experience.                                      management framework proactively identifies, assesses, and
    our financial indicators                                        to healthy growth levels in volumes across various business lines.                                                                              mitigates potential risks, safeguarding the interests of our clients,
                                                                    Attributable shareholders’ equity reached KD 3.7 billion, while         The aggressive interest rate hikes in regional and major                shareholders, and the broader financial community.
    demonstrating strong                                            profits attributable amounted to KD 560.6 million. NBK ROAA             economies resulted in significant improvement in the financial
    performance.                                                    is sound and healthy at 1.53% in 2023, compared to 1.48% in             performance of the banking sector in the last two years. NBK            Customer-Centricity
                                                                    2022. The payout ratio for the year remained stable at 50% of net       benefitted from rising interest rates given its large base of           Following our relationship-centric model, we stand by our
                                                                    profits, resulting in total cash dividends of 35 fils per share; an     less-interest-sensitive Current Account Saving Account (CASA)           clients, particularly during challenging periods, solidifying our
                                                                    explicit indicator of confidence in the capital health of NBK and its   balances, which contributed to the increase of the Bank’s net           identity as true banking partners rather than mere transaction-
                                                                    commitment to reward and maximize the interest of shareholders.         interest margin.                                                        focused service providers. In 2023, the Corporate Banking Group
                                                                    Meanwhile, customer deposits ended the year at KD 21.9 billion,                                                                                 introduced a pioneering innovation tailored to the specific needs
                                                                    increasing by 8.8% over 2022, our net loan portfolio witnessed a        Managing Interest Rate Risks                                            of its clientele by unveiling a suite of commercial cards, first-of-its-
                                                                    growth of 6.1% to reach KD 22.3 billion.                                Consequently, management of interest rate risk was a major              kind offering in Kuwait crafted to empower clients with enhanced
                                                                                                                                            focus during this year backed by the Group Treasury’s strategy          control over their business expenditures and incorporate a range
                                                                    By the end of 2023, our NPL/gross loans ratio reached 1.38%, and        to optimize the Bank’s ability to benefit from rising interest rates    of distinctive features unmatched by any other card product
                                                                    our NPL coverage ratio was 271%, affirming NBK’s success with           over the past year. By anticipating and promptly responding to          available in Kuwait.
                                                                    its proactive risk management approach over the years. In 2023,         these market dynamics, we aim to uphold the resilience and
                                                                    NBK delivered exceptional results as it leveraged its geographical      stability of our financial position with agility and foresight. As we
                                                                    diversification, digital advancement, and strong financial position,    approach the end of the monetary policy tightening cycle, our
                                                                    strengthening our revenue streams while continuing to benefit           Group Treasury is taking the necessary actions to position the
                                                                    from our prudent policies over the years in the form of solid asset     Bank for next year based on the latest interest rate outlook.
                                                                    quality and strong capitalization; with NBK’s market capitalization
                                                                    at KD 7.1 billion as of 31 December 2023.



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    Network Collaboration                                                   NBK Wealth operating model focuses on cementing its value               that values learning, innovation, and inclusivity. As a result, our    In the workplace, NBK remains dedicated to fostering and
    Our core business segments are significant constituents to the          proposition, developing and expanding on its human capital and          people are equipped not just with technical expertise but also         prioritizing equal opportunities and championing diversity,
    growth of NBK’s net profits. At the Consumer Banking Group              capabilities, and providing solution-based services, including          with the adaptability and resilience needed to thrive in a rapidly     equity, and inclusion through strategic initiatives, reinforcing our
    front, NBK ranks among top performers across all categories of          advisory services, to increase our local, regional, and international   evolving professional landscape.                                       commitment to talent development and organizational resilience.
    products, including loans, cards, and liabilities, with a market        clients’ share of wallet. It provides a comprehensive suite of
    share of more than 30% in each product category.                        solutions to produce solid and sustainable long-term investment         Throughout 2023, several departments played a vital role in our        As we chart our course into the future, our focus on integrating
                                                                            returns through a customized strategy; further strengthening our        success with multiple contributions focusing on award-winning          ESG practices in our operations will be steadfast, emphasizing
    We continue to lead with Weyay, Kuwait’s first Digital bank,            value proposition of providing holistic solutions and delivering the    innovative solutions as we garnered prestigious awards across          responsible decision-making and scoring on both sides of
    expanding its scope to ink a partnership with Mastercard to be its      best wealth management experience to our clients.                       various fields.                                                        the balance sheet. With an overarching goal to empower
    exclusive cards scheme provider. Our strategy aligns seamlessly                                                                                                                                                        stakeholders, drive positive societal impact, and deliver superior
    with the demographics of our customer base, predominantly               In 2023, NBK Wealth’s in-house regional portfolios outperformed         Our ESG Culture                                                        returns to shareholders, we remain dedicated to our mission. This
    composed of Kuwaiti Youth, with more than 80% under the                 their respective benchmarks across various strategies, and              Our ongoing commitment to ESG reached new heights this                 commitment is fortified by a resilient governance and risk culture,
    age of 30.                                                              similarly, fixed income strategies also outperformed their              year. Across our banking strategy and business model, we have          ensuring that strategic decisions align with the Bank’s core values
                                                                            respective benchmarks. In parallel, and given the global                pursued ESG as one of the key elements in our strategic focus,         and contribute to a sustainable and responsible future.
    For our International Banking Group (IBG), the overall pipeline of      macroeconomic environment, innovative investment solutions              and took vital steps to turn it into a transformational force within
    loan approvals grew significantly in 2023 to drive balance sheet        were developed in line with the risk profiling of clients, designed     NBK. Our ESG Strategy evolved from a six-pillar approach to four       Dear Stakeholders,
    growth and revenues. One of the most significant achievements           to cater to client requirements and enhance diversification; these      interrelated pillars designed to reinforce our position as a trusted   Today, we find ourselves at a pivotal juncture, poised on the
    was the drive behind sustainable lending. Cross border network          solutions include the Islamic Real Estate Financing Fund and the        leader in the emerging business environments of the future.            cusp of new opportunities and challenges. Our resilient strategy
    transactions continue to grow in 2023 where teams from different        Infrastructure Investment Fund that allow clients to hedge against                                                                             and our proven business model will remain our guiding light for
    locations have engaged to service NBK’s clients with a seamless         inflation while generating returns. NBK Wealth also launched            The year 2023 recorded a KD 28 million investment in community         creating and delivering value to our stakeholders, empowering
    approach. This networking collaboration has further enhanced            new Sharia-compliant investment solutions and ESG equivalent            contributions across various sectors including healthcare,             them for tomorrow while steering a Digitized and Sustainable
    our relationship-driven approach.                                       investment solutions; and in collaboration with our strategic           education, youth, and women empowerment initiatives. This              Future. We remain committed to sustaining revenue growth
                                                                            partner JP Morgan Asset Management (JPMAM), we developed                was further strengthened by joining the United Nations Global          responsibly, strategically investing in our future, catalyzing
                                                                            Hedge Fund and Private Equity secondaries solution and are              Compact (UNGC) in February 2023, whereby we committed to               positive change in transition finance, introducing cutting-edge
    NBK’s digital roadmap has                                               expected to be available to NBK Wealth clients in 2024.                 adopt all ten principles in the areas of human rights, labor, the      products and services, advancing our digital capabilities,
                                                                                                                                                    environment, and anti-corruption. Our endorsement to the UNGC          promoting inclusive community development, and taking a
    been developed as a living                                              Digital Transformation Roadmap                                          reaffirms our role to lead responsible practices that drive Kuwait’s   prominent role in making a meaningful impact in economic growth
    strategy, continuously                                                  NBK’s digital roadmap has been developed as a living strategy           sustainable economic development and hence are strategically           in Kuwait and beyond.
    evolving and transforming                                               that is continuously evolving and transforming while our
                                                                            commitment to digital transformation investment is unwavering
                                                                                                                                                    aligning all our initiatives with the UN Sustainable Development
                                                                                                                                                    Goals (SDGs).                                                          In the pages that follow, you will discover the tangible outcomes
    while our commitment to                                                 and continuous. We are dedicated to transcending traditional                                                                                   of our efforts over the past year. From financial milestones
    digital transformation                                                  thinking, persistently striving to maintain our position as the         As part of our commitment to achieve carbon neutrality by 2060,        to strategic initiatives, each section of this report unveils our
                                                                            foremost innovator in this field, not only in Kuwait but across our     in line with Kuwait’s net-zero ambition, we have set interim goals     progress and achievement and reflects the spirit that propels us
    investment is                                                           locations.                                                              to reduce our gross operational emissions by 25% by 2025 and           forward, a spirit rooted in a vision that extends far beyond the
    unwavering.                                                                                                                                     are actively exploring innovative research and development             immediate horizon.
                                                                            Looking ahead, NBK’s strategic priorities and digital                   technologies to magnify our reliance on renewable energy beyond
                                                                            transformation goals for the coming year will be focused on             2025. In conjunction with this commitment, we developed
    Boubyan Bank continues to endorse our competitive advantage             harnessing smart technologies for smart banking. Additionally,          our Sustainable Financing Framework, which provides us with
    in the local market as the only banking group with access to            through embedded finance, NBK will meet the customers                   the roadmap for growing our sustainable assets and help us
    conventional and Islamic banking. The Bank is well positioned           wherever they need to be, seeking new opportunities in the global       to support our societies in transitioning to a sustainable and
    to continue delivering growth and to contribute positively to the       digital landscape; ensuring NBK is at the forefront of innovation in    equitable economy.
    Group’s profitability and further solidify our financial position. It   Kuwait and the region.                                                                                                                         Our resilient strategy and our
    is strengthening its Islamic banking franchise in the MENA region
    and beyond while focusing on digital transformation to achieve its      Our People
                                                                                                                                                                                                                           proven business model will remain
    aspiration to become one of the top Islamic banks in the world;         In 2023, our Group HR function exerted unwavering commitment                                                                                   our guiding light for creating
    offering innovative digital products and services to its customers.     in the continuous development of our people, closing the
                                                                            year with 147,701 local and 36,764 international training                                                                                      and delivering value to our
    Our continuous investment in our wealth management business
    is aimed at driving growth as NBK Wealth continues to leverage
                                                                            hours delivered, along with the launching of several academic,                                                                                 stakeholders, empowering them for
                                                                            motivational, and cultural initiatives. This multifaceted approach
    its competitive edge of proven capabilities in tailored products,       aimed not only to enhance their professional skills but also to                                                                                tomorrow while steering a Digitized
    cutting-edge technology, and quality customer service to provide
    a seamless cross-border experience for its clients.
                                                                            nurture a holistic growth mindset, fostering a workplace culture
                                                                                                                                                                                                                           and Sustainable Future.




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    Market Outlook
                                 Geopolitical Impact                                           expectations of a price spike did not materialize,     Economic Outlook of Neighboring Countries                             following its post-pandemic, consumption-led surge even while
                                 Against the backdrop of a fluid, uncertain                    with markets comforted by ample OPEC+ spare            GCC economies are expected to grow at a slower pace in 2023-          government fiscal policy has been supportive. The government
                                 global landscape in 2023, marked by significant               production capacity. The risk of conflict escalation   24, as oil production is cut in line with OPEC+ policy (with Saudi    announced a record deficit of KD6.8 billion for its FY23/24
                                 geopolitical shifts and tensions, Kuwait was                  nevertheless remains high, while in parallel,          Arabia taking on the lion’s share of output cuts), and as the         budget, inflated by one-off spending items related to accrued
                                 indirectly affected by the unfolding narratives               potentially stricter enforcement of US sanctions       global macroeconomic backdrop softens. According to the IMF’s         subsidy and salary payments owed from previous years. Growth
                                 of the ongoing Ukraine-Russia war and the                     on Iran could lead to some supply curtailment and      Regional Economic Outlook of October 2023, GCC GDP growth             in consumer spending and bank credit slowed to single digit
                                 conflict in Gaza. These external events cast                  eventually higher prices.                              is expected at 1.5% in 2023 before accelerating to 3.7% in 2024,      rates in 2023, while real estate sales activity declined amid
                                 a distinctive shadow on the geopolitical and                                                                         with non-oil activity moderating to 4.3% and 4.0% in 2023 and         elevated residential property valuations and costs of borrowing.

    3.1%                         economic landscape, shaping the context within
                                 which Kuwait navigated its own challenges and
                                                                                               Global Economic Policies and Trends
                                                                                               The global economy was subject to headwinds in
                                                                                                                                                      2024, respectively.                                                   Recent readings suggest that 2024 could see a turnaround in the
                                                                                                                                                                                                                            fortunes of the sector, helped by expectations of lower interest
    Global GDP                                                                                                                                        Nevertheless, demand will continue to be strong, supported            rates and government supply-side initiatives.
                                 opportunities.                                                2023 from tighter monetary policy, unequal growth
    Growth Estimated                                                                                                                                  by rising government spending that focuses on domestic
                                                                                               amongst advanced economies, an underwhelming
    for 2023 (IMF)               The Ukraine-Russia war entered its second year in             post-Covid rebound in China and heightened             investment, economic diversification-targeting structural reforms     Inflation trended lower by 2023’s close to 3.4% y/y, having been
                                 2023, with the ramifications of the conflict for the          geopolitical risk stemming from the conflicts in       and FDI-enhancing measures. Saudi Arabia and the UAE have             range bound at 3.7% for most of the year and influenced by
                                 global economy most visible through the energy                Ukraine and Gaza. US economic growth surprised         led the way in this regard. Non-oil growth in Saudi is estimated at   the slowdown in consumer spending. Project market activity,
    USD 82                       channel. Europe and the US led the international              in its robustness amid a relatively tight labor        4.9% in 2023 and 4.4% in 2024. Despite the successful economic
                                                                                                                                                      diversification drive, a sharp weakening in oil prices continues to
                                                                                                                                                                                                                            meanwhile, posted its best year since 2017 in the value of
                                                                                                                                                                                                                            contracts awarded. Also, the downstream oil sector was boosted
    Average Oil Price in         response to the conflict, curtailing imports                  market and solid consumer spending with inflation
                                 of Russian natural gas, crude and petroleum                   coming down but remaining above the Fed’s 2%           be the main downside risk. Kuwait could see some benefit from         by the completion and ramping up of the Al-Zour refinery.
    2023 (ICE Brent/bbl)
                                 products, and, in concert with their G-7 partners,            target. European economies, meanwhile, were            strong growth in neighboring economies, though as an oil-based
                                 imposed a price cap on these exports in the global            close to recession as high consumer prices and         economy, direct trade linkages are not very large.                    Meanwhile, the monetary environment tightened in 2023, as
                                 market. Together with OPEC+ supply management,                borrowing costs combined with weak external                                                                                  the Central Bank of Kuwait loosely tracked the US Fed in hiking
                                 this led to higher price premiums for medium                  demand amid fallout from the Russia-Ukraine            Kuwait’s Economic Indicators and Trends                               domestic interest rates. The key CBK discount rate ended the
                                 sour barrels such as Kuwait Export Crude over                 conflict and subdued Chinese growth. With              Kuwait’s non-oil GDP growth was estimated at 2.8% y/y as              year at 4.25%, having risen a cumulative 275 bps since March
                                 benchmark light sweet crudes such as Brent. The               inflation well off its peaks across advanced           of Q3 2023 according to official data, while its overall growth       2022—just over half of the Fed’s 525 bps increase over the same
                                 outbreak of hostilities in Gaza and the retaliation           economies, central banks seemed to be shifting         was -3.7%, negatively affected by OPEC+ mandated oil output           period. 2024 should see the Fed begin to loosen monetary policy.
                                 by Houthi militias on Western shipping in the                 towards interest rate cuts from the second half of     cuts. The performance of the non-oil sector in Kuwait slowed
                                 Red Sea also raised oil’s risk premium, though                2024, as 2023 drew to a close.




                 International Oil Price (ICE Brent USD/bbl)                                      GCC Real GDP Growth (% y/y)                                            Kuwait Real GDP Growth (% y/y)                                            Kuwait Key Economic Indicators

     130                                                                 130   12                                                              12      18                                                          18

                                                                               10                                                              10      15                                                          15                                               Units   2021    2022    2023    2024f
     120                                                                 120
                                                                               8                                                               8       12                                                          12       Nominal GDP                              $ bn    142     181     165     164
     110                                                                 110   6                                                               6        9                                                          9
                                                                                                                                                                                                                            Real GDP                                % y/y    1.1      7.8    -0.7    -0.2
                                                                               4                                                               4        6                                                          6
     100                                                                 100                                                                                                                                                Budget Balance (FY)                 % of GDP    -10.2    11.5    -6.7    -6.3
                                                                               2                                                               2        3                                                          3
      90                                                                 90                                                                             0                                                          0        Current Acc. Balance                % of GDP    26.4     34.5   26.5     17.6
                                                                               0                                                               0

                                                                               -2                                                              -2       -3                                                         -3       Inflation (avg.)                        % y/y    3.4      4.0    3.6      2.5
      80                                                                 80
                                                                               -4                                                              -4       -6                                                         -6
                                                                                                                                                                                                                            Crude Production (avg.)                 mb/d     2.4      2.7    2.6      2.5
      70                                                                 70
                                                                               -6                                                              -6       -9                                                         -9
                                                                                                                                                                                                                            Oil Price (KEC)                         $/bbl   70.5    101.2   84.3     82.0
      60                                                                 60    -8                                                                      -12                                                         -12
                                                                                                                                               -8
                                                                                    2000-19*      2020    2021      2022     2023f     2024f                 3Q21 4Q21 1Q22 2Q22 3Q22 4Q22 1Q23 2Q23 3Q23
       Dec- 21       Dec- 22     Dec- 22           Jun - 23    Dec- 23
                                                                                                                                                                   Oil            Total            Non-oil*
                                                                                        Non-oil             Headline           Oil                                                                                                             Source: Official sources, NBK forecasts

                               Source: Refinitiv                                               Source: IMF Regional Economic Outlook                                    Source: Official sources; Note:
                                                                                                  (October 2023); *annual average                                  2023 data is preliminary; *includes refining




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    Facts & Figures:                                                                  •        Domestic credit growth: Slowed in 2023, from 7.7% y/y at                   Kuwait Foreign Investment and Government’s 4-Year Action Plan           Kuwait’s Banking Sector
                                                                                               the start of the year to 1.7% by December, on the back of                  Kuwait has trailed its GCC peers in attracting foreign investments      Kuwaiti banks continued to post solid results in 2023, with
    •        GDP: GDP contracted by 3.7% y/y in Q3 2023 according                              easing demand for both household (+1.5%) and business                      (FDI), despite having positive fundamentals including a strong          a majority recording double-digit growth in net profits in H1
             to preliminary estimates published by the Kuwait Central                          credit (+0.9%).                                                            banking and financial sector and a steady macroeconomy.                 2023. Banks’ profitability indicators (Return on Equity, Return
             Statistical Bureau . This was largely a reflection of oil                •        Consumer price inflation: Trended lower by December’s                      Annual FDI inflows in 2022 were USD 758 million (0.6% of GDP),          on Assets) mostly increased in H1 2023, a continuation of the
             sector output declines (-9.0% y/y), in-line with Kuwait’s                         close to 3.4% y/y and a year-average of 3.6%.                              according to UNCTAD’s World Investment Report 2023, with the            trend seen since 2021. Asset quality remained generally good,
             participation in OPEC+ production cuts. The non-oil sector               •        The value of awarded projects: Saw an almost three-fold                    annual average over the last 10 years at about USD 558 million.         with the cost of risk lower for most banks in 1H2023 than in
             performed better, with growth accelerating to 2.8% y/y. Total                     increase on 2022’s level to KD 2.5 billion. The transport,                 The stock of direct investments in Kuwait stood at USD 15 billion       the same period in 2022, even after falling sharply across the
             GDP growth is forecast at -0.7% for 2023 as a whole, at best.                     power & water and construction sectors accounted for the                   in H1 2023, compared to USD 27 billion in Qatar, USD 35 billion         board in 2021 and 2022. Capital Adequacy continued to be solid,
    •        Consumer spending: Growth has slowed since 2021 to                                bulk of the awards.                                                        in Bahrain and USD 50 billion in Oman. Bureaucratic hurdles,            standing at 18.4% as of June 2023, well above the minimum
             +8.3% y/y in 2023.                                                       •        Kuwaiti employment: Grew by 2.9% y/y as of end-June 2023,                  restrictive policies in the large oil sector and policymaking           requirement of 13%. However, domestic loan growth was weak in
    •        Real estate sales: Activity declined 22% in 2023, with                            significantly outpaced by expatriate employment growth of                  uncertainty have been cited as challenges.                              2023, expanding by 1.7% in the year-through December against a
             cumulative sales of KD2.8 billion.                                                14% y/y over the same period. The Kuwaiti employment rate                                                                                          backdrop of higher interest rates and following very strong growth
                                                                                               ranged lower slightly to 94.2% from 94.8% at the June 2022                                                                                         in 2022.
                                                                                               reading.
                                                                                                                                                                                                                                                  Investments in Energy Sector
                                                                                                                                                                                                                                                  Investments are ongoing in the energy sector, with Kuwait
                                                                                                                                                                                                 Fiscal Balance (fiscal year)                     Petroleum Corporation (KPC) pushing ahead with its
                   Credit and Debit Cards Transactions (local)                                                   Private Credit Growth (% y/y)
                                                                                                                                                                                                                                                  sustainability plan to expand non-fossil fuel, renewable energy
        50                                                                      50        20                                                                       20        8                                                              20    sources to a level that would satisfy 15% of the country’s entire
                                                                                                                                                                             6                                                              15    energy requirements by 2030. Moreover, KPC unveiled at its
        45                                                                      45
                                                                                                                                                                                                                                                  Strategic Directions 2040 and Energy Transition 2050 conference
        40                                                                      40        15                                                                       15        4                                                              10
                                                                                                                                                                                                                                                  a roadmap to achieve carbon neutrality by 2050, in line with
                                                                                                                                                                             2                                                              5
        35                                                                      35                                                                                                                                                                similar plans pursued by GCC neighbors. To that end, KPC will
                                                                                                                                                                             0                                                              0
        30                                                                      30        10                                                                       10                                                                             look to spend about USD 110 billion on top of the USD 300
                                                                                                                                                                            -2                                                              -5    billion already allocated for the oil sector to help drive upstream
        25                                                                      25
                                                                                                                                                                            -4                                                              -10   capacity gains in the 2040 strategy.
        20                                                                      20        5                                                                        5
                                                                                                                                                                            -6                                                              -15
        15                                                                      15                                                                                          -8                                                              -20   Kuwait’s National Vision 2035
        10                                                                      10        0                                                                        0       -10                                                              -25   Under the auspices of the Kuwait Vision 2035 document, a four-
        5                                                                       5
                                                                                                                                                                                                                                                  year economic plan was published in mid-2023 and later updated
                                                                                                                                                                           -12                                                              -30
                                                                                                                                                                                                                                                  that detailed initiatives to be implemented by 2027 to help guide
        0                                                                       0         -5                                                                       -5      -14                                                              -35
                2019       2020            2021          2022      2023
                                                                                                                                                                                                                                                  policy. The plan is based on six pillars: public finance stability;
                                                                                               Dec - 21      Jun - 22       Dec - 22       Jun - 23       Dec - 23               17/18   18/19     19/20   20/21   21/22   22/23   23/24e
                                                                                                                                                                                                                                                  economic sector development; job opportunities and capacity
                   KD billion
                   % y/y                                                                             Total credit           Household              Business                          KD billion (LHS)          % of GDP (RHS)                     building; sustainable welfare and human capital development;
                                                                                                                                                                                                                                                  productive government; and sustainable economic development
                         Source: Central Bank of Kuwait (CBK)                                                     Source: Central Bank of Kuwait                                     Source: Kuwait Ministry of Finance, NBK estimates            enablers. The program’s goals include: improving liquidity and
                                                                                                                                                                                                                                                  expenditure management; developing the housing, tourism,
                                                                                                                                                                                                                                                  transport, logistics, technology, financial services and renewable
                                                                                                                                                                                                                                                  energy sectors—through strong PPP engagement; creation
                                                                                                                                                                          Improving the business landscape and attracting FDI are part of         of a northern economic zone; raising the productivity of state
                                   Real Estate Sales                                                          Consumer Price Inflation (% y/y)                            the government’s 4-year action plan. The potential establishment        employees while promoting private sector employment; creation
     5.0                                                                        120       12                                                                         12   of the “Ciyada” domestic investment vehicle could be significant        of a better-educated and knowledge-based society; and the
     4.5                                                                        100                                                                                       in spurring new inflows. The plan also focuses on privatization to      strengthening of governance and institutional capacities.
                                                                                          10                                                                         10   change the government’s role from a major player in the market
     4.0                                                                        80
                                                                                                                                                                          to supervision, unlocking more opportunities for the private
     3.5                                                                        60
                                                                                           8                                                                         8    sector. These reforms require the availability of funding for the
     3.0                                                                        40                                                                                        private sector, which presents financing opportunities for banks.
     2.5                                                                        20         6                                                                         6    The pick-up in projects activity in 2023 and potentially in 2024 as
     2.0                                                                        0
                                                                                                                                                                          well bode well for bank business and the broader economy.
                                                                                           4                                                                         4
     1.5                                                                        -20

     1.0                                                                        -40
                                                                                           2                                                                         2
     0.5                                                                        -60

        0                                                                       -80        0                                                                         0
               2018      2019        2020         2021      2022    2023                          Dec-20 Jun-21      Dec-21 Jun-22      Dec-22 Jun-23     Dec-23
                  Commercial (KD bn, LHS)            Residential (KD bn, LHS)                         Headline                    Core (exc. food & housing)
                  Investment (KD bn, LHS)            Growth (% y/y, RHS)                              Food and beverages


                                Source: Ministry of Justice                                                      Source: Central Statistical Bureau



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1         Strategic Review




    Our Business Model
                                                                                                                                                                                           At the core of our ethos lies a commitment
    We use our key strength...                                                                                                                                                              to integrity, innovation, and the relentless
                                                                                                                                                                                             pursuit of excellence, all underpinned by
                                                                                                                                                                                              a profound dedication to entertaining a
                                                                                                                                                                                           trusted relationship with our stakeholders.

                                                                                                                                                                                                     Our business model is a testament
    A Leading                  A Dynamic Appetite         Digital Leadership         A Commitment             A Committed and         A Proactive Sustainability                                      to our unwavering commitment to
    Customer                   for Challenge              and Growth for a           to Disciplined           Value-Driven            Focus for a better                                             maintaining trust while continually
    Base Franchise             beyond                     transformative             Compliance               Workforce,              tomorrow.
    spanning across            conventional               journey.                   with proactive           the backbone of                                                                        creating tangible and lasting value
    continents.                boundaries.                                           risk management.         our business.                                                                                for all stakeholders involved.



                                                                                                To create
    Crafted to                                                                                  value through...
                                                                                                                                      Catering to the diverse
                                                                                                                                      needs of retail, corporate
                                                                                                                                      and High-Net-Worth
                                                                                                                                      individuals. Through a
                                                                                                                                                                       Extending our reach
                                                                                                                                                                       beyond borders,
                                                                                                                                                                       establishing a
                                                                                                                                                                       challenging footprint
                                                                                                                                                                                                    Contributing to the
                                                                                                                                                                                                    landscape of global
                                                                                                                                                                                                    trade flows, playing a
                                                                                                                                                                                                    pivotal role in bridging
                                                                                                                                                                                                                               Building a distinguished
                                                                                                                                                                                                                               Private Banking and
                                                                                                                                                                                                                               Asset Management
                                                                                                                                                                                                                               franchise to serve a


    Sustain Trust
                                                                                                                                      strategic commitment to          and cultivating a            capital and trade flows    regional customer base
                                                                                                                                      digital transformation, we       regional and international   between MENA and           with tailored financial
                                                                                                                                      are redefining the banking       clientele within the         the rest of the world.     solutions across
                                                                                                                                      experience,                      dynamic agile                                           geographies.



    and Create Value
                                                                                                                                      for our clients.                 banking industry.




    For our stakeholders...
    Our Client Base:                   O
                                        ur People:                      Our Shareholders:                Our Regulators             Our Communities:
    Delivering innovative              Fostering a culture               Delivering consistent             and Governments:           Enabling positive
    financial products and             of innovation and                 returns and ensuring long-term    Upholding responsible      change within communities
    personalized services.             transforming                      value creation through            practices with a           through initiatives that
                                       our workforce into                sustained growth strategies.      commitment to robust       support social and sustainable
                                       highly valued assets.                                               governance practices       economic development.
                                                                                                           and full compliance with
                                                                                                           regulatory requirements




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    Strategy

                            Digital Transformation                                                                  ESG Transition

                                                                                                 he Bank aims to (i) remain the primary banker for the leading local companies whilst continuing to be active in
                                                                                                T
                                                                                                the mid-market sector;(ii) remain the bank of choice for foreign companies and continuing to serve at least 75% of
                                                     Corporate Banking                          those companies and (iii) maintain its current market share in trade finance (over 30%).

                                                                                                To achieve the above, NBK will expand its coverage and broaden the range of products and services offered.

          Defend
          and Grow                                                                               BK intends to maintain its focus on the profitable affluent and mass affluent segments while continuing to build
                                                                                                N
                                                                                                a future-safe franchise by investing in youth segments (such as first jobbers and Shabab).
                                                        Consumer Banking
          Leadership                                                                             hrough the above, the Bank aims to maintain its leadership position, maintain its focus on delivery of superior
                                                                                                T
                                                                                                customer service experience and achieve the lowest cost of funds among Kuwaiti banks.

          Position in
          Kuwait                                                                                 BK aims to continue to provide a unique proposition to high net worth clients by bringing its frontline and
                                                                                                N
                                                                                                investment arm together as one team and complementing its superior customer service with an increasingly wider
                                                            Build Regional                      range of investment products.

                                                            Powerhouse in                        everaging its strong trustworthy brand and geographic reach, the Bank aims to bridge capital flows between
                                                                                                L
                                                                                                Kuwait and the rest of the world.
                                                            Wealth Management
                                                                                                 BK aims to replicate its success in wealth management in Kuwait in other GCC markets and build a pan-regional
                                                                                                N
          Geographical,                                                                         franchise with regional origination and international asset allocation capabilities.


          Product                                                                                he Bank’s geographic diversification strategy is to leverage its fundamental strengths and capabilities, including
                                                                                                T

          and Service                                   Expand Regional                         its international reach and strong regional relationships, to build a regional platform and support growth in key
                                                                                                markets.
                                                        Presence
          Diversification                                                                        BK focuses on markets with long-term potential through a combination of high growth economies, sound
                                                                                                N
                                                                                                demographic trends and opportunities aligned with the Bank’s competitive advantages.




                                                     Establish an                                he Bank’s strategy, in relation to its Islamic subsidiary, is to differentiate it from other domestic Islamic banks
                                                                                                T
                                                                                                through a clear focus on high net worth and affluent clients and large and mid-market corporate customers.
                                                     Islamic Franchise




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    Digitization at the Core
    NBK stands at the forefront of digital innovation, fostering a         platform that resonates with the daily rhythms of customers.         Key Milestones and Achievements in 2023                               •   When determining the critical next steps after the launch of
    transformative banking experience that revolves around the             From a redesigned holistic dashboard to personalized greetings       In 2023, NBK made significant strides in its digital transformation       the New NBK Mobile Banking Application, enhancements to
    genuine needs and aspirations of its customers. Rooted in a            and enhanced financial control, every feature is a testament to      journey with the successful launch of the New NBK Mobile                  QuickPay were a clear priority. Customers may now pay for
    profound commitment to customer-centricity, NBK has reshaped           NBK’s understanding of what its customers desire. This customer-     Banking Application. This innovative app was designed with a              NBK QuickPay links directly through the NBK Mobile Banking
    the lives of its customers through a meticulously crafted suite of     focused approach has not only garnered widespread acclaim but        mobile-first approach, prioritizing user experience and customer-         Application, debiting directly from their selected account.
    digital services and products.                                         has also resulted in tangible benefits for users – reduced clicks    centricity.                                                               Additionally, customers may generate a NBK QuickPay using
                                                                           for accessing services, increased mobile usage, and a satisfaction                                                                             a QR code through the app as well
    The launch of the new NBK Mobile Banking Applicationlication           rate exceeding 90%.                                                  Main Highlights:                                                      •   Digital Products for customers are also evolving, and NBK
    exemplifies this dedication, offering a personalized and intuitive                                                                                                                                                    has launched the Avios card, which allows customers to earn
                                                                                                                                                •   A holistic dashboard providing a comprehensive view of all            both British Airways and Qatar Airways miles. This card is
                                                                                                                                                    products                                                              available fully digitally without any need for a branch visit.
    Highlights                                                                                                                                  •   Intuitive navigation and quick access buttons to perform          •   NBK is always exploring innovative ways to boost the custom-
                                                                                                                                                    transactions faster                                                   er value proposition by engaging with local and global players
     Recorded more than 50 million      As of end December 2023, total Over 90% satisfaction rate            NBK’s Mobile E-KYC service         •   Enhanced card management for greater financial control                in the Fintech space, to deliver new experiences for custom-
     transactions through NBK’s         active customers executing their post-facelift for the New NBK       launched, allowing customers       •   A personalized experience with greetings and birthday mes-            ers in the field of personal finance management, wearable
     Mobile Banking Application.        banking transactions digitally   Mobile Banking Application.         to update their personal               sages                                                                 technology and Artificial Intelligence based solutions
                                        across all segments reached                                          information through their daily    •   New design system to achieve state-of-the art customer ex-        •   A unified user experience across all digital channels with
     19% YOY growth in mobile           around 500k customers.                                               banking channel.                       perience                                                              plans to apply a similar customer-centric approach to NBK
     banking transactions in 2023.                                                                                                                                                                                        Online Banking and ATM
                                                                                                                                                The new Application transforms how customers engage with their
     Awarded “Best Mobile Banking       Group Digital Office named         NBK Mobile Banking app            NBK actively seeks
                                                                                                                                                daily banking needs, boasting a highly efficient and user-friendly    A Journey through Design Thinking and Agile Methodologies
     Application” in the Middle East    “Best Financial Innovation Lab     positioned as the most            collaboration with participants
                                                                                                                                                interface that guarantees an enhanced and enriched experience.        To enhance customer experience and streamline operations, NBK
     and “Best Consumer Digital         in Kuwait 2023”, for the third     dominant channel for daily        of the Central Bank of Kuwait’s
                                                                                                                                                                                                                      adopted a Design Thinking process, ensuring the identification of
     Bank in Kuwait” by Global          year in a row by Global Finance.   banking needs.                    Wolooj Fintech sandbox,
                                                                                                                                                Positive Customer Engagement:                                         customer needs and pain points and securing the proper steps
     Finance.                                                                                                as well as the upcoming Open
                                                                                                                                                                                                                      are taken to address them. This customer-centric approach was
                                                                                                             Banking initiative to foster
                                                                                                                                                •   Upward trend in mobile usage                                      coupled with Agile methodologies driving purpose-driven User
                                                                                                             new opportunities for unity
                                                                                                                                                •   Increased customer satisfaction rates                             Experience design to ensure that digital platforms align with the
                                                                                                             between banks and Fintechs.
                                                                                                                                                •   Notable boost in new product sales and cross-selling              Bank’s values and a customer-centric approach in all aspects of
                                                                                                                                                                                                                      the organization.
    2023 Product Highlights
                                                                                                                                                NBK Mobile Banking Application became the most significant
                                                                                                                                                channel for usage and transactions and the top-rated mobile           Driving Customer Engagement
     New Mobile Banking                 Payment Products                   Digital Investment Engagement     Customer 360                       banking app in Kuwait, reflecting the success of the Bank’s digital   NBK’s mobile adoption experienced significant growth, with
     Application                        Expanding the payment              in the NBK Mobile Banking         C360 is a multi-phase project      strategy.                                                             the introduction of the new NBK Mobile Banking Application
     The new NBK Mobile Banking         functionalities of the New NBK     Application                       that provides a state-of-                                                                                contributing to increased penetration rates and active usage. Key
     Application is an innovative       Mobile Banking Application         Launched Digital Investment       the-art enhanced Customer          Digital Advancements:                                                 customer segments witnessed a substantial surge in activation,
     value proposition for our          including the new Avios card,      Engagement in the NBK Mobile      Relationship Management            As part of our commitment to digital advancements, we                 establishing the app as the go-to for daily banking. The app now
     customers. The app elevates        enrichment to NBK QuickPay,        App in collaboration with         (CRM); delivering a holistic       continually serve our customers by providing frequent updates to      dominates daily banking with a high self-service transaction ratio.
     NBK’s digital offerings to         NBK Flexipay and a digitized       SmartWealth by NBK Capital to     view of our relations with our     the mobile app; augmenting the digital experience for customers.
     new heights in our journey to      prepaid card proposition.          provide NBK mobile customers      corporate clients, further         This year, NBK has launched over 30 new features in tandem with       A Trailblazing Journey in Talent Development and Innovation
     empower customers through                                             with integrated banking and       enhancing our relationship         the new application.                                                  NBK has taken comprehensive steps to enhance internal digital
     digitization.                                                         investment services.              management.                                                                                              capabilities, recognizing the pivotal role of its workforce in the
                                                                                                                                                •   NBK is continually promoting the convenience of customers         digital transformation journey.
                                                                                                                                                    through digitization, and it was achieved this year with the
                                                                                                                                                    launch of a new E-KYC service allowing customers to update        •   Internal digital capabilities were boosted through the estab-
                                                                                                                                                    their information directly in the app, adding transfer receipts       lishment of mobile squads using Agile methodologies align-
                                                                                                                                                    to the NBK app, as well as automating the investments of              ing platforms with customer demands, regulatory changes,
                                                                                                                                                    NBK funds                                                             and improved digital offerings
                                                                                                                                                •   Focused enhancement of cards and payments means, with             •   The NBK Tech Academy reinforces digital talent, fostering
                                                                                                                                                    the release of several features to enhance the customer ex-           expertise in STEM roles through a curated management train-
                                                                                                                                                    perience, namely viewing card details, temporary blocking,            ing program. The cultivation of a digital community within the
                                                                                                                                                    and reporting lost or stolen cards; as well as flexible payment       Bank promotes a vibrant digital force and drives engagement
                                                                                                                                                    options through Flexipay                                              with content and events for ongoing innovation




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    Operational Review
    Our journey has been marked by pioneering initiatives, making                                                                                   predominantly on selectively growing with Investment Grade              policy aims to improve the pricing of interest rate and liquidity risks
    us a trailblazer in the country with numerous “firsts” to our credit                       Mobile Banking Highlights 2023:                      counterparties and Government Related Entities.                         and enhance the management of the balance sheet by driving the
    and client loyalty reflecting the trust placed in our institution.                                                                                                                                                      proper behavior. In addition, managing interest rate risk was also
                                                                                               • 13% rise in the number of                          In 2023, our efforts focused on:                                        a major 2023 focus in parallel to liquidity management, especially
    As we delve into the intricacies of our operations, it is evident
    that the collective efforts of our talented workforce contribute                             registered users                                   Consolidating returns and leveraging existing strengths, leading to     amid the substantial policy tightening since 2022 and the recent
    significantly to our success, reinforcing NBK’s position as a                              • Usage has increased by 34%                         a net growth of over USD 2 billion in assets globally, particularly     rise in geopolitical tensions in the region.
    beacon of reliability and progress in the financial industry.                                                                                   within NBK’s current footprint while maintaining healthy cost-
                                                                                               • Financial transaction volume                       to-income ratio. A notable achievement was the emphasis on              In 2024, strategic priorities will focus on leveraging the recently
    Commitment to Creating Value                                                                 has grown by 43%                                   sustainable lending, becoming the leading contributor within the        acquired technology solutions to broaden product offerings and
    At the core of our operations are key pillars that define our                                                                                   Group in anchoring sustainability in its global business.               services to a wide range of clients in Kuwait and international
    commitment to excellence.                                                                                                                                                                                               locations by expanding the list of hedging solutions and
                                                                                                                                                    The International Banking Group’s cross-border transactions             investment products offered to clients with diversification
    •     Unwavering adherence to regulatory frameworks, ensuring            In 2024, a continued emphasis will be placed on customer-centric       expanded as teams from different locations collaborated to serve        efforts on the liquidity and funding front. Additionally, efforts
          transparency and compliance in all facets of our endeavors.        strategies, technological advancements, and pioneering initiatives     NBK’s clients, fostering a seamless NBK approach and promoting          will be invested in further leveraging the recent technological
    •     Customer centricity is embedded in our approach,                   that will further solidify NBK’s position as a trusted financial       a relationship-driven model.                                            acquisitions and expanding the benefits of these state-of-the-art
          prioritizing the satisfaction and needs of our clients.            partner, setting new benchmarks in Kuwait’s banking industry.                                                                                  solutions to more international locations, and rolling out the new
    •     Premium placed on our people, fostering a supportive and                                                                                  Two locations underwent transformation to become regional hubs          FTP framework to additional overseas locations.
          inclusive environment that empowers our team.                      NBK Wealth                                                             in Europe and Asia, expanding NBK’s presence and establishing
    •     Sustainability considerations guide our decisions, reflecting      In 2023, NBK Wealth concluded the transformation plan of               the Bank as a trusted brand. In serving international retail clients,   Corporate Banking Group
          our dedication to responsible business practices.                  consolidating NBK’s private banking and asset management               IBG has implemented country-specific strategies to expand               The Corporate Banking Group pursued its strategic objectives
    •     Embracing innovation and technology, recognizing their             businesses under one leadership and identity. The transformation       consumer products and services within NBK’s footprint. In Egypt         with a primary focus on defending and growing NBK’s strong
          transformative power to enhance efficiency and elevate the         plan was focused on client-centricity, as the division currently       and Bahrain, the focus was on improving transactional banking           market position as the Bank of choice for corporates in Kuwait. It
          overall experience for our customers and stakeholders.             provides SHNWI/UHNWI/HNWI and institutional accounts with              services, particularly in cards and accounts. NBK introduced new        capitalized on new business opportunities from existing clientele
                                                                             a holistic and client-centric offering including all private banking   co-branded cards and interest-bearing current accounts in Egypt,        and attracted new clients through exceptional customer service
                                                                             products as well as investment solutions, leveraging on the            along with expanding credit card availability across the platform.      and a robust capital base.
    Consumer Banking Group
                                                                             decades-long trusted relationships with clients and aiming at          Across International Corporate and Commercial Real Estate
    Customer behaviors are evolving, marking a growing appetite for
                                                                             meeting their ever-changing needs.                                     activities, the emphasis in the current year was on enhancing           In 2023, our efforts focused on:
    digital channels and a remarkable surge in digital literacy and
                                                                                                                                                    synergies across the network to elevate the level of services           •    Introducing a pioneering suite of commercial cards, first-
    expectations. At NBK’s Consumer Banking Group, we recognize
                                                                                                                                                    provided to NBK customers.                                                   of-its-kind offering in Kuwait, empowering clients with
    this transformation and are proactively adapting to meet the             In 2023, our efforts focused on:
                                                                                                                                                                                                                                 enhanced control over their business expenditures.
    changing needs of our clients.                                           •    Advisory solutions: Client-specific and tailor-made wealth,
                                                                                                                                                    In 2024, we will be gearing our actions towards:                        •    Rolling out new services designed to simplify the digital and
                                                                                  portfolio investment, real estate planning, and advisory
                                                                                                                                                    •    Growing NBK’s footprint across NBK’s key regional markets               physical submission of documentation for corporate clients,
    In 2023, our efforts focused on:                                              services, including using holistic multi-asset strategies.
                                                                                                                                                         in Saudi Arabia and the UAE, with a continued focus on                  resulting in a significant reduction in processing times.
    •    Upgrading NBK Mobile Banking Application with more than             •    Product solutions: Access to a unique platform covering a
                                                                                                                                                         Government Related Entities and Top-Tier Corporates.               •    Fostering the growth of our mid-sized corporate clients.
         30 enhancements on both UI/UX tailored to customer needs                 wide array of investment vehicles across liquid and illiquid
                                                                                                                                                    •    Expanding strategically across the European Union,                 •    Investing in digitizing service delivery channels, focusing on
         with personalization features.                                           solutions, including leasing and Islamic leasing products,
                                                                                                                                                         particularly in corporate lending, trade finance, Commercial            enhancing existing IT platforms and actively promoting client
    •    Anchoring our leadership as the first bank to launch Apple               regional and global mutual funds, fixed income and money
                                                                                                                                                         Real Estate, and residential mortgages.                                 adoption and utilization of digital solutions.
         Pay in Kuwait.                                                           market funds, and infrastructure funds.
                                                                                                                                                    •    Enhancing the Group’s footprint in Asia through its regional       •    Increasing uptake of corporate online banking services
    •    Launching the new NBK Cards Designs and eco-friendly                •    Booking centers solutions: Expanded booking centers with
                                                                                                                                                         hub in Singapore.                                                       (WOLC) as a result of simplifying customer journeys, robust
         prepaid card promoting transparency.                                     optional relationship management coverage model.
                                                                                                                                                    •    Diversifying the Group’s Commercial Real Estate portfolio.              security measures, and improved online user experience.
    •    Leveraging value proposition for Weyay: increase its market         •    Banking services: Differentiated propositions to HNWIs for
                                                                                                                                                    •    Integrating ESG into credit management processes.                  •    Preserving the high quality of asset portfolio with vigilant
         share in the youth segment to reach more than 30% and                    core banking products such as loans, deposits, and credit
                                                                                                                                                    •    Undertaking digital and technology investments across the               management of credit risk.
         partnership with MasterCard to be its exclusive cards                    cards.                                                                 network.                                                           •    Monitoring and assessing the performance and effectiveness
         scheme provider.                                                                                                                                                                                                        of corporate clients’ interactions, enabling us to make
    •    Repositioning of Jawhara account; attracting funds from             In 2024, NBK Wealth will continue to leverage its collaboration        Treasury                                                                     continuous enhancements to our offerings.
         non-NBK customers and enhancing Shabab segment                      with third parties to provide NBK Wealth’ customers with a             At the forefront of NBK’s strategic initiatives, Group Treasury         •    Integrating ESG Scoring into corporate clients’ credit
         offerings.                                                          wider array of alternative investment solutions including multi-       plays a pivotal role in orchestrating collaborative efforts across           assessments and creditworthiness evaluations, reinforcing
    •    Introducing cards for SMEs with corporate supporting needs          strategies, infrastructure funds, hedge funds, as well as private      various business and control units. A standout accomplishment                the importance of governance in business practices.
    •    Signing partnerships with third-parties to provide customers        equity secondaries. Moreover, our efforts will be geared towards       in 2023 was leading the pivotal project to transition USD assets
         with first-time services, i.e introducing special offers for        integrating ESG components into our offerings and selection            and liabilities from LIBOR to alternative rates, such as SOFR. This     In 2024, core objectives and strategic priorities remain steadfast:
         Kuwaiti Retirees with the Public Institution for Social Security.   process for clients with an ESG preference, reflecting our             transition encompassed the successful migration of all USD bilateral    as the Corporate Banking Group is committed to maintain a
    •    Expanding the strong value proposition for premium                  commitment to sustainable investment practices.                        contracts and derivatives transactions, with ongoing collaboration      strong market position by proactively identifying and seizing
         segment by partnering with top brands injecting the segment                                                                                with other banks for the remaining syndication contracts.               opportunities for growth and continuing to support clients as they
         with lifestyle exclusivity.                                         International Banking Group                                                                                                                    navigate this evolving economic landscape.
    •    Upgrading our solution center systems with in-app chat              The International Banking Group (IBG) maintained its proactive         In 2023, our efforts focused on:
         allowing customers to chat directly from within the                 approach in managing the loan portfolio as well as its long-           Actively supporting the implementation of a new Funds Transfer
         application.                                                        standing international strategy that requires the group to focus       Pricing (FTP) policy and framework at NBKI, geared towards refining
                                                                                                                                                    the pricing of interest rate and liquidity risks. This progressive

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    Group CFO’s Review
                               As we reflect on the financial landscape of the year, we are happy to report that 2023 was another remarkable    of our assets and have been able to consistently maintain healthy         Future Outlook
                               year, marked in many ways by elevated levels of global uncertainty and geo-political challenges. However,        asset quality metrics. By the end of 2023, our NPL to gross loans         As we look ahead with optimism and determination, NBK Group
                               NBK Group has navigated the year with a strategic vision guided by our core principles and backed by our         ratio reached 1.38%, and our NPL coverage ratio was 271%,                 remains focused on delivering strong profitability and sustainable
                               unwavering dedication to sound financial practices, prudent risk management, and innovative strategies that      affirming NBK’s success with its proactive and conservative risk          growth. Despite potential challenges in the financial landscape,
                               enabled us to withstand the turbulence and emerge stronger and more resilient with a steadfast commitment        management practices over the years.                                      including geopolitical tensions and macroeconomic uncertainties,
                               to financial excellence both locally and through our international network.                                                                                                                we are cautiously optimistic of an overall stable operating
                                                                                                                                                Financial Operations and Governance                                       environment in 2024. We stand ready to embrace the challenges
                                                                                                                                                NBK Group remained committed to compliance with regulatory                and opportunities that lie ahead. With a focus on continued
                               Robust Strategy                                          other hand, non-interest income at KD 261.6             requirements and industry standards, ensuring transparency                innovation and digitization, we are poised to lead in an ever-
                               In navigating the economic challenges and market         million represented 22.4% of net operating income,      and accountability in our financial operations. We fostered               changing financial environment. With our history of resilience and
                               dynamics during the year, NBK Group has                  benefitting from strong fees and commission             transparency through regular investor communications,                     adaptability, we are well-positioned to overcome any challenges
                                                                                                                                                discussions with rating agencies, and the publication of important        and capitalize on opportunities for continued success as we
    KD 560.6                   upheld its resilient business model, leveraging a
                               diversification strategy, healthy balance sheet,
                                                                                        income and higher net investment income. The
                                                                                        Group’s fee income reflected growth in underlying       financial reports and sustainability disclosures.                         remain committed to upholding our legacy of trust and leadership
    million Net Profit         conservative risk management practices, and              transaction volumes across business lines and                                                                                     in providing secure financial services for a sustainable future.
    in 2023                    strong capitalization. Our focus on enhancing            operating locations.
                               digital products and services through platforms
                                                                                                                                                                  2023 Op. Income by Business Line (%)                    Key ratios (%)                       2023       2022         2021
                               like Weyay has fortified our prospects for future        The Group’s increased activity levels across the
                               growth. Additionally, we have capitalized on             network and continued investments in key                                                                                          Return on Average Assets             1.53        1.48        1.15

    17.3%                      opportunities in key growth markets, particularly in
                               the GCC, with a special emphasis on commercial
                                                                                        businesses, digital technologies, processes and
                                                                                        human capital, resulted in total operating expenses
                                                                                                                                                                  Others 13%
                                                                                                                                                                                                   Consumer 20%
                                                                                                                                                                                                                          Return on Average Equity
                                                                                                                                                                                                                          Net Interest Margin
                                                                                                                                                                                                                                                               15.0
                                                                                                                                                                                                                                                               2.59
                                                                                                                                                                                                                                                                           14.3
                                                                                                                                                                                                                                                                           2.30
                                                                                                                                                                                                                                                                                       10.2
                                                                                                                                                                                                                                                                                       2.21
    Capital Adequacy           banking and wealth management initiatives.               of KD 426.5 million, reflecting a year-on-year
    Ratio as of                                                                         growth of 10.4%. The Group’s cost to income                                                                                       Non-interest income as % of
                                                                                                                                                                                                                                                               22.4        25.1        25.6
    31 December 2023           2023 Business Performance                                ratio stood lower at 36.6% compared to 38.2% in          Int'l Bkg 24%                                                            total income
                               The Group recorded a net profit of KD 560.6 million      2022, reflecting our commitment to operational                                                                    Corporate 14%   Cost to Income                       36.6        38.2        39.2
                               (USD 1.8 billion) in 2023, a 10.1% year-on-year          efficiency. Operating surplus thus grew by 18.7%                                                                                  NPL Ratio                            1.38        1.42        1.04
                               increase from KD 509.1 million (USD 1.7 billion) in      year-on-year to reach KD 740.3 million.
                                                                                                                                                                                                                          Loan Loss Coverage Ratio              271        267          300
                               2022, driven by a solid operational performance.
                               This strong operating performance was driven by          The Group remains committed to its conservative                                                                                   Common Equity Tier 1 Capital
                                                                                                                                                                                                                                                               13.0        12.9        13.3
                               higher net interest income, increased fee income,        approach in managing credit exposures and                                                                                         Adequacy Ratio
                               and growth in business volumes, particularly in          historically has reacted proactively by setting aside                                                                             Tier 1 Ratio                         15.0        15.0        15.7
                               loans and investment securities, reflecting the          precautionary general provisions. In 2023, total                                                                                  Capital Adequacy Ratio               17.3        17.4        18.1
                               strength of the Group’s portfolio, which provides        provisions and impairments increased year on year                                                       NBK Wealth 10%
                                                                                                                                                                 Islamic 19%
                               for revenue diversification and cost management          to KD 103.1 million from KD 45.4 million in 2022
                               strategies.                                              which had benefitted from significant amount of
                                                                                        provision recoveries.
                               Likewise, our net operating income mix continues
                               to show healthy trends and is driven by core             Healthy Balance Sheet
                               banking activities. Net operating income stood at        As of the end of December 2023, total assets grew                          2023 Net Profit by Business Line (%)                                  2023 Total Assets by Business Line (%)
                               KD 1.2 billion, up by 15.6% from KD 1.0 billion in       by 3.7% year-on-year to reach KD 37.7 billion,
                               2022; supported by a higher net interest income as       whereas loans and advances stood at KD 22.3                                                                                                             Others 5%
                                                                                                                                                                   Others 10%                                                                                           Consumer 13%
                               well as stable non-interest income. International        billion, up by 6.1% year-on-year on increased                                                           Consumer 18%
                               Banking contributed 23.7% of Group’s net                 volumes achieved in both conventional and Islamic
                               operating income, while Islamic banking operations       customer segments, in Kuwait and overseas.               Int'l Bkg 23%                                                                                                                  Corporate 14%
                               and NBK Wealth contributed 19.2% and 9.6%                Investment securities reflected a strong growth
                               respectively.                                            during the year to reach KD 6.9 billion.                                                                        Corporate 25%

                               Net interest income at KD 905.1 million was              Customer deposits surged by 8.8% to reach KD
                               boosted by higher interest rates and improved            21.9 billion, with the overall funding mix remaining
                               margins while benefitting from higher volumes            stable and favorable to the Group. The growth in                                                                                                                                           NBK Wealth 3%
                               of loans and investment securities across                our business volumes across different segments
                               geographies. Net interest income for the year            and geographies reflect the strength of NBK’s
                               accounted for 77.6% of the net operating income          brand and reputation. In the meantime, we
                               and grew by 19.8% compared to 2022. On the               continue to place a strong emphasis on the quality             Islamic 13%
                                                                                                                                                                                                                                    Int'l Bkg 43%

                                                                                                                                                                                      NBK Wealth 11%                                                                     Islamic 22%




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    Key Performance
    Indicators
    The delivery of NBK’s strategy is measured against Key               The KPIs are categorized as ‘financial’ and ‘non-financial’. The
    Performance Indicators (KPIs), which enable management and           table summarizes our overarching KPIs and provides an overview
    the Board to monitor progress towards strategic goals.               of performance against them in 2023.



                        Dimension           KPIs                           Objectives                                  Performance 2023

                                            Return on Assets               • Gradually improve to 1.5% by 2025
                                                                           • Gradually improve to low/mid teens
                        Profitability       Return on Equity                 by 2025
                                                                           • Maintain and closely manage below
                                            Cost-to-Income Ratio             40%

                                            Core Asset Growth              • Achieve mid/high single digit
                        Growth
                                                                             growth rate
    Financial
                                            % of FX, fees and              • Maintain ~ 22%
                                            commissions to total
                                            income
                        Resilience
                                            % of Operating Surplus         • Gradually improve to ~30% by 2025
                                            from international               (excluding any potential inorganic
                                            business                         uplift)

                                            Brand Awareness                • Maintain NBK’s image as the
                                                                             leading bank in Kuwait
                        Customer
                        Perception
                                            Brand Power among youth        • Maintain NBK’s Brand Power in
                                                                             Kuwait and among Kuwaiti Youth

                                          Ratings assigned by credit       • Maintain NBK’s high LT credit rating
                                          agencies
                        Market Perception Ratings and scores               • Gradually improve ESG ratings and
                                          assigned by external ESG           scores
    Non-financial*
                                          raters

                                            Market share in salaried       • Defend market share
                        Maintaining         Kuwaitis of NBK Kuwait
                        Leadership in
                        Kuwait              Market share in corporate      • Defend market share
                                            assets of NBK Kuwait

                        Employee            Employee Engagement            • Maintain NBK’s status as a
                        Perception          Survey                           preferred employer in Kuwait




    Note: The objectives for the Bank’s KPIs assume the execution        on gradual improvements in the political and economic stability
    of the Government of Kuwait’s development plans towards the          of the MENA region over time, provisions returning to pre-financial
    long-term goals defined in New Kuwait 2035. They also depend         crisis levels and no major acquisitions.

    *Non financial Indicators progress is based on third Party assessments and Data.




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    Risk Management                                                                                                                                    •   While the Bank’s business will remain intact in emerging mar-
                                                                                                                                                           kets including Egypt and the Group is continuously monitor-
                                                                                                                                                           ing emerging market environments and country specific rat-
                                                                                                                                                                                                                             Operational and Technology Risk
                                                                                                                                                                                                                             The emerging operational risk, cybersecurity risks, and other
                                                                                                                                                                                                                             Technology-related risks.
                                                                                                                                                           ings. Time to time, the Group controls the credit quality and
    Risk management serves as a solid foundation for the Group’s               Activity 2:                                                                 tighten the foreign currencies (Fx) limits in emerging markets.   Risk Mitigation:
    resilience while seamlessly pairing with our dedication to creating        Performing periodic assessment of customer vulnerability                •   The JN.1variant with concerning properties likely to impact       •    Implementing an Integrated Risk Management system that
    future value for the Group’s stakeholders. Through a balanced              towards debt services ability and significant increase in credit            the epidemiological situation; if the trend continues, this            facilitates the maintenance of a comprehensive risk register,
    approach, best-in-class practices, and strict compliance with              risk (SIC). It is a proactive and periodic evaluation of customers          may impact the overall global market and credit shocks to              an approval framework to deal with residual risk treatment
                                                                               to rate/evaluate their financial position and identify any signs of         specific sectors.                                                      plans, reporting of risk indicators and operational incidents,
    local, regional, and international regulatory frameworks, the
    Group Risk Management (GRM) ensures for identifying and                    upside credit risk.                                                                                                                                and maintenance of business continuity impact assessments
                                                                                                                                                       Risk Ownership Accountability: GRM, Investment functions, credit           and plans.
    assessing key risks, measuring the levels of Bank’s risk exposure,
                                                                               Activity 3:                                                             functions, lending functions.                                         •    Reviewing in full the Group’s Operational and Technology Risk
    monitoring exposure levels in light of the risk appetite on regular
                                                                               Factoring macro-economic indicators and assessing their                 Link to Strategy Pillar: Improve profitability                             policy reflecting the emerging impact of fraud risk, cyberse-
    basis and following up and evaluating decisions relating to credit,
                                                                               significance against cost of risk estimations including IFRS9 ECL. By   Link to KPI: Financial KPIs                                                curity, the Bank’s digitalization strategy, and threats from
    market, operational, IT and emerging risks.
                                                                               incorporating such, the Group aims at enhancing the accuracy of its                                                                                geo-political tensions.
                                                                               provisioning policy towards expected credit losses and its alignment    Market Risk                                                           •    Continuously enhancing risk posture through the introduction
    Risk Governance
                                                                               with regulatory requirements in addition to accounting standards.       Sensitivity of balance sheet against interest rates and the                of additional controls to layer up the defense against poten-
    The Board and the BRCC provide overall risk management
                                                                                                                                                       financial assets price volatilities                                        tial fraud and cyber threats, in addition to performing proac-
    direction and oversight. NBK has meticulously established
    a robust Governance structure across the entire Group,                     Activity 4:                                                                                                                                        tive risk assessments to identify potential residual risks and
                                                                               Proactively managing the liquidity position of the Bank to ensure       Risk Mitigation:                                                           remediation of issues on a timely basis.
    acknowledging the nuanced distinctions among standalone
                                                                               its compliance with regulatory limits and in parallel with the          •    Taking frequent measures on Interest Rate (“IR”) shocks
    subsidiaries. To fortify risk management and internal controls, the
                                                                               Bank’s risk and growth appetite.                                             across the balance sheet accounts and translating results        Risk Framework:
    Group has embraced the industry-standard three-line-of-defense
                                                                                                                                                            into measurable actions.                                         Adopting an industry standard risk framework with multiple layers
    model, ensuring a comprehensive approach to risk mitigation and
                                                                               Credit Risk                                                             •    Identifying market risks inherent in financial claims and        of defense for prevention, detection, response, and recovery
    regulatory compliance through key activities across the entire                                                                                          loans, FX exposure, trading and investment activities.
    organization.                                                              Maintaining stability and capital conservation within a very                                                                                  including policies and procedures, awareness and training for
                                                                               volatile market.                                                        •    Adopting a conservative risk approach.                           staff and customers, and the implementation of a continuous
                                                                                                                                                       •    Hedging positions to contaminate market risk; particularly,      process for cybersecurity posture validation, including regular
    First Line of Defense: Business Owners                                                                                                                  Interest Rate risk.
                                                                               Risk Mitigation:                                                                                                                              phishing simulation for assessing staff cyber security awareness.
    Identifying and capturing key risk indicators, spanning credit,
                                                                               •    Performing periodic assessment of customer vulnerability
    market, IT & Operational, and emerging risks like ESG and Climate                                                                                  Risk Framework:
                                                                                    towards debt services ability and significant increase in cred-                                                                          Outlook:
    risks. The Group Risk Management (GRM) and the first line of                                                                                       Adopting a resilient approach consisting of sound governance,
                                                                                    it risk (SIC).                                                                                                                           The ongoing digitalization of services in the Financial Sector and
    defense collaboratively set policies, including risk appetites,                                                                                    sharp identification and quantification, constant monitoring, as
                                                                               •    Monitoring of marginal client and setting additional require-                                                                            the launch of new digital services have witnessed a change in
    defining individual and portfolio-level risk thresholds.                                                                                           well as timely reporting.
                                                                                    ments (credit strengthening criteria’s such as guarantees                                                                                risk profile. While Cybersecurity risks are the most common risks,
                                                                                    and collateralizations) for any limit increase within marginal                                                                           there has been a noticeable increase in other risks, namely Third-
    Second Line of Defense: The Group Risk Management (GRM)                                                                                            Outlook:
                                                                                    clients or identified trouble sectors                                                                                                    Party Risks and Social Engineering attacks on the banking sector;
    Setting up Risk Appetites (RA) and risk adjusted profitability                                                                                     The anticipated interest rate and price volatilities for 2024
                                                                               •    Continuously scrutinizing the credit rating process with vari-                                                                           while NBK’s risk management program is continuously enhanced
    measures for the business at transaction level to control the                                                                                      remaining on the high, NBK Group will adopt a conservative
                                                                                    ous levels of maker and checker processes.                                                                                               to address the emerging risks in the environment.
    quality of the portfolio and following up and evaluating decisions                                                                                 approach away from any speculative position. It will maintain
    relating to new and existing deals, impairments & provisioning and                                                                                 stability, capital conservation while applying a conservative price
                                                                               Risk Framework:                                                                                                                               Trend:
    other relevant credit, market, operational, IT and other emerging                                                                                  risk across its traded and non-traded business.
                                                                               Adopting a comprehensive and resilient approach to assessing                                                                                  •   Cyber Security risks continue to evolve and be an important
    risks (i.e. ESG and Climate risk) of the Group.
                                                                               and mitigating credit risks throughout the lending process. Using                                                                                 risk factor. The Bank has been continuously improving its cy-
                                                                               an internal rating grade to maintain consistency and homogeneity        Trend:
                                                                                                                                                                                                                                 ber security risk measures.
    Third Line of Defense: Internal Audit                                                                                                              •   2023 witnessed a continuation of policy tightening by major
                                                                               of the portfolio.                                                                                                                             •   To address the risks, NBK has rolled out comprehensive
    Internal Audit is the third line of defense, is independent of the first                                                                               central banks including the Central Bank of Kuwait. However,
                                                                                                                                                                                                                                 awareness campaigns and training programs targeting its
    line, second line and enterprise support functions of the Group.           Outlook:                                                                    it is strongly believed that interest rates have reached a peak
                                                                                                                                                                                                                                 customers and employees while enhancing its technology
    The Internal Audit provides independent, objective, reliable, and          While the business banking landscape remains challenged by                  and are expected to normalize in 2024.
                                                                                                                                                                                                                                 controls to address these risks for the customers and ensure
    timely assurance to the Board, its Audit Committee, Group senior           economic, climate and geo-political risks, GRM will focus on            •   Market expectation of the speed of rate cuts, especially in
                                                                                                                                                                                                                                 the related losses continue to be negligible.
    management and regulators over the effectiveness of governance,            building a strategy that supports the growth aspiration of the              the US, is volatile and will depend on economic indicators.
                                                                                                                                                                                                                             •   Post Covid 19, third party risks have been a critical factor
    risk management and controls that mitigate current and evolving            Group while maintaining a desired risk reward profile.                  •   Fixed Income instruments are hedged, thus, interest rate
                                                                                                                                                                                                                                 across the globe and all sectors, the recent geopolitical
    risks and enhance the control within the Group.                                                                                                        movements have limited impact on the Group profitability
                                                                                                                                                                                                                                 conflicts have further elevated the risk of third-party risks.
                                                                               Trend:                                                                      and equity. The Group would then monitor the interest out-
                                                                                                                                                                                                                                 NBK has a established robust third-party risk management
    Key Activities 2023                                                        Towards the end of 2023, the global economy was hit by a number             look and manage the balance sheet to benefit from lower
                                                                                                                                                                                                                                 program to ensure that supplier disruptions do not impact
    Activity 1:                                                                of major incidents:                                                         rates, while maintaining a comfortable liquidity position.
                                                                                                                                                                                                                                 continuity of services.
    Reviewing market rates changes on frequent measures                        •   While most economic indicators are improving, and the major         •   Global interest rates movements coupled with the presiden-
    particularly on Interest Rate (“IR”) shocks across the balance                 Central Banks’ monetary policy tightening is approaching to             tial election in the US could increase volatility in FX market.
                                                                                                                                                                                                                             Risk Ownership Accountability: GRM, Operational & Technology
    sheet items in order to translate results into measurable actions.             an end in 2024, recession fears in advanced economies are                                                                                 Risk Management (ORM), Information Security, Operations, Digital
    This approach helps in taking tangible and measurable actions                  downgraded. However, the escalation of geopolitics and sup-         Risk Ownership Accountability: GRM, Investment functions, credit
                                                                                                                                                                                                                             functions and Business.
    and aligning with effective risk management and strategic                      ply chain disruptions remain a core concern that may impact         functions, lending functions.
                                                                                                                                                                                                                             Link to Strategy Pillar: Defend the Leadership at the Core
    decision-making, allowing the Group to navigate and respond                    overall growth and credit portfolio.                                Link to Strategy Pillar: Improve profitability
                                                                                                                                                                                                                             Link to KPI: Financial KPIs
    to changes and fluctuations in interest rate environments more                                                                                     Link to KPI: Financial KPIs
    adeptly.


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    Group Human Resources                                                                                                                             Employee Engagement and Communication
                                                                                                                                                      Within our strategies employed to foster open communication,
                                                                                                                                                      collaboration, and a positive work culture among employees. NBK
                                                                                                                                                                                                                           Our people are at the heart of our organization and will determine
                                                                                                                                                                                                                           NBK’s success. This is why it is crucial to have a clear view of the
                                                                                                                                                                                                                           type of organizational culture and kind of people the Bank needs.
                                                                                                                                                      conducted its third ‘Your Voice Matters’ survey for the employees    To attract, engage, and retain the right talent, NBK recognizes the
    At NBK, we recognize that our success is intricately tied to the       guaranteeing a transparent and unbiased recruitment process.               to have a chance at expressing what it’s like to work at NBK. This   need to present an authentic and differentiated EVP and develop
    growth and well-being of our people and we take great pride in         Our policies are rigorously designed to combat discrimination and          year, our international colleagues joined us for the second time     a clear employer identity.
    highlighting our commitment to nurturing and empowering our            promote a culture of equality and fairness across all hiring activities.   and our colleagues from NBK Wealth for the first time to give us
    invaluable human capital.                                                                                                                         a full view of ‘Your Voice Matters’ as a global bank. We partnered   The EVP preserves what is valued by NBK Employees and reflects
                                                                           Furthermore, to continuously improve the recruitment experience,           with the same third party organization, Willis Towers Watson, to     a forward-looking vision of NBK’s Employee Experience, which
    In 2023, our efforts focused on                                        we launched initiatives aimed at enriching both the employee and           help design, implement and analyze the survey to ensure utmost       is in line with the changing realities and the evolution and future
                                                                           hiring manager’s journey. These efforts are focused on the ongoing         confidentiality. We achieved an impressive response rate of 86%,     growth of our organization.
    Employee Learning and Development Programs                             development of our current application, hiring, and onboarding             significantly higher than the global average response rate of 65 –
    At the heart of our commitment to workforce development, we            processes, ensuring they remain sustainable and inclusive.                 75% and on par with the global high performance response rate of     NBK’s vision, mission, and values coupled with the Bank’s strategy
    have meticulously designed and implemented targeted training                                                                                      85%. We achieved a Group-Wide Sustainable Engagement score           and leadership commitment form the grounds for building the
    initiatives, workshops, and educational programs aimed at              Through these comprehensive strategies and initiatives, we have            of 84%, 1% higher than 2021 and 7% above the Financial Services      foundations of an agile EVP. Our employees’ voices are placed at
    elevating the skills and competencies of our employees. Central        managed to create a sustainable employee experience that not               industry benchmark, with our main strengths being Learning &         the center of developing our EVP to ensure their essential needs,
    to this effort is our strategic training needs analysis process,       only meets our current needs but also sets a solid foundation              Development, Image and Reputation, and Employee Well-Being.          expectations, and aspirations are captured in a way that aligns
    which takes a proactive approach in identifying future shifts in our   for future growth and development in alignment with our ESG                                                                                     with our mission and helps us attract, retain, and engage the right
    business strategy. By focusing on the reskilling and upskilling of     commitments.                                                               In 2024,                                                             people. Summarized into three pillars:
    our workforce, we ensure that our employees are well-equipped                                                                                     We are strategically focused on cultivating a robust “Learning
    to navigate the evolving landscape of our industry.                    Diversity and Inclusion Initiatives                                        Culture” across the organization, leveraging automation and          1.   “Our Success Story”, You are part of an incredibly powerful
                                                                           The Bank actively promotes gender diversity and inclusion                  digital learning to enrich our EVP. Recognizing the ever-evolving         brand and legacy. Together, we continue our journey of
    Professional Growth Opportunities                                      by offering equal opportunities for career advancement and                 landscape of talent acquisition and retention, we are committed           success.
    In our ongoing commitment to the growth and success of                 professional growth to all employees, regardless of gender. To             to addressing these challenges with confidence. Our approach         2.   “Professional Excellence”, You work with outstanding
    our valued workforce, we have established a comprehensive              support women in their careers, NBK provides mentorship programs,          includes refining onboarding processes, ensuring a seamless               professionals, who uphold high standards and encourage you
    framework that prioritizes career advancement, mentorship,             leadership training, and networking opportunities. Through these           integration for new talents into our dynamic environment.                 to achieve ambitious goals.
    and diverse opportunities for professional development within          initiatives, NBK aims to create a supportive and inclusive workplace                                                                            3.   “Accelerated Learning”, You continuously learn in a culture
    our organization. This multifaceted approach is designed to            where women can thrive and reach their full potential.                     Simultaneously, our emphasis on leadership development                    that drives personal growth and truly values long-term
    empower employees to chart their career paths, fostering an                                                                                       endeavors to nurture and empower our existing workforce,                  careers.
    environment where they can thrive and contribute meaningfully.         Employee Wellbeing Programs                                                providing them with the tools and knowledge needed to thrive in a
    Various leadership development programs were implemented:              To ensure employee wellbeing, NBK offers comprehensive wellness            constantly changing business landscape.                              The EVP pillars are grounded by the Bank’s employee experience.
    RISE, a women’s development program, High Fliers program               programs, including health check-ups, fitness initiatives, and stress                                                                           They are considered the most important aspects of working at
    designed for young talents, the Collective Executive Development       management workshops. A healthy work-life balance is promoted              By fostering a culture that values continuous learning and           NBK as experienced by our employees by portraying the current
    program, a unique program targeting NBK Executives, the Middle         by providing flexible working hours and encouraging employees              development, we aim not only to attract key talents but also to      state and desired future. Addressing the improvements required
    Management Program, targeting newly recruited and promoted             to utilize vacation and personal time off. By prioritizing employee        retain and empower our existing team, thereby fortifying NBK’s       to fully deliver on every aspect of all EVP pillars, NBK has defined
    middle managers covering the essentials of management, and the         well-being, NBK demonstrates its commitment to the holistic                position as an employer of choice in the industry.                   a two-year action plan based on prioritizing the areas where it
    first Tech Academy focused on top talent with technology skills.       development and happiness of its workforce.                                                                                                     has the most potential and is able to achieve the greatest impact.
                                                                                                                                                      Our Employee Value Proposition (EVP)                                 NBK is committed to focus on these areas that matter most to
    Talent Acquisition                                                     Technology and Innovation Training                                         The EVP is the experience offered by NBK to its employees in         our employees to further improve our employee experience in line
    Talent Acquisition at NBK has strategically embedded sustainable       As an HR function responsible for the Group workforce, we                  return for their skills, experience, and commitment to the Bank.     with global standards and leading industry practices.
    practices within its recruitment processes.                            are at the forefront of embracing technology as a catalyst for             It is what NBK provides to attract, engage, and retain the right
                                                                           organizational success; we have hence undertaken a strategic               talent.
    We have embraced virtual interviews to significantly reduce            initiative to ensure our workforce is not only technologically
    travel and car usage among our candidates, aligning with our           adept but also at the cutting edge of innovation working towards
    environmental sustainability goals. Moreover, our utilization of       a successful digital future. This involves the implementation of
    digital platforms for recruitment activities not only minimizes        enhanced training programs that specifically target digitalization                                Number of Global Employees: 8,049
    our carbon footprint but also streamlines the hiring process for       across various fields. Moreover, our commitment extends to                                        Gender Repartition: Male (56%);
    efficiency and effectiveness.                                          the development of an online learning platform, accessible                                        		                  Female (44%);                                  Nationalities Employed: 39
                                                                           internationally, which serves to standardize the learning experience                              28.8% Females in managerial positions                              Nationalization Rate:76.7%
    In our quest to enhance social objectives, we actively engage with     and foster innovation through continuous learning.
    the community through career fairs and collaborations, focusing
    on building robust talent pipelines, offering internships and          NBK Tech Academy, a groundbreaking initiative that evolved
    support programs for university students and candidates with           from the success of our NBK Academy offers specialized
    disabilities. This approach not only facilitates their integration     programs addressing the demand for specialized skills including
    into corporate life but also underscores our commitment to             Python, data visualization, open banking, digital partnerships,
    inclusion and diversity.                                               codifications, programming, and more. By realigning our focus to
                                                                           embrace these essential technological competencies, we are not                                    Science, Technology, Engineering, and                              Training Hours Given: 147,701 (locally)
    To ensure ethical hiring practices, we adhere to strict governance     only preparing our workforce for the challenges of the digital era                                Math (STEM) employees: 263 with 27.8%                                                    36,764 (internationally)
    frameworks, including fair labor standards and the provision           but also positioning NBK as a leader in technological innovation                                  of women in STEM positions.
    of ability and work psychometric tests to all candidates,              within the banking industry.


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    ESG                                                                                                                                                                  External Engagement and Recognition
                                                                                                                                                                         ESG Ratings                                                         National and Global Frameworks
    We Aim for Better, Today, Tomorrow and Beyond                                          ambition and mission, contributing to the Bank’s broader ESG
    At NBK, we have a duty to embrace sustainable practices and                            objectives. A 3-year roadmap was developed, outlining key targets
    drive positive environmental, social, and governance (ESG)                             and commitments in areas with the greatest potential.
    outcomes. In recognizing the profound impact businesses have                                                                                                                                                                                                  Boursa Kuwait ESG Reporting Guidelines
    on the world, we are committed to integrating responsible and                          Our ESG Strategy prioritizes four interrelated key pillars:
    ethical considerations into our operations. Through transparent
    reporting and accountability, we aim to enhance our stakeholders’                      Pillar 1: Governance for Resilience: Our commitment to                                   NBK’s rating at ‘BBB’ per the MSCI audit
    trust and contribute to the long-term well-being of both society                       transparency and accountability.
    and the environment.                                                                                                                                                                                                                                          New Kuwait Vision 2035
                                                                                           Pillar 2: Responsible Banking: Our dedication to conducting
                                                                                                                                                                                                      Constituent of the
    NBK’s Strategic Roadmap for Sustainable Impact                                         business sustainably.
                                                                                                                                                                                                      FTSE4Good Index Series
    The initial approval and endorsement of the ESG Strategy by
    Management occurred in late 2022, officially setting sail into                         Pillar 3: Capitalizing on Our Capabilities: Our commitment to
    the promising journey of 2023. Our ESG Strategy aligns with                            developing an agile organizational architecture.                                                                                                                       Global Reporting Initiative (GRI) Standards
    NBK’s overarching goal of supporting customers, contributing
    to economic development, and positively impacting the                                  Pillar 4: Investing in Our Communities: Our pledge to achieving
    communities in which we operate. Each pillar has a distinct                            positive and measurable impact.
                                                                                                                                                                                “C” score for 2023 for both the Climate Change                                    UN Sustainable Development Goals
    NBK Group ESG Strategy Framework
                                                                                                                                                                                            and Forests Categories                                                (UN SDGs)




                                                                                                                                                                                                                                                                                         GHG Protocol
                                                                                                                                                                             Listed on Refinitiv AFE Low Carbon Select Index in the
                                                                                                                                                                                     Middle East and North Africa (MENA)



              To support the                                                          ENABLERS
               transition to a                                             rt   ing                        Dig                                    To drive sustainable       NBK is at medium risk (27.4) of experiencing material                                UN Global Compact (UNGC)
                                                                      po                                      i   ta                                business growth
                                                                    Re
          sustainable economy                                                                                       liz                                                               financial impacts from ESG factors
           and become a role                                                                                                                       achieved through
                                                           &




                                                                                                                      at




            model in our own                                                                                                                         organizational
                                                               g




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                                                            rin




                                                                                                                           n




             transformation.                                                                                                                           resilience.                            NBK obtained LEED v2009 for New
                                                         ito




                                                                                                                            &I




                                                                                                                                                                                              Construction Gold-certified status from                             Sustainability Accounting Standards
                                                       on




                                                                                                                              nno




                                                                                                                                                                                              U.S. Green Building Council (USGBC)                                 Board (SASB)
                                                    | M




                                                                                                                                 vatio
                                       ity Building




                                                                                                                                       n
                                                                                                                                 | Governance




                                                                                                                                                                         Pillar 1: Governance for Resilience                                 • Established management-level Sustainability & Climate
                                                                                                                                                                                                                                               Change Committee headed by the Vice Chairman & GCEO and
                                                                                                                                                                                                                                               with direct oversight from the Board of Directors
                                 Capac




                                                                                                                                                                         Our strong governance framework is built on accountability, trust
                                                                                                                                                                         and our values and is fundamental to our long-term organizational   • Established five Sustainability Sub-Committees, assigning
                                                                                                                                                                         success. We have a robust set of policies, internal controls,         members of the Executive Management with ESG roles within
                                                                                                                                                                                                                                               their relevant areas
                                         n |




                                                                                                                                              |




                                                                                                                                                                         and management processes to ensure our business operates
                                                                                                                               Ris




                                                                                                                                                                                                                                             • Joined the UNGC as part of the Bank’s efforts to enhance its
                                      tio




                                                                                                                                                                         responsibly and ethically.
                                                                                                                          kM




                                                                                                                                                                                                                                               international alignment and stakeholder engagement
                                                  ica




                                                                                                                                                                                                                                             • Initiated a pre-assessment to align with the recommendations
                                               un




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           To commit to the                                                                                                                                              In 2023, we
                                                                                                                             na
                                                            m




                                                                                                                                                      To deliver a                                                                             of the Taskforce for Climate-related Financial Disclosures
                                                                                                                               g




                                                                                                                     em
           highest standards                                                                           m
           of governance by
                                                                                                    Co     t|
                                                                                                                en                                  positive impact      • Received Board approval to the Group ESG Strategy, establishing     (TCFD). To that end, provided capacity building workshops
                                                                                                  &
            embedding ESG                                          Col                      e ncy                                                 on the communities       formal mandate for implementation across the Group                  for key stakeholders across the Bank responsible for the
                                                                                           r
                                                                                                                                                       we serve.                                                                               implementation of TCFD
                                                                      labo                a
           across the Group.                                               ration | Transp                                                                               • Formally integrated ESG-related metrics into the Board
                                                                                                                                                                           of Directors’ and Executive Management responsibilities,
                                                                                                                                                                           charters, oversight, and affairs                                  Climate Risk Management
                                                                                                                                                                         • Finalized and approved ESG Governance Structure and               NBK is committed to developing economic, environmental, and
                                                                                                                                                                           Framework that assigns ESG responsibility across members of       social risk resilience across the Group while setting an effective
                                                                                                                                                                           the Executive Management                                          and robust ESG governance structure in Kuwait and beyond.



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1         Strategic Review




     NBK Kuwait                                                         NBK International Subsidiaries                                      In 2023, we                                                           • Launched employee engagement survey “Your Voice Matters”
                                                                                                                                                                                                                    2023, providing employees with the opportunity to share their
     • Integrated ESG risks into the Board’s and Executive       NBK - International London                                                 • Aligned GHG emissions with the GHG Protocol Global                    opinions and feedback on how to make NBK an even better
       Management responsibilities and oversight                 • In compliance with the Bank of England’s Supervisory                       Framework                                                             place to work
                                                                   Statement (SS3/19) for managing financial risks from climate             • Approved the installation of solar panels as a renewable            • Developed a formal grievance policy to help address employee
     • Empowered the role of Board Risk and Compliance Committee   change, NBK-I established appropriate policies and processes               source of energy in 24 of our local branches by 2025                  concerns in a constructive and fair manner, published on the
       in managing climate-related risks and opportunities         to manage climate-change risks                                           • Installed Building Energy Management System (BEMS) in 22              Group website
                                                                                                                                              of NBK’s local branches to monitor, control, and optimize the       • Launched a new mobile banking experience for NBK customers
     • Established a management-level ESG Governance and Risk           NBK Singapore                                                         Bank’s energy and water consumption                                   themed “Tailored for You”, to provide them with the latest and
       Committee, chaired by Deputy Group CEO                           • In response to the regulatory guidelines issued by Monetary       • In 2022, reduced both total electricity consumption and               most advanced digital services
                                                                          Authority of Singapore (MAS) on the “effective governance,          electricity intensity by 11%, saving more than 6.4 million kWh
     • Accounted for climate change risks in the Pillar II Assessment     robust risk management, and meaningful disclosure of              • In 2022, reduced both total water consumption and water             Our Employee Value Proposition
       presented in the ICAAP regulatory report                           environmentally-related risks”, NBK Singapore developed an          intensity by 9%, saving more than 3.5 million Imperial Gallons      Our Employee Value Proposition (EVP) extends beyond traditional
                                                                          Environmental Risk Management Framework                             (IG) of water                                                       benefits and remuneration where it embodies a commitment
     • Institutionalized alignment with the recommendations of                                                                              • Recycled 99.25 metric tons of paper. Over the past two years        to fostering a workplace where individual growth and collective
       Taskforce on Climate-related Financial Disclosures (TCFD). In    NBK - Egypt                                                           recycled a total of 226.35 metric tons of paper                     success converge. At NBK, we recognize and value the unique
       the process of developing a bank-wide Environmental & Social     In line with Central Bank of Egypt (CBE) Guiding Principles for     • Committed to responsible and sustainable procurement                contributions of each team member, providing opportunities for
       Risk Management (ESRM) Framework                                 Sustainable Finance issued in 2022:                                   through embedding ESG risks into vendor sourcing and                professional development, a dynamic work environment, and a
                                                                        • Incorporated sustainable financing principles within the Bank’s     management                                                          culture that encourages innovation.
     • Introduced ESG scoring into corporate clients’ credit                credit and investment policies                                  • Reviewed and updated the Bank’s Procurement policies to
       assessments and creditworthiness evaluations                                                                                           embed ESG-related principles in its vendor sourcing and             We Promote Health, Safety, and Wellbeing
                                                                        • Effective August 2023, engaged with an accredited                   management processes                                                We prioritize employee health and wellbeing through various
                                                                          environmental expert by Egypt’s Ministry of Environment to        • Ensured all our outsourcing contracts operate under Kuwaiti         targeted initiatives and enhanced policies. Our focus on health,
                                                                          assess the environmental risks of large corporate projects          Labor Law                                                           safety, and wellbeing goes beyond industry norms to ensure
                                                                                                                                            • Committed to environmental finance through our Sustainable          primary care for employees, aligning with international standards
                                                                                                                                              Financing Framework                                                 and regulations.
                                                                                                                                            • Expanded our consumer banking offerings to Eco-friendly EV
    Pillar 2: Responsible Banking                                                                                                             Loans and Eco-friendly Housing Loans                                Wellbeing Initiatives:

                                                                           NBK Sustainable Financing Framework Key Facts                                                                                          • NBK Clinic: Operated and managed through a partnership with
    Our unwavering commitment to fostering economic, social, and                                                                                                                                                    Wara Hospital to provide employees with specialized on-site
    environmental progress is rooted in our business ethos. We             • Launched in 2022                                               Pillar 3: Capitalizing on Our                                           medical support
    conduct our business responsibly as a strategic imperative for         • Developed in line with the International Capital Markets
    sustainable development and actively engage with clients to              Association (ICMA) principles
                                                                                                                                            Capabilities                                                          • Organized regular visits for specialized doctors to NBK Clinic
                                                                                                                                                                                                                    throughout the year
    encourage the adoption of sustainable practices.                       • Second Party Opinion (SPO) received from Standard &                                                                                  • Awareness Campaigns:
                                                                                                                                            Our ambition is to drive sustainable business growth achieved
                                                                             Poor’s, confirming its alignment with the ICMA principles                                                                              Ȍ Mental health – work life balance knowledge bites from
                                                                                                                                            through organizational resilience. At the core of our bank’s growth
    Transition to Low Carbon Economy                                       • Objective: Designed to support and further NBK’s                                                                                           specialized practitioners
                                                                                                                                            and prosperity lies our invaluable team, the driving force behind
                                                                             ambition to integrate critical ESG issues into its                                                                                     Ȍ Breast Cancer: A month dedicated to awareness and on-
                                                                                                                                            our accomplishments and our culture and practices that enable
    Our commitment unfolds in several key principles:                        business, culture, and operations, thereby advancing                                                                                       site screening available to female employees
                                                                                                                                            bank-wide ESG transformation.
                                                                             the transition to a sustainable and low carbon economy                                                                                 Ȍ World Diabetes
    • Responsible Procurement: Committed to fully integrate ESG              and contributing to achieving Kuwait’s sustainable                                                                                     Ȍ Movember
                                                                                                                                            In 2023, we
      across our supply chain                                                development agenda under the New Kuwait Vision 2035                                                                                  • Introduced paternity leave - fathers are entitled to 3 days of
    • Decarbonization: Committed to developing formal systems              • Approach: The Sustainable Financing Framework defines                                                                                  paternity leave
                                                                                                                                            • Diversity and inclusion in the workplace: Women in workforce
      to assess and manage ESG-related risks and opportunities in            the criteria for NBK to develop both Green Financing
                                                                                                                                              44%, women in management 28.8%
      financing activities and operations                                    Instruments for projects in renewable energy, green                                                                                  We Foster Learning and Development
                                                                                                                                            • Provided key Sustainability Champions across the Bank with a
    • Portfolio Alignment: Committed to USD 10 billion of                    building, and the like, and Social Financing Instruments                                                                             We proactively undertake the responsibility of upskilling our
                                                                                                                                              Global Reporting Initiative (GRI) Standards training program
      Sustainable Assets by 2030. As of 31 December 2023, the                for projects in areas such as healthcare, education,                                                                                 employees, preparing them to navigate the challenges posed by
                                                                                                                                            • Launched a Group-wide specialized training module focused
      Bank has around USD 3.5 billion Sustainable Assets                     affordable housing, and employment generation                                                                                        dynamic market landscapes and evolving industry demands. This
                                                                                                                                              on essential sustainability concepts
    • Sustainable Finance: Committed to developing innovative                                                                                                                                                     forward-thinking investment not only empowers our workforce to
                                                                                                                                            • NBK Kuwait employees received 147,701 training hours. Also,
      sustainable finance value propositions for our clients and to                                                                                                                                               excel in the face of challenges but also positions our organization
                                                                                                                                              provided 3,313 training hours on ESG-related topics with focus
      strategically support their transition plans                                                                                                                                                                at the forefront of innovation and competitiveness.
                                                                                                                                              on Sustainability Awareness, Sustainable Finance, and Climate
    • Net Zero: Committed to achieve Carbon Neutrality by 2060
                                                                                                                                              Risk Management
      and established interim targets to reduce gross operational
      emissions by 25% by 2025




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1         Strategic Review



    Leadership Development Programs Initiatives:                          The HR Landscape at NBK                                                In 2023, we                                                           • Launched new designs for all our cards with customer-tailored
                                                                                                                                                                                                                         features, including design themes especially for the visually
    • RISE: Designed for women’s development                                                                                                     • Recorded more than 50 million transactions through NBK                impaired
    • High Flyers Program: Designed for young talents                                                                                              Mobile Banking Application; a YOY growth of 19% in 2023             • Renewed its sponsorship of the Kuwait Dive Team (KDT) for the
                                                                                                Number of Global Employees: 8,049                                                                                        second year in a row, with the aim of rehabilitating and protecting
    • Collective Executive Development Program: Designed for NBK                                                                                 • Total active customers executing their banking transactions
                                                                                                Gender Repartition: Male (56%);                                                                                          Kuwait’s marine environment and ecosystem. In 2023, removed
      Executives                                                                                                                                   digitally, including mobile and online banking was around 500k
                                                                                                		                  Female (44%);                                                                                        150 tons of plastic, discarded fishing nets, and shipwreck from
    • Middle Management Program: Targets middle managers                                                                                         • Integrated the SmartWealth investment service within the NBK
                                                                                                28.8% females in managerial positions                                                                                    Kuwait’s bays and coasts, an eight-fold increase from 2022
      and newly promoted managers covering the essentials of                                                                                       Mobile Banking Application, which allows NBK customers to
      management                                                                                                                                   invest in global markets through a quick and simplified process     • Recorded zero incidents of data leaks or breaches
    • NBK Academy: Established in 2008 to provide upskilling
      training for fresh Kuwaiti graduates to prepare them for their                                                                             Prominent Recognitions                                                Promoting and Nurturing Local Talent
      lifetime career                                                                                                                            Awarded by Global Finance
    • NBK Tech Academy: Focused on technology skill sets                                                                                                                                                               • Continued efforts to support and nurture local talent. As of 31
    • GRI Certified Training: Addressed to key Sustainability                                   Science, Technology, Engineering, and                                                                                    December 2023, Nationalization rate was 76.7%
                                                                                                                                                  Group Digital Office         Named “Best Innovation
      Champions across the bank                                                                 Math (STEM) employees: 263 with 27.8%                                                                                  • Launched NBK Tech Academy, first of its kind training program,
                                                                                                                                                  named “Best Financial        and Transformation – 2023”
    • Data Mindset Curriculum: Launched to provide employees with                               of women in STEM positions                                                                                               focused on upskilling young local talent on digital and data
                                                                                                                                                  Innovation Labs 2023”        Globally and in the Middle East
      a basic understanding of the data requirements in the Banking                                                                                                                                                      technologies
      sector                                                                                                                                                                                                           • In 2023, launched NBK Academy Wave 27 and Wave 28 with a
    • Specialized Trainings: Developed various interventions to cater                                                                                                                                                    total of 37 candidates
      for specialist functions and business needs i.e., Operations,
      Compliance, Legal, Audit, Risk Management, and Sustainability                                                                              Pillar 4: Investing in Our                                            Making a Positive Impact on Our Communities
    • Off-site Trainings: Top talents attended leadership and
      executive leadership development programs with various top
                                                                                                                                                 Communities                                                           • KD 28 million total community investments, a 22% increase
                                                                                                Nationalities employed: 39
      tier universities and training providers such as INSEAD, Harvard                                                                                                                                                   from 2022
                                                                                                Nationalization rate:76.7%                       Our commitment is to uphold our strong legacy of maximizing the
      Business School, Franklyn Covey, and more                                                                                                                                                                        • KD 20 million SME lending, a 12% increase from 2022
                                                                                                                                                 social impact of our businesses and operations while creating
                                                                                                                                                                                                                       • Maintained ISO 27001 Certification and is compliant with
                                                                                                                                                 shared value in the communities where we operate. Our efforts
    We Enhance Employee Satisfaction and Growth                                                                                                                                                                          Central Bank of Kuwait (CBK) Cybersecurity Framework
                                                                                                                                                 are focused on providing optimal customer service and advocacy,
    The Performance Management system at NBK stands as a beacon
                                                                                                                                                 increasing financial inclusion, accessibility and literacy, and
    for employee development, aligning individual goals seamlessly                                                                                                                                                     Prominent Recognitions
                                                                                                                                                 ensuring customer protection and data privacy and security.
    with organizational objectives. The introduction of self-individual                                                                                                                                                Awarded by Euromoney
                                                                                                Training hours given: 147,701 (locally)
    reviews and surveys for candidates and hiring managers enhances                                                   36,764 (internationally)
    transparency and reflects our steadfast commitment to fostering                                                                               Focus Areas                      Key Community Partners
                                                                                                                                                                                                                        Awarded “Best Bank for Corporate Responsibility in the Middle
    the holistic growth of each and every employee within NBK.                                                                                    •   Women Empowerment            • Lothan Youth Achievement           East 2023”
                                                                                                                                                  •   Healthcare & Wellbeing         Center (LOYAC)
    Employee Satisfaction and Growth Initiatives:                                                                                                 •   Youth & Education            • Creative Confidence

    • “Your Voice Matters” 2023: Launched the Employee
                                                                                                                                                  •
                                                                                                                                                  •
                                                                                                                                                      Fostering Workplace
                                                                                                                                                      Caring for the Environment
                                                                                                                                                                                   • Kuwait Red Crescent
                                                                                                                                                                                     Society (KRCS)
                                                                                                                                                                                                                       Moving Forward
                                                                          Prominent Recognitions
      Engagement Survey to measure the extent to which employees                                                                                  •   Community Outreach           • Kuwait Association for the
                                                                          Awarded by MEED International Magazine                                                                                                       As a responsible and sustainable financial institution, we leverage
      feel valued, involved, and invested in NBK’s mission and its                                                                                                                   Care of Children in Hospital
      success. This survey is conducted every two years                                                                                                                                                                our business not only to foster economic growth but also to
                                                                                                                                                                                     (KACCH)
    • In 2023, NBK Group achieved an impressive response rate of           Best Initiative for Women       Best Implementation                                                                                         promote positive change. For the future and beyond, we are
                                                                                                                                                                                   • Bayt Abdullah Children’s
      86% with a positive Sustainable Engagement score of 84%, 1%          in Business                     of Diversity & Inclusion                                                                                    capitalizing on our leading role to influence and drive acceleration
                                                                                                                                                                                     Hospice (BACCH)
      higher than our previous survey in 2021 and 7% higher than the                                       Initiatives                                                                                                 of ESG integration by enhancing our international alignment with
                                                                                                                                                                                   • Center 21 for Special
      Global Financial Services industry average                                                                                                                                                                       prominent sustainability frameworks and standards. Given the
                                                                                                                                                                                     Needs
                                                                                                                                                                                                                       widespread exposure to climate change concerns, promoting
    We Champion Diversity, Equity, and Inclusion                          Digitalization at the Core                                                                                                                   sustainable finance, and fully integrating ESG and climate risk into
                                                                                                                                                 In 2023, we
    At NBK, we take immense pride in being the employer of choice         In line with NBK’s ESG Strategy pillar of ‘Capitalizing on Our                                                                               core financial strategies hold the utmost importance for the GCC
    that champions equal opportunities for all. In 2023, NBK              Capabilities’ and its commitment to “establish a digital and                                                                                 to build economic resilience and adapt and mitigate the effects of
                                                                                                                                                 • Partnered with Visa on ‘She’s Next’ initiative, a global advocacy
    committed to increase women in management to 35% by 2035.             agile work environment”, and driven by the Group’s Digital                                                                                   climate change.
                                                                                                                                                   program that supports women-owned small businesses
    This commitment is evident in significant policy updates and          Transformation Strategy, developing innovative digital solutions       • Officially launched the ‘Bankee’ financial literacy program in
    shifts, changes in the annual ticket policy and sustained efforts     is key for the seamless integration between NBK’s core business                                                                              In 2024, we will
                                                                                                                                                   public and private schools, with 15,130 students and around
    aimed at enhancing the representation of women in leadership          strategy and its ESG Strategy.                                           3,000 teachers participating
    positions, reinforcing our commitment to fostering an inclusive                                                                                                                                                    • Focus on climate risk management through the development
                                                                                                                                                 • Actively involved in the Central Bank of Kuwait’s “Let’s Be
    and equitable workplace.                                                                                                                                                                                             of a bank-wide Environmental and Social Risk Management
                                                                                                                                                   Aware” campaign, focusing on raising awareness on critical
                                                                                                                                                                                                                         (ESRM) Framework and integration of climate risks and
                                                                                                                                                   financial and data security matters
    Our unwavering commitment to fostering inclusivity is set to reach                                                                                                                                                   opportunities in related processes
                                                                                                                                                 • NBK organized a Media Awareness Workshop on Sustainability
    new heights with the development and launch of a comprehensive                                                                                                                                                     • Increase stakeholder engagement and international alignment
                                                                                                                                                   and Climate Change, the first-of-its-kind in Kuwait
    Diversity, Equity, and Inclusion (DEI) strategy in 2024.                                                                                                                                                             by engaging with and joining sustainability frameworks and
                                                                                                                                                 • Signed an agreement with Kuwait Municipal for the
                                                                                                                                                                                                                         industry-led initiatives
                                                                                                                                                   development and beautification of Shuwaikh Beach Waterfront
                                                                                                                                                                                                                       • Grow our sustainable finance value proposition and focus on
                                                                                                                                                   spanning an area of 1.7 km, in line with sustainable design
                                                                                                                                                                                                                         the decarbonization of our portfolio in line with our carbon
                                                                                                                                                   principles
                                                                                                                                                                                                                         neutrality commitment
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            Governance

            NBK is aligned with
            international best practice in
            Corporate Governance.
            It is the responsibility of the
            Board of Directors and its
            Committees to ensure that
            regulatory, compliance and
            ethical standards are upheld
            across the Bank and its
            subsidiaries.




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2         Governance




    Board of Directors




          Mr. Hamad Mohamed                  Mr. Isam Jassim Al-Sager                           Mr. Yacoub Yousef                    Mr. Muthana Mohamed                   Mr. Haitham Sulaiman                   Mr. Emad Mohamed
                Al-Bahar                            Vice Chairman and                                Al-Fulaij                         Ahmed Al-Hamad                       Hamoud Al-Khaled                           Al-Bahar
                    Chairman                    Group Chief Executive Officer                         Board Member                            Board Member                         Board Member                          Board Member

      Mr. Al-Bahar has been a Board          Mr. Al-Sager joined the Bank in 1978          Mr. Al-Fulaij has been a Board           Mr. Al-Hamad has been a Board        Mr. Al-Khaled has been a Board        Mr. Al-Bahar joined NBK as a Board
      Member of NBK since 2005 and           and was appointed as GCEO in March            Member of NBK since 1998 and was         Member of NBK since 2007. He         Member of NBK since 2010. He          Member in August 2014, following
      Chairman of the Board since March      2014. He joined the Board in March            General Manager at the Bank from         is also a member of the Board        is also a member of the Board         the passing away of the former
      2022. He is Chairman of Board          2022 where he was elected as Vice             1983 to 1998. He is also a member        Nomination and Remuneration,         Audit Committee, Board Risk           Chairman, Mr. Mohamed Abdul
      Corporate Governance Committee         Chairman. He had previously served            of the Board Credit Committee            the Board Audit, the Board Risk      & Compliance Committee and            Rahman Al-Bahar. He is also a
      and the Board Credit Committee.        as Deputy Group Chief Executive               and Board Corporate Governance           and Compliance Committee and         the Board Nomination and              member of the Board Nomination
      Mr. Al-Bahar sat on the Board of the   Officer since 2010. He is a member of         Committee. Mr. Al-Fulaij has broad       the Board Corporate Governance       Remuneration Committee.               and Remuneration Committee and
      Kuwait Investment Company from         the Board Credit Committee.                   experience of banking activities,        Committee. Additionally, Mr.         Mr. Al-Khaled has been a Board        the Board Credit Committee.
      1981 to 1991, where he served as       Mr. Al-Sager serves as the Chairman           including Risk Management and            Al-Hamad is the Vice-Chairman        Member of Al Shall Investments        Mr. Al-Bahar is the Chairman of
      Chairman and Managing Director.        or member of several of the group’s           Internal Controls.                       of Alwatyah United Real Estate       Holding Co. since 2005 and Al Arjan   Dar Labit Holding since 2015 and a
                                             management committees. He is                                                                                                International Real Estate Company
      He also served as Managing Director                                                  Mr. Al-Fulaij holds a Bachelor of Arts   Company and was Chairman of                                                Member of the Executive Board of
                                             Chairman of the board of NBK                                                                                                since 2010, where he has been
      of the Bank of Bahrain and Kuwait.                                                   degree in Business Administration        Future Communication Company                                               Al-Bahar Group, one of the oldest
                                             (International) PLC and serves on                                                                                           Chairman since 2014.
      He has extensive experience in                                                       from the University of Miami, USA.       International from 2005 to 2014.                                           trading conglomerates in Kuwait and
                                             the board of directors of Watani                                                                                            Mr. Al-Khaled is also a Board
      Investment Banking and Asset                                                                                                  He was previously a Board Member                                           the Middle East. In addition to his
                                             Wealth Management (Kingdom of                                                                                               member of Rasameel Investments
      Management, in addition to internal                                                                                           of the Arab European Company                                               role on the Executive Board and in
                                             Saudi Arabia). Mr. Al-Sager is a board                                                                                      Co. since 2016 and Kuwait
      controls.                                                                                                                     for Financial Management (AREF)                                            the strategic decision-making team
                                             member of MasterCard. He was the                                                                                            Insurance Co. since 2019 and at
      Mr. Al-Bahar holds a Bachelor of                                                                                              from 1987 to 1993, and served on                                           at Al-Bahar, he is a Board Member of
                                                                                                                                                                         ACICO Industries Co. since 2021.
      Arts degree in Economics from          Chairman of National Bank of Kuwait                                                    the Board of the Commercial Bank                                           Al Ahlia Insurance Company Kuwait
                                                                                                                                                                         Mr. Al-Khaled previously held the
      Alexandria University, Egypt.          – Egypt until May 2019 and a Vice                                                      of Kuwait from 1993 to 1997, as                                            since 1999 and the Vice-Chairman
                                                                                                                                                                         following positions at the leading
                                             Chairman of the Turkish Bank and                                                       well as the United Bank of Kuwait                                          since 2017 and served on the Board
                                                                                                                                                                         telecom operator, Zain: Chief
                                             Board member of Watani Holding and                                                     (London) from 1996 to 1997. He has                                         of the Gulf Bank from 1992 to 1994.
                                                                                                                                                                         Business Development Officer,
                                             NBK Trustees (Jersey) Limited. Mr.                                                     considerable experience in Finance   Chief Executive Officer for the       Mr. Al-Bahar holds a Bachelor’s
                                             Al-Sager enjoys an extensive banking                                                   and Business Economics.              Middle East and Chief Strategy and    degree in management from the
                                             experience at NBK and has played a
                                                                                                                                    Mr. Al-Hamad holds a Bachelor        Business Planning Officer, amongst    American University in Washington
                                             major role in turning the Bank into a
                                                                                                                                    of Arts degree in Economic and       other responsibilities. He has        DC, USA.
                                             leading regional institution with a wide
                                                                                                                                    Political Science from Kuwait        extensive experience in strategic
                                             international presence.
                                                                                                                                    University.                          planning, investments, mergers and
                                             Mr. Al-Sager holds a Bachelor
                                                                                                                                                                         acquisitions, corporate governance
                                             of Science degree in Business
                                                                                                                                                                         and internal controls.
                                             Administration from California State                                                                                        Mr. Al-Khaled holds a Bachelor
                                             Polytechnic University, United States.                                                                                      of Science degree in Electronic
                                                                                                                                                                         Engineering from Kuwait University.




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    Board of Directors (continued)




          Mrs. Huda Mohammad                           Dr. Robert                             Dr. Nasser Saidi                       Mr. Abdulwahab                       Mr. Farouk Ali Akbar
                S. Al-Refaei                           Maroun Eid                           Independent Board Member                 Ahmad Al-Bader                             Bastaki
                 Board Member                    Independent Board Member                                                          Independent Board Member               Independent Board Member

      Mrs. Al-Refaei has been a Board        Dr. Eid has been an Independent            Dr. Saidi has been an independent      Mr. Al-Bader has been an               Mr. Bastaki has been an Independent
      member since March 2022. She           Board member since March 2021.             Board member since March 2021.         Independent Board member since         Board member since March 2022. He
      is a member of the Board Risk          He is the Chairman of the Board            He is a member of the Board Audit      March 2022. He is the Chairman         is the Chairman of the Board Audit
      and Compliance Committee and           Risk and Compliance Committee.             Committee.                             of the Board Nomination and            Committee and a member of the Board
      the Board Corporate Governance         He is also a member of the Board           Dr. Saidi was the Minister of          Remuneration Committee and a           Risk and Compliance Committee.
      Committee.                             Audit Committee.                           Economy and Trade and Minister         member of the Board Corporate          Mr. Bastaki has been an Independent
      Mrs. Al-Refaei worked as a risk        Dr. Eid has served as a Managing           of Industry of Lebanon between         Governance Committee.                  Board Member of Mabanee Co. since
      management officer at the Bank         Director & Chief Executive Officer         1998 and 2000. He was the first        Mr. Al-Bader held a number of senior   March 2022. He held a number of
      from 1999 to 2003. She served          of the Arab National Bank in Saudi         Vice-Governor of the Central Bank      positions at Kuwait Fund for Arab      senior positions including member of
      as a board member of Posta Plus        Arabia from 2005 till January 2021.        of Lebanon for two successive          Economic Development from 1977         the Board of Directors and Managing
      Company from 2008 to 2012 and          He also spent over 22 years with           mandates, from 1993 to 2003.           to 2021, with the most recent being    Director of the Kuwait Investment
      as a senior lawyer at Abdullah         the National Bank of Kuwait as head        He is the former Chief Economist       the General Manager from 2005          Authority, Chairman of the Board of St.
      Al-Refaei Legal Consultancy & Law      of International Banking Group in          and Head of External Relations         to 2021. He was also the alternate     Martins Property Group (London) and
      Firm from 2009 to 2019.                addition to serving as a Managing          of Dubai International Financial       governor for the State of Kuwait to    Chairman of the Board of Directors
      Mrs. Al-Refaei holds a Bachelor’s      Director & Chief Executive Officer         Centre and Executive Director of the   the OPEC Fund for International        of National Technology Enterprises
      degree in Industrial and Systems       of the National Bank of Kuwait             Hawkamah-Institute for Corporate       Development from 1981 to 1986,         Company. Mr. Bastaki previously
      Engineering from Kuwait University,    (International) PLC from 1998 till         Governance. He is the Founder and      governor from 1986 to 2014 and         served as board member of Gulf Bank
      Kuwait and a Bachelor of Law           2005. He has nearly four decades of        Chair of the MENA Clean Energy         Chairman of the governing board        and Board member of the Kuwait
      degree from Cairo University, Egypt.   international experience in banking.       Business Council.                      from 2014 to 2021. He has also         Fund for Economic Development in
                                             Dr. Eid holds a PhD in Money &             Dr. Saidi holds a PhD and a MA         been a director of various entities.   addition to a membership in Fosterlane
                                             Banking from Sorbonne University,          in Economics from the University       Mr. Al-Bader holds a Bachelor of       (USA). He has extensive experience
                                             France.                                    of Rochester in the USA, a M.Sc.       Arts degree from Whittier College,     for more than 33 years in finance,
                                                                                        from University College, London        USA.                                   alternative investments and real estate
                                                                                        University, United Kingdom and a                                              investments locally and internationally.
                                                                                        BA from the American University of                                            He also has deep knowledge in internal
                                                                                        Beirut, Lebanon.                                                              audit, risk management, governance,
                                                                                                                                                                      compliance and anti-money laundering.
                                                                                                                                                                      Mr. Bastaki holds a Bachelor’s degree
                                                                                                                                                                      in Industrial Engineering from University
                                                                                                                                                                      of Miami, USA.




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    Executive Management




                     Mr. Isam Jassim Al-Sager                   Mrs. Shaikha Khaled Al-Bahar                                   Mr. Salah Yousef Al-Fulaij                 Mr. Sulaiman Barrak Al-Marzouq
              (Vice Chairman & Group Chief Executive Officer)     (Deputy Group Chief Executive Officer)                        (Chief Executive Officer – Kuwait)         (Deputy Chief Executive Officer – Kuwait)

                 Mr. Al-Sager joined the Bank in 1978 and       Mrs. Al-Bahar has been the Deputy Group                    Mr. Al-Fulaij joined NBK in 1985 and has       Mr. Al-Marzouq joined NBK in 2002 and
                 was appointed as Vice Chairman & GCEO          Chief Executive Officer since March 2014.                  been the Chief Executive Officer – Kuwait      now he is the Deputy Chief Executive
                 in March 2022. He had previously served        She is a member of various Management                      since 2015. He is a member of various          Officer – Kuwait since 2017. He moved to
                 as Group Chief Executive Officer since         Committees. She is the Chairperson of                      Management Committees. Mr. Al-Fulaij           the Central Bank of Kuwait from 2012 to
                 2014. He is a member of the Board Credit       NBK Egypt, NBK France and NBK Lebanon.                     serves on the board of NBK France and          2015, where he headed the Department
                 Committee. Mr. Al Sager serves as the          Mrs. Al-Bahar serves on the Board of NBK                   NBK Capital. He was the Chief Executive        of Foreign Operations, before moving back
                 Chairman or member of several group’s          (International) PLC, United Kingdom, NBK                   Officer of NBK Capital from 2008 to 2014,      to NBK as Group Treasurer. Mr. Al-Marzouq
                 management Committees.                         Global Asset Management Limited and                        and previously Group General Manager of        serves on the board of NBK Egypt, NBK
                 Mr. Al-Sager is the Chairman of the Board      Turkish Bank. Mrs. Al-Bahar has experience                 Treasury and Investments Services. Mr.         Capital and Hayat Investment Company.
                 of NBK (International) PLC and serves on       in project finance, advisory services, bond                Al-Fulaij is a graduate of the University of   He is a member of various Management
                 the Board of Directors of Watani Wealth        issues, Build/Operate/ Transfer financing                  Miami, where he received his Bachelor’s        Committees. He has extensive experience
                 Management (KSA). Mr Al-Sager is a             and Initial Public Offerings. She holds a                  Degree in Industrial Engineering and his       in Investment and Wealth Management,
                 Board member of MasterCard. He was the         Bachelor of Science degree in International                MBA in Business Management. He has             in addition to experience in Treasury and
                 Chairman of National Bank of Kuwait –          Marketing from Kuwait University, and has                  participated in a number of executive          Banking Operations. He has served as
                 Egypt, Vice Chairman of The Turkish Bank       attended specialized programs at Harvard                   programs at Harvard Business School,           a Board Member for several banks and
                 and Board member of Watani Holding and         Business School, Stanford University,                      Stanford Graduate School of Business, and      companies in Kuwait. Mr. Al-Marzouq holds
                 NBK Trustees (Jersey) Limited.                 Wharton School and Duke University (USA).                  Duke University (USA).                         a bachelor’s degree in Economics from
                 Mr Al-Sager enjoys an extensive banking                                                                                                                  Portland State University, USA.
                 experience at NBK and has played a
                 major role in turning the Bank into a
                 leading regional institution with a wide
                 international presence.
                 Mr. Al-Sager holds a Bachelor of Science
                 Degree in Business Administration from
                 California State Polytechnic University,
                 USA.




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    Executive Management (continued)




     Faisal Abdulatif Al-Hamad                  Mr. Omar Bouhadiba                         Mr. Emad Al-Ablani               Mr. Mohammed Al Othman                        Mr. Sujit Ronghe                     Mr. Ahmed Bourisly
              (CEO of NBK Wealth)                    (CEO International                    (General Manager – Group          (Chief Executive Officer of Consumer     (Group Chief Financial Officer)         (General Manager - Corporate
                                                      Banking Group)                          Human Resources)                 & Digital Banking for the Group)                                                     Banking Group)

      Mr. Al-Hamad has been the CEO of       Mr. Omar Bouhadiba joined NBK             Mr. Al-Ablani joined NBK in March     Mr. Mohammed Al Othman joined          Mr. Ronghe joined the Bank in 2002     Mr. Bourisly joined NBK in 1998
      NBK Wealth Management since April      in November 2020 as CEO of                2003 and was appointed as General     NBK Group in 2006 and has been         and was appointed as Group Chief       and has been General Manager,
      2021. He serves as the Chairperson     International Banking Group.              Manager – Group Human Resources       Chief Executive Officer of             Financial Officer from June 2022.      Domestic Corporate Banking at
      of NBK Capital, in addition to         Mr. Bouhadiba serves on the               in 2014. He is also a member of       Consumer & Digital Banking for the     He has been the Group Financial        NBK since June 2019. He served
      serving as a board member              Board of NBK (International) PLC,         various Management Committees.        Group since May 2023. Prior to that    Controller since 2012. Prior to        on the Board of NBK Capital until
      on several other NBK Group             United Kingdom , NBK Egypt and            Former appointments at NBK            he was Head of Consumer Banking        joining the Bank, Mr. Ronghe worked    January 2015. He serves on the
      entities, and a member of various      NBK France. He has an extensive           include Deputy General Manager,       Group since April 2018. He is also a   as a Senior Auditor at a Big4          Board of Boubyan Takaful. He is also
      Management Committees. Prior to        experience in corporate and               Head of Human Resources – Kuwait      member of various Management           accounting firm in Kuwait. He has      a member of various Management
      that, Mr. Al-Hamad was the CEO of      investment banking, with Bank             and Assistant General Manager         Committees. Mr. Al Othman is the       extensive experience in finance and    and Credit Committees. Mr. Bourisly
      NBK Capital and held several senior    of America, Mashreq Bank, NBK,            – Recruitment & HR Operations.        Chairman of the Shared Electronic      banking. Mr. Ronghe is a member        has extensive experience in all areas
      positions there since joining in       Arab Bank plc and most recently           He has an extensive experience in     Banking Services Company (K-Net)       of the Institute of Chartered          of Credit and Corporate Banking
      2007. Mr. Al-Hamad has previously      with Barwa Bank as Senior Advisor         Human Resources. Mr. Al-Ablani        and a member since 2014. Mr.           Accountants of India and a graduate    Management. He holds a Bachelor’s
      held several senior positions in       to the Board of Directors and             holds an Executive Master’s degree    Al Othman has extensive expertise      of the Institute of Cost Accountants   Degree in Business Administration
      leading organizations, including       International Bank of Qatar as Chief      in Business Administration (EMBA),    in retail banking, Digital Banking,    of India. He also holds a Bachelor     with a concentration in Marketing
      General Manager at Agility Kuwait      Executive Officer. Mr. Bouhadiba          from the American University of       personal banking, payment services     of Commerce Degree from the            from University of the Pacific, CA.
      and Associate Director at Wellington   holds a Master’s Degree in Business       Beirut (Lebanon) and a Bachelor       and banking products. Mr.              University of Pune, India.             He attended numerous training
      Management International in the        Administration (MBA) in Finance           of Arts Degree in Educational         Al-Othman holds a Bachelor’s                                                  courses and seminars at Harvard
      UK. Mr. Al-Hamad holds an MBA          from the Wharton School of Finance        Psychology from Kuwait University.    Degree in Philosophy from Kuwait                                              University (USA) and INSEAD,
      from Harvard Business School           of the University of Pennsylvania                                               University and has attended                                                   France.
      and a Bachelor’s Degree from the       (USA).                                                                          several training programs at
      University of Chicago.                                                                                                 Harvard Business School, Columbia
                                                                                                                             Business School and Insead.




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    Executive Management (continued)




           Mr. Pradeep Handa                 Mr. Mohammed Al Kharafi                          Mr. Jad Zakhour
     (General Manager - Foreign Corporate,    (Chief Operating Officer- Head of             (General Manager – Head of
         Oil and Trade Finance Group)           Operations and Information                       Treasury Group)
                                                 Technology for the Group)
      Mr. Handa joined NBK in 1980 and                                                  Mr. Zakhour joined the Group
                                             Mr. Mohammed Al Kharafi joined
      has been General Manager - Foreign                                                in 2006 and has been Head of
                                             the Group in 2001 and has been
      Corporate, Oil and Trade Finance                                                  Treasury Group since Jan 2020. He
                                             Chief Operating Officer - Head
      Group since 2012. He is also a                                                    was previously the Deputy Group
                                             of Operations and Information
      member of various Management                                                      Treasurer since August 2014.
                                             Technology for the Group since
      Committees. Former appointments                                                   He is also a member of various
                                             May 2023. He serves also as a
      at NBK include Assistant General                                                  management committees. Mr.
                                             member of various Management
      Manager, Executive Manager and                                                    Zakhour has extensive experience
                                             Committees. Prior to that, he held
      Senior Manager at Corporate                                                       in treasury, investment and
                                             several leadership positions in
      Banking Group - Kuwait. He has an                                                 wealth management. Mr. Zakhour
                                             Operations and Consumer Banking
      extensive experience in handling                                                  holds a Bachelor’s Degree in Civil
                                             Group. He served on the board of
      Foreign Corporate Banking and Oil                                                 Engineering from Homs University
                                             the Credit Information Network
      and Trade Finance matters.                                                        and a Master’s Degree in Business
                                             Company (Ci- Net). He has extensive
      Mr. Handa holds a Master’s Degree                                                 Administration in Finance from
                                             experience in retail banking, Digital
      from the University of Delhi, India.                                              American University of Beirut. He is
                                             banking; Intelligent Automation,
                                                                                        a Certified Financial Risk Manager
                                             Technology and operations. Mr.
                                                                                        (FRM). Mr. Zakhour has participated
                                             Mohammed Al Kharafi has a
                                                                                        in a number of Executive Programs
                                             Bachelor’s Degree in Business
                                                                                        at Harvard Business School and
                                             Administration from the Arab Open
                                                                                        INSEAD.
                                             University. He has participated in
                                             a number of Executive Education
                                             Programs at Harvard Business
                                             School, Chicago Booth School
                                             of Business, Stanford, Columbia
                                             Business School, Insead and
                                             American University of Beirut.




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    Corporate Governance
    Framework

    National Bank of Kuwait Group is aligned with the best                 •   Developed and continually improved the Corporate Gover-           The Corporate Governance Framework of the Group is illustrated as follows:
    international Corporate Governance practices and risk                      nance reporting systems between entities of the Group.
    management, to protect stakeholders’ rights. During 2023, the          •   Fulfilled the Capital Markets Authority requirements of the
    Group adhered to all the provisions and determinants of CBK                Corporate Governance regulations for NBK Capital and
    instructions regarding the Corporate Governance rules and                  Watani Financial Brokerage Company.                                                                                           Shareholders
                                                                                                                                                                           Shareholders are exercising their powers through their participation in the General
    standards for Kuwaiti banks, issued in September 2019, as well
                                                                                                                                                                             Assembly meeting, which is the highest decision-making authority in the Bank
    as the regulatory instructions related to governance in Kuwait
    and those issued by other countries in which the Group’s entities      The Board and Committees’
    operate.                                                               composition and duties
                                                                                                                                                                                                         Board of Directors
    Represented by the effective supervisory role of the Board of                                                                                                                                                                                                           Board
                                                                           NBK Group’s Board of Directors is composed of eleven (11)                                           The Board of Directors has the authority and power to manage the affairs                    Secretary
    Directors and the Executive Management, the Group focused on           members (one (1) executive member, six (6) non-executive                                              of the National Bank of Kuwait and to protect shareholders’ interests
    improving the Corporate Governance and compliance culture              members and four (4) independent members) representing the
    across all of its entities, where the Corporate Governance             shareholders. The Board members are elected and appointed by
    Framework is constantly developed to establish sound and               the General Assembly of the Bank, for three (3) years. The Board
    effective corporate values. This is achieved through a set of          aims to strengthen the long-term success of the Group and to
    policies, procedures and standards adopted by the Group, which         deliver sustainable value to shareholders.                                                                                                       Board Risk and          Board Nomination   Board Corporate
                                                                                                                                                                      Board Audit             Board Credit
    are periodically updated to be in line with the best applicable and                                                                                                                                                      Compliance             and Remuneration     Governance
                                                                                                                                                                      Committee                Committee
    relevant international practices.                                                                                                                                                                                        Committee                 Committee         Committee
                                                                           The Board’s structure is generally characterized by having the
                                                                           appropriate number of members, diversity of professional
    The Group recognizes the importance of applying the principles         experience, educational qualifications and broad knowledge of
    and standards of good governance; It follows professional and          the banking and business sectors. Board members collectively
    ethical standards in all kinds of deals, and ensures disclosure        hold experience and knowledge in the areas of accounting,
    and transparency of information that is accurate and timely. This      finance, economics, strategic planning, corporate governance,
                                                                                                                                                           External             Group Internal                             Group Risk         Group Compliance            Corporate
                                                                                                                                                           Auditors                 Audit                                 Management           and Governance          Governance Office
    contributes to the development of the Group’s working efficiency       internal control and risk management, in addition to outstanding
    and enhances the confidence of shareholders, related parties and       experience in the local and regional business environment.
    stakeholders in the Group’s performance, as well as the banking        The Group’s balanced and non-complex Board structure facilitates
    sector in Kuwait.                                                      the process of exchange of information on an accurate and
    During 2023, the Group achieved a number of key                        timely basis between different Group entities. This has been                                                                Executive Management
    accomplishments in the effective implementation of the                                                                                                                                 (Vice-Chairman and Group Chief Executive Officer)
                                                                           accomplished by establishing direct communication channels                                                Direct oversight to manage the business and daily affairs of the
    Corporate Governance Framework. These are as follows:                  across the Group, which promote the principle of disclosure and                                            Bank in line with the strategic frameworks established by the
                                                                           transparency regarding Group operations. Moreover, the structure                                                                  Board of Directors
    •     Reviewed and updated the governance policies and charters        maintains the supervisory role assigned to the Board, and
          according to the regulatory instructions in Kuwait and the       effectively contributes to fulfilling the Board’s responsibilities.
          instructions issued by the regulatory authorities in countries   To comply with the supervisory regulations issued by CBK,
          where the Group operates                                         in addition to the Group’s effort to effectively implement the
    •     Developed and implemented best practices in Governance           Corporate Governance Framework, the Group formed an
          compliance, regulatory risks, Foreign Account Tax Com-                                                                                                                              Other Business                  Management
                                                                           appropriate number of Committees that are aligned with the size                                                       Sectors                      Committees
          pliance Act (FATCA), Anti Money Laundering / Combating           of the Group, the nature and complexity of its activities, and the
          Financing of Terrorism, Anti-financial crimes, Information       geographical distribution of the Group’s entities. The Board of
          Technology and Cybersecurity Risks.                              Directors formed five sub-committees to enhance the Board’s
    •     Conducted an independent review and assessed the efficien-       effectiveness in overseeing important Group operations.
          cy of implementing Corporate Governance at NBK subsid-
          iaries, by monitoring and supporting the governance units at
          these subsidiaries, which manage the affairs of the Board of
          Directors and their Committees.




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    Group’s Board of directors Sub-Committee                                                                                                      Board of Directors and
                                                                                                                                                  Committee Meetings

    Corporate Governance          Nomination and             Risk and Compliance          Audit Committee             Credit                      The Board of Directors held ten (10) meetings during 2023.                       The below table shows names of the Board of Directors, their
    Committee                     Remuneration               Committee                                                Committee                   Minutes of all meetings have been documented and are included                    memberships in Board Sub-Committees and number of meetings
                                  Committee                                                                                                       in the Bank’s records.                                                           that reached fourty nine (49) meetings, in addition to the number
                                                                                                                                                                                                                                   of meetings attended by each member during the year.
     1. Mr. Hamad Mohamed          1. Mr. Abdulwahab         1. Dr. Robert Maroun         1. Mr. Farouq Ali           1. Mr. Hamad Mohamed
        Al-Bahar (Board and           Ahmad H. Al-Bader         Eid (Independent             Akbar A. Bastiki            Al-Bahar (Board and
                                                                                                                                                  Board of Directors         Committee Membership                                             Board of Corporate   Nomination & Risk &     Audit Credit
        Committee Chairman            (Independent              Board member and             (Independent                Committee Chairman)                                                                                                  Directors Governance Remuneration Compliance
                                                                                                                                                  Members
     2. Mr. Yacoub Yousef             Board member and          Committee Chairman           Board member             2. Mr. Yacoub Yousef
        Al-Fulaij                     Committee chairman)    2. Mr. Muthana                  and Committee               Al-Fulaij                Mr. Hamad Mohammed     • Chairman of Board of Directors                                     9        2                                         16
                                                                                                                                                  Al-Bahar               • Chairman of Corporate Governance Committee
     3. Mr. Muthana                2. Mr. Muthana               Mohamed Al-Hamad             Chairman)                3. Mr. Emad Mohamed
                                                                                                                                                  (Non-Executive member) • Chairman of Credit Committee
        Mohamed Al-Hamad              Mohamed Al-Hamad       3. Mr. Haitham Sulaiman      2. Mr. Muthana                 Al Bahar
                                                                                                                                                  Mr. Isam Jasem A.      • Vice-Chairman and Group Chief Executive Officer                    10                                                 22
     4. Mrs. Huda                  3. Mr. Haitham Sulaiman      Al-Khaled                    Mohamed Al-Hamad         4. Mr. Isam Jasem A.
                                                                                                                                                  Al-Sager               • Member of Credit Committee
        Mohammad S.                   Al-Khaled              4. Mrs. Huda                 3. Mr. Haitham Sulaiman        Al-Sager (Board
                                                                                                                                                  (Executive member)
        Al-Rifai                   4. Mr. Emad Mohamed          Mohammad S.                  Al-Khaled                   Vice - Chairman and
                                                                                                                                                  Mr. Yacoub Yousef          • Member of Corporate Governance Committee                       7        1                                         17
     5. Mr. Abdulwahab                Al Bahar                  Al-Rifai                  4. Dr. Robert Maroun Eid       Group Chief Executive
                                                                                                                                                  Al-Fulaij                  • Member of Credit Committee
        Ahmad H. Al-Bader                                    5. Mr. Farouq Ali Akbar      5. Dr. Nasser Amin Saidi       Officer)
                                                                                                                                                  (Non-Executive member)
                                                                A. Bastiki
                                                                                                                                                  Mr. Muthana Mohamed    • Member of Corporate Governance Committee                           10       2           3            8          10
                                                                                                                                                  Al-Hamad               • Member of Nomination and Remuneration Committee
                                                                                                                                                  (Non-Executive member) • Member of Audit Committee
                                                                                                                                                                         • Member of Risk and Compliance Committee
                                                                                                                                                  Mr. Haitham Sulaiman   • Member of Risk and Compliance Committee                            9                    2            8          10
                                   Committee’s mission:      Committee’s mission:         Committee’s mission:        Committee’s mission:        Al-Khaled              • Member of Audit Committee
     Committee’s mission:                                                                                                                         (Non-Executive member) • Member of Nomination and Remuneration Committee
                                   Assist the Board          Assists the Board            Assists the Board in        Responsible for             Mr. Emad Mohamed Al    • Member of Nomination and Remuneration Committee                    8                    3                             18
     Assist the Board              in carrying out the       in carrying out its          a supervisory role          reviewing the quality       Bahar                  • Member of Credit Committee
     in overseeing the             Nomination and            responsibilities with        regarding the efficiency    and performance of the      (Non-Executive member)
     implementation of             Remuneration              respect to the Group’s       and independence of         Group’s credit portfolio.   Mrs. Huda Mohammad         • Member of Risk and Compliance Committee                        10       1                        8
     the Group’s Corporate         responsibilities          risk management and          the internal and external   The Board has authorized    S. Al-Rifai                • Member of Corporate Governance Committee
     Governance. The               pertaining to the         Group Compliance &           audit operations for the    the Committee to             (Non-Executive member)
     Committee is also             Board of Directors and    Governance functions         Group. Also oversees        approve credit facilities   Dr. Robert Maroun Eid      • Chairman of Risk &Compliance Committee                         10                                8          10
     responsible for               Executive Management.     by evaluating and            the preparation of          that exceed the             (Independent member)       • Member of Audit Committee
     monitoring the                The Committee also        monitoring the risk          the periodic financial      authorization granted       Dr. Nasser Amin Saidi      • Member of Audit Committee                                      9                                            10
     implementation                supports the Board in     governance framework,        statements and other        to Senior Management,       (Independent member)
     progress of the policies      reviewing and enhancing   risk appetite, risk          regulatory reports.         in accordance with the      Mr. Abdulwahab Ahmad       • Chairman of Nomination and Remuneration Committee              10       2           3
     and procedures                Board structure and       strategy and capital                                     Credit Policy and the       H. Al-Bader                • Member of Corporate Governance Committee
     pertaining to                 development of the        planning. In addition to                                 approved authority          (Independent member)
     governance.                   caliber of the Board      its role of overseeing the                               matrix of the Group         Mr. Farouq Ali Akbar A.    • Chairman of Audit Committee                                    10                                7          10
                                   Members. It also          adequacy of regulatory                                   in accordance with          Bastaki                    • Member of Risk and Compliance Committee
                                   assists the Board in      compliance and                                           the related regulatory      (Independent member)
                                   setting up the Group’s    enhancing compliance                                     instruction.                Total number of meetings                                                                    10       2           3            8          10    23
                                   remuneration framework    culture across the
                                   and ensures effective     Group.
                                   implementation in                                                                                              Meetings held by the Board of Directors and its Committees during 2023 were in compliance with Central Bank of Kuwait governance
                                   accordance with Group                                                                                          rules and standards, and the Board and Committees’ charters in terms of the number of meetings, periodicity, the quorum, and the
                                   remuneration policy.                                                                                           topics reviewed and discussed by members.




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    Effective Implementation of the                                                                                                           • Reviewed the results of the annual independent evaluation of the Corporate Governance Framework conducted by Group Internal
                                                                                                                                                Audit, which highlighted the areas of the Framework that require improvement.


    Corporate Governance Framework                                                                                                            • Reviewed the results of the annual independent evaluation of the Internal Control Review for the Corporate Governance Framework,
                                                                                                                                                conducted by the external auditors

                                                                                                                                              • Supervised the Corporate Governance offices and units in the Bank’s subsidiaries, followed up their progress through periodic
                                                                                                                                                reports presented to the Board Corporate Governance Committee for review and discussion, and subsequently to the Board of
                                                                                                                                                Directors.
                                                                                                                                              • Approved Bank’s representatives in Subsidiaries, Associate Companies, External Committees and others

    General overview:                                                    a culture of corporate values among the Bank’s entire staff.
                                                                         This is achieved through constant efforts to achieve the Bank’s
                                                                                                                                              • Reviewed the results of bank’s compliance level with Capital Markets Authority instructions concerning the adequacy of information
                                                                                                                                                technology systems related to Custodian activity that was and conducted by independent external auditor.
                                                                         strategic objectives, improving Key Performance Indicators, and
    The Group Board of Directors permanently and continuously                                                                                 • Reviewed the updated regulations, legislations and provisions related to Bank’s activities issued by Central Bank of Kuwait, Capital
                                                                         compliance with laws and regulations, especially the rules of
    strives to achieve the best interest of the Bank’s shareholders                                                                             Markets Authority and other regulatory authorities in the countries in which Bank’s subsidiaries and branches operates.
                                                                         Corporate Governance. In addition, the Board adopts a set of
    through effective oversight and monitoring of the work of the
                                                                         policies, charters, systems, mechanisms, reports and procedures      • Approved cash dividend distribution of 25% (twenty five per cent) of the nominal value of the share (twenty five fils per share)
    Executive Management, ensuring the implementation of the
                                                                         which the Group has effectively and integrally applied, relying on
    Bank’s strategy and objectives, and confirming that performance                                                                           • Approved the increase of NBK issued and paid up capital by 5% (five per cent) as bonus shares.
                                                                         the philosophy of the Group in the implementation of Corporate
    is in accordance with the Bank’s plans. During the year, the Board                                                                        • Approved semi-Annual Cash dividends distributions at the rate of 10% of the nominal value of the share.
                                                                         Governance as a culture and working principle, and not only as
    of Directors reviewed and developed the Group’s strategy and risk
                                                                         supervisory instructions and legislative regulations.                • Periodically reviewed and updated Bank’s organizational structure.
    appetite, including all future plans of subsidiaries and overseas
                                                                         The followings are the most important achievements of the Board
    branches. The Board of Directors gives particular importance to                                                                           • Approved the training plan for the year 2024 for the Board members, which covered special topics regarding Anti Financial Crime,
                                                                         of Directors and its Committees during 2023:
    the implementation of governance at Group level, by creating                                                                                Risk Management, Corporate Governance, Audit, Sustainability and Artificial Intelligence.
                                                                                                                                              • Reviewed the agenda of Bank’s General Assembly meeting, which convened on 18/3/2023.
                                                                                                                                              • Approved the merger of WFBC and NBK Capital investment to become one Company under the name of NBK Capital investment.
    Board of Directors’ Key Achievements                                                                                                      • Approved strategy and framework of Sustainability .

    The Board of Directors met ten (10) times during the year and the followings key duties were accomplished:
    • Approved the Budget for the year 2023, the Interim Financial Information, the audit-ed balance sheet, profit & loss account of the
      Bank and dividends for the financial year ended on 31/12/2022.
                                                                                                                                              Board Committees’ Key Achievements
    • Discussed the risk appetite and its impact on the Group›s strategy.
    • Reviewed the results of the Internal Capital Adequacy Assessment Process (“ICAAP”), financial stress testing as per the regulatory      Corporate Governance Committee
      requirement of Basel (3).                                                                                                               The Committee met twice during the year and the following key duties were performed:
    • Discussed and approved general and specific provisions for the local and international loan portfolio.
                                                                                                                                              • Reviewed the implementation of Corporate Governance of NBK Group and its subsidiaries and overseas branches, while providing
    • Approved the update of financial authority matrix for the GCEO, the DGCEO, the CEO-Kuwait , his Deputy and Head of wealth                 continuous support to subsidiaries.
      management..
                                                                                                                                              • Reviewed the Board and its sub-Committee’s charters according to supervisory regulations issued in this regard and made
    • Reviewed the Board of Directors’ structures within subsidiaries, on an ongoing basis, ensuring their compliance with the regulatory       recommendations to the Board of Directors.
      requirements and the general policy of the Group’s governance framework.                                                                • Reviewed and discussed the results of the internal audit report on the annual evaluation of the Corporate Governance Framework,
    • Followed the progress of the Group’s operations, through regular meetings with Execu-tive Management and discussed the results            and the level of compliance with regulators.
      of the Group’s business through periodic reports prepared by the Financial Group, which clarifies the most important financial          • Reviewed and discussed the report and the results of the evaluation of internal control systems, and the adequacy of
      indicators of the Bank›s budget and profits according to geographical distribution of branches and foreign subsidiaries.                  implementing the rules of corporate governance at Group level.
    • Reviewed and evaluated the effectiveness of the Board and its Committees, in addition to conducting individual self-assessments         • Reviewed and updated Corporate Governance policies, in line with regulatory instructions, leading practices, and made
      of the Board and Committee members.                                                                                                       recommendations to the Board for approval.
    • Reviewed the remuneration framework, the mechanism of linking rewards to perfor-mance the level of risk exposure and updated            • Reviewed the related parties’ transactions report, the conflict of interest report, the whis-tleblowing cases, and discussed the
      the remuneration policy at Group level.                                                                                                   effectiveness of the existing mechanisms.
    • Oversaw the implementation of the Corporate Governance Framework at Group level and ensured compliance with local regulations           • Supervised the progress of Corporate Governance implementation at Group level.
      in the countries the Group operates in, which are in line with the Group’s Corporate Governance Framework.
                                                                                                                                              • Reviewed and discussed the annual compliance report on the adequacy of the Corporate Governance implementation at Group
    • Reviewed, developed and approved the policies related to Corporate Governance and charters of the Board of Directors and its              level.
      committees at the Group level in order to be commensurate with regulations issued from Supervisory Authorities, the Group’s
                                                                                                                                              • Reviewed the disclosures related to Corporate Governance, which are presented in the Group annual report.
      organizational structure, and to keep up with applicable international and leading Corporate Governance practices.
                                                                                                                                              • Reviewed the new instructions issued by the regulatory authorities in the countries where our subsidiaries are located and the
    • Conducted self-assessment on Corporate Governance implementation at Group level and identified the areas that need to be
                                                                                                                                                procedures taken to comply with these instructions.
      developed.
                                                                                                                                              • Reviewed Semi-annual Assessment of the risks associated with the group’s structure.




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    Nomination and Remuneration Committee                                                                                                  Risk and Compliance Committee

    The Committee met three (3) times during the year and the following key duties were performed:                                         The Committee met eight (8) times during the year and following key duties were performed:
    • Supervised the process of the annual assessment of the Board of Directors’ perfor-mance for the Board, its committees, and the       • Reviewed and discussed the strategy and challenges of Risk Management, the set of peri-odic risk management reports at Group
      self-assessment of each member of the Board of Directors for the year 2022.                                                            level and the key risk indicators
    • Reviewed the proposed training plan for the year 2024 for the Board members, which covered special topics regarding                  • Reviewed a report on the most important activities and achievements of the Group Risk Management of 2023 and the planned
      Anti Financial Crime, Corporate Governance, Risk Man-agement, Audit, Sustainability and Artificial Intelligence, and made              work in 2024.
      recommendations to the Board of Directors.                                                                                           • Reviewed and discussed the periodic market risk report, Internal Capital Adequacy As-sessment Process (“ICAAP”), liquidity
    • Reviewed the Internal Audit report on Corporate Governance and the independent evaluation conducted on the Bank’s                      ratios, the stress testing scenarios and the methods with which they dealt at Group level.
      Remuneration framework.                                                                                                              • Reviewed and discussed the risk limit ratios, compared the ratios to the Group’s approved risk appetite and the exposure levels
    • Reviewed the remuneration policy and presented it for approval to the Board of Directors.                                              of countries in which the Group operates, and discussed those ratios and the changes compared to previous periods and credit
    • Reviewed and approved the rewards and incentives for 2023 based on the key perfor-mance indicators and key risk indicators, and        concentrations for companies , countries and sectors.
      discussed claw back cases for 2023 and made recommendations to the Board.                                                            • Reviewed updates on overall economic situations and their impact at the Group level
    • Reviewed the links between remuneration and the Group’s long-term objectives.                                                        • Reviewed the reports of operational risk, market risk and compliance risk and compliance plan at Group level.
    • Reviewed and discussed the succession plan prepared by Group Human Resources and recommended it to the Board for approval.           • Reviewed updates regarding AML awareness training to NBK staff.
    • Reviewed and discussed the phantom shares plan for key personnel, and made recommendations to the Board of Directors.                • Reviewed periodic reports on the information security governance, information systems risks, the results of the internal control
    • Reviewed and discussed the latest developments in the banking industry, the related reports in this regard, and the latest related     systems report on regulatory compliance, anti-fraud , anti-money laundering and financing of terrorism, anti-Financial Crime and
      regulatory requirements.                                                                                                               compli-ance with regulatory requirements of the Foreign Account Tax Compliance Act -FATCA, at Group level.

    • Reviewed the disclosures related to Remunerations presented in the Group annual report of 2023.                                      • Reviewed and approved Anti-Financial Crime (AFC) Policies and Procedures, AML/CFT Poli-cy, AML Risk Assessment and Anti-
                                                                                                                                             Fraud Policy & Procedures, and presented them to the Board for approval.
    • Reviewed the committee’s charter and made recommendations to Board of Directors.
                                                                                                                                           • Reviewed regulatory compliance remarks at Group and subsidiaries level, through self-evaluation results as well as field visits and
    • Reviewed last updates regarding BOD membership in Bank’s subsidiaries                                                                  review processes.
    • Assured the independency of Group Risk Management, Group Compliance & Governance and Group Internal Audit.                           • Evaluated the Group Chief Risk Officer and Group Chief Compliance & Governance Officer annual performance and determined
                                                                                                                                             their remunerations.
    Audit Committee                                                                                                                        • Reviewed and approved the amended Organizational Structures of Group Risk Manage-ment and Group Compliance &
    The Committee met ten (10) times during the year and the following key duties were performed:                                            Governance and made recommendation to Board for approval.

    • Reviewed and approved the Group’s internal audit annual plan for 2023 based on the risk assessment and audit priorities. Also        • Reviewed and approved Group Risk Management and Group Compliance and Governance’s policies and procedures to be
      reviewed the updated internal audit policy and procedures and presented them to the Board for approval.                                presented to the Board for approval.

    • Coordinated with external auditors and reviewed the interim and annual financial statements of the Group, and dividends              • Reviewed Compliance Plan for the year 2023 for NBK-Kuwait,
      distribution and submitted recommendations to the Board of Directors.                                                                • Reviewed Board Risk & Compliance Committee Charter to be presented to the Board for approval.
    • Reviewed and discussed the periodical Internal Audit reports and the attached reports.                                               • Reviewed Group Cybersecurity progress report and its Key Performance Indicators (KPI) for NBK Kuwait and its overseas Branches
    • Reviewed and discussed Group internal audit summary and considered what has been achieved in the internal audit plan, in               and subsidiaries, Bank’s procedures regarding Cyber-security Risk of Virtual Private Networks (VPN).
      comparison to performance during the previous year                                                                                   • Reviewed a report on the most important activities and achievements of the Group Compliance and Governance for 2023 and the
    • Reviewed and approved the scope of the external auditor‘s plan related to Internal Con-trol Review and discussed the results of        planned work in 2024.
      the report.                                                                                                                          • Reviewed Group Compliance & Governance reports regarding regulatory parties’ instructions, local and international regulatory
    • Reviewed the Committee charter and submitted recommendations to the Board of Directors.                                                compliance, importance correspondences with Central bank of Kuwait, disclosures to Capital Markets Authority and Boursa
                                                                                                                                             Kuwait Compa-ny and updates regarding compliance and governance for local and overseas subsidiaries and overseas branches.
    • Reviewed the efficiency and independence of the internal audit function, infrastructure and the overall annual assessment of the
      function’s performance with the Group Chief Internal Auditor.                                                                        • Approved charter, Framework and establishment of Anti-Fraud Governance Committee, and submitted recommendations to the
                                                                                                                                             Board of Directors.
    • Discussed internal control aspects related to information technology systems and infor-mation security.
    • Provided recommendations related to the external auditors’ fees, with respect to the services provided.
                                                                                                                                           Credit Committee
    • Discussed external audit results related to Group internal audit.
                                                                                                                                           The Committee met twenty three( 23) times during the year and the following key duties were performed:
    • Reviewed and discussed the internal audit reports for Kuwait, overseas branches and subsidiaries.
                                                                                                                                           • Reviewed and approved credit proposals within the authority matrix delegated by the Board of Directors.
    • Approved Key performance indicators for Group Chief Internal Auditor
                                                                                                                                           • Coordinated with the Board Risk Committee to discuss credit risk limits.




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                                                                                                                                              Remuneration Policy
                                                                                                                                              and Framework
    Board of Directors Self-                                           Board Committees through the self-assessment methodology,              NBK’s remuneration policy is in line with the strategic objectives       remuneration in the case of adverse financial performance.
                                                                       which has been designed and developed to evaluate the                  of the Group, and in particular is designed to attract, retain and
    Assessment Framework                                               effectiveness of each Board member, and determine the                  motivate high-caliber, professional, skilled and knowledgeable           The Group remuneration deferment policy ensures an appropriate
                                                                       aspects of development required, and the necessary training for        employees, at the same time as promoting sound and sustained             portion of the variable remuneration of senior employees
    Annually and under the supervision of the Board of Directors,      members.                                                               profitability and effective risk management.                             (including those deemed to have a material impact on the risk
                                                                                                                                                                                                                       profile of the organization) is deferred. The deferment of variable
    Board Nomination and Remuneration Committee evaluates the
                                                                                                                                              The Group’s financial remuneration framework has been linked             remuneration applies to the Deferred Cash Bonus and Phantom
    effectiveness of Board members and their participation, whether    The following table illustrates the criteria on which the evaluation
                                                                                                                                              with its long-term and short-term performance objectives.                Shares Plan.
    individually or collectively. This includes an assessment of the   is based and that are included in the self-evaluation forms:           The Board-approved Group strategy is transformed into Key
                                                                                                                                              Performance Indicators (KPIs) and remuneration is determined             The Group applies a deferment approach of up to three years and
                                                                                                                                              based on the achievement of these KPIs towards the overall               final vesting of these variable components is subject to continuing
                                                                                                                                              Group strategy; these include financial and non-financial criteria       employment and the absence of risk materialization. Claw-back
                                                                                                                                              and (where appropriate) Key Risk Indicators (KRIs).                      applies on the non-vested portions in case risk materializes. The
                                                                                                                                                                                                                       claw-back mechanism is applicable on the Deferred Cash Bonus
                                                                                                                                              For the purpose of granting remuneration, the Group has                  and Phantom Shares Plan.
                                                                                                                                              differentiated its staff categories, between “material risk-takers,”
                                                                                                                                              and Financial and Risk Control functions.                                The Group’s remuneration process is governed by the Board
                                                                                                                                                                                                                       Nomination and Remuneration Committee with the ultimate
                                                                                                                                              Remuneration for material risk-takers has been linked with               decisions and responsibilities falling to the Board of Directors.
                                                                                                                                              the risk limits, which were cascaded as per the approved risk
                                                                                                                                              appetite. The Key Performance Indicators for the Financial and           Remuneration disclosures
                Composition                                                                                                                   Risk Control functions are based on the objectives of the control        Board of Directors’ members (Executive member, Non-Executive
                and                                                                                                                           function itself. Any claw-back to be applied is based on the             members and Independent members) receive remuneration
                qualifications                                                                                                                performance standard of the function.                                    amounting to KD 70 thousand each (total KD 770 thousand) for
                                                                                                                                                                                                                       their services in Bank’s Board membership. Board of Director’s
                                       Attendance                                                                                             The Group operates a “total reward” philosophy, considering all          remuneration is subject to approval of shareholders at the Annual
                                                                                                                                              components of financial remuneration. The key components are:            General meeting.
                                       and
                                       participation          Adequacy and                                                                    • Fixed remuneration (salaries, benefits, etc.)                          The five senior Executives who received the highest remuneration
                                                              Effectiveness                                                                   • Variable remuneration (performance-based remuneration)                 packages in addition to the Group Chief Financial Officer (GCFO,
                                                                                                                                                which includes cash bonus and equity shares (as per Phantom            Group Chief Internal Auditor (GCIA) and Group Chief Risk Officer
                                                              of Meetings,                                                                      Shares Plan)                                                           (GCRO) received a compensation aggregating KD 11,025 thousand
                                                              minutes and                                                                                                                                              for the year ended December 2023
                                                              resolutions                                                                     The Group ensures there is a suitable balance between fixed
                                                                                    Means of                                                  and variable remuneration to allow for the possibility of reducing       The following table details the remuneration paid (KD) to staff
                                                                                    communication                                                                                                                      categories:
                                                                                    and reporting
                                                                                                                                                                                                                                     Variable Remuneration                          KD ’000
                                                                                    mechanism
                                                                                                            Oversight
                                                                                                                                                                                Number of               Fixed                     Phantom                   Other Performance
                                                                                                            role of the
                                                                                                                                              Employee Categories               Employees        Remuneration         Cash      Shares Plan    Deferred             Incentives           Total
                                                                                                            Board and
                                                                                                            Committees                        Senior Management                          44               7,564      10,848           1,949             -                 335        20,696

                                                                                                                                              Material Risk Takers                       47               7,039      10,132           1,777             -                 867        19,815

                                                                                                                                              Financial and Risk
                                                                                                                                                                                         19               1,862        795              425            4                      -          3,086
                                                                                                                                              Control
    Based on the evaluation results, the Committee presented its
    report to the Board that reviewed and approved.
                                                                                                                                              For disclosure purposes
                                                                                                                                                                                                                              deputy, and the heads of business functions and their
                                                                                                                                              •   Senior Management: includes all staff above and equivalent                  deputies
                                                                                                                                                  to the position of Deputy General Manager for all business           •      Financial & Risk Control Functions: includes heads of
                                                                                                                                                  units, excluding Financial and Risk Control functions                       Control functions (Financial Control, Risk Management and
                                                                                                                                              •   Material Risk-Takers: includes Group Chief Executive Officer                Compliance, Internal Audit and Anti-Money Laundering and
                                                                                                                                                  and his deputy, Chief Executive Officer (Kuwait) and his                    Combating Financing Terrorism Unit), and their deputies.

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    Internal Control Adequacy                                                                                                                  Internal Control Review                                                                                     Private and confidential
                                                                                                                                                                                                                                                           The Board of Directors
                                                                                                                                                                                                                                                           National Bank of Kuwait S.A.K.

    Report                                                                                                                                     by External Party                                                                                           State of Kuwait
                                                                                                                                                                                                                                                           22 June 2023




                                                                                                                                                                                                                        Investment Company K.S.C.C. and Watani Financial Brokerage
    Board statement on adequacy of                                       Review of the internal control                                        Report on Accounting and Other                                           Company K.S.C.C are subject to evaluation of internal controls and
    internal control systems                                             systems by an independent third                                       Records and Internal Control Systems                                     annual supervision by the respective local regulators. A summary
                                                                                                                                                                                                                        of the respective internal control reports is provided in Appendix
    The Board strives consistently to ensure the adequacy and            party                                                                 In accordance with our letter of engagement dated 28 February 2023,      IV of this report.As Board of Directors of National Bank of Kuwait,
    efficiency of the control systems required to protect the Group’s                                                                          we have examined the accounting and other records and internal           you are responsible for establishing and maintaining adequate
    operations, whilst ensuring compliance with such internal            An Internal Control Review (ICR) of NBK is conducted annually by      control systems of National Bank of Kuwait S.A.K.P (“the Bank” or        accounting and other records and internal control systems, taking
    controls and establishing that those controls provide the            an external audit firm in accordance with CBK requirements. The       “NBK”), its branches in Kingdom of Bahrain, Kingdom of Saudi Arabia      into consideration the expected benefits and relative costs of
    necessary protection for the Group against risks from within or      ICR examines accounting and other records, and evaluates the          and United Arab Emirates (“UAE”) and its subsidiaries National Bank      establishing such systems. The objective is to provide reasonable,
    outside the Group. The Board ensures an effective internal control   internal control systems with regard, but not limited, to Corporate   of Kuwait (Lebanon) SAL., National Bank of Kuwait – Egypt S.A.E. (“NBK   but not absolute, assurance that assets are safeguarded against
    systems and Risk Management and Compliance functions are             Governance, Financial Control, Consumer Banking, Corporate            – Egypt”)., National Bank of Kuwait France SA, and National Bank         loss from unauthorized use or disposition, that banking risks are
    in place with sufficient authority, independence, resources and      and Private Banking, International Banking Group, Treasury,           of Kuwait (International) PLC (together referred to as “the Group”),     properly monitored and evaluated, that transactions are executed
    access to the business lines. The Board regards the Internal Audit   Regulatory Compliance, Operations and Information Technology,         which were in existence during the year ended 31 December 2022. We       in accordance with established authorization procedures and are
    function and external audit activities as integral parts of key      Risk Management, Human Resources, Administration, Internal            covered the following areas of the Group                                 recorded properly, and to enable you to conduct the business in a
    control tools for independent review of information reported by      Audit, Anti-Money Laundering and Counter terrorism Financing,                                                                                  prudent manner.
    Executive Management to the Board.                                   Legal Affairs Engineering, impairment Compliance and Regulatory
                                                                         Reporting.                                                            •   Corporate Governance;         •    Legal;
                                                                                                                                                                                                                        Because of inherent limitations in any accounting and internal
                                                                                                                                               •   Risk Management;              •    Customer Complaints;
    The Board Audit Committee is responsible for the oversight of                                                                                                                                                       control system, errors or irregularities may nevertheless occur
                                                                         A summary of the ICR report for the year ended 31 December            •   Anti-Money Laundering         •    Financial Securities (limited
    the Group’s internal control framework along with the selection                                                                                                                                                     and not be detected. Also, projection of any evaluation of the
                                                                         2022 was presented to the Board of Directors during 2023. The         •   Consumer Banking                   to Kuwait only);
    and rotation of external auditors in compliance with regulatory                                                                                                                                                     systems to future periods is subject to the risk that management
                                                                         report did not highlight any significant issues.                      •   Corporate and Private         •    Investors Relations
    requirements.                                                                                                                                                                                                       information and control procedures may become inadequate
                                                                                                                                                   Banking                            & Corporate
                                                                                                                                                                                                                        because of changes in conditions or that the degree of compliance
                                                                                                                                               •   Treasury;                          Communications;
    The Board has been provided with the results of assessments on                                                                                                                                                      with those procedures may deteriorate.In our opinion, having
                                                                                                                                               •   Group Investment              •    Confidentiality of Customer
    the existing internal control systems from Risk Management and                                                                                                                                                      regard to the nature and size of the group’s operations, during the
                                                                                                                                               •   Human Resources;                   Information;
    Compliance, Internal Audit and an independent external party.                                                                                                                                                       year ended 31 December 2022, the accounting and other records
                                                                                                                                               •   Central Processing & Fund     •    Anti-Fraud, Bribery and
    The Board believes that the existing internal control systems                                                                                                                                                       and internal controls systems, in the areas examined by us, were
                                                                                                                                                   Transfer;                          Corruption;
    adopted and used at NBK Group are satisfactory and adequate.                                                                                                                                                        established and maintained satisfactorily in accordance with
                                                                                                                                               •   Financial Control;            •    Engineering
                                                                                                                                                                                                                        the requirements of the Manual of General Directives concerning
                                                                                                                                               •   Regulatory Compliance;        •    International Banking; and
                                                                                                                                                                                                                        Internal Control Reviews issued by the Central Bank of Kuwait on 14
                                                                                                                                               •   Administration;               •    Impairment Compliance
                                                                                                                                                                                                                        November 1996, CBK instructions dated 20 June 2012 concerning
                                                                                                                                               •   Internal Audit;                    and Regulatory Reporting.
                                                                                                                                                                                                                        Corporate Governance Rules and Systems at Kuwaiti Banks and
                                                                                                                                               •   Operations & Information
                                                                                                                                                                                                                        its subsequent amendments dated 10 September 2019 and
                                                                                                                                                   Technology;
                                                                                                                                                                                                                        the CBK instructions dated 14 May 2019 concerning Combating
                                                                                                                                                                                                                        Money Laudering Operations and Financing of Terrorism, and CBK
                                                                                                                                               Our examination has been carried out with regard to the                  instruction dated 9 February 2012 on maintenance of confidential
                                                                                                                                               requirements contained in the manual of general directives               information and data related to the customer information with the
                                                                                                                                               concerning Internal Control reviews issued by the Central Bank of        exception of the matters set out in the report.
                                                                                                                                               Kuwait (‘the CBK”) on 14 November 1996, CBK instructions dated
                                                                                                                                               20 June 2012 concerning Corporate Governance rules and systems           Furthermore, the Bank has established a process of regular follow-
                                                                                                                                               at Kuwaiti Banks and its subsequent amendments dated 10                  up on reported exceptions to ensure that corrective actions are
                                                                                                                                               September 2019, CBK instruction dated 14 May 2019 concerning             being taken to rectify the control weaknesses and gaps identified
                                                                                                                                               Combating Money Laundering Operations and Financing of                   during the course of the Internal Control Review.
                                                                                                                                               Terrorism, CBK instruction dated 9 February 2012 on maintenance
                                                                                                                                               of confidential information and data related to customer
                                                                                                                                                                                                                        R. Rasheed M. Al-QenaeLicense No. 130
                                                                                                                                               information and international standards on assurance engagement
                                                                                                                                                                                                                        Of KPMG Al-Qenae & PartnersMember firm of
                                                                                                                                               3000. The New York, Singapore and Shanghai branches of National
                                                                                                                                                                                                                        KPMG International
                                                                                                                                               Bank of Kuwait SAKP, NBK Banque Privée (Suisse) S.A., Watani




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    Ethics and Professional                                                                                                                      Stakeholder’s Rights
    Conduct

    Values and ethics                                                      the supervision of the Board, has reviewed the Related Parties        The Group has continued to implement a well-defined process in         who can optimally serve customers. In addition, the Group
    NBK Group continues to apply Corporate Governance values               Transactions Policy, which is compatible with the nature of the       managing transparency, communication and open dialogue with            continuously ensures that it follows regulatory instructions and
    as fundamental principles and an integral part of the culture of       Group’s business regulatory updates in the markets in which it        its stakeholders. These measures include the protocols, which          is a pioneer in international practices in customer service and
    the Group. During the year, the Group worked on a number of            operates. In addition, it has adopted a set of organized procedural   will be followed in communicating with stakeholders and the            protection. NBK has taken the necessary steps to implement
    initiatives that will strengthen the commitment to the values of       models for cases of disclosure of potential conflicts of interest     degree of information which can be disclosed.                          the terms of the consumer protection instructions recently
    Corporate Governance and raise the level of awareness of those         and a mechanism to deal with them.                                                                                                           issued by the Central Bank of Kuwait, by reviewing and updating
    values at all levels of the Group and related bodies.                                                                                                                                                               a policy approved by the Board to enhance the understanding of
    NBK Group is committed to achieving the highest levels of              Potential cases of conflicts of interests and related parties         Shareholders                                                           transparency and disclosure in banking transactions provided by
    governance and has established those values within a number of         transactions are subject to independent review by Group Internal                                                                             the Bank.
    pillars, which emerged through a set of policies and procedures        Audit.                                                                NBK Group promotes and maintains an open and transparent
    set forth as follows:                                                                                                                        channel of communication with its shareholders, which enables
                                                                           Confidentiality                                                       them to understand Group business, its financial condition,            Employees
    Ethics code                                                            The Board, Executive Management and employees ensure that the         and operating performance and trends. The Group has also
    The ethics code is considered one of the most important                Group maintains the confidentiality of information relating to its    developed a section on its website that provides detailed reports      The Group protects and abides by the rights provided to
    components of the Corporate Governance framework and                   stakeholders, in accordance with the rules and regulations issued     to shareholders on Corporate Governance and other important            employees, which include, but are not limited to, the following:
    is promoted through the code of conduct, which is adopted              by the Central Bank of Kuwait and other regulatory bodies.            information relating to the disclosure of financial and non-
    by the Board of Directors and Executive Management in daily                                                                                  financial information.                                                 •   Transparent remuneration and compensation structure
    interactions with employees, customers and all of the Group’s          During 2023, the Group continued to apply measures to maintain                                                                               •   A transparent working environment
    stakeholders.                                                          the confidentiality of information in accordance with policies        The Public Institution for Social Security owns 6% of NBK Capital      •   Contributing to employee talent-management schemes
                                                                           and procedures and internal control systems, which require the        as of 31st December 2023.                                              •   Access to the whistleblowing policy
    This code is subject to periodic review, to keep it up to date with    preservation of confidentiality.
    all the latest developments and enhancements in the areas
    of governance and control of professional conduct. The Board           Whistleblowing policy
                                                                                                                                                 Investor Relations                                                     Community (Corporate Social
    of Directors also oversees the efficient implementation of the         The Group has adopted a whistleblowing policy that encourages         NBK Group promotes open and transparent dialogue with both its         Responsibility)
    charter through the audit and internal control functions, to           openness and trust among its employees. This helps employees          institutional and private investors. The Investor Relations function
    identify and remedy any gaps.                                          report any complaint, whether relating to bad behavior or illegal     serves as the primary contact with shareholders, investors and         The Group has maintained its progress in projects relating to
                                                                           or unprofessional actions. The complaint is directly made to the      financial analysts. The Group also publishes information for           Corporate Social Responsibility, to foster a sustainable economic
    Conflict of interest                                                   Chairman of the Board and the information received remains            investors and stakeholders on a regular basis, through its website     and social environment in the community, and regards this
    The Group ensures that in all stages of banking procedures for         confidential and, if necessary, saved anonymously, to provide         as well as other media.                                                as a priority for the Group. The Group discloses its relevant
    its customers, it treats all customers fairly, equally and honestly,   protection to the employee. This mechanism is subject to review                                                                              social activities on its website and in the form of a separate
    to achieve the maximum level of transparency and objectivity,          by Group Internal Audit.                                                                                                                     “Sustainability Report 2023”, published as an independent
    through applying a conflict of interest policy. The Group, under                                                                             Customers                                                              report.

                                                                                                                                                 The Group has ensured, since inception that it has established
                                                                                                                                                 professional and behavioral rules, and provides qualified staff




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    Group Risk Management and Group
    Compliance and Governance

    Group risk Management and Group Compliance and Governance              ensure that risk-taking authority and policies are effectively      The Group Risk Management, which headed by the Group Chief            Group Compliance and Governance
    are a key component of banks’ second line of defense, for              communicated from the Board to the relevant business units. The     Risk Officer (“GCRO”), reports directly to the BRCC and is respon-
    monitoring and reporting risks-related practices and managing          Group’s risk management, compliance management and internal         sible for:                                                            The Group Compliance and Governance is a part of NBK Group’s
    compliance risks. They function with direct reporting to Board         audit functions assist executive management in controlling and                                                                            culture of complying and operating in accordance to regulatory
    Risk and Compliance Committee, that responsible for identifying        actively managing the Group’s overall risk profile.                 •   identifying and assessing the key risks faced by the Group;       and legislative frameworks, where Group Compliance and
    and assessing key risks, measuring the levels of Bank’s risk                                                                               •   measuring the Group’s exposure to those risks;                    Governance attempts to enhance sound practices and ensure
    exposure, monitoring exposure levels in light of the risk appetite,    The key features of the Group’s comprehensive risk management       •   monitoring this exposure in light of the Group’s risk appetite,   that Bank does not violate any requirements set by legislators and
    non-compliance risk with applicable laws and regulations,              policy are:                                                             as approved by the Board;                                         regulatory Bodies in either Kuwait or other countries where Group
    determining capital requirements on a regular basis following up                                                                           •   determining the Group’s corresponding capital needs on an         operates.
    and evaluating decisions relating to certain risks.                    •        The Board provides overall risk management direction and       ongoing basis;
                                                                                    oversight;                                                 •   monitoring and assessing major decisions related to risk-         The Compliance and Governance function is a key component
                                                                           •        The Group’s risk appetite is reviewed by the BRCC and          taking; and                                                       of the Bank’s second line of defense for managing compliance
    Group Risk Management                                                           ultimately approved by the Board;                          •   Following up and evaluating decisions related to certain risks.   risks, the Group supervises and participates in placing internal
                                                                           •        Risk management focused on compliance with applicable                                                                            procedures in conformity with regulations. Its main role is
    NBK Group’s risk management framework is integral to its                        laws, regulations and internal policies is intrinsically   The risk management function assists senior management in con-        to support the Bank and its Management in managing the
    operations and culture and it seeks to manage risk in a                         embedded in the Group’s process and is a core competency   trolling and actively managing the Group’s overall risks and risk     compliance risks, embedding and improving the compliance
    structured, systematic manner through a global risk policy, which               of all its employees;                                      profile. The function also ensures that:                              arrangements in all levels and structures of the Bank, in order
    embeds comprehensive risk management into the organizational           •        The Group manages its credit, market, liquidity and                                                                              to ensure that the bank operates with integrity and adheres to
    structure, risk measurement and monitoring processes.                           operational risks in a coordinated manner within the       •   The Group’s overall business strategy is consistent with          applicable laws, regulations and internal policies.
    Ultimate responsibility for setting out risk appetite and effective             organization; and                                              the risk appetite approved by the Board of Directors and
    management of risk rests with the Board. This is managed through       •        The Group internal audit provides independent validation       allocated by the EC;                                              The key features of the Group’s comprehensive policy of
    the Board Risk and Compliance Committee (the “BRCC”) and                        of the adequacy and effectiveness of the risk management   •   Risk policies, procedures and methodologies are consistent        managing compliance risks and embedding sound governance
    the Group Executive Committee (the “EC”). These committees                      framework on a Group level.                                    with the Group’s risk appetite;                                   principles are:
                                                                                                                                               •   Appropriate risk management architecture and systems are
                                                                                                                                                   developed and implemented; and                                    •   The Board provides overall guidance to implement
                                                                                                                                               •   Risks and limits of the portfolio are monitored throughout the        compliance culture and sound corporate governance
                                                                                                                                                   Group, including at appropriate “regional” levels.                    principles across the bank;
    Group Risk Management structure                                                                                                                                                                                  •   The Group’s compliance and governance policies and
                                                                                                                                               NBK Group and Group Risk Management regularly assess the ad-              procedures are reviewed by the Board Risk and Compliance
    The structure of the Risk Management function consists of the following departments:
                                                                                                                                               equacy and effectiveness of the risk management framework in              Committee and ultimately approved by the Board;
                                                                                                                                               light of the changing risk environment.                               •   Comprehensive reports concerning level of compliance and
                                                                                                                                                                                                                         associated risks are presented to Board and Board Risk and
                                                                                                                                                                                                                         Compliance committee;
                                                            Group Risk Management                                                                                                                                    •   The Group coordinated and work with Bank’s Management
                                                                                                                                                                                                                         under the supervision of Board of directors.; and
                                                                                                                                                                                                                     •   The Group internal audit provides independent validation of
                                                                                                                                                                                                                         the adequacy and effectiveness of the Group Compliance
                                                                                                                                                                                                                         and Governance framework on a Group-wide basis.

                                                                                                                         Operational Risk,
             Credit Risk                Market Risk                Insurance and                   Portfolio           Technology Risk, and
            Management                  Management                 Risk Financing              Intelligence and         Business Continuty
                                                                                                   Control                Management




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    Group Compliance and Governance Structure                                                                                                      I.       Capital Adequacy                                             The principal operating subsidiaries of the Group are presented
                                                                                                                                                                                                                         in note 24 of the Group’s consolidated financial statements. All
    The structure of the Group Compliance & Governance consists of the following departments:                                                      Capital adequacy, financial leverage and the use of various levels    subsidiaries have been fully consolidated under the regulatory
                                                                                                                                                   of Regulatory Capital are monitored regularly by the Group’s          scope of consolidation for Regulatory Capital calculations (refer
                                                                                                                                                   Management and are also governed by guidelines of the Basel           note 29 of the Group’s consolidated financial statements for
                                                                                                                                                   Committee on Banking Supervision as adopted by the Central            consolidation treatment for the Islamic Banking subsidiaries of
                                                                                                                                                   Bank of Kuwait (CBK) for licensed banks in Kuwait.                    the Group).
                                                                    Group Compliance
                                                                     and Governance                                                                The CBK’s Basel III framework consists of three pillars:              Significant investments (as defined) in Banking, Financial and
                                                                                                                                                                                                                         Insurance entities which are outside the scope of regulatory
                                                                                                                                                   •    Pillar 1 provides a framework for measuring capital              consolidation are required to be subject to the threshold
                                                                                                                                                        requirements for credit, operational and market risk under       treatment prescribed under the CBK Basel III rules and are risk-
                                                                                                                                                        the “Standardised Approach”;                                     weighted and/or deducted against equity.
                                                                                                                                                   •    Pillar 2 relates to the supervisory review process and
        Anti-Financial Crime and                       Corporate Governance       Model Validation and                                                                                                                   •    All the significant investments in Banking and Financial
                                                        and Capital Markets                                                     Information             emphasises the importance of the Internal Capital Adequacy
            Tax Compliance                                                        Quantitative Analytics                       Security Office                                                                                entities classified as Associates of the Group’s consolidated
                                                       Authority Compliance                                                                             Assessment Process (ICAAP) performed by banks; and
                                                                                                                                                   •    Pillar 3 aims to complement the capital adequacy                      financial statements have been subject to the applicable
                                                                                                                                                        requirements under Pillar 1 and Pillar 2 by requiring banks           threshold treatment and risk-weighted as prescribed.
                                                                                                                                                        to provide a consistent and understandable disclosure            •    Other significant investments in Banking and Financial
                                    Lorem  ipsum
                                        Regulatory                                                     Impairment Compliance                                                                                                  entities classified as equities have been subject to the
                                          Compliance                                                       and Regulatory                               framework which facilitates comparison, thus enhancing the
                                                                                                             Reporting                                  safety and soundness of the banking industry in Kuwait.               applicable threshold treatment and risk-weighted as
                                                                                                                                                                                                                              prescribed.
                                                                                                                                                   The Basel III minimum requirements for capital are underpinned
                                                                                                                                                   by a leverage ratio that serves as a backstop to the risk-based       ‘Minority’ Investments in Banking, Financial and Insurance
    Group Compliance and Governance headed by Group Chief                     •      Assess/Review the implementation of compliance                                                                                      entities classified as equities have been subject to the applicable
                                                                                                                                                   capital measures. There are also buffer requirements in the form
    Compliance and Governance Officer (“GCC&GO”) and reports                         procedures needed to verify compliance with the laws,                                                                               threshold treatment and risk-weighted as required.
                                                                                                                                                   of a capital conservation buffer, a countercyclical capital buffer,
    directly to the Board Risk and Compliance Committee (“BRCC”).                    regulations, procedures and directives issued by Central
                                                                                                                                                   and an additional surcharge for banks designated as domestic
                                                                                     Bank of Kuwait, Capital Markets Authority and relevant
                                                                                                                                                   systemically- important.
    Group Compliance and Governance has the following objectives                     Regulatory Bodies.                                                                                                                  2.      Capital structure
    and responsibilities:                                                     •      Ensure the Bank’s compliance with the regulations related                                                                           The Group’s Regulatory Capital comprises:
                                                                                                                                                   A key objective of National Bank of Kuwait S.A.K.P. (the “Bank”)
                                                                                     to Anti-Financial Crime and the Foreign Account Tax
                                                                                                                                                   and its subsidiaries (collectively the “Group”) is to maximise
    •     Identify, assess, monitor and report on the compliance risks               Compliance Act (FATCA), Common Reporting Standard (CRS)                                                                             a)   Common Equity Tier 1 (CET1) capital which is considered
                                                                                                                                                   shareholders’ value with optimal levels of risk, whilst maintaining
          faced by NBK Group.                                                        and other similar applicable regulations.                                                                                                as the core measure of the Group’s financial strength and
                                                                                                                                                   a strong capital base to support the development of its business
    •     Review the compliance risk processes that are in place to           •      Ensure sound Corporate Governance implementation across                                                                                  includes share capital, share premium, eligible reserves,
                                                                                                                                                   and comply with externally-imposed capital requirements.
          anticipate and effectively manage the impact of regulatory                 the Group.                                                                                                                               retained earnings and eligible non-controlling interests (net
          change on the Group’s operations.                                                                                                                                                                                   of Regulatory adjustments),
    •     Ensure NBK Group and each subsidiary and branch in every
                                                                                                                                                   1.        Regulatory Scope of Consolidation
          jurisdiction of operation abides by all relevant laws and                                                                                                                                                      b)   Additional Tier 1 (AT1) capital which consists of Perpetual
                                                                                                                                                   The core activities of the Group are retail, corporate and private
          regulations applicable to each of them.                                                                                                                                                                             Tier 1 Capital Securities classified as Equity (note 21 of the
                                                                                                                                                   banking, investment banking, and asset wealth management &
                                                                                                                                                   brokerage services. For further details on the Group’s activities,         Group’s consolidated financial statements), eligible portion
                                                                                                                                                   please refer to note 3 of the Group’s consolidated financial               of AT1 instruments issued by subsidiaries and held by
                                                                                                                                                   statements.                                                                third parties and certain additional eligible portion of non-
                                                                                                                                                                                                                              controlling interests, and
                                                                                                                                                   The consolidated financial statements and capital adequacy
                                                                                                                                                   regulatory reports of the Group have been prepared and                c)   Tier 2 (T2) capital which consists of Subordinated Tier
                                                                                                                                                   consolidated on a consistent basis, save as otherwise disclosed.           2 Bonds classified as Debt (note 17 of the Group’s
                                                                                                                                                   For additional information on the basis of preparation and                 consolidated financial statements), the allowed portions
                                                                                                                                                   basis of consolidation please refer to notes 2.1 and 2.3 of the            of general provisions and certain additional eligible non-
                                                                                                                                                   Group’s consolidated financial statement for the year ended 31st           controlling interests.
                                                                                                                                                   December 2023.




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    The Bank’s share capital as at 31 December 2023 comprised           The Regulatory Capital in KD Thousands for the Group is detailed   The Group, having been designated as a Domestic Systemically-Important Bank (D-SIB), is required to maintain an additional minimum
    7,929,945,620 issued and fully-paid-up equity shares (2022:         below:                                                             capital of 2%. Countercyclical Capital Buffer has not been required for the period ended 31 December 2023 in the MCR (nor at 2022).
    7,552,329,162)
                                                                                                                                           The Capital Adequacy Ratios for the Group at consolidated level are as follows:

    Table 1
                                                                                                                                           Table 3
    Regulatory Capital                                                                              31 December         31 December
                                                                                                           2023                2022                                                                                                  CET1                Tier1                  Total

    Common Equity Tier 1                                                                               3,442,577           3,170,120       Group for 31 December 2023                                                              13.0%                15.0%                  17.3%

    Additional Tier 1 Capital                                                                            531,776             527,411       Group for 31st December 2022                                                            12.9%                15.0%                  17.4%

    Tier 1 Capital                                                                                     3,974,353           3,697,531
                                                                                                                                           The Capital Ratios of the banking subsidiaries based on their latest submissions (filed or approved, as applicable, under their
    Tier 2 Capital                                                                                       597,889             573,564       respective jurisdictions and regimes) were as follows:

    Total Regulatory Capital                                                                           4,572,242           4,271,095
                                                                                                                                           Table 4                                                                                          31 December 2023

                                                                                                                                                                                                                                     CET1                Tier1                  Total
    3.        Capital Adequacy Ratio
    The Group ensures adherence to CBK’s requirements on Group-                                                                            NBK (International) plc [United Kingdom]                                               19.70%               19.70%                 19.70%
                                                                        requirements of 2.5% of risk-weighted assets in the form of CET1
    wide and stand-alone Capital Adequacy by regular monitoring.        minimum capital requirement to:                                    National Bank of Kuwait France SA [France]                                             26.69%               26.69%                 26.69%
    The Group’s capital forecasting process ensures pro-active          1. Nil from 1st April 2020 to 31st December 2021.
    actions, and plans to ensure a sufficient capital buffer above      2. 1% from 1st January 2022 to 31st December 2022.                 NBK (Lebanon) S.A.L. [Lebanon]                                                          3.65%                4.88%                  5.06%
    minimum levels are in place at all times. This process is           3. Full 2.5% from1st January 2023 onwards.                         NBK Banque Privee (Suisse) S.A. [Switzerland]                                          35.90%               52.05%                 52.05%
    supported by the use of proprietary capital-planning methodology
    which takes into consideration Regulatory Capital requirements,     Pursuant to the consumer loan deferment program of 2020, the       Boubyan Bank K.S.C.P. [Kuwait]                                                         14.27%               16.72%                 17.97%
    rating agency views, stress-testing and bottom-up views of          CBK has allowed, as part of Corona Virus Disease (“COVID-19”)      Credit Bank of Iraq S.A. [Iraq]                                                        95.74%               95.74%                 95.78%
    business plans. These views then cascade into considerations on     support measures, the modification loss on deferment of loan
    what capital level is required.                                     instalments of KD 130,499 thousand charged directly to Retained    NBK Egypt S.A.E. [Egypt]                                                               13.82%               17.19%                 19.23%
                                                                        Earnings in June 2020, to be deferred and deducted from
    In addition each banking subsidiary of the Group is directly        Regulatory Capital equally over 4 years starting 2021, i.e., KD
    regulated by its local banking supervisor which sets and monitors   32,625 thousand per year. The remaining deferred amount to be                                                                                                        31 December 2022
    its capital adequacy requirements as per the jurisdiction’s         deducted from Regulatory Capital as of 31 December 2023 is KD
                                                                                                                                                                                                                                     CET1                Tier1                  Total
    requirements and ensures its compliance therewith.                  32,625 thousand.
                                                                                                                                            NBK (International) plc [United Kingdom]                                               21.26%             21.26%                  21.26%
    In response to the Corona Virus Disease pandemic crisis, the        The Minimum Capital requirements (MCR) and associated levels        National Bank of Kuwait France SA [France]                                             55.53%             55.53%                  55.53%
    CBK implemented various measures targeted at reinforcing the        of Regulatory Capital expressed as a percentage of risk-weighted
    banking sector including revising the Capital Conservation Buffer                                                                       NBK (Lebanon) S.A.L. [Lebanon]                                                         31.15%             43.07%                  43.21%
                                                                        assets for NBK Group are:
                                                                                                                                            NBK Banque Privee (Suisse) S.A. [Switzerland]                                          38.93%             56.43%                  56.43%
    Table 2
                                                                                                                                            Boubyan Bank K.S.C.P. [Kuwait]                                                         15.22%             18.19%                  19.44%
    Regulatory Capital Levels                                                                       31 December         31 December
                                                                                                                                            Credit Bank of Iraq S.A. [Iraq]                                                        12.00%            486.00%                 492.00%
                                                                                                           2023                2022
                                                                                                                                            NBK Egypt S.A.E. [Egypt]                                                               14.99%             17.50%                  19.95%
    Common Equity Tier 1                                                                                    7.0%                7.0%

    Capital Conservation Buffer*                                                                            2.5%                  1%       All the banking subsidiaries within the Group are in compliance       deficiencies. In general, the restrictions on transfer of funds or
    Domestic Systemically-Important Bank (D-SIB) Buffer                                                     2.0%                2.0%       with the minimum capital requirements as applicable under             Regulatory Capital within the Group are related to constraints that
                                                                                                                                           their respective jurisdictions and have not reported any capital      are imposed on entities by local regulators or tax constraints.
    Common Equity Tier 1 (including Buffers)                                                               11.5%               10.0%

    Additional Tier 1 Capital                                                                               1.5%                1.5%

    Tier 1 Capital                                                                                         13.0%               11.5%

    Tier 2 Capital                                                                                          2.0%                2.0%

    Total Regulatory Capital                                                                               15.0%               13.5%

    * CET1 Capital Conservation Buffer that was reduced CBK due to Corona Virus Disease has been reinstated fully from 1st January 2023.




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    4.        Profile of risk-weighted assets and capital charge           corresponding figures pertaining to all the rest of the Group,       4.2.      Market risk:
    The Group’s risk-weighted capital requirements for credit,             identical with the treatment in relevant reports submitted to CBK.   The total capital charge at 13% (2022: 11.5%) in respect of
    market and operational risks are shown below. The calculations         The Capital charge in section 4.1, 4.2 and 4.3 below represent the   market risk was KD 55,171 thousand (2022: KD 46,205 thousand)
    include Boubyan Bank K.S.C.P., an Islamic Banking subsidiary.          minimum requirement for Kuwait Banking sector at 13 % (2022:         as detailed below:
    For purposes of determining risk-weighted assets and capital           11.5% and excluding D-SIB Buffer of 2% for NBK Group).               							
    required, exposures and assets at Boubyan Bank K.S.C.P. and
                                                                                                                                                Table 6                                                                                                                        KD 000’s
    its consolidated banking subsidiary are risk-weighted, and             4.1.      Credit risk:
    capital charge is calculated, in accordance with CBK regulations       The total capital charge in respect of credit risk as at 31                                                                                                                   31 December     31st December
    applicable to banks providing banking services compliant with          December 2023 was KD 3,141,101 thousand (2022: KD 2,586,984                                                                                                                          2023              2022
    Codes of Islamic Sharia’a. Those figures are then added to             thousand) as detailed below:
                                                                                                                                                Interest rate risk                                                                                             1,403               1,186

                                                                                                                                                Foreign exchange risk                                                                                         53,768             45,019
    Table 5                                                                                                                       KD 000s       Total                                                                                                         55,171             46,205
                                                               31 December 2023                             31 December 2022                    			                                 					

                                                      Gross credit          Risk-        Capital   Gross credit         Risk-        Capital    4.3.       Operational risk:                                           “BRCC”) and the Group Executive Committee (the “EC”), which
                                                        exposure         weighted        charge       exposure      weighted         charge     The total capital charge at 13% (2022: 11.5%) in respect of            ensure that risk-taking authority and policies are effectively
                                                                           assets                                     assets                    operational risk was KD 244,784 thousand (2022: KD 192,528             communicated from the Board to the appropriate business
    Cash                                                 184,832                 -             -      244,199                -              -   thousand). This capital charge was computed by categorising            units. The Group risk management, Group compliance and
                                                                                                                                                the Group’s activities into 8 business lines (as defined in the CBK    Governance , and Group internal audit functions assist Executive
    Claims on sovereigns                                7,774,130       1,096,919       142,599      8,253,189     1,029,571        118,401     Basel III framework) and multiplying the business line’s three-year    Management in controlling and actively managing the Group’s
                                                                                                                                                average gross income by a pre-defined beta factor.                     overall risk profile.
    Claims on International Organisations                153,308                 -             -      122,546                -              -

    Claims on public sector entities                    1,675,638        351,726         45,724      1,595,886       262,947         30,239     4.4.      Domestic Systemically-Important Bank (D-SIB):                The key features of the Group’s comprehensive risk management
                                                                                                                                                The additional capital requirement in respect of the Group having      policy are:
    Claims on multilateral development banks             248,550          35,420          4,605         92,728        24,513          2,819
                                                                                                                                                been designated as a Domestic Systemically-Important Bank
    Claims on banks                                     5,738,584       1,619,110       210,484      5,903,570     1,654,057        190,217     (D-SIB) of 2% as at 31 December 2023 amounts to KD 529,393             •   the Board provides overall risk management direction and
                                                                                                                                                thousand (2022: KD 491,429 thousand)                                       oversight;
    Claims on corporates                              18,209,980       13,438,284     1,746,977    16,352,030     11,929,297      1,371,869
                                                                                                                                                                                                                       •   the Group’s risk appetite is reviewed by the BRCC and
    Regulatory retail exposure                          7,648,318       6,663,678       866,278      7,592,958     6,644,931        764,167                                                                                ultimately approved by the Board;
                                                                                                                                                                                                                       •   risk management is embedded in the Group as an intrinsic
    Past due exposures                                   161,944         134,775         17,521       151,717        126,463         14,543     II. Risk management                                                        process and is a core competency of all its employees;
    Other exposures                                     1,385,833        822,407        106,913      1,249,508       823,736         94,729                                                                            •   the Group manages its credit, market, liquidity, IT and
                                                                                                                                                In common with other financial institutions, risk, including credit        operational risk in a co-ordinated manner within the
    Total                                             43,181,117       24,162,319     3,141,101    41,558,331     22,495,515      2,586,984     risk, market risk, liquidity risk, Information Technology (IT),            organisation; and
                                                                                                                                                operational and environmental, social and governance (ESG) risks,      •   the Group’s internal audit function reports to the Board Audit
                                                                                                                                                is inherent in the Group’s activities. The complexity in the Group’s       Committee (the “BAC”) and provides independent validation
    “Other exposures” above includes an amount of KD 351,313               The Group’s figures relating to exposures and risk-weighted assets   business operations and diversity of geographical locations                of the business units’ compliance with risk policies and
    thousand negative (2022: KD 405,862 thousand negative)                 have been classified to provide a meaningful representation of       require efficient and timely identification, measurement,                  procedures and the adequacy and effectiveness of the risk
    representing that amount of general provision in excess of a           the standard portfolio asset classes.                                aggregation and management of risks and efficient allocation               management framework on a Group-wide basis.
    maximum of 1.25% of Credit risk-weighted assets which is                                                                                    of capital towards achieving the ultimate objective of protecting
    allowed in arriving at Tier 2 capital.                                                                                                      the Group’s asset values and income streams in order to protect        The function also ensures that:
                                                                                                                                                the interests of its shareholders and external fund providers,
                                                                                                                                                increase shareholder value and achieve a return on equity that         •   The Group’s overall business strategy is consistent with its
                                                                                                                                                is commensurate with the risks assumed. Management of                      risk appetite approved by the Board and allocated by the
                                                                                                                                                these inherent risks is critical to ensuring the Group’s financial         Executive Committee.
                                                                                                                                                soundness and profitability.                                           •   Risk policies, procedures and methodologies are consistent
                                                                                                                                                                                                                           with the Group’s risk appetite.
                                                                                                                                                The Group’s risk management framework is integral to its               •   Appropriate risk management architecture and systems are
                                                                                                                                                operations and culture and it seeks to manage risk in a                    developed and implemented; and
                                                                                                                                                structured, systematic manner through a global risk policy, which      •   Risks and limits of the portfolio are monitored throughout the
                                                                                                                                                embeds comprehensive risk management into the organisational               Group, including at appropriate “regional” levels.
                                                                                                                                                structure, risk measurement and monitoring processes.
                                                                                                                                                                                                                       The Group regularly assesses the adequacy and effectiveness
                                                                                                                                                Ultimate responsibility for setting out risk appetite and effective    of its risk management framework in light of the changing risk
                                                                                                                                                management of risk rests with the Board of Directors. This is          environment.
                                                                                                                                                managed through the Board Risk & Compliance Committee (the




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    1.       Risk Management Strategy                                      The Group augments its overall framework for governance and            4.1.2.    Credit risk management structure                                 for reviewing, approving or recommending domestic credit
    The key elements of the Board-approved risk strategy are:              capital planning and management by undertaking an ICAAP, which         Senior management implements the Board of Directors’ credit                proposals that exceed the Management Credit Committee’s
                                                                           includes “scenario testing” at periodic, regular intervals. Amongst    risk strategy and develops policies and procedures for identifying,        competence as well as those concerning ‘criticised’ accounts
    •     maintaining stability and business continuity during stress      the key objectives of the ICAAP is to quantify potential inherent      assessing, monitoring, and controlling credit risk.                        [which, as part of the Group’s overall credit quality monitoring
          situations;                                                      risks which the Group faces not covered under Pillar 1. In line with                                                                              processes, are accounts which, although neither classified
    •     ensuring effective and adequate compliance with Regulatory       the guidelines from the Basel Committee and CBK, key principles        The Group’s Executive Committee, chaired by the Group Chief                as ‘past due’ nor ‘past due and impaired’, have experienced
          Capital requirements and internal capital targets in keeping     of the Group’s ICAAP include:                                          Executive Officer (GCEO) and comprising senior executives from             difficulties which may cause them to become categorised
          with the Group’s strategy;                                                                                                              the business divisions, meets regularly to review significant credit       as ‘irregular’ accounts (being accounts which are either
    •     developing the Group’s IT infrastructure and using modern        •   Responsibilities of the Board and Senior Management.               policies and the Group’s corporate and consumer credit portfolios          classified as ‘past due’ or ‘past due and impaired’)];
          methods to raise the professional level and levels of            •   Sound capital management.                                          and advises the Board appropriately.                                   •   Management Credit Committee (MCC), which consists of the
          experience of human resources;                                   •   Comprehensive assessment of Pillar II risks, e.g., Credit                                                                                     Head of Corporate Banking, the Deputy Head of Corporate
    •     effective risk planning through an appropriate risk appetite;        (sector, name, and geographic concentration), residual             All significant credit policies and amendments to policies are             Banking, the Head of Domestic Credit Risk Management
          and                                                                  credit risk, residual market risk, Interest Rate Risk in Banking   reviewed and approved annually by the Executive Committee and              and a number of senior executives in Corporate Banking and
    •     performing stress tests consistently to assess the impact on         Book (IRRBB), , Liquidity, Legal, Reputational, Strategic Risk,    ratified by the Board. Within this framework, limits and approval          is responsible for reviewing, approving or recommending
          the Group’s capital requirements, capital base and liquidity         Climate Risk and other specific risks which are not covered in     authorities are exercised by the officers delegated with defined           domestic credit proposals, except those concerning
          position.                                                            Pillar I, etc.                                                     approval authorities.                                                      ‘criticised’ accounts and those that exceed the Management
                                                                           •   Monitoring and reporting.                                                                                                                     Credit Committee’s competence, which are escalated to the
    2.        Risk Appetite                                                •   Control and review of the process.                                 In compliance with CBK regulations, lending to individual Board            Senior Credit Committee;
    The Group’s risk appetite defines the maximum limit of risk that                                                                              Members and related parties is fully secured and monitored by          •   Senior International Credit Committee (SICC), which consists
    the Group is willing to accept in relevant business categories in      4.       Risk management processes                                     the Senior Credit Committee and the Board Credit Committee                 of the, GCEO, the Deputy GCEO and the Group Chief Risk
    order to achieve an optimal balance of risk and return which will      Through the Group’s risk management framework, transactions            (BCC). Furthermore, facilities granted to them are made on                 Officer (GCRO) and is responsible for reviewing, approving
    enable the achievement of its strategic objectives. Any risk which     and outstanding risk exposures are quantified and compared             substantially the same terms, including interest rates and                 or recommending all credit proposals originating from the
    breaches the Group’s stated risk appetite must be mitigated as a       against authorised limits, whereas non-quantifiable risks are          collateral, as those prevailing at the time for comparable                 Group’s international offices that exceed the Management
    matter of priority to within acceptable levels.                        monitored against policy guidelines and key risk and control           transactions with unrelated parties. All such facilities are               International Credit Committee’s mandate as well as those
                                                                           indicators. Any discrepancies, excesses or deviations are              approved by the Board of Directors in line with the relative               concerning ‘criticised’ accounts; and
    •     The risk appetite is annually reviewed and presented by          escalated to Management for appropriate action.                        authorities from the Shareholders’ General Assembly.                   •   Management International Credit Committee (MICC), which
          the BRCC to the Board for final approval. This ensures                                                                                                                                                             consists of the Head of Group Risk Management , the
          the risk appetite statements are consistent with the             The key risks assumed by the Group in its daily operations are         Country limits are determined based on the outlook of economic             Chief Credit Officer, the CEO International Banking Group
          Group’s strategy and business environment. Through the           outlined below:                                                        and political factors, along with the review of reports from               and certain Senior members of the International Banking
          risk appetite statements, the Board communicates to                                                                                     recognised and creditable market sources and application of                Group and International Credit Risk Management and is
          Management the acceptable level of risk for the Group,           4.1.      Credit risk                                                  local business and market knowledge. Significant country-limit             responsible for reviewing, approving or recommending all
          determined in a manner which meets the objectives of             Credit risk is defined as the likelihood that a customer or            exposures are subject to periodic approval by the Board of                 credit proposals originating from the Group’s international
          shareholders, depositors and regulators. This ensures Risk       counterparty is unable to meet the contracted financial                Directors or the Board Credit Committee.                                   offices except those concerning ‘criticised’ accounts, which
          Appetite remains aligned to the Group’s strategic objectives,    obligations resulting in a default situation and/or financial loss.                                                                               are escalated to the Senior International Credit Committee.
          expectations of Regulators and stakeholders including            These risks arise in the Group’s normal course of business.            4.1.3.     Key features of corporate credit risk management
          clients, investors, and financial markets, and remains fit for                                                                          •    Corporate credit facilities are granted based on detailed         The credit committees have a set of approval authorities in place
          purpose.                                                         4.1. 1. Credit risk management strategy                                     credit risk assessments which consider the purpose of the         as delegated by the Board and which vary by reference to the
    •     The Group risk management and Group Compliance &                 The approach to credit risk management is based on the                      facility and source of repayment, prevailing and potential        type of counterparty (for example, sovereign, financial institution
          Governance functions aim to identify early warnings of risk      foundation to preserve the independence and integrity of the                macro-economic factors, industry trends and the customer’s        and corporate), the counterparty rating (investment grade or
          limit and risk appetite breaches, and are responsible for        credit risk assessment, management and reporting processes,                 positioning within its industry peer-group.                       speculative) and whether the facility is secured or non-cash,
          notifying them to the BRCC and the Board.                        combined with clear policies, limits and approval structures which     • Internal credit-rating models are regularly reviewed by              among other factors. Specific approval authorities exist for fully-
                                                                           guide the day-to-day initiation and management of the Group’s               the independent Model validation team (under Group                secured facilities as well as Watch List and ‘Criticized’ accounts.
    3.         Scope and nature of risk reporting tools                    credit risk exposure. This approach comprises credit limits which           Compliance & Governance) in co-ordination with Group Risk
    The Group’s risk management framework enables the Group to             are established for all customers after a careful assessment of             Management (GRM), line management and the Executive               In addition, the Group’s international offices have their own
    identify, assess, limit and monitor risks using a comprehensive        their creditworthiness.                                                     Committee and continually enhanced in line with industry          hierarchy of credit committees.
    range of quantitative and qualitative tools. Some of these tools                                                                                   credit risk management “best practices”.
    are common to a number of risk categories, while others are            Standing procedures, outlined in the Group’s Credit Policies                                                                                  Credit facility administration is undertaken by a segregated
    tailored to the particular features of specific risk categories and    and Manuals, require that all credit proposals be subjected to         All new proposals, along with reviews of material changes to           function to ensure proper execution of all credit approvals and
    enable generation of information such as:                              detailed screening by the domestic or international credit risk        existing credit facilities, are reviewed and approved by the           maintenance of documentation, and proactive control over
                                                                           management divisions prior to submission to the appropriate            appropriate credit committee.                                          maturities, expiry of limits, collateral valuation and contractual
    •     Credit risk in commercial and consumer lending and other         credit committee. Whenever necessary, credit facilities are                                                                                   covenants.
          asset exposures, such as collateral coverage ratio, limit        secured by acceptable forms of collateral to mitigate the related      The Group has the following hierarchy of credit committees at the
          utilisation, past-due alerts, etc.                               credit risks. The Board of Directors defines the Group’s credit        Head Office Level:                                                     4.1.4     Key features of consumer credit risk management
    •     Quantification of the susceptibility of the market value         risk management strategy and ratifies significant credit risk                                                                                 The Group’s consumer portfolio credit risks are managed through
          of single positions or portfolios to changes in market           policies approved by the Group’s Executive Committee to ensure         •   Board Credit Committee (BCC), which consists of four Board         an independent unit, which is part of the GRM function and
          parameters (commonly referred to as sensitivity analysis).       alignment of the Group’s exposure with its risk appetite.                  Members and approves all facilities exceeding the mandate          works with the consumer banking business. The consumer risk
    •     Quantification of exposure to losses due to extreme                                                                                         of the other committees;                                           strategy aims to support portfolio growth within acceptable risk
          movements in market prices or rates.                                                                                                    •   Senior Credit Committee (SCC), which consists of the,              appetite thresholds and advises the Consumer Banking Group
                                                                                                                                                      GCEO, the Deputy GCEO, the CEO Kuwait, the Chief Credit            with prudent lending policies based on portfolio performance.
                                                                                                                                                      Officer, the Head of Corporate Banking and a number of             Consumer Credit Risk Management assesses the external
                                                                                                                                                      senior executives in Corporate Banking and is responsible          environment and focuses on growth for selected segments and

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    proactively monitors the portfolio. They are aligned with key          annually. Semi-annual “short-form” reviews are also performed           systems along with market intelligence, facility utilization and        Credit risk mitigants such as collateral and guarantees from third
    concepts of risk management, namely governance, control and            subject to certain additional criteria.                                 collateral valuation updates are included in the regular review         parties are effective mitigating factors within the Group’s portfolio
    measurement and reporting.                                                                                                                     of the credit facilities to enable timely corrective action by          and collateral quality is continuously monitored and assessed.
                                                                           Financial institutions                                                  Management. These reviews are performed on a semi-annual,               Risk transfer in the form of syndications, risk participation
    Consumer Credit Risk is managed through a framework which              The Group’s policy is to assess the credit risk in facilities granted   annual and ad-hoc basis as required. The results of the monitoring      arrangements with other banks and sale of loans are common
    sets out policies and procedures covering the measurement and          to financial institutions by utilizing data from external credit        process are reflected in the internal rating.                           practices to manage the Group’s exposures.
    management of credit risk. There is a clear segregation of duties      agencies. Such data are further complemented by the bilateral
    between transaction originators in the businesses and approvers.       transaction history with the relevant financial institution and         The total portfolio credit risk is monitored on an ongoing basis        4.1.8   Management of credit collateral and valuation
    Within this framework, all credit exposure limits are approved         existing and potential relationship with the Group. The resulting       with formal monthly and quarterly reporting to ensure senior            The main types of collateral accepted by the Group include:
    within a defined credit approval authority framework. Policies and     credit facilities are structured across various products and            management awareness of shifts in credit quality and portfolio
    procedures specific to each business/product line are approved         maturities and are subject to review at least annually.                 performance along with changing external factors such as                •       cash collateral;
    by the Executive Committee and significant policies are ratified                                                                               economic and business cycles.                                           •       quoted shares and units in collective investment schemes;
    by the Board. Credit loss recognition process/quantification           Consumer lending                                                                                                                                •       bank guarantees;
    is handled by Consumer Risk Management Unit, within GRM,               The independence of the risk management function helps to               Cross-border exposures are monitored by the central credit risk         •       commercial and residential real estate; and
    independent of the business.                                           balance appropriate near-term and longer-term objectives.               management function against specific limits set for this purpose.       •       eligible debt instruments (principally sovereign and bank
                                                                           Consumer lending criteria incorporate CBK regulatory guidelines                                                                                         obligors).
    4.1.5    Credit review procedures and loan classification              and Group policies related to consumer credit facilities, such          Consumer credit risk reporting also includes a detailed
    Corporate and SMEs                                                     as debt-to-income ratio, minimum qualifying income and                  dashboard for consumer and small-business lending, covering the         The custody and daily “mark to market” (revaluation) of financial
    The Group’s policy is to assess the credit risk in commercial          limits on advances by product type. Additional inputs utilized          entire credit life-cycle, including delinquency monitoring such as      collateral, inclusive of shares, are performed independent of the
    banking through a risk-rating process which provides transparency      include applicant characteristics obtained from credit bureaus,         ageing and migration and loss recognition.                              business units. Real estate collateral except private residences is
    and consistency to enable comparison between obligors. The             particularly the Kuwait credit bureau, to assist in assessing an                                                                                valued on an annual basis.
    Group uses an industry-standard risk-rating tool to make these         applicant’s ability to repay and the probability of default.            4.1.7.    Group credit risk mitigation strategy
    assessments. Under this risk-rating framework, the obligors are                                                                                Portfolio diversification is a cornerstone of the Group’s credit        In accordance with the Group’s credit policies, banks and
    rated based on financial and business assessments.                     Consumer Credit Risk Management proactively monitors                    risk mitigation strategy which is implemented through customer,         creditworthy companies and individuals with high net worth
                                                                           portfolios considering the external environment, analyzing growth       industry and geographical limit structures.                             are accepted as guarantor counterparties, subject to credit
    The risk-rating process derives obligor risk-ratings (“ORRs”) and      in selected segments and, as per risk strategy, aims to support                                                                                 risk assessment. However, in accordance with the CBK Basel
    facility risk-ratings (“FRRs”). The rating methodology focuses on      portfolio growth within acceptable risk appetite thresholds.            In accordance with CBK regulations, the Group limits its credit         III framework, only cash collateral, guarantees from banks with
    factors such as operating performance, liquidity, debt service                                                                                 concentration per group of related entities to 15.0 per cent. of        defined high credit-quality ratings, quoted shares, eligible debt
    and capital structure. The ratio analysis includes the assessment      Consumer credit risk is monitored with three lines of defence.          the Bank’s Regulatory Capital. This does not apply to government        instruments and units in collective investment schemes are
    of each ratio’s trend across multiple periods, in terms of both                                                                                and quasi-government entities, agencies and departments in              recognised as risk mitigation for capital adequacy purposes.
    rate change and the volatility of the trend. It also compares the                                                                              the GCC countries that do not work on a commercial basis and
    value of the ratio for the most-recent period with the values          First Line -       The Business owns and manages risks and              subject to CBK approval, or to banks. The Group also measures its       The Group’s credit exposures were covered by the following
    of the comparable peer group. Qualitative assessments of the                              controls (including the identification and           concentration levels across sectors, geographies and products to        eligible financial collateral and guarantees:
    operations, liquidity and capital structure are also included in the                      assessment of risk and controls) in adherence        ensure and enhance the portfolio oversight and diversification.
    assessment. The Group has implemented risk-rating models for                              to credit policies governing the business and
    commercial, real estate, high-net-worth individuals and project                           across the value chain in line with risk appetite.   Table 7                                                                                   KD 000s
    finance facilities. The Group also has an approved framework for       Second Line -      The Consumer Credit Risk Management
    FRRs. While the ORR does not take into consideration factors                              function develops and maintains the risk                                                                       31 December 2023                                  31 December 2022
    such as the availability of collateral and support, the FRR is                            management framework which enables the                                                              Gross credit       Eligible            Eligible   Gross credit        Eligible       Eligible
    a measure of the quality of the credit exposure based on the                              business to manage the risk and control                                                               exposure      Credit Risk         guarantees       exposure     Credit Risk    guarantees
    expected loss in the event of default after considering collateral                        environment within the Board-approved risk                                                                           Mitigation                                        Mitigation
    and support. The availability of eligible collateral or support                           appetite.
    substantially reduces the extent of the loss in the event of default   Third Line -       Group Internal Audit independently                   Cash                                               184,832                  -                -       244,199                -               -
    and such risk mitigating factors are reflected in the FRR.                                tests, verifies and evaluates controls for           Claims on sovereigns                             7,774,130           77,155                  -      8,253,189           504                 -
                                                                                              effective credit risk management and the
    In cases where the risk-rating tool is not applicable, the Bank                           implementation of policies and procedures.           Claims on International Organisations              153,308                  -                -       122,546                -               -
    assigns a rating based on an internal assessment which is                                                                                      Claims on public sector entities                 1,675,638                  -                -      1,595,886           377                 -
    mapped to the relevant external rating scale.                          4.1.6.    Group credit risk monitoring and portfolio management
                                                                           The Group has a portfolio risk-rating process through which             Claims on multilateral development banks           248,550                  -                -        92,728                -               -
    The Group classifies its exposure in accordance with the North         the overall portfolio quality is assessed at regular intervals and      Claims on banks                                  5,738,584           53,327        1,324,512*       5,903,570        81,711     1,288,950 *
    American Industry Classification System Code in addition to the        analyzed for credit committees. In addition, a RAROC (Risk-
    classification based on purpose codes as defined by the CBK.           Adjusted Return on Capital) model is in use to guide business           Claims on corporates                           18,209,980          1,345,188                 -    16,352,030      1,428,506                 -
    This additional classification helps to improve the accuracy of        lines and Management in pricing credit facilities granted to
                                                                                                                                                   Regulatory retail exposure                       7,648,318          173,145                  -      7,592,958       177,676                 -
    ORRs through peer group analysis in respect of performance             corporate clients. The RAROC model is based on the premise that
    and financial indicators and also allows the Group to classify its     pricing should be aligned with the risk embedded in the proposal.       Past due exposures                                 161,944            5,057                  -       151,717          5,899                 -
    portfolio into sub-segments which facilitate analysis and improve
                                                                                                                                                   Other exposures                                  1,385,833                  -                -      1,249,508               -               -
    the management of concentrations.                                      The Group’s credit exposures are regularly reviewed and
                                                                           monitored through a system of triggers and early-warning signals        Total                                          43,181,117          1,653,872        1,324,512     41,558,331      1,694,673      1,288,950
    Credit facilities to Corporates and SMEs are structured across         aimed at detecting adverse symptoms which could result in a             					
    various products and maturities and are subject to review at least     deterioration of credit risk quality. The triggers and early-warning    * “Memorandum” item where banks act as “guarantors”


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     4.1.9. Gross, average and net credit exposures
                                                                                                                                                Table 10:                                                                              KD 000s
    The Group’s gross credit exposures, average credit exposures and the former adjusted for credit conversion and credit risk mitigation
    factors, respectively, are detailed below:                                                                                                  Net Credit Exposures                                      31 December 2023                               31 December 2022

                                                                                                                                                                                                 Net credit       Funded        Unfunded         Net credit       Funded       Unfunded
     Table 8                                                                             KD 000s
                                                                                                                                                                                                 exposure        exposure       exposure          exposure       exposure      exposure
                                                             31 December 2023                              31 December 2022
                                                                                                                                                Cash                                               184,832        184,832                 -       244,199        244,199                   -
                                                  Gross credit       Funded        Unfunded      Gross credit       Funded       Unfunded
                                                                                                                                                Claims on sovereigns                             7,692,969      7,685,811            7,158       8,247,188     8,241,066            6,122
                                                    exposure        exposure       exposure         exposure       exposure      exposure
                                                                                                                                                Claims on International Organizations              153,308        153,308                 -       122,546        122,546                   -
    Cash                                              184,832        184,832                -       244,199        244,199                  -
                                                                                                                                                Claims on public sector entities                 1,659,185      1,566,677          92,508        1,579,037     1,538,660          40,377
    Claims on sovereigns                             7,774,130     7,762,498          11,632       8,253,189     8,241,066          12,123
                                                                                                                                                Claims on multilateral development banks           248,550        248,550                 -        92,728          92,728                  -
    Claims on International Organisations             153,308        153,308                -       122,546        122,546                  -
                                                                                                                                                Claims on banks                                  4,912,191      4,077,353         834,838        4,981,631     4,141,232         840,399
    Claims on public sector entities                 1,675,638     1,566,677        108,961        1,595,886     1,538,660          57,226
                                                                                                                                                Claims on corporates                           15,285,571      13,460,017       1,825,554     13,421,656      11,719,276       1,702,380
    Claims on multilateral development banks          248,550        248,550                -         92,728         92,728                 -
                                                                                                                                                Regulatory retail exposure                       7,443,375      7,431,099          12,276        7,384,908     7,372,130          12,778
    Claims on banks                                  5,738,584     4,003,076       1,735,508       5,903,570     4,065,179       1,838,391
                                                                                                                                                Past due exposures                                 156,083        155,278              805        145,068        144,318              750
    Claims on corporates                          18,209,980      14,600,321       3,609,659     16,352,030     12,949,529       3,402,501
                                                                                                                                                Other exposures                                  1,385,833      1,385,833                 -      1,283,126     1,283,126                   -
    Regulatory retail exposure                       7,648,318     7,586,987          61,331       7,592,958     7,533,398          59,560
                                                                                                                                                Total                                          39,121,897      36,348,758       2,773,139     37,502,087      34,899,281       2,602,806
    Past due exposures                                161,944        160,335           1,609        151,717        150,217           1,500

    Other exposures                                  1,385,833     1,385,833                -      1,249,508     1,249,508                  -
                                                                                                                                                As at 31 December 2023, 41 % (2022: 42%) of the Group’s net credit risk exposure was rated by External Credit Assessment
    Total                                         43,181,117      37,652,417       5,528,700     41,558,331     36,187,030       5,371,301
                                                                                                                                                Institutions (ECAIs) recognised for the purpose, as detailed below:



     Table 9:                                                                            KD 000s                                                Table 11:                                                                              KD 000s
     Average Credit Exposures*                               31 December 2023                              31 December 2022                     Net Credit Exposures                                      31 December 2023                               31 December 2022
                                                      Average        Funded        Unfunded         Average        Funded        Unfunded                                                        Net credit         Rated         Unrated        Net credit        Rated         Unrated
                                                        credit      exposure       exposure           credit      exposure       exposure                                                        exposure        exposure        exposure         exposure      exposure        exposure
                                                     exposure                                      exposure
                                                                                                                                                Cash                                               184,832                -       184,832         244,199                -       244,199
     Cash                                             193,912        193,912                -       251,295        251,295                  -
                                                                                                                                                Claims on sovereigns                             7,692,969      7,692,969                 -      8,247,188     8,247,188                   -
     Claims on sovereigns                            7,274,160     7,259,055          15,105      7,547,386      7,528,388          18,998
                                                                                                                                                Claims on International Organizations              153,308                -       153,308         122,546                -       122,546
     Claims on International Organisations            153,335        153,335                -       120,901        120,901                  -
     Claims on public sector entities                1,644,549     1,574,834          69,715      1,615,425      1,567,262          48,164      Claims on public sector entities                 1,659,185        254,029       1,405,156        1,579,037       121,046       1,457,991

     Claims on multilateral development banks         173,893        173,893                -        70,031         70,031                  -   Claims on multilateral development banks           248,550        248,550                 -        92,728          92,728                  -
     Claims on banks                                 6,068,253     4,262,590      1,805,663       5,782,341      3,922,344       1,859,997      Claims on banks                                  4,912,191      4,872,643          39,548        4,981,631     4,943,006          38,625
     Claims on corporates                         17,441,121      13,926,788      3,514,333      15,643,401     12,423,042       3,220,359      Claims on corporates                           15,285,571       3,099,397      12,186,174     13,421,656       2,359,811      11,061,845
     Regulatory retail exposure                      7,604,472     7,544,301          60,171      7,408,367      7,351,287          57,080
                                                                                                                                                Regulatory retail exposure                       7,443,375                -     7,443,375        7,384,908               -     7,384,908
     Past due exposures                               208,155        206,546           1,609        125,148        123,396           1,752
                                                                                                                                                Past due exposures                                 156,083                -       156,083         145,068                -       145,068
     Other exposures                                 1,366,939     1,226,227        140,712       1,181,813      1,181,813                  -
                                                                                                                                                Other exposures                                  1,385,833                -     1,385,833        1,283,126               -     1,283,126
     Total                                        42,128,789      36,521,481      5,607,308      39,746,108     34,539,759       5,206,350
                                                                                                                                                Total                                          39,121,897      16,167,588      22,954,309     37,502,087      15,763,779      21,738,308

    *Based on average of four quarter-end balances
                                                                                                                                                The Group uses external ratings (where available) from recognised and creditable market sources to supplement internal ratings
                                                                                                                                                during the process of determining credit limits. Public issue instruments without external ratings are risk-weighted at 100% for capital
                                                                                                                                                adequacy purposes.




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    The geographical distribution of the gross credit exposure before taking into consideration credit enhancements is as detailed below:           The Group’s gross credit exposure by residual contractual maturity is as detailed below:


    Table 12                                                                               KD 000’s                                                 Table 13					                                                                                   KD 000’s

    31 December 2023                               Middle East                                                                                      31 December 2023                                               Up to 3 months 3 to 12 months          Over 1 year          Total
                                                                        North
                                                    and North                     UK & Europe             Asia         Others               Total
                                                                      America                                                                       Cash                                                                  184,832                    -                -     184,832
                                                        Africa
                                                                                                                                                    Claims on sovereigns                                                4,576,933          876,419         2,320,778       7,774,130
    Cash                                               163,386           2,082          19,364                -              -       184,832
                                                                                                                                                    Claims on International Organizations                                 101,232              52,076                 -     153,308
    Claims on sovereigns                             6,295,699       1,090,340        273,806         114,285                -     7,774,130
                                                                                                                                                    Claims on public sector entities                                      479,601          135,171         1,060,866       1,675,638
    Claims on International Organizations                       -             -               -       153,308                -       153,308
                                                                                                                                                    Claims on multilateral development banks                              103,701               3,136           141,713     248,550
    Claims on public sector entities                 1,659,199                -         15,919            520                -     1,675,638
                                                                                                                                                    Claims on banks                                                     2,696,721          990,081         2,051,782       5,738,584
    Claims on multilateral development banks           234,614           7,684           6,252                -              -       248,550
                                                                                                                                                    Claims on corporates                                                5,615,478        3,206,072         9,388,430      18,209,980
    Claims on banks                                  3,128,757        254,745       1,265,293       1,075,242          14,547      5,738,584
                                                                                                                                                    Regulatory retail exposure                                            225,458          511,377         6,911,483       7,648,318
    Claims on corporates                            12,410,504        873,299       2,671,620       1,796,842         457,715     18,209,980
                                                                                                                                                    Past due exposures                                                    109,025                    -           52,919     161,944
    Regulatory retail exposure                       7,632,780             612           7,587           3,262          4,077      7,648,318
                                                                                                                                                    Other exposures                                                       253,888              47,729      1,084,216       1,385,833
    Past due exposures                                 111,874          35,328          14,742                -              -       161,944
                                                                                                                                                    Total                                                              14,346,869        5,822,061        23,012,187      43,181,117
    Other exposures                                    979,172        151,257         190,950            9,261         55,193      1,385,833

    Total                                           32,615,985       2,415,347      4,465,533       3,152,720         531,532     43,181,117        								
    								
                                                                                                                                                                                                                                                     KD 000’s
                                                                                           KD 000’s
                                                                                                                                                    31 December 2022                                                        Up to             3 to
                                                                                                                                                                                                                                                           Over 1 year          Total
    31 December 2022                              Middle East                                                                                                                                                            3 months        12 months
                                                                        North
                                                   and North                      UK & Europe             Asia         Others               Total
                                                                      America                                                                       Cash                                                                   244,184                 15                 -      244,199
                                                       Africa
                                                                                                                                                    Claims on sovereigns                                                 5,000,220             936,625      2,316,344      8,253,189
    Cash                                               163,267             423          80,508                -               -      244,198
                                                                                                                                                    Claims on International Organizations                                  100,780              21,766                -      122,546
    Claims on sovereigns                             5,494,542       2,415,330        226,148         117,168                 -    8,253,188
                                                                                                                                                    Claims on public sector entities                                       510,295             127,631          957,960    1,595,886
    Claims on International Organizations                       -             -               -       122,546                 -      122,546
                                                                                                                                                    Claims on multilateral development banks                                70,526                   -           22,202       92,728
    Claims on public sector entities                 1,574,547                -         20,846            493                 -    1,595,886
                                                                                                                                                    Claims on banks                                                      2,831,727             849,127      2,222,716      5,903,570
    Claims on multilateral development banks            92,728                -               -               -               -        92,728
                                                                                                                                                    Claims on corporates                                                 5,672,644        2,739,703         7,939,683     16,352,030
    Claims on banks                                  3,344,384        403,371       1,195,749         900,720          59,346      5,903,570
                                                                                                                                                    Regulatory retail exposure                                             205,825             545,307      6,841,826      7,592,958
    Claims on corporates                            11,212,159        837,998       2,374,270       1,486,802         440,805     16,352,034
                                                                                                                                                    Past due exposures                                                     151,717                   -                -      151,717
    Regulatory retail exposure                       7,578,526           1,452           6,338           2,645          3,997      7,592,958
                                                                                                                                                    Other exposures                                                        280,926              50,065          918,517    1,249,508
    Past due exposures                                  93,462           6,249          52,005                -               -      151,716
                                                                                                                                                    Total                                                              15,068,844         5,270,239       21,219,248      41,558,331
    Other exposures                                    886,943          97,502        167,967            7,611         89,484      1,249,507

    Total                                          30,440,558        3,762,325      4,123,831       2,637,985         593,632     41,558,331




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    4.1.10.    Impairment Expected Credit Loss and/or Provisions              (ii)   the provisions required by the CBK instructions of December     The Group impaired loan portfolio as at 31 December 2023 was KD 318,386 thousand (2022: KD 310,046 thousand) against which a
                                                                                     1996 since amended in 2007.                                     specific provision of KD 159,150 thousand (2022: 159,870 thousand) has been made, as detailed below:
    Policy since 1 January 2018                                                                                                                      								
                                                                              Credit facilities are classified as past-due when a payment has
                                                                                                                                                     Table 14                                                                                            KD 000’s
    Impairment of financial assets other than credit facilities               not been received on its contractual payment date, or if the
    The Group recognises Expected Credit Losses (ECL) under IFRS 9            facility is in excess of pre-approved limits.                                                                                                                                                  Specific provision
    on:                                                                                                                                                                                                                                                                     recovered (written
                                                                                                                                                     31 December 2023
                                                                              A credit facility is considered as past-due and impaired if the                                                                                        Past due and              Related    off), net of exchange
    •     investment in debt securities measured at amortised cost or         interest or profit or a principal instalment is past due for more                                                                                 impaired financing   Specific provision          rate movement
          fair value through other comprehensive income; and                  than 90 days, and as impaired if the carrying amount of the
                                                                                                                                                     Claims on corporates                                                                 179,233                70,402               (21,903)
    •     balances and deposits with banks.                                   facility is greater than its estimated recoverable value.
                                                                                                                                                     Regulatory retail exposure                                                           139,153                88,748               (25,797)
    Equity investments are not subject to Expected Credit Losses.             Past-due and past-due and impaired facilities are managed
                                                                                                                                                     Total                                                                                318,386               159,150               (47,700)
    The ECL on financial assets other than credit facilities as at 31         and monitored as “irregular” facilities and are classified into
    December 2023 amounted to KD 72,707 thousand. (2022: KD                   the following four categories, which are then used to guide the
    72,709 thousand)                                                          provisioning process:
                                                                                                                                                                                                                                                          KD 000’s
    Impairment of credit facilities                                           •      Watchlist, irregular for a period up to and including 90 days
    Credit facilities granted by the Group consist of:                               (no specific provision required);
                                                                                                                                                                                                                                                                             Specific provision
                                                                              •      Substandard, irregular for a period from and including 91
                                                                                                                                                                                                                                     Past due and                           recovered (written
    •     loans and advances, Islamic financing to customers including               days and up to and including 180 days (20 per cent. specific    31 December 2022
                                                                                                                                                                                                                                         impaired              Related    off), net of exchange
          credit commitments;                                                        provision required);
                                                                                                                                                                                                                                        financing    Specific provision         rate movement
    •     letters of credit and financial guarantee contracts including       •      Doubtful, irregular for a period from and including 181 days
          credit commitments                                                         and up to and including 365 days (50 per cent. specific         Claims on corporates                                                                 182,056                69,407               214,231
                                                                                     provision required); and
                                                                                                                                                     Regulatory retail exposure                                                           127,990                90,463               (12,734)
    Impairment on credit facilities is recognised in the consolidated         •      Bad, irregular for a period exceeding 365 days (100 per cent.
    statement of financial position at an amount equal to the higher                 specific provision required).                                   Total                                                                                310,046               159,870               201,497
    of:
                                                                              The Group may also include a credit facility in one of the above
    (i)   ECL under IFRS 9 according to the CBK guidelines dated 25th         categories based on Management’s judgement of a customer’s             The geographical distribution of “past-due and impaired” financing and the related specific provision are as follows:
          December 2018,                                                      financial and/or non-financial circumstances.

    The Group in estimating ECL on credit facilities has taken into
    consideration the following key parameters based on inputs from                                                                                  Table 15                                                                            KD 000’s
    CBK:
                                                                                                                                                      31 December 2023                           Middle East
                                                                                                                                                                                                  and North            North
    •     a floor for estimating probability of default (“PD”) for specific
                                                                                                                                                                                                      Africa         America    UK & Europe              Asia         Others             Total
          portfolios;
    •     eligible collateral with haircuts for determining loss given                                                                                Past due and impaired financing                248,040           55,457         14,889                -                -        318,386
          default (“LGD”) and a floor LGD;deemed maturity for                                                                                         Specific provision                             138,874           20,129            147                -                -        159,150
          exposures in Stage 2;
    •     a credit conversion factor (“CCF”) on utilised and un-utilised
          portions for cash and non-cash facilities;
    •     a days-past-due backstop, and a rating notch downgrade for                                                                                                                                                                      KD 000’s
          stage movement for specific portfolios; and
    •     a stage 2 observation period prior to curing.                                                                                                                                          Middle East
                                                                                                                                                     31 December 2022                             and North            North
    Refer Notes of the Group’s consolidated financial statement for                                                                                                                                   Africa         America    UK & Europe             Asia          Others             Total
    further details on ECL. and
                                                                                                                                                     Past due and impaired financing                 238,987           15,367         55,692                -                -        310,046

                                                                                                                                                     Specific provision                              147,100            9,118          3,652                -                -        159,870


                                                                                                                                                     In accordance with CBK regulations, minimum general provisions          The adequacy of provisions is regularly evaluated and monitored
                                                                                                                                                     of 1% for cash facilities and 0.5% for non-cash facilities,             by the Provision Committee.
                                                                                                                                                     respectively, are made on all applicable credit facilities (net of
                                                                                                                                                     certain restricted categories of collateral) which are not subject to
                                                                                                                                                     specific provisioning.




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    The Group’s total provision as at 31 December 2023 was KD 903,390 thousand (2022: 868,285 thousand) inclusive of a general                       trading activities. The management of market risk inherent within      4.2.2. Monitoring of non-trading market risk in the banking book
    provision of KD 729,148 thousand (2023: KD 691,088 thousand) as detailed below:                                                                  the Group’s non-trading activities is the primary responsibility       The Group’s key non-trading market risk is the sensitivity of its net
    									                                                                                                                                        of the Group Asset and Liability Executive Committee (ALEC),           interest income to movements in interest rates.
                                                                                                                                                     supported by the regional Asset and Liability Committees.
    Table 16                                                                                                            KD 000’s
                                                                                                                                                                                                                            The interest rate risk in the “Banking Book” is managed through
                                                                                                              31 December          31 December       Group Asset and Liability Management (ALM) Unit is responsible         amongst others a “re-pricing gap” limit structure which is
                                                                                                                     2023                 2022       for supervising the management of Market Risk exposure.                supplemented by periodic analysis of scenarios (instantaneous
                                                                                                                                                     All activities giving rise to market risk are conducted within a       parallel shift of +/-5 bps and +/-10bps in the yield curve) to
    Claims on sovereigns                                                                                              3,689                3,863
                                                                                                                                                     structure of approved credit and position limits. Group Market         capture the sensitivity of the exposure to interest rate changes.
    Claims on public sector entities                                                                                  9,037              12,360      Risk Management independently measures, monitors and reports
                                                                                                                                                     on Bank’s market risk exposures.                                       The analysis of scenarios shows the impact in the banking book
    Claims on banks                                                                                                   5,009                4,951                                                                            as follows:
    Claims on corporates                                                                                           627,383              572,770
                                                                                                                                                     								
    Regulatory retail exposure                                                                                      84,030               97,144
                                                                                                                                                     Table 18                                                                                    KD 000’s
    Total                                                                                                          729,148              691,088
                                                                                                                                                                                                                           + 5bp                -5bp                +10bp                 -10bp

                                                                                                                                                     31 December 2023                                                      3,307             (3,307)                 6,614              (6,614)
    The total general provision above includes KD 31,568 thousand (2022: KD 31,068 thousand) relating to “non-cash” facilities in                    31 December 2022                                                      3,359              (3,359)                6,717               (6,717)
    accordance with CBK regulations.
                                                                                                                                                     								

    The geographical distribution of the general provision on “cash” facilities is as follows:
                                                                                                                                                     Included in the assumptions above are that interest rates move         the Group level. Furthermore, the Group recognizes and mitigates
                                                                                                                                                     by the same percentage irrespective of maturity, that all positions    the correlation of other risks and processes in its market risk
    Table 17                                                                               KD 000’s                                                  run to maturity and that no management corrective action is            monitoring process.
                                                                                                                                                     taken to mitigate the impact of interest rate risk. In addition to
                                                 Middle East                                                                                         interest rate risk, the Group is also exposed to market risk as        In addition to VaR, the Group uses a structure of foreign exchange
                                                  and North            North                                                                         a result of changes in the “fair value” of its strategic equity and    and interest rate limits to manage and control its market risk
                                                      Africa         America      UK & Europe              Asia          Others             Total    investment positions held without any intention of liquidation.        associated with trading activities. The Group’s market risk is also
    31 December 2023                                650,045               6,752         29,970            6,464           4,349         697,580                                                                             assessed under stressed conditions using the same framework.
                                                                                                                                                     4.2.3.    Monitoring of “market” risk from “trading” activities        Computations are based on stressed historical data.
    31 December 2022                                616,404               7,076         28,155            4,617           3,768         660,020      The Group’s Risk Management function independently monitors
                                                                                                                                                     the regional and global trading market risk exposure using Value-      4.2.4     Equity price risk
                                                                                                                                                     at-Risk (“VaR”) methodology to derive quantitative measures            Equity price risk is the risk that the fair values of equities will
                                                                                                                                                     specifically for market risk under normal market conditions. This      fluctuate as a result of changes in the level of equity indices or
    The analysis of specific and general provisions is further detailed       •   Clear segregation of “front”, “back” and ‘middle’ office           enables the Group to apply a constant and uniform measure              the value of individual shares. Equity price risk arises from the
    in note 13 of the Group’s consolidated financial statements.                  duties.                                                            across all of its trading activities and facilitates comparisons of    change in fair values of equity investments. The Group manages
                                                                              •   Bank’s approach to accept, limit and increase Market Risks         market risk estimates, both over time and against daily trading        equity price risk through diversification of investments in terms of
    The provisions for credit facilities as at 31 December 2023 was           •   Regular and effective monitoring and reporting of exposures        results.                                                               geographic distribution and industry concentration.
    KD 903,390 thousand (2022 : KD 868,285 thousand) computed                     and risk measures
    pursuant to the CBK instructions of December 1996 since                   •   Regular monitoring of market prices and valuation of               The VaR is supplemented with stress-testing (a stressed VaR)           The CBK has set a maximum limit of 50 per cent. of a bank’s
    amended, are higher than the IFRS 9 ECL for credit facilities as at           financial instruments                                              to quantify market risk under extreme stress scenarios based           Regulatory Capital for investment in funds and equities, excluding
    31 December 2023 which was KD 615,659 thousand (2022 : KD                 •   Defined set of internal limits and regular reporting on the        on observed historical worst-case and in-house developed               in subsidiaries.
    577,435 thousand).                                                            adherence to those limits                                          scenarios. VaR computation allows for diversification benefits at
                                                                              •   Regular independent review of internal controls and limits
    4.2.      Market risk                                                     •   Implementation of adequate infrastructure
    Market risk is defined as the potential loss in value of financial
    instruments or contracts or portfolio of instruments caused by            4.2.1.   Market-risk management framework
    adverse movements in market variables such as interest rates,             The Bank’s Market Risk Management Framework consists of
    foreign exchange rates, equity prices, volatility, spreads etc.           Governance, Identification & Measurement, Management & Limit
                                                                              Setting as well as Reporting/ Management information.
    The Group identifies market risk inherent in its financial claims
    and loans, FX exposure, trading and investment activities, and            The Board of Directors (BoD) is ultimately responsible for
    defines market risk management strategy through the following:            determining and setting the amount of Market Risk that the Bank
                                                                              is exposed to as a result of executing its business strategy through
    •     Implementation of Market Risk Management Framework                  Bank’s Risk Appetite. The market risk management framework
    •     Well-defined processes and strong and effective controls            governs the Group’s trading and non-trading related market risk
    •     Recognition of Market Risk as inherent to Bank’s Business           activities. The General Manager of the Treasury Group and General
          Model and Macro-Economic Environment.                               Managers in Overseas locations are responsible for managing



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    The analysis of the Group’s total equity investment portfolio is as follows:                                                                 Counterparty Credit Exposure arises from the risk that                    under derivative contracts. The allocation of credit limits for
                                                                                                                                                 counterparties are unable to meet their payment obligations               derivatives market counterparties is provided by the Bank’s
                                                                                                                                                 under certain financial contracts such as derivatives.                    Institutional Banking Division taking into consideration
                                                                                                                                                                                                                           counterparty credit profile, historical financial performance,
    Table 19                                                                                                       KD 000’s
                                                                                                                                                 The Group Risk Management function independently monitors                 geographical location, legal jurisdiction and other relevant factors.
                                                                                                     31 December 2023     31 December 2022       counterparty credit risk exposures arising from its derivatives           The credit limits are reviewed on an annual basis and credit
                                                                                                                                                 transactions using the concept of Potential Future Exposure (PFE).        exposure is regularly monitored and reported for all derivatives’
    Total Equity Investment                                                                                     75,754                68,720
                                                                                                                                                 The PFE is defined as the maximum expected credit exposures over          counterparties.
    Of which Quoted Investments (%)                                                                               55%                   48%      a specified horizon at a particular confidence level. As such, the risk
                                                                                                                                                 exposure is an upper bound of possible exposures at the selected          4.2.7.2 Policies for securing collateral and credit reserves
                                                                                                                                                 confidence level and not the maximum risk exposure possible.              Credit risk from derivatives is mitigated where possible through
    Net gains or (loss) of FVPL classified instruments recognised in Profit & Loss Statement                                                                                                                               netting agreements whereby derivative assets and liabilities
    during the period                                                                                            3,219                (2,738)    In response to the various regulations, including the European            with the same counterparty can be offset. The Group uses ISDA
                                                                                                                                                 Market Infrastructure Regulations (EMIR), the Bank has, with the          master agreement as the preferred agreement for documenting
    Net gains or (loss) of FVOCI classified instruments recognized in Balance-sheet as
                                                                                                                                                 approval of the CBK, established NBK GDM (Caymans) Limited to             OTC derivatives. In order to reduce its counterparty risk, the
    at period-end                                                                                              (1,250)                (1,851)
                                                                                                                                                 deal in financial derivatives products, which allows the Bank to          Group selectively enters into ISDA Credit Support Annex (CSA)
                                                                                                                                                 continue dealing with highly-rated counterparties on derivative           collateral agreements. In line with these standards, the Group
                                                                                                                                                 transactions with netting arrangements in place and removes the           generally accepts only cash as collateral. It also has policies and
    Capital requirement of Equity investment portfolio categorized as:                                                                           risk that the Bank may be required to post “margin” collateral on         procedures for reviewing the legal enforceability of credit support
    Fair value through Other Comprehensive Income (FVOCI)                                                        6,151                 5,020     an asymmetric basis. The Bank has also set in place policies and          documents in accordance with applicable rules. Credit risk is
                                                                                                                                                 procedures to ensure compliance with EMIR regulations, i.e., to           reduced through the process of daily margining with relevant
    Fair value through P&L (FVPL)                                                                                6,078                 4,977     clear OTC derivatives through Central Counterparties (CCP).               market-counterparties. Daily margining is performed with the
    All revaluation gains or losses during the year relating to equity investments were recorded in the consolidated statement of financial                                                                                help of Treasury system as well as through the use of collateral
                                                                                                                                                 Wrong-Way Risk (WWR)                                                      service agent. Daily valuations for qualified derivatives are
    position. For additional details of the accounting policies related     Progress on transition                                               WWR arises when there is adverse (positive) correlation between           compared to those reported by the market-counterparties and
    to the valuation of equity holdings, refer to notes 2.15 and 2.16 of                                                                         a client’s credit-worthiness (probability of default) and the             any disagreements are directly resolved between the parties. The
    the Group’s consolidated financial statements.                          Non-Derivatives                                                      Group’s credit exposure to that client.                                   Group uses an internal model to estimate PFE, which includes
                                                                            The Group has completed the transition of its non-USD                                                                                          the mitigating effects of netting and collateral in valuing over-the-
    4.2.5    Currency Risk                                                  IBOR linked contracts to risk-free/ alternative rates, through       NBK does not enter into derivatives whose valuations depend on            counter contracts.
    The Group is exposed to transactional foreign currency risk to the      amendments to fall back clauses as well as agreeing with the         the credit quality of the counterparty and hence wrong-way risk is
    extent that there is a mismatch between the currencies in which         client/ counterparty on the alternative rate. The Group has          not a factor of risk for the Bank.                                        Additional collateral requirements due to credit rating downgrade
    transactions are denominated and the respective functional              transitioned significant majority of its USD linked contracts to                                                                               The Group has no provisions in its agreements with market
    currency of the Group companies and ultimately upon translation         “Risk-Free Rates” (RFRs). For remaining contracts which are          4.2.7.1 Assignment of credit limits for Counterparty Credit 		            counterparties where a downgrade in its credit rating will have an
    to the Base Currency of the Group.                                      mainly syndicated contracts, discussions are currently in progress           Exposures                                                         impact on the collateral amount to be posted.
                                                                            with the counterparties to complete the transition. For contracts    Counterparty credit risk exposure arises from the risk that
    The currency exposures are monitored on a regular basis and             whose transition is not completed, the Group will continue with      counterparties are unable to meet their payment obligations               4.2.7.3   General Disclosure for Counterparty Credit Risk
    compared against approved risk appetite.                                the ‘synthetic’ LIBOR benchmark published by the ICE Benchmark
                                                                            Administration until 30-Sep-2024.
    4.2.6      Managing Interest rate benchmark reform and
               associated risks                                             Derivatives
                                                                            The Group has completed the transition of all USD and non-USD        Table 20                                                                                                          KD 000s
    Overview                                                                linked derivatives as per ISDA Fallbacks Protocol.
                                                                                                                                                 Derivative Contracts                                                                              31 December 2023        31 December 2022
    A fundamental reform of major interest rate benchmarks is
    being undertaken globally, including the replacement of some            Hedge Accounting                                                     Gross Positive fair value                                                                                    290,685                  325,986
    interbank offered rates (IBORs) with alternative nearly risk-free       Refer to note 2.21 of the financial statements.
                                                                                                                                                 Counterparty netting benefit                                                                                 (20,150)                 (16,251)
    rates (referred to as ‘IBOR’ reform). The Group has been closely
    monitoring the market and the output from the various industry          4.2.7.    Counterparty Credit Risk                                   Netted current credit exposure                                                                               270,535                  309,735
    working groups managing the transition to new benchmark                 The Group enters into financial instruments that are traded
                                                                                                                                                 Cash collateral (held by NBK)                                                                                247,132                  297,916
    interest rates.                                                         over the counter mainly for hedging purpose with various
                                                                            counterparties. In most cases, industry-standard documentation       Net exposure (after netting and collateral)                                                                   23,403                   11,818
    The key risks for the Group arising from the transition are Conduct     is used which gives the Group the protection in situation where
    risk, Pricing risk, Interest rate basis risk, Accounting, Litigation    the Group’s Counterparty is in default. The Group also enters
    and Operational risk.                                                   into Interest Rate Swaps, which are cleared on an exchange and       4.2.7.4 Exposure-at-Default Methodology                                   using the Potential Future Exposure (PFE) measure. The Bank
                                                                            provide daily margin in the form of cash at the exchange.            As per the regulatory requirements, the Bank calculates                   applies ‘historical’ simulation approach (at 99% confidence
                                                                                                                                                 counterparty credit exposure as per the Current Exposure Method           level) by projecting the potential values of relevant risk factors
                                                                                                                                                 (CEM) for its exposure to derivatives counterparties.                     across the transactions’ horizon, and then re-valuing derivatives
                                                                                                                                                                                                                           transactions and counterparty credit exposures according to the
                                                                                                                                                 In addition, the Bank calculates counterparty credit exposure             projected risk factor.




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    Both the CEM and PFE methods incorporate the effects of legally enforceable netting and collateral agreements when estimating                   Liquid Assets (HQLAs) at all times. Further, the Bank’s liquidity       4.5        Reputation and fiduciary risk
    counterparty exposure.                                                                                                                          objectives are:                                                         Reputation risk is defined as the current and prospective impact
                                                                                                                                                                                                                            on earnings and capital arising from negative public opinion which
                                                                                                                                                    •   to ensure strategies are in conformity with the regulatory          will affect the ability to establish new relationships or services or
    Table 21                                                                                                         KD 000s
                                                                                                                                                        requirements of the CBK and the requirements of the local           to continue servicing existing relationships.
                                                                                                     31 December 2023        31 December 2022           regulators in other jurisdictions where the Group operates;
                                                                                                                                                    •   to ensure the use of proper tools in ascertaining liquidity risk;   Management of reputation risk is an inherent feature of the
    Counterparty Credit Risk (CEM method) for derivatives’ counterparties                                       152,255                  113,276
                                                                                                                                                    •   continuously to seek sources of stable customer funds and           Group’s corporate culture which is embedded as an integral
    Counterparty Credit Risk (PFE method) for derivatives’ counterparties                                       354,028                  387,775        to keep its funding costs as low as possible;                       part of the internal control systems. Besides identification
                                                                                                                                                    •   to limit its dependence on the use of short-term inter-bank         and management of risks, the internal control system also
                                                                                                                                                        funding;                                                            incorporates as an ethos the maintenance of business practices
    4.2.8   Notional value of credit derivatives transactions                developed with the business units in line with the Group’s risk        •   to leverage its strong position, reputation and credit strength     of the highest quality towards its customers, shareholders,
    NBK has no exposure to credit derivatives.                               appetite. The capture and reporting of operational risk incidents          in order to secure long-term funding, such as customer              regulators, general public and fiduciary and non-fiduciary clients.
                                                                             and losses are established as a firm process across all business           deposits, institutional deposits, government deposits and
    4.3      Operational risk                                                and support units. Close co-ordination with business units and             debt issuance at a competitive cost;                                Through its policies and practices, NBK ensures proper
    Operational risks are governed at Group level through a Board-           the GIA enables ORM to track operational incidents and losses          •   to ensure the Bank’s ability to generate or obtain cash or its      screening of clients’ risk profiles and performance expectations
    approved Group Operational Risk Management policy and                    and to propose mitigating actions for business units to follow in          equivalent in a timely and cost-efficient manner so that the        is conducted prior to making investment products or services
    framework which defines the roles and responsibilities of the            order to address control weaknesses.                                       Bank can meet its obligations;                                      available to them. Furthermore, once a product or service is
    Board & BRCC, the EC, Business and Operational Teams, Group                                                                                     •   to maintain market confidence; and                                  sold, appropriate risk and performance projections are clearly
    Operational & Technology Risk Management function [ORM] and              In addition, a comprehensive Business Continuity, Crisis               •   to ensure profitable business opportunities can be pursued          communicated, and funds placed under management are treated
    the Group Internal Audit function [GIA] for managing, monitoring         Management and Disaster Recovery management programme                      without liquidating assets at undesirable times, or raising         with due care and professionalism.
    and reporting operational risks. The key components of the               designed to cope with business disruptions and major disasters             additional unsecured funding on an unreasonable scale or
    Board-approved framework are:                                            has been implemented and is regularly tested.                              timescale.                                                          During the year, Assets under Management at the Group
                                                                                                                                                                                                                            increased by 16.2 % (2022: 6.4%) to reach KD 6,600 million on 31
    •     comprehensive, documented policies, procedures and                 Material Operational risks are periodically reviewed with relevant     The liquidity and funding management process includes:                  December 2023 (2022: KD 5,682 million).
          controls which reflect CBK and Basel III guidelines for internal   members of Executive Management and reported to the EC and
          controls and sound practices for managing and supervising          BRCC to ensure comprehensive oversight.                                •   self-imposed and regulatory liquidity ratios, including ratios
          operational risks in banks;                                                                                                                   in accordance with Basel III principles;
    •     risk and control self-assessments conducted by business line       4.4        Liquidity risk                                              •   maintaining a diverse range of funding sources with adequate
          management in coordination with and supported by ORM;              Liquidity risk is defined as the inability to generate sufficient          back-up facilities;                                                 III      Composition of Capital
    •     quarterly key risk indicator submission and validation to          financial resources to meet all obligations and commitments as         •   monitoring depositor concentration in order to avoid
          identify risk trends and develop mitigating actions;               they fall due, or the ability only to secure them at excessive cost.       undue reliance on individual large depositors and ensure a
    •     operational incident, loss reporting and investigation of          It is the policy of the Group to maintain adequate liquidity at all        satisfactory overall funding mix; and                               1.       Composition of Regulatory Capital
          causes and failed controls;                                        times, in all geographical locations.                                  •   liquidity stress tests to make sure the Group can survive
                                                                                                                                                        liquidity squeezes under different stress scenarios.                For regulatory purposes, the capital base is divided into:
    ORM has implemented an Integrated Risk Management system                 The Group’s liquidity management is guided by its internal                                                                                     i.   Common Equity Tier 1
    that facilitates the maintenance of a comprehensive Risk Register,       liquidity policy, which is reviewed annually and approved by the       The Bank monitors and reports various internal and regulatory           ii. Tier 1 Capital
    approval framework for plans to deal with residual risk treatment        Board. The EC assigns responsibilities and ensures the Group           liquidity metrics in order to manage and comply with liquidity          iii. Tier 2 Capital
    plans, reporting of risk indicators and operational incidents and        has sufficient resources to carry out liquidity risk management        risk on an on-going basis. Specifically, since 1st Jan 2016, the
    maintenance of business continuity impact assessments and                work in an independent and effective manner. The primary               Bank is monitoring and reporting Liquidity Coverage Ratio (LCR)         Common Equity Tier 1 Capital comprises shareholders’ equity,
    plans.                                                                   responsibilities for the management of liquidity are with the ALEC,    in line with CBK instructions. Refer to the Liquidity Coverage          retained earnings, eligible reserves and related eligible non-
                                                                             regional asset and liability committees, the Group Treasurer and       Ratio disclosures available on the Bank’s website of the Bank for       controlling interests. The book values of Goodwill and Intangibles
    ORM works closely with all of the Group’s business lines to raise        local Treasurers. Day-to-day cash-flows and liquidity management       Governance framework, Funding Strategy and LCR ratio results            are deducted along with other regulatory adjustments.
    awareness of operational risk. In addition to the risk opinions and      are handled by the ‘local’ treasury teams at Group Head Office         and analysis.
    constant support provided by the operational risk management             and the Group’s international locations. The longer-term liquidity                                                                             Tier 1 Capital consists of Common Equity Tier 1 Capital and
    function through daily activities, operational risk awareness is         and funding profile of the Group is monitored and managed by           In accordance with the Basel III framework, as implemented by           Additional Tier 1 Capital which includes eligible portions of non-
    achieved through a comprehensive training programme developed            Group Treasury under the guidance of the ALEC.                         the CBK, the Group also manages its liquidity through compliance        controlling interests.
    and delivered by the operational risk management function to the                                                                                with the Net Stable Funding Ratio (NSFR). Starting from 1 January
    various business units. The aim of this training programme is to         The Group’s liquidity policy specifies the main goals, roles           2018, the Bank has been monitoring and reporting its NSFR in            Total Regulatory Capital includes Tier 1 Capital and Tier 2 Capital
    cultivate strategic relationships with business line management          and responsibilities, processes and procedures for managing            line with CBK instructions. Refer to the NSFR related disclosures       which consists of the allowed portions of general provisions and
    and to encourage open communication and ownership of risk                the Group’s liquidity risk. It also encompasses the Group’s            available on the Bank’s website on a quarterly basis.                   certain additional eligible non-controlling interests.
    issues.                                                                  contingency funding plan, which is intended to provide a
                                                                             framework for effective responses to any potential liquidity
    Risk and control self-assessments are regularly conducted by the         crisis, whether triggered by Bank-specific or by systemic liquidity
    Business and Operational teams in order to identify the residual         shortages.
    risks, control gaps and take relevant risk treatment measures in
    consultation with ORM.                                                   The Bank’s liquidity risk strategy is centred on maintaining an
                                                                             adequate liquidity position at all times, primarily by means of an
    Key risks across business and support units are identified and           acceptable maturity mismatch profile, relying on more ‘stable’
    monitored on a quarterly basis using various key risk indicators         deposits and maintaining an adequate stock of High-Quality


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    The below table summarises the composition of capital and ratios:
                                                                                                                                             Table 23: Steps 1 and 2 of Reconciliation requirements                           KD 000s

                                                                                                                                                                                                      Balance sheet as in   Under regulatory
     Table 22                                                                                                        KD 000’s                Item                                                     published financial           scope of   Reference
                                                                                                31 December 2023       31 December 2022                                                                      statements       consolidation

    Common Equity Tier 1 capital                                                                         3,442,577               3,170,120                                                                    31-Dec-23          31-Dec-23

    Tier 1 capital                                                                                       3,974,353               3,697,531   Assets

    Total capital                                                                                        4,572,242               4,271,095   Cash and short-term funds                                        4,384,700           4,384,700

    Total risk-weighted assets                                                                         26,469,664               24,571,452   Central Bank of Kuwait bonds                                       856,815             856,815

    Capital ratios and buffers                                                                                                               Kuwait Government treasury bonds                                   194,111             194,111

    Common Equity Tier 1 (as percentage of risk-weighted assets)                                            13.0%                   12.9%    Deposits with banks                                              1,318,121           1,318,121

    Tier 1 (as percentage of risk-weighted assets)                                                          15.0%                   15.0%    Loans, advances and Islamic financing to customers              22,281,004          22,281,004

    Total capital (as percentage of risk-weighted assets)                                                   17.3%                   17.4%    of which General Provisions(netted above) capped for
                                                                                                                                                                                                                306,421             306,421
                                                                                                                                             Tier 2 inclusion                                                                                         a
    National minima
                                                                                                                                             Investment securities                                            6,884,821           6,884,821
    Common Equity Tier 1 minimum ratio including Capital Conservation Buffer*                                 9.5%                   8.0%
                                                                                                                                             Investment in associates                                                   -                  -
    Tier 1 minimum ratio                                                                                    11.0%                    9.5%
                                                                                                                                             Land, premises and equipment                                       506,812             506,812
    Total capital minimum ratio excluding Countercyclical and D-SIB buffers                                 13.0%                   11.5%
                                                                                                                                             Goodwill and other intangible assets                               508,416             508,416
    NBK Group minima
                                                                                                                                             of which goodwill deducted from CET1 Capital                       337,181             337,181           b
    Common Equity Tier 1 minimum ratio including Capital Conservation Buffer and
    Domestic Systemically-Important Bank Buffer*                                                            11.5%                   10.0%    of which other intangibles deducted from CET1 Capital              171,235             171,235           c

    Tier 1 minimum ratio                                                                                    13.0%                   11.5%    Other assets                                                       730,191             730,191

    Total capital minimum ratio excluding Countercyclical Buffer                                            15.0%                   13.5%    Total assets                                                    37,664,991          37,664,991

                                                                                                                                             Liabilities
    * CET1 Capital Conservation Buffer of 2.5% for 31st December 2019 has been reduced to nil by CBK from 1st April 2020 until 31
                                                                                                                                             Due to banks and other financial institutions                    7,689,431           7,689,431
    December 2022 due to Corona Virus Disease. December 2021 due to Corona Virus Disease.
                                                                                                                                             Customers deposits                                              21,948,957          21,948,957

                                                                                                                                             Certificates of deposit issued                                     822,899             822,899
    A detailed breakdown of the Group’s Regulatory Capital position       the balance sheet in the audited financial statements, a three-    Other borrowed funds                                             1,331,006           1,331,006
    under the Common Disclosures template as stipulated under the         step approach has been mandated under the Pillar 3 disclosures
    Pillar 3 section of the CBK Basel III Capital Adequacy framework      section of the CBK Basel III framework.                            Amount recognized in Tier 2 capital                                241,702             241,702           d
    is presented in Table 31 available in the Appendices Section.                                                                            Other liabilities                                                  966,123             966,123
                                                                          Table 23 provides the comparison (Step1) of the balance sheet
    2.       Reconciliation requirements		                                published in the consolidated financial statement and the          Total liabilities                                               32,758,416          32,758,416
    The basis for the scope of consolidation for accounting and           balance sheet under the regulatory scope of consolidation. Lines
    regulatory purposes is consistent for the Group. In order to          have been expanded and referenced with letters (Step 2) to
    provide a full reconciliation of all Regulatory Capital elements to   display the relevant items of the Regulatory Capital.




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    Table 23: Steps 1 and 2 of Reconciliation requirements (continued)                           KD 000s                           Table 24 provides the relevant lines under ‘Table 31: Composition of Regulatory Capital’ with cross references to the letters in Table 23,
                                                                                                                                   thereby reconciling (Step 3) the components of Regulatory Capital to the published balance sheet.
                                                                         Balance sheet as in   Under regulatory
    Item                                                                 published financial           scope of   Reference
                                                                                statements       consolidation                     Table 24: Step 3 of Reconciliation requirements                                                              KD 000s

                                                                                 31-Dec-23          31-Dec-23                           Relevant
                                                                                                                                    Row Number                                                                                                            Source based on
    Shareholders’ Equity                                                                                                             in Common                                                                                                            reference letters
    Share capital                                                                  792,995             792,995           e            Disclosure                                                                                         Component of       of the balance
                                                                                                                                        Template Common Equity Tier 1 capital: instruments and reserves                               Regulatory Capital sheet from step 2
    Proposed bonus shares                                                            39,649             39,649           p
                                                                                                                                         1        Directly issued qualifying common share capital plus related stock surplus                    792,995                    e
    Statutory reserve                                                              396,499             396,499            f
                                                                                                                                         2        Retained earnings                                                                           1,750,695                     i
    Share premium account                                                          803,028             803,028            g
                                                                                                                                         3        Accumulated other comprehensive income (and other reserves)                                 1,174,458         f+g+h+k+j+p
    Treasury shares                                                                        -                  -
                                                                                                                                                  Common share capital issued by subsidiaries and held by third parties
    Treasury shares reserve                                                          34,961             34,961           h               5        (minority interest)                                                                           232,846                    m
    Other Reserves                                                               1,816,640           1,816,640                           6        Common Equity Tier 1 capital before regulatory adjustments                                  3,950,993
     of which Retained Earnings eligible as CET1 Capital                         1,750,695           1,750,695            i                        Common Equity Tier 1 capital : regulatory adjustments
     Retail Loans deferment Loss                                                     32,625             32,625            j              8        Goodwill                                                                                     (337,181)                   b
     of which Proposed Dividend                                                    198,249             198,249                                    Other intangibles other than mortgage-servicing rights (net of related tax
     of which Others eligible as CET1 Capital                                     (132,304)          (132,304)           k               9        liability)                                                                                   (171,235)                   c

    Equity attributable to shareholders of the Bank                              3,883,772           3,883,772                                    Investments in own shares (if not already netted off paid-in capital on
                                                                                                                                         16       reported balance sheet)
    Perpetual Tier 1 Capital Securities                                            439,032             439,032
                                                                                                                                         28       Total regulatory adjustments to Common Equity Tier 1                                         (508,416)
     of which used for Regulatory Capital                                          439,032             439,032            l
                                                                                                                                         29       Common Equity Tier 1 capital (CET1)                                                         3,442,577
    Non-controlling interests                                                      572,926             572,926
                                                                                                                                                   Additional Tier 1 capital : instruments
     of which Limited Recognition eligible as CET1 Capital                         205,626             205,626           m
                                                                                                                                                  Directly issued qualifying Additional Tier 1 instruments plus related stock
     of which Limited Recognition eligible as AT1 Capital                            88,379             88,379           n               30       surplus                                                                                       439,032                     l
     of which Limited Recognition eligible as Tier 2 Capital                         46,942             46,942           o               31       of which: classified as equity under applicable accounting standards                          439,032
    Total equity                                                                 4,906,575           4,906,575                                    Additional Tier 1 instruments (and CET1 instruments not included in row 5)
    Total liabilities and equity                                                37,664,991          37,664,991                                    issued by subsidiaries and held by third parties (amount allowed in group
                                                                                                                                         34       AT1)                                                                                           92,744                    n

                                                                                                                                         36       Additional Tier 1 capital before regulatory adjustments                                       531,776

                                                                                                                                                   Additional Tier 1 capital : regulatory adjustments

                                                                                                                                         44       Additional Tier 1 capital (AT1)                                                               531,776

                                                                                                                                         45       Tier 1 capital (T1 = CET1 + AT1)                                                            3,974,353

                                                                                                                                                   Tier 2 capital : instruments and provisions

                                                                                                                                         46       Directly issued qualifying Tier 2 instruments plus related stock surplus                      241,702                    d

                                                                                                                                                  Tier 2 instruments (and CET1 and AT1 instruments not included in rows 5
                                                                                                                                                  or 34) issued by subsidiaries and held by third parties (amount allowed in
                                                                                                                                         48       group Tier 2)                                                                                  49,766                    o

                                                                                                                                         50       General Provisions included in Tier 2 Capital                                                 306,421                    a

                                                                                                                                         51       Tier 2 capital before regulatory adjustments                                                  597,889

                                                                                                                                                   Tier 2 capital: regulatory adjustments

                                                                                                                                         58       Tier 2 capital (T2)                                                                           597,889

                                                                                                                                         59       Total capital (TC = T1 + T2)                                                                4,572,242




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                                                                            The Leverage Ratio is a separate, additional requirement from        Summary comparison of accounting assets vs Leverage Ratio exposure measure
    IV.        Leverage                                                     the risk-based capital requirement. It is defined as the ‘capital’
                                                                            measure divided by the ‘exposure’ measure. The capital measure
    1.         Leverage Ratio                                                                                                                    Table 27                                                                                                              KD 000’s
                                                                            is made up of Tier 1 capital. The exposure measure is a sum of
                                                                            on-balance sheet assets, derivative exposure, securities finance                Item                                                                                      31 December 2023          31 December 2022
    In October 2015, CBK issued the regulations on the ‘Leverage
                                                                            transactions and off-balance sheet exposures.
    Ratio’ introduced by the Basel Committee as part of the                                                                                           1     Total consolidated assets as per published financial statements                                   37,664,991                36,338,363
    regulatory reforms package. This transparent and non-risk                                                                                               Adjustment for investments in banking, financial, insurance or commercial
                                                                            The Group is in compliance with the requirements stipulated by
    based metric supplements the Capital ratio to act as a backstop                                                                                         entities that are consolidated for accounting purposes but outside the scope
                                                                            CBK for the Leverage Ratio set at a minimum of 3%.
    measure to limit excessive build-up of on- and off-balance sheet                                                                                  2     of regulatory consolidation                                                                                   -                          -
    exposures.
                                                                            The Leverage Ratio for the Group at consolidated level is:                      Adjustment for fiduciary assets recognized on the balance sheet pursuant to
                                                                                                                                                            the operative accounting framework but excluded from the Leverage Ratio
                                                                                                                                                      3     exposure measure                                                                                              -                          -
    Table 25                                                                                                                                          4     Adjustments for derivative financial instruments                                                     382,864                    336,204
                                                                                                   31 December 2023        31 December 2022                 Adjustment for securities financing transactions (ie repos and similar secured
                                                                                                                                                      5     lending)                                                                                                                                 -
    Tier 1 Capital (KD 000s)                                                                                3,974,353               3,697,531
                                                                                                                                                            Adjustment for off-balance sheet items (ie conversion to credit equivalent
    Total Exposures (KD 000s)                                                                              40,989,808              39,373,804         6     amounts of off-balance sheet exposures)                                                            3,450,369                  3,234,173
    Leverage Ratio                                                                                               9.7%                    9.4%         7     Other adjustments                                                                                  (508,416)                  (534,936)
                                                                                                                                                      8     Leverage Ratio exposure                                                                           40,989,808                36,165,918
    2.      Leverage Ratio Exposures
    The below Table provides the details of the Total Exposures for Leverage Ratio:                                                                                                                                         d.   Ensure that Independent Board members will not be paid any salary
                                                                                                                                                 V.         Remuneration Disclosures                                             or financial amount, with the exception of the remuneration paid
                                                                                                                                                                                                                                 to them for their membership in the Board, or the dividend paid
                                                                                                                                                 Qualitative Information
    Table 26                                                                                                            KD 000’s                                                                                                 to them as a shareholder or the interests received or due on their
                                                                                                                                                                                                                                 deposits or investments from the ordinary business activities of the
    Total Exposures                                                                                31 December 2023       31 December 2022       1.       Board of Directors, Board Nomination and
                                                                                                                                                                                                                                 Bank.
                                                                                                                                                          Remuneration Committee
    On-balance sheet exposures                                                                            37,156,575               35,803,427                                                                               e.   Make recommendations to the Board regarding the level and
                                                                                                                                                 NBK Group’s remuneration framework is under the supervision of
                                                                                                                                                                                                                                 components of the remuneration of the Group CEO and his
    Derivative exposures                                                                                     382,864                 336,204     the Board of Directors. As per the Group’s policies and charters,
                                                                                                                                                                                                                                 deputies, taking into consideration the total remuneration including
                                                                                                                                                 the Board is responsible to review and approve the Remuneration
    Off-balance sheet items                                                                                 3,450,369               3,234,173                                                                                    salaries, bonuses and other incentives.
                                                                                                                                                 Policy and oversee the implementation of the remuneration
                                                                                                                                                                                                                            f.   Give recommendations to the Board regarding the nomination for
     Total exposures                                                                                      40,989,808               39,373,804    framework.
                                                                                                                                                                                                                                 Board membership pursuant to the approved policies and in line
                                                                                                                                                                                                                                 with the CBK’s instructions setting out nomination rules for Board
    Table 32 in Appendices Section provides details of the Leverage Ratio                                                                        The Board Nomination and Remuneration Committee (BNRC)
                                                                                                                                                                                                                                 membership.
    in the format stipulated for public disclosure under the Pillar 3 framework.                                                                 comprises four members (3 Non-Executive Board members and
                                                                                                                                                                                                                            g.   Ensure that all provisions and requirements related to the
                                                                                                                                                 1 Independent Board member). The committee is chaired by the
                                                                                                                                                                                                                                 independence of Independent Board members are fulfilled and
    3.         Reconciliation                                                                                                                    Independent Board member.
                                                                                                                                                                                                                                 satisfied by new candidates to Board membership, and raise
                                                                                                                                                                                                                                 recommendations to the Board in this regard.
    Table 27 provides the reconciliation of the balance sheet assets from                                                                        The main objective of the Committee is to carry out the
                                                                                                                                                                                                                            h.   Assess the skills and competencies required to fulfil the Board’s
    the published financial statement with total exposure amount in the                                                                          nomination and remuneration responsibilities. In terms of
                                                                                                                                                                                                                                 duties, specifically to the issues related to the strategic objectives
    calculation of the Leverage Ratio.                                                                                                           remuneration mandates, the Committee supports the Board
                                                                                                                                                                                                                                 of the Group.
                                                                                                                                                 in setting up the Group’s remuneration framework and ensures
                                                                                                                                                                                                                            i.   Ensure Board’s composition satisfy diversification requirements
                                                                                                                                                 effective implementation in accordance with the Group’s
                                                                                                                                                                                                                                 in terms of skills, capabilities, competencies, experience, culture,
                                                                                                                                                 Remuneration Policy and Corporate Governance Code.
                                                                                                                                                                                                                                 gender and age.
                                                                                                                                                                                                                            j.   Identify Board members qualified to fill vacancies on any
                                                                                                                                                 The key responsibilities of the Committee are summarised below:
                                                                                                                                                                                                                                 Committee of the Board, and recommend to the Board the
                                                                                                                                                 a. Develop the Remuneration Policy in co-ordination with Executive
                                                                                                                                                                                                                                 appointment of the identified person(s) to the relevant committee.
                                                                                                                                                     Management and Group Human Resources and submit the same to
                                                                                                                                                                                                                            k.   Ensure the alignment of environmental and social goals to executive
                                                                                                                                                     the Board for approval. The Board is responsible for monitoring the
                                                                                                                                                                                                                                 pay and align executives to the long-term focus of the organization.
                                                                                                                                                     implementation of the policy.
                                                                                                                                                 b. Review the Remuneration Policy in co-ordination with Group Risk
                                                                                                                                                     Management at least on an annual basis or at the request of the        During the year 2023 the Committee reviewed and updated the
                                                                                                                                                     Board, and provide the Board with policy amendments or update          Remuneration Policy, Succession Planning Manual and its internal
                                                                                                                                                     suggestions.                                                           Charter.
                                                                                                                                                 c. Evaluate the sufficiency and effectiveness of the Remuneration
                                                                                                                                                     Policy on a periodic basis to ensure the achievement of its declared
                                                                                                                                                     objectives.


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    2.       Remuneration Policy                                          Third Category: Risk management and Control Functions                                  In case of high risk exposures, the Group would try to minimise           an objective base distinct from the business performance base.
    NBK Group Remuneration Policy is developed and implemented            This category includes the following functional heads, and their                       the percentage of variable remuneration, especially for the Senior
    at the Group level and covers NBK subsidiaries and foreign            deputies.                                                                              Management and Material Risk-Takers.                                      The performance appraisal form for each position identifies the
    branches.                                                                                                                                                                                                                              quantitative weights of individual KPIs; the final scoring of the
                                                                          •    Group Financial Control                                                           4.       Risk-Based Remuneration Approach                                 appraisal is linked with a quantitative formula to determine fixed
                                                                          •    Group Risk Management                                                             NBK considers its Group risk profile when determining its annual
    NBK Group has a clear Remuneration Policy, instructions and                                                                                                                                                                            remuneration (salary increments) and variable remuneration
                                                                          •    Group Compliance & Governance                                                     remuneration pool; the risk profile includes the key risks to which
    processes, ensuring a sound remuneration framework throughout                                                                                                                                                                          (annual bonus).
                                                                          •    Group Internal Audit                                                              the Group is exposed, such as strategic, credit, market, liquidity,
    the organisation. It supports the Group’s ability to recruit and
                                                                          •    Anti-Money Laundering Unit                                                        and operation risk. The policy ensures adequate linkage between
    retain the right talents and competences and motivate high-                                                                                                                                                                            Since the overall remuneration pool of the Group is linked to
    calibre, skilled and knowledgeable employees, thereby ensuring                                                                                               the performance and risk materialisation, loss incurrence and risk        Group performance (Group Net Profit), the Group adjusts the
                                                                          The number of persons in this category as of 31 December 2023
    sound risk management and sustained profitability.                                                                                                           appetite of the Group.                                                    remuneration percentages in case of weak performance and
                                                                          is 19 (2022:19).
    The Policy aims to support the Group to operate a “total reward”                                                                                                                                                                       business recessions.
    philosophy taking account of all components of financial              3.        Remuneration Structure and Components                                        The overall variable remuneration pool is determined using a multi-
    remuneration.                                                         The Group’s financial remuneration framework has been                                  year performance assessment which takes account of relevant risk          6.        Remuneration Adjustments
                                                                          linked with long-term and short-term performance objectives.                           metrics. The metrics used to determine the pool are linked with           The annual remuneration amount (fixed and variable) is reviewed
                                                                          The Board-approved Group Strategy is transformed into Key                              performance and key risk indicators; the key risk indicators are
    Group Policy aims to reward success, not failure, and attempts to                                                                                                                                                                      by the Board Nomination and Remuneration Committee and is
                                                                          Performance Indicators (KPIs) and remuneration is determined                           designed and customised for each core business function and they
    align employees’ remuneration with its risk framework and risk        based on the achievement of those KPIs towards the overall                                                                                                       then subject to review and approval by the Board of Directors.
    appetite and is designed to reward competitively the achievement                                                                                             are in line with the Group’s overall risk strategy.                       The Group remuneration deferment policy ensures an appropriate
                                                                          Group strategy [including financial and non-financial criteria and
    of long-term sustainable performance, attract and motivate            Key Risk Indicators (KRIs), as appropriate].                                           During the year key risk indicators (KRIs) remain linked to the overall   portion of the variable remuneration of senior employees
    the very best persons who are committed to a long-term career                                                                                                remuneration pool without significant change from last year’s KRIs.       (including those deemed to have a material impact on the risk
    with the Bank, and who will perform their role in the long-term       The Group has two main remuneration components:                                                                                                                  profile of the organisation) is deferred. The deferment of variable
    interests of its shareholders.                                                                                                                               The Group Risk Management and Group Compliance and Governance             remuneration applies to the Deferred Cash Bonus and Phantom
                                                                          •    Fixed remuneration:                                                               functions are independent and report to the Board Risk and                Shares Plan.
    In case any provisions of the Remuneration Policy document                                                                                                   Compliance Committee. The Heads of Group Risk Management and
                                                                          The purpose of the fixed pay is to attract and retain employees by                     Group Compliance and Governance are assessed by the Board Risk and
    deviate from any of the local statutory or regulatory requirements,   paying market-competitive remuneration for the role, skills and                                                                                                  The Group applies a deferment approach of up to three years and
    the local statutory and regulatory requirements will take             experience required for the business.                                                  Compliance Committee on an annual basis. The total remuneration for       final vesting of these variable components is subject to continuing
    precedence over the provisions of the Remuneration Policy.                                                                                                   each of these positions is determined and approved by the Board Risk      employment and the absence of risk materialisation. Claw-back
    The Remuneration Policy defines three major categories for            Fixed remuneration includes:                                                           and Compliance Committee as a fully independent party.                    applies on the non-vested portions in case risk materialises. The
    remuneration treatment, governance and disclosures.                                                                                                                                                                                    claw-back mechanism is applicable on the Deferred Cash Bonus
                                                                          1.   Salaries                                                                          5.        An Overview on the Key Performance Indicators                   and Phantom Shares Plan.
                                                                          2.   Benefits                                                                          The overall strategy of the Group is set and approved by the
    First Category: Senior Management                                     3.   Other cash allowances
    This category includes all employees at the level of Deputy                                                                                                  Board and translated into KPIs. These are then documented and             This deferred variable remuneration is governed as follows:
    General Manager (DGM) and higher (excluding risk management           These payments are fixed and do not vary with performance.                             communicated to ensure the alignment of management activities
    and control functions).                                                                                                                                      to the strategy applied by Senior Management. These KPIs are              •   Deferred over a period of three (3) years to align with the
                                                                          •    Variable Remuneration (performance-based remuneration):                           monitored and reported to the Board on a regular basis.                       long-term performance of the Group.
    The number of persons in this category as of 31 December 2023                                                                                                Examples of Group-level KPIs:                                             •   Subject to Clawback in the event of established fraud,
                                                                          The purpose of the variable remuneration is to drive and reward
    is 44 (2022: 41).                                                                                                                                                                                                                          misleading information or exceeding the approved risk limits.
                                                                          performance based on annual financial and non-financial measures                       •    Return on Assets
                                                                          consistent with shareholder interests and adherence to NBK values.                                                                                                   Control Functions personnel are subject to Clawback for 1 year
    Second Category: Material Risk-Takers                                                                                                                        •    Return on Equity                                                         and other positions are subject to Clawback for three (3) years.
                                                                          Variable remuneration includes:
    This category includes the Group CEO, his deputy, CEO Kuwait, his                                                                                            •    Cost-income ratio
    deputy and the heads of business functions and their deputies         1.   Cash bonus.                                                                       •    Capital Adequacy                                                     Quantitative Information
    (Deputy General Manager and higher are included in Senior             2.   Deferred Cash Bonus                                                               •    Capital Adequacy Ratio                                               1. During the year, the Board Nomination and Remuneration
                                                                          3.   Equity shares as per Phantom Shares Plan*                                         •    Non-performing Assets (NPA)
    Management category). The Group’s core business units are:                                                                                                                                                                                Committee met three times. Board of Directors members
                                                                          4.   Other
                                                                                                                                                                                                                                              (Executive Board member, Non-Executive Board members
    •     Global Wealth Management                                                                                                                               Remuneration is determined based on the achievement of KPIs                  and the Independent Board members) received remuneration
                                                                          These payments are not fixed and are linked to performance.
    •     Corporate Banking Group                                                                                                                                towards the overall Group strategy. These include financial and              amounting to KD 70 thousand each (total of KD 770
    •     Treasury Group                                                  The “other” remuneration represents performance incentives for                         non-financial criteria and Key Risk Indicators (KRIs) at Group level.        thousand) for their services as Board members. Board
    •     Consumer Banking Group                                          certain business units upon achieving certain stated business                          The annual remuneration pool for this year was approved by the               of Directors’ remuneration is subject to the approval of
    •     Private Banking Group                                           targets.                                                                               Board of Directors after review and discussion with the Board                shareholders at the Annual General Meeting.
    •     Foreign Corporate and Trade Finance Banking                                                                                                            Nomination and Remuneration Committee. The percentage                     2. The number of persons (Senior Management and Material
                                                                          The Group ensures there is a prudent balance between fixed                             approved for remuneration was determined based on the Group-
    •     International Banking Group                                     and variable remuneration to allow for the possibility of reducing                                                                                                  Risk-Takers) eligible for variable remuneration is 65 persons
                                                                          remuneration, in cases of adverse financial performance.                               level KPIs mentioned above.                                                  and they represent 2.93%of the overall NBK total staff
    The number of persons in this category as of 31 December 2023                                                                                                                                                                             number eligible for variable remuneration for 2023
    is 47 (2022: 43).                                                     The Cash Bonus, Deferred Cash Bonus and Phantom Shares                                 Remuneration parameters for core units (revenue-generating                3. The total number of persons (Senior Management and
                                                                          Plan components of the variable remuneration pool are availed                          functions) are determined based on the stated KPIs into which                Material Risk-Takers) is 65 persons. Their total remuneration
                                                                          selectively to certain Eligible Employees.                                             risk limits are cascaded. Remuneration for other business units,             for 2023 is KD 23,356thousand.
                                                                                                                                                                 such as support functions (excluding risk and control functions),         4. The number of employees who received sign-on awards
                                                                          * Phantom Shares: are notional shares which are neither issued shares nor part of      is based only on stated KPIs.                                                during the year is Nil.
                                                                          the Bank’s Capital. The Phantom Shares cannot be sold or circulated. Its value shall
                                                                          be equal to the sale price of the Bank’s shares in the Stock Exchange on a certain                                                                               5. The total amount of end-of-service benefit paid during
                                                                          date, and according to which the Cash Remuneration for Eligible Employees shall be     The KPIs for the risk management and control functions are                   2023 is KD 37 thousand, this is related to 1 person (Senior
                                                                          calculated according to this Plan.                                                     based on the objectives of the control function itself. They form            Management and Material Risk-Takers).

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    Senior Management:                                                                                     Financial and Risk Control:

    Table 28                                                                                               Table 30
    Total salaries & remuneration granted during reported period     Unrestricted        Deferred          Total salaries & remuneration granted during reported period              Unrestricted                  Deferred
                                                                      (KD 000s)         (KD 000s)                                                                                     (KD 000s)                   (KD 000s)

    Fixed remuneration:
                                                                                                           Fixed remuneration:
          -     Cash                                                       7,564              Nil
                                                                                                                -     Cash                                                                 1,862                         Nil
    Variable remuneration:
                                                                                                           Variable remuneration:
          -     Cash                                                      10,848              Nil
                                                                                                                -     Cash                                                                   795                          4
          -     Phantom Shares                                                Nil          1,949
                                                                                                                -     Phantom Shares                                                          Nil                       425
          -     Others (Note 1)                                              335              Nil
                                                                                                                -     Others (Note 1)                                                         Nil                        Nil


    Material Risk-Takers:
                                                                                                           Note 1: This consists of other performance incentives

    Table 29
                                                                                                           Total remuneration paid as per employee categories
    Total salaries & remuneration granted during reported period     Unrestricted        Deferred
                                                                      (KD 000s)         (KD 000s)          Table 31
                                                                                                                                                                                                  Grand Total Remuneration
    Fixed remuneration:
                                                                                                                                                                          Number of employees in Fixed and Variable granted
                                                                                                            Employees Category
          -     Cash                                                       7,039              Nil                                                                                   this category during the reported period
                                                                                                                                                                                                                  (KD 000s)
    Variable remuneration:
                                                                                                            Senior Management                                                                 44                     20,696
          -     Cash                                                      10,132

          -     Phantom Shares                                                Nil          1,777            Material Risk-Takers                                                              47                     19,815

          -     Others (Note 1)                                              867              Nil
                                                                                                            Financial and Risk Control                                                        19                      3,086




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    VI.        Appendices                                                                                                                  Row Number                                                                                                               KD 000s

                                                                                                                                                        Regulatory adjustments applied to Common Equity Tier 1 due to insufficient Additional Tier 1 and
    1.         Regulatory Capital Composition: Common Disclosure Template                                                                      27
                                                                                                                                                        Tier 2 to cover deductions                                                                                         -

    Table 32                                                                                                                                   28       Total regulatory adjustments to Common Equity Tier 1                                                       (508,416)

    Row Number                                                                                                                 KD 000s         29       Common Equity Tier 1 capital (CET1)                                                                        3,442,577

                      Common Equity Tier 1 capital: instruments and reserves                                                                            Additional Tier 1 capital : instruments

           1          Directly issued qualifying common share capital plus related stock surplus                               792,995         30       Directly issued qualifying Additional Tier 1 instruments plus related stock surplus                         439,032

           2          Retained earnings                                                                                       1,750,695        31       of which: classified as equity under applicable accounting standards                                        439,032

           3          Accumulated other comprehensive income (and other reserves)                                             1,174,458        32       of which: classified as liabilities under applicable accounting standards                                          -

                      Directly issued capital subject to phase out from CET1 (only applicable to non-joint stock                               33       Directly issued capital instruments subject to phase out from Additional Tier 1                                    -
           4
                      companies)                                                                                                      -
                                                                                                                                                        Additional Tier 1 instruments (and CET1 instruments not included in row 5) issued by subsidiaries
                                                                                                                                               34
           5          Common share capital issued by subsidiaries and held by third parties (minority interest)                232,846                  and held by third parties (amount allowed in group AT1)                                                      92,744

           6          Common Equity Tier 1 capital before regulatory adjustments                                              3,950,993        35       of which: instruments issued by subsidiaries subject to phase out

                      Common Equity Tier 1 capital : regulatory adjustments                                                                    36       Additional Tier 1 capital before regulatory adjustments                                                     531,776

           7          Prudential valuation adjustments                                                                                                  Additional Tier 1 capital : regulatory adjustments

           8          Goodwill (net of related tax liability)                                                                 (337,181)        37       Investments in own Additional Tier 1 instruments                                                                   -

           9          Other intangibles other than mortgage-servicing rights (net of related tax liability)                   (171,235)        38       Reciprocal cross holdings in Additional Tier 1 instruments                                                         -

                      Deferred tax assets that rely on future profitability excluding those arising from temporary                                      Investments in the capital of banking, financial and insurance entities that are outside the scope of
           10
                      differences (net of related tax liability)                                                                      -        39       regulatory consolidation, net of eligible short positions , where the bank does not own more than
                                                                                                                                                        10% of the issued common share capital of the entity (amount above 10% threshold)                                  -
           11         Cash flow hedge reserve                                                                                         -
                                                                                                                                                        Significant investments in the capital of banking, financial and insurance entities that are outside the
           12         Shortfall of provisions to expected losses(based on the Internal Models Approach, if applied)                   -        40
                                                                                                                                                        scope of regulatory consolidation( net of eligible short positions)                                                -
           13         Securitisation gain on sale                                                                                     -
                                                                                                                                               41       National specific regulatory adjustments                                                                           -
           14         Gains and losses due to changes in own credit risk on fair valued liabilities                                   -
                                                                                                                                               42       Regulatory adjustments applied to Additional Tier 1 due to insufficient Tier 2 to cover deductions                 -
           15         Defined benefit pension fund net assets                                                                         -
                                                                                                                                               43       Total regulatory adjustments to Additional Tier 1 capital                                                          -
           16         Investments in own shares (if not already netted off paid-in capital on reported balance sheet)                 -
                                                                                                                                               44       Additional Tier 1 capital (AT1)                                                                             531,776
           17         Reciprocal cross holdings in common equity of banks, Fis, and insurance entities                                -
                                                                                                                                               45       Tier 1 capital (T1 = CET1 + AT1)                                                                           3,974,353
                      Investments in the capital of banking, financial and insurance entities that are outside the scope of
           18                                                                                                                                           Tier 2 capital : instruments and provisions
                      regulatory consolidation, net of eligible short positions (amount above 10% threshold)                          -
                                                                                                                                               46       Directly issued qualifying Tier 2 instruments plus related stock surplus                                    241,702
                      Significant investments in the common stock of banking, financial and insurance entities that are
                      outside the scope of regulatory consolidation, net of eligible short positions , where the bank does                     47       Directly issued capital instruments subject to phase out from Tier 2                                               -
           19
                      not own more than 10% of the issued share capital(amount above 10% threshold of bank's CET1
                                                                                                                                                        Tier 2 instruments (and CET1 and AT1 instruments not included in rows 5 or 34) issued by
                      capital)                                                                                                        -        48
                                                                                                                                                        subsidiaries and held by third parties (amount allowed in group Tier 2)                                      49,766
           20         Mortgage servicing rights (amount above 10% threshold of bank's CET1 capital)                                   -
                                                                                                                                               49       of which: instruments issued by subsidiaries subject to phase out                                                  -
                      Deferred tax assets arising from temporary differences (amount above 10% threshold, net of related
           21                                                                                                                                  50       General Provisions included in Tier 2 Capital                                                               306,421
                      tax liability)                                                                                                  -
                                                                                                                                               51       Tier 2 capital before regulatory adjustments                                                                597,889
           22         Amount exceeding the 15% threshold                                                                              -
                                                                                                                                                        Tier 2 capital: regulatory adjustments
           23         of which: significant investments in the common stock of financials                                             -
                                                                                                                                               52       Investments in own Tier 2 instruments                                                                              -
           24         of which: mortgage servicing rights                                                                             -
                                                                                                                                               53       Reciprocal cross holdings in Tier 2 instruments                                                                    -
           25         of which: deferred tax assets arising from temporary differences                                                -
                                                                                                                                                        Investments in the capital of banking, financial and insurance entities that are outside the scope of
           26         National specific regulatory adjustments
                                                                                                                                               54       regulatory consolidation, net of eligible short positions , where the bank does not own more than
                                                                                                                                                        10% of the issued common share capital of the entity(amount above 10% threshold)                                   -

                                                                                                                                                        Significant investments in the capital of banking, financial and insurance entities that are outside the
                                                                                                                                               55
                                                                                                                                                        scope of regulatory consolidation, net of eligible short positions                                                 -


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    Row Number                                                                                                                  KD 000s    2.       Regulatory Capital: Main Features Template

           56        National specific regulatory adjustments                                                                              The Bank’s share capital as at 31 December 2023 comprised issued and fully-paid-up equity shares (note 19 of the Group’s
                                                                                                                                           consolidated financial statements), and is eligible as Common Equity Tier 1 Capital at Group and Solo level.
           57        Total regulatory adjustments to Tier 2 capital

           58        Tier 2 capital (T2)                                                                                        597,889    In addition, the following instruments qualify as eligible Regulatory Capital
           59        Total capital (TC = T1 + T2)                                                                              4,572,242
                                                                                                                                           1     Issuer                     NBK Tier 1 Limited        NBK Tier 1 Financing (2)      National Bank of Kuwait    NBK Tier 2 Limited
           60        Total risk-weighted assets                                                                               26,469,664
                                                                                                                                                                                                      Limited                       S.A.K.P.
                     Capital ratios and buffers                                                                                            2     Unique identifier          XS2306962841              XS2010037922                                             XS2252513713 /
           61        Common Equity Tier 1 (as percentage of risk-weighted assets)                                                 13.0%                                                                                                                        225251371

           62        Tier 1 (as percentage of risk-weighted assets)                                                               15.0%    3     Governing law(s) of the English law (other           English Law; except       Laws of the State of           English Law; except
                                                                                                                                                 instrument              than the Issuer              for Status of Capital     Kuwait                         for Status of Capital
           63        Total capital (as percentage of risk-weighted assets)                                                        17.3%                                  subordination                Securities and                                           Securities and
                     Institution specific buffer requirement (minimum CET1 requirement plus (a)capital conservation                                                      provisions which are         Subordination which are                                  Subordination which
           64        buffer plus (b)countercyclical buffer requirements plus (c)DSIB buffer requirement expressed as a                                                   governed by the laws of      governed by laws of Dubai                                are governed by laws
                     percentage of risk-weighted assets)                                                                           9.0%                                  the Dubai International      International Financial                                  of Dubai International
                                                                                                                                                                         Financial Centre)            Centre.                                                  Financial Centre.
           65        of which: (a) capital conservation buffer requirement
                                                                                                                                                 Regulatory treatment
           66        of which: (b) bank specific countercyclical buffer requirement                                                    -
                                                                                                                                           4     Type of Capital            Additional Tier 1         Additional Tier 1             Tier 2                     Tier 2
           67        of which: (c) DSIB buffer requirement                                                                         2.0%    5     Eligible at solo/ group / Group and Solo             Group and Solo                Group and Solo             Group and Solo
           68        Common Equity Tier 1 available to meet buffers (as percentage of risk-weighted assets)                        6.0%          group & solo

                     National minima                                                                                                       6     Instrument type            Capital Securities by     Capital Securities by     Subordinated Debt              Subordinated Debt
                                                                                                                                                                            Issuer                    Issuer
           69        Common Equity Tier 1 minimum ratio including Capital Conservation Buffer                                      7.0%                                     Irrevocably guaranteed    Irrevocably guaranteed by
           70        Tier 1 minimum ratio                                                                                          8.5%                                     by National Bank of       National Bank of Kuwait
                                                                                                                                                                            Kuwait S.A.K.P. on        S.A.K.P. on Subordinated
           71        Total capital minimum ratio excluding Counter-cyclical and D-SIB buffers                                     10.5%                                     Subordinated basis        basis
                     Amounts below the thresholds for deduction(before risk weighting)                                                     7     Amount recognised in        USD 700,000,000          USD 750,000,000               KD 150,000,000/-           USD 300,000,000/-
                                                                                                                                                 Regulatory Capital         (KD 211,295,000)          (KD 227,737,500)
           72        Non-significant investments in the capital of other financials                                              31,401
                                                                                                                                           8     Par value of instrument USD 1,000/-                  USD 1,000/-                   KD 50,000/-                USD 1,000/-
           73        Significant investments in the common stock of financial entities                                             5,903
                                                                                                                                           9     Accounting                 Shareholders’ equity      Shareholders’ equity          Liability-Amortised Cost Liability-Amortised
           74        Mortgage servicing rights (net of related tax liability)                                                          -         classification                                                                                              Cost
           75        Deferred tax assets arising from temporary differences (net of related tax liability)                             -   10    Original date of           24th February 2021        27th November 2019            18th November 2020         24th November’2020
                     Applicable caps on the inclusion of provisions in Tier 2                                                                    issuance
                                                                                                                                           11    Perpetual or dated         Perpetual                 Perpetual                     Dated                      Dated
                     Provisions eligible for inclusion in Tier 2 in respect of exposures subject to standardised approach
           76
                     (prior to application of cap)                                                                              729,345    12    Original maturity date     No maturity               No maturity                   18th November 2030         24th November’2030
           77        Cap on inclusion of allowances in Tier 2 under standardised approach                                       306,421    13    Issuer call subject        Yes                       Yes                           Yes                        Yes
                                                                                                                                                 to prior supervisory
                     Provisions eligible for inclusion in Tier 2 in respect of exposures subject to internal ratings- based
           78                                                                                                                                    approval
                     approach (prior to application of cap)                                                                            -
                                                                                                                                           14    Optional call date,        Optional Call date:       Optional Call date: Any       Optional Call date: 18     Optional Call date: 25
           79        Cap on inclusion of allowances in Tier 2 under internal ratings-based approach                                    -         contingent call dates      Six months prior to       date three months prior       November 2025 or           November 2025 or any
                                                                                                                                                 and redemption             the First Reset Date :    to 27 November 2025;          any Interest Payment       Interest Payment Date
                                                                                                                                                 amount                     24th February 2027,       Capital Event or Tax Event    hereafter; Capital Event   thereafter; Capital
                                                                                                                                                                            outstanding principal     Call; Redemption amount       or Taxation Reasons        Event or Taxation
                                                                                                                                                                            together with interest    in case of redemption         Principal (in whole or     Reasons; Principal (in
                                                                                                                                                                            accrued (in whole)        date before First Reset       in part) plus Accrued      whole but not in part)
                                                                                                                                                                                                      Date: 101% of Principal;      Interest                   plus Accrued Interest
                                                                                                                                                                                                      and in case of redemption
                                                                                                                                                                                                      date after First Reset Date
                                                                                                                                                                                                      at 100% Principal plus
                                                                                                                                                                                                      Accrued Interest




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    15    Subsequent call dates,      Semi-Annually              Semi-Annually               Semi-Annually             Semi-Annually              25   If convertible,            Not Applicable            Not Applicable                Not Applicable            Not Applicable
          if applicable                                                                                                                                conversion rate
          Coupons / dividends                                                                                                                     26   If convertible,            Not Applicable            Not Applicable                Not Applicable            Not Applicable
                                                                                                                                                       mandatory or optional
    16    Fixed or floating           Fixed for first 6-year     Fixed for first 6-year      Fixed Tranche: Fixed for Fixed for first 5- year
                                                                                                                                                       conversion
          dividend /coupon            period; thereafter reset   period; thereafter reset    first 5 years and reset   period, thereafter reset
                                      every year to a new rate   every 6 years to a new      thereafter to a new fixed to prevailing 5-year       27   If convertible, specify    Not Applicable            Not Applicable                Not Applicable            Not Applicable
                                      to be the aggregate        fixed rate equal to the     rate for subsequent       US Treasury rate plus           instrument type
                                      of the margin and the      then 6-year USD Treasury    period.                   margin.                         convertible into
                                      interpolated 6-year US     rate plus margin            Floating Tranche:
                                                                                                                                                  28    If convertible, specify   Not Applicable            Not Applicable                Not Applicable            Not Applicable
                                      Treasury rate.                                         Floating rate determined
                                                                                                                                                       issuer of instrument it
                                                                                             semi-annually subject to
                                                                                                                                                       converts into
                                                                                             a cap.
                                                                                                                                                  29   Write-down feature         Yes                       Yes                           Yes                       Yes
    17    Coupon rate and any         3.625% p.a. Fixed-Rate     4.500% p.a. Fixed-Rate      Fixed Tranche: 4.75%     2.50% p.a. Fixed rate
          related index               up to (but excluding) ,    up to (but excluding)       p.a. Fixed for 5 years   for first 5-year period,    30   If write-down, write-      Determination by          Determination by              Determination by          Determination by
                                      24th February’2027,        27 November 2025;           and reset thereafter     thereafter reset to              down trigger(s)            Regulator on grounds      Regulator on grounds          Regulator on grounds      Regulator on grounds
                                      there-after reset          thereafter reset every 6    to a new fixed rate of   210.8 bps over the                                          of non-viability or an    of non-viability or an        of non-viability or an    of non-viability or an
                                      every 6 years to a         years to a new fixed rate   the then CBK Discount    prevailing 5-year US                                        immediate injection       immediate injection of        immediate injection       immediate injection
                                      new rate equal to the      equal to the then 6-year    Rate plus 3.25% p.a. for Treasury rate.                                              of capital is required,   capital is required, by way   of capital is required,   of capital is required,
                                      interpolated 6-year        USD Treasury rate plus      subsequent period.                                                                   by way of emergency       of emergency intervention     by way of emergency       by way of emergency
                                      US Treasury rate plus      2.832% p.a. margin          Floating Tranche: CBK                                                                intervention to remain    to remain viable.             intervention to remain    intervention to remain
                                      2.875% margin                                          Discount Rate plus                                                                   viable.                                                 viable.                   viable.
                                                                                             3.00% determined semi-                               31   If write-down, full or     Can be partial or full    Can be partial or full        Can be partial or full    Can be partial or full
                                                                                             annually subject to a                                     partial
                                                                                             cap of prevailing Fixed
                                                                                                                                                  32    If write-down,            Permanent                 Permanent                     Permanent                 Permanent
                                                                                             Interest Rate plus 1%
                                                                                                                                                       permanent or
    18    Existence of a dividend     Yes                        Yes                         No                        No                              temporary
          stopper
                                                                                                                                                  33   If temporary write-        Not Applicable            Not Applicable                Not Applicable            Not Applicable
    19    Fully discretionary,        Payment of Interest    Payment of Interest may         Payment of Interest is    Payment of Interest is          down, description of
          partially discretionary     may be cancelled at    be cancelled at the sole-       Mandatory.                Mandatory.                      write-up mechanism
          or mandatory                the sole-discretion    discretion of the Issuer
                                                                                                                                                  34   Position in                Senior only to Ordinary   Senior only to Ordinary       Senior only to Ordinary   Senior only to Ordinary
                                      of the Issuer and the  and the Guarantor.
                                                                                                                                                       subordination hierarchy    Equity shares; i.e.       Equity shares; i.e.           Equity shares and         Equity shares and
                                      Guarantor.             Mandatory cancellation
                                                                                                                                                       in liquidation (specify    qualifying CET1           qualifying CET1               qualifying Tier 1         qualifying Tier 1
                                      Mandatory cancellation upon:
                                                                                                                                                       instrument type            instruments               instruments                   instruments               instruments
                                      upon:                  -Insufficient Distributable
                                                                                                                                                       immediately senior to
                                      -Insufficient          Funds on a consolidated
                                                                                                                                                       instrument)
                                      Distributable Funds on basis
                                      a consolidated basis   -Breach of any applicable                                                            35   Non-compliant              No                        No                            No                        No
                                      -Breach of any         capital requirements                                                                      transitioned features
                                      applicable capital     -Regulatory requirement                                                              36   If yes, specify non-       Not Applicable            Not Applicable                Not Applicable            Not Applicable
                                      requirements           to cancel                                                                                 compliant features
                                      -Regulatory
                                      requirement to cancel
    20    Existence of step-up        No                         No                          No                        No
          or other incentive to
          redeem
    21    Non-cumulative or           Non-cumulative             Non-cumulative              Not Applicable            Not Applicable
          cumulative
    22    Convertible or non-         Non-convertible            Non-convertible             Non-convertible           Non-convertible
          convertible
    23    If convertible,             Not Applicable             Not Applicable              Not Applicable            Not Applicable
          conversion trigger (s)
    24    If convertible, fully or    Not Applicable             Not Applicable              Not Applicable            Not Applicable
          partially




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    3.           Leverage Ratio: Common Disclosure Template                                                                                 4.          Glossary Of Terms

    Table 33
                                                                                                                                            Term                       Definition
                Item                                                                                                       KD 000s
                                                                                                                                            Additional Tier 1 Capital Additional Tier 1 Capital is a Basel III defined concept and consists of high quality capital. It
                On-balance sheet exposures                                                                                                                            essentially includes providing a permanent and unrestricted commitment of funds, is freely
                                                                                                                                                                      available to absorb losses at the point of non-viability, ranks behind the claims of depositors
         1      On-balance sheet items (excluding derivatives and SFTs, but including collateral)                        37,664,991
                                                                                                                                                                      and other more senior creditors in the event of a wind-up, and provides for fully discretionary
         2      (Asset amounts deducted in determining Basel III Tier 1 capital)                                          (508,416)                                   capital distributions.

         3      Total on-balance sheet exposures (excluding derivatives and SFTs) (sum of lines 1 and 2)                 37,156,575         Basel III                  Refers to the “Capital Adequacy Ratio-Basel III for conventional banks” regulations issued by
                                                                                                                                                                       Central Bank of Kuwait Circular number 2/RB, RBA/A336/2015 dated 24 June 2015
                Replacement cost associated with all derivatives transactions (ie net of eligible cash variation
         4      margin)                                                                                                      96,330         Capital Conservation       A capital conservation buffer of 2.5% (Nil from 1st April 2020 to 31st December 2021)
                                                                                                                                            Buffer                     (expressed as a percentage of risk-weighted assets) has been subsumed in the Minimum
         5      Add-on amounts for PFE associated with all derivatives transactions                                         286,533
                                                                                                                                                                       Common Equity Tier 1 Capital requirement level.
                Gross-up for derivatives collateral provided where deducted from the balance sheet assets pursuant
                                                                                                                                            Countercyclical Buffer     A countercyclical buffer requirement that varies from 0% to 2.5% which, when triggered as a
         6      to the operative accounting framework                                                                              -
                                                                                                                                                                       requirement at the discretion of Central Bank of Kuwait, is required to be met from Common
         7      (Deductions of receivables assets for cash variation margin provided in derivatives transactions)                  -                                   Equity Tier 1 capital.

         8      (Exempted CCP leg of client-cleared trade exposures)                                                               -        Common Equity Tier 1       Common Equity Tier 1 Capital is the highest quality of capital available reflecting the
                                                                                                                                            Capital                    permanent and unrestricted commitment of funds that are freely available to absorb losses.
         9      Adjusted effective notional amount of written credit derivatives                                                   -
                                                                                                                                                                       It essentially includes ordinary share capital, retained earnings and reserves less prescribed
         10     (Adjusted effective notional offsets and add-on deductions for written credit derivatives)                         -                                   deductions.

         11     Total derivative exposures (sum of lines 4 to 10)                                                           382,864         Domestic Systemically-     A Domestic Systemically-Important Bank Buffer that varies from 0.5% to 2% required to be
                                                                                                                                            Important Bank Buffer      met in the form of Common Equity Tier 1 Capital which will be determined at the level of each
         12     Gross SFT assets (with no recognition of netting), after adjusting for sales accounting transactions               -
                                                                                                                                                                       bank identified as systemically important by Central Bank of Kuwait on an annual basis.
         13     (Netted amounts of cash payables and cash receivables of gross SFT assets)                                         -
                                                                                                                                            ECAI                       An External Credit Assessment Institution (ECAI) as recognised by Central Bank of Kuwait from
         14     CCR exposure for SFT assets                                                                                        -                                   time to time for the purposes of the assigning risk-weights to obligors under the Standardised
                                                                                                                                                                       Approach.
         15     Agent transaction exposures                                                                                        -
                                                                                                                                            Leverage Ratio             Calculated in accordance with the requirements of CBK Circular number 2/BS/342/2014
         16     Total securities financing transaction exposures (sum of lines 12 to 15)                                           -
                                                                                                                                                                       dated 21 October 2014. Leverage ratio is defined as the “capital” measure (being Tier 1
                Other off-balance sheet exposures                                                                                                                      capital) divided by the “exposure” measure (being the sum of on-balance sheet assets,
                                                                                                                                                                       derivative exposures and off-balance sheet exposures).
         17     Off-balance sheet exposure at gross notional amount                                                      13,368,755
                                                                                                                                            Liquidity Coverage Ratio Calculated in accordance with the requirements of CBK Circular number 2/RB/345/2014
         18     (Adjustments for conversion to credit equivalent amounts)                                                (9,918,386)        (LCR)                    dated 23 December 2014. The ratio is calculated by taking a financial institution’s stock of
         19     Off-balance sheet items (sum of lines 17 and 18)                                                          3,450,369                                  high quality liquid assets (“HQLAs”) – which include low-risk, highly marketable asset classes,
                                                                                                                                                                     designed to provide significant sources of liquidity in such a stress scenario – and dividing it
         20     Tier 1 capital                                                                                            3,974,353                                  by its projected net cash outflows over the immediately following 30-day period.
         21     Total exposures (sum of lines 3, 11, 16 and 19)                                                          40,989,808
                                                                                                                                            Net-Stable Funding         Calculated in accordance with the requirements of CBK Circular number 2/BS/356/2015
         22     Basel III leverage ratio                                                                                       9.7%         Ratio (NSFR)               dated 25 October 2015 from 2018. The NSFR is defined as the amount of available stable
                                                                                                                                                                       funding (“ASF”) relative to the amount of required stable funding (“RSF”). ASF is defined as
                                                                                                                                                                       the portion of capital and liabilities expected to be reliable over the time horizon considered
                                                                                                                                                                       by the NSFR, which extends to one year. RSF is defined as the portion of assets and off-
                                                                                                                                                                       balance sheet exposures expected to be funded on an ongoing basis over a one-year horizon.
                                                                                                                                                                       The amount of the stable funding required of a specific institution is a function of the liquidity
                                                                                                                                                                       characteristics and residual maturities of the various assets held by that institution as well as
                                                                                                                                                                       those of its off-balance sheet exposures.

                                                                                                                                            Significant Investments Significant Investments in capital of banking, financial and insurance entities are those where
                                                                                                                                                                    the bank owns more than 10% of the issued common share capital of the issuing entity or
                                                                                                                                                                    where the entity is an affiliate of the bank.

                                                                                                                                            Tier 2 Capital             Tier 2 Capital consists of eligible capital instruments that provide an unrestricted commitment
                                                                                                                                                                       of funds for a defined period that is available to absorb losses at the point of non-viability,
                                                                                                                                                                       subordinated to claims of depositors in the event of wind-up. Limited recognition of general
                                                                                                                                                                       provisions held against future, presently-unidentifiable losses are eligible for inclusion in Tier
                                                                                                                                                                       2 Capital.




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           The objective of our strategy
           is to achieve consistently
           superior returns for
           shareholders. The strategy is
           built on 3 cornerstones that
           guide the priorities we set
           for our business units and
           internal functions. They are to
           defend our leadership in core
           businesses, to grow outside
           the core, and to improve
           profitability.




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    Board of Directors’ Report


    The Directors have pleasure in presenting their report together with the audited consolidated financial statements of National Bank of       Equity
    Kuwait S.A.K.P. (the “Bank”) and its subsidiaries (collectively the “Group”) for the year ended 31 December 2023.
                                                                                                                                                 Total equity attributable to the shareholders of the Bank after deducting the proposed cash dividend of KD 198.2 million was KD
    2023     Financial Performance                                                                                                               3,685.5 million (2022: KD 3,434.2 million).

    The Group has delivered strong financial results for the year 2023, notwithstanding challenges arising from macroeconomic and                The Basel III capital adequacy ratio was 17.3% at the year-end (2022: 17.4%) as compared to the CBK prescribed regulatory minimum
    geopolitical situations, while benefitting from increase in benchmark interest rates, business activities and volume growth.                 of 15% (2022: 13.5%). The leverage ratio was 9.7% at the year-end (2022: 9.4%) as compared to the CBK prescribed regulatory
                                                                                                                                                 minimum of 3%.
    The Group reported net profit attributable to shareholders of the Bank of KD 560.6 million compared to KD 509.1 million for 2022, an
    increase of 10.1%. Operating profit amounted to KD 740.3 million compared to KD 623.6 million in 2022, an increase of 18.7%.                 Capital Market Authority Requirements

    Net interest income and net income from Islamic financing totaled KD 905.1 million (2022: KD 755.8 million). Net fees and commissions        The necessary measures were taken to ensure compliance with Law No (7) of 2010, and subsequent Executive By-Laws relating to the
    increased to KD 196.6 million (2022: KD 181.8 million). Net investment income was KD 27.5 million in 2023 (2022: KD 15.7 million). Net       Establishment of the Capital Market Authority and Organization of Securities Activities.
    gains from dealing in foreign currencies decreased to KD 36.1 million in 2023 (2022: KD 55.4 million).
                                                                                                                                                 The Bank maintains a record for reporting the Bank’s shares owned by the Insider Persons (or their dependent children) to the Capital
    Total operating expenses were KD 426.5 million (2022: KD 386.1 million). The cost to income ratio for 2023 was 36.6% (2022: 38.2%).          Market Authority and Boursa Kuwait Company.

    The provision charge for credit losses and impairment losses were KD 103.1 million (2022: KD 45.4 million).                                  Bonus Shares, Dividends and Proposed Appropriations

    The return on average equity was 15% (2022: 14.3%).                                                                                          Net profit for the year was principally allocated as follows:
                                                                                                                                                 1. KD 277.5 million to the dividend account for the distribution of a cash dividend. Proposed final dividend of KD 198.2 million (25 fils
    2023      Balance Sheet                                                                                                                          per share) subject to the approval of shareholders at the annual general meeting (proposed dividend - 25 fils in 2022). An interim
                                                                                                                                                     cash dividend of KD 79.3 million (10 fils per share) was paid during 2023 (10 fils per share in 2022).
    Total assets of the Group grew to KD 37,665.0 million from KD 36,338.4 million at the end of 2022, an increase of 3.7%. Loans,               2. KD 39.6 million to the share capital account to cover the issuance of bonus shares equal to 5% of share capital at the end of 2023
    advances, and Islamic financing to customers grew by KD 1,282.6 million to KD 22,281.0 million, an increase of 6.1%. Investment                  (5% for 2022) (equivalent to 396,497,281 shares with a nominal value of 100 fils per share) subject to the approval of shareholders
    securities grew by KD 1,250.1 million to KD 6,884.8 million, an increase of 22.2%.                                                               at the annual general meeting.
                                                                                                                                                 3. KD 18.9 million to the statutory reserve account to make the statutory reserve in excess of 50% of share capital.
    Customer deposits grew to KD 21,949.0 million from KD 20,178.1 million at the end of 2022, an increase of 8.8%. The Group benefits           4. KD 21.9 million to interest and profit payment towards perpetual Tier 1 Capital Securities and perpetual Tier 1 Sukuk.
    from a loyal Kuwaiti customer base whose deposits remain a continuing source of stable funding. Due to banks were KD 3,963.8 million         5. KD 202.7 million to retained earnings.
    (2022: KD 4,018.0 million) and Deposits from other financial institutions were KD 3,725.6 million (2022: KD 3,740.9 million). Certificates
    of deposits issued were KD 822.9 million (2022: KD 1,801.6 million) and other borrowed funds were KD 1,331.0 million (2022: KD
    1,243.6 million).                                                                                                                            Financial highlights

    The Group maintained a strong liquidity position with cash, short term funds, Central Bank of Kuwait bonds and Kuwait Government
                                                                                                                                                 KD million                                                                                        2023            2022             2021
    treasury bonds amounting to KD 5,435.6 million at the year-end. Deposits with banks were KD 1,318.1 million at the year end. The
    Group has continued to maintain Basel III liquidity ratios well in excess of minimum requirements.                                           Total assets                                                                                  37,665.0         36,338.4        33,256.6
                                                                                                                                                 Loans, advances and Islamic financing to customers                                            22,281.0         20,998.4        19,722.5
    The Group’s general provisions in respect of on-balance sheet credit facilities were KD 697.6 million at the year-end (2022: KD 660.0        Customer deposits                                                                             21,949.0         20,178.1        18,281.0
    million), whilst specific provisions were KD 165.3 million at the year-end (2022: KD 167.9 million). The Group operates a conservative
                                                                                                                                                 Net operating income                                                                            1,166.8         1,009.7           899.8
    credit policy with a balanced diversification across all business sectors and geographical areas. Loan collateral profiles and values are
    continually monitored to ensure that optimum protection is afforded to the Group at all times.                                               Profit attributable to shareholders of the Bank                                                  560.6            509.1           362.2

    Cash and non-cash credit facilities provided by the Bank to Board Members or Executive Officers and their related parties were KD 72.6
    million at the year-end against collateral of KD 153.1 million. Deposits of Board Members or Executive Officers and their related parties
    were KD 36.9 million. Proposed remuneration to Directors of the Bank was KD 770 thousand.




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    Independent Auditors’ Report to
    The Shareholders of National Bank
    of Kuwait S.A.K.P.
    Report on the Audit of the Consolidated Financial Statements                                                                                    Our audit procedures included assessing the design and implementation of controls over the inputs and assumptions used by the Group in
                                                                                                                                                    developing the models, its governance and review controls performed by the management in determining the adequacy of credit losses.
    Opinion
    We have audited the consolidated financial statements of National Bank of Kuwait S.A.K.P. (the “Bank”) and its subsidiaries (together, “the     With respect to the ECL based on IFRS 9, determined in accordance with the CBK guidelines, we have selected samples of credit facilities
    Group”), which comprise the consolidated statement of financial position as at 31 December 2023, and the consolidated statement of              outstanding as at the reporting date, which included rescheduled credit facilities, and evaluated the Group’s determination of significant
    income, consolidated statement of comprehensive income, consolidated statement of changes in equity and consolidated statement of               increase in credit risk and the resultant basis for classification of the credit facilities into various stages. We involved our specialists
    cash flows for the year then ended, and notes to the consolidated financial statements, including material accounting policies.                 to review the Probability of Default (“PD”), Loss Given Default (“LGD”) and Exposure at Default (“EAD”) and the overlays considered by
                                                                                                                                                    management in view of the ongoing economic impacts, in order to determine ECL taking into consideration CBK guidelines. For a sample
    In our opinion, the accompanying consolidated financial statements present fairly, in all material respects, the consolidated financial         of credit facilities, we have evaluated the Group’s staging criteria and computation of ECL including the eligibility and value of collateral
    position of the Group as at 31 December 2023, and its consolidated financial performance and its consolidated cash flows for the year           considered in the ECL models used by the Group. We have also evaluated the various inputs and assumptions used by the Group’s
    then ended in accordance with International Financial Reporting Standards (“IFRSs”), as adopted by Central Bank of Kuwait (“CBK”) for           management to determine ECL.
    use by the State of Kuwait.
                                                                                                                                                    Further, for the CBK rules provision requirements, we have assessed the criteria for determining whether there is a requirement to
    Basis for Opinion                                                                                                                               calculate any credit loss in accordance with the related regulations and, if required, it has been computed accordingly. For the samples
    We conducted our audit in accordance with International Standards on Auditing (ISAs). Our responsibilities under those standards are            selected, which included rescheduled credit facilities, we have verified whether all impairment events have been identified by the Group’s
    further described in the Auditors’ Responsibilities for the Audit of the Consolidated Financial Statements section of our report. We are        management. For the selected samples which also included impaired credit facilities, we have assessed the valuation of collateral and
    independent of the Group in accordance with the International Ethics Standards Board for Accountants’ International Code of Ethics              checked the resultant provision calculations.
    for Professional Accountants (including International Independence Standards) (IESBA Code), and we have fulfilled our other ethical
    responsibilities in accordance with the IESBA Code. We believe that the audit evidence we have obtained is sufficient and appropriate           b)       Impairment of goodwill in Egypt
    to provide a basis for our opinion.
                                                                                                                                                    The Group had a goodwill with carrying value of KD 20,174 thousand in respect of its component in Egypt which is fully impaired as at
    Key Audit Matters                                                                                                                               31 December 2023. The impairment tests of goodwill performed by management in the component of Egypt are significant to our audit
    Key audit matters are those matters that, in our professional judgment, were of most significance in our audit of the consolidated              because the assessment of the recoverable amount of goodwill under the value-in-use basis is complex and requires considerable
    financial statements of the current year. These matters were addressed in the context of our audit of the consolidated financial                judgments on part of management, especially due to the current inflationary pressure and high interest rate environment. Estimates of
    statements as a whole, and in forming our opinion thereon, and we do not provide a separate opinion on these matters. For each key              future cash flows are based on management’s views of variables such as the growth in the banking sector, economic conditions such as
    audit matter below, our description of how our audit addressed the matter is provided in that context.                                          the economic growth and expected inflation rates and yield. Therefore, we identified the impairment testing of goodwill in the component
                                                                                                                                                    of Egypt as a key audit matter.
    We have identified the following key audit matters:
                                                                                                                                                    As part of our audit procedures, where “value in use” is the basis to compute the recoverable value we obtained management’s
    a)       Credit losses on loans, advances and Islamic financing to customers                                                                    impairment calculations and tested the reasonableness of key assumptions, including profit forecasts and the selection of growth rates
                                                                                                                                                    and discount rates. We also involved our valuation specialists and challenged management to substantiate the assumptions, including the
    The recognition of credit losses on loans, advances and Islamic financing (“credit facilities”) to customers is the higher of Expected Credit   comparison of relevant assumptions to industry benchmarks and economic forecasts. We tested the integrity of supporting calculations
    Loss (“ECL”) under International Financial Reporting Standard 9: Financial Instruments (“IFRS 9”), determined in accordance with the CBK        and corroborated certain information with third party sources. We agreed the underlying cash flows to approved budgets and assessed
    guidelines, and the provision required by the CBK rules on classification of credit facilities and calculation of their provision (the “CBK     growth rates and discount rates by comparison with third party information, the Group’s cost of capital and relevant risk factors. Future
    rules”) as disclosed in the accounting policies and in Note 13 to the consolidated financial statements.                                        cash flow assumptions were also assessed through comparison to current trading performance against budget and forecasts, considering
                                                                                                                                                    the historical accuracy of budgeting and forecasting and the understanding of the reasons for growth profiles used. We further evaluated
    Recognition of ECL under IFRS 9, determined in accordance with CBK guidelines, is a complex accounting policy, which requires                   management’s sensitivity analysis to ascertain the impact of reasonably possible changes to key assumptions. We also assessed the
    considerable judgement in its implementation. ECL is dependent on management’s judgement in assessing significant increase in                   controls over the impairment process to determine if they had been appropriately designed and implemented.
    credit risk and classification of credit facilities into various stages, determining when a default has occurred, development of models for
    assessing the probability of default of customers and estimating cash flows from recovery procedures or realization of collateral.              We also assessed the adequacy of the Group’s disclosures regarding those assumptions, which are disclosed in Note 15 to the
                                                                                                                                                    consolidated financial statements, against the requirements of IFRSs.
    Recognition of specific provision on impaired facility under the CBK rules is based on the instructions by CBK on the minimum provision to
    be recognized together with any additional provision to be recognised based on management estimate of expected cash flows related to
    that credit facility.

    Due to the significance of credit facilities and the related estimation uncertainty and judgement in the impairment calculation, this was
    considered as a key audit matter. This is further heightened by the high degree of estimation uncertainty due to the current inflationary
    pressure and high interest rate environment.




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    Independent Auditors’ Report to The Shareholders of
    National Bank of Kuwait S.A.K.P. (continued)

    Other Information included in the Group’s 2023 Annual Report                                                                                       •      Evaluate the overall presentation, structure and content of the consolidated financial statements, including the disclosures, and
    Management is responsible for the other information. Other information consists of the information included in the Group’s 2023 Annual                    whether the consolidated financial statements represent the underlying transactions and events in a manner that achieves fair
    Report, other than the consolidated financial statements and our auditors’ report thereon. We obtained the report of the Bank’s Board of                  presentation.
    Directors prior to the date of our auditors’ report, and we expect to obtain the remaining sections of the Group’s Annual Report for the year      •      Obtain sufficient appropriate audit evidence regarding the financial information of the entities or business activities within the Group
    ended 31 December 2023 after the date of our auditors’ report.                                                                                            to express an opinion on the consolidated financial statements. We are responsible for the direction, supervision and performance of
                                                                                                                                                              the group audit. We remain solely responsible for our audit opinion.
    Our opinion on the consolidated financial statements does not cover the other information and we do not express any form of assurance
    or conclusion thereon.                                                                                                                             We communicate with those charged with governance regarding, among other matters, the planned scope and timing of the audit and
                                                                                                                                                       significant audit findings, including any significant deficiencies in internal control that we identify during our audit.
    In connection with our audit of the consolidated financial statements, our responsibility is to read the other information identified above
    and, in doing so, consider whether the other information is materially inconsistent with the consolidated financial statements or our              We also provide those charged with governance with a statement that we have complied with relevant ethical requirements regarding
    knowledge obtained during the audit, or otherwise appears to be materially misstated. If, based on the work we have performed on the               independence, and to communicate with them all relationships and other matters that may reasonably be thought to bear on our
    other information that we obtained prior to the date of this auditors’ report, we conclude that there is a material misstatement of other          independence, and where applicable, actions taken to eliminate threats or safeguards applied.
    information; we are required to report that fact. We have nothing to report in this regard.
                                                                                                                                                       From the matters communicated with those charged with governance, we determine those matters that were of most significance in the
    Responsibilities of Management and Those Charged with Governance for the Consolidated Financial Statements                                         audit of the consolidated financial statements of the current year and are therefore the key audit matters. We describe these matters in
    Management is responsible for the preparation and fair presentation of the consolidated financial statements in accordance with IFRSs              our auditors’ report unless law or regulation precludes public disclosure about the matter or when, in extremely rare circumstances, we
    as adopted by CBK for use by the State of Kuwait, and for such internal control as management determines is necessary to enable the                determine that a matter should not be communicated in our report because the adverse consequences of doing so would reasonably be
    preparation of consolidated financial statements that are free from material misstatement, whether due to fraud or error.                          expected to outweigh the public interest benefits of such communication.

    In preparing the consolidated financial statements, management is responsible for assessing the Group’s ability to continue as a going             Report on Other Legal and Regulatory Requirements
    concern, disclosing, as applicable, matters related to going concern and using the going concern basis of accounting unless management             Furthermore, in our opinion proper books of account have been kept by the Bank and the consolidated financial statements, together
    either intends to liquidate the Group or to cease operations, or has no realistic alternative but to do so.                                        with the contents of the report of the Bank’s Board of Directors relating to these consolidated financial statements, are in accordance
                                                                                                                                                       therewith. We further report that we obtained all the information and explanations that we required for the purpose of our audit and that
    Those charged with governance are responsible for overseeing the Group’s financial reporting process.                                              the consolidated financial statements incorporate all information that is required by the Capital Adequacy Regulations and Financial
                                                                                                                                                       Leverage Ratio Regulations issued by the Central Bank of Kuwait (“CBK”) as stipulated in CBK Circular Nos. 2/RB, RBA/336/2014 dated
    Auditors’ Responsibilities for the Audit of the Consolidated Financial Statements                                                                  24 June 2014 and its amendments, and 2/BS/342/2014 dated 21 October 2014, and its amendments, respectively, the Companies
    Our objectives are to obtain reasonable assurance about whether the consolidated financial statements as a whole are free from material            Law No. 1 of 2016, as amended, and its executive regulations, as amended, or by the Bank’s Memorandum of Incorporation and Articles
    misstatement, whether due to fraud or error, and to issue an auditors’ report that includes our opinion. Reasonable assurance is a high            of Association, as amended, that an inventory was duly carried out and that, to the best of our knowledge and belief, no violations of
    level of assurance, but is not a guarantee that an audit conducted in accordance with ISAs will always detect a material misstatement              the Capital Adequacy Regulations and Financial Leverage Ratio Regulations issued by the CBK as stipulated in CBK Circular Nos. 2/
    when it exists. Misstatements can arise from fraud or error and are considered material if, individually or in the aggregate, they could           RB, RBA/336/2014 dated 24 June 2014 and its amendments, and 2/BS/342/2014 dated 21 October 2014, and its amendments,
    reasonably be expected to influence the economic decisions of users taken on the basis of these consolidated financial statements.                 respectively, the Companies Law No. 1 of 2016, as amended, and its executive regulations, as amended, or of the Bank’s Memorandum
                                                                                                                                                       of Incorporation and Articles of Association, as amended, have occurred during the year ended 31 December 2023 that might have had a
    As part of an audit in accordance with ISAs, we exercise professional judgment and maintain professional scepticism throughout the audit.          material effect on the business of the Bank or on its financial position.
    We also:
                                                                                                                                                       We further report that, during the course of our audit, we have not become aware of any violations of the provisions of Law No. 32 of 1968,
    •     Identify and assess the risks of material misstatement of the consolidated financial statements, whether due to fraud or error, design       as amended, concerning currency, the CBK and the organisation of banking business, and its related regulations during the year ended 31
          and perform audit procedures responsive to those risks, and obtain audit evidence that is sufficient and appropriate to provide a            December 2023 that might have had a material effect on the business of the Bank or on its financial position.
          basis for our opinion. The risk of not detecting a material misstatement resulting from fraud is higher than for one resulting from error,
          as fraud may involve collusion, forgery, intentional omissions, misrepresentations, or the override of internal control.
    •     Obtain an understanding of internal control relevant to the audit in order to design audit procedures that are appropriate in the
          circumstances, but not for the purpose of expressing an opinion on the effectiveness of the internal control.
    •     Evaluate the appropriateness of accounting policies used and the reasonableness of accounting estimates and related disclosures
          made by the management.
    •     Conclude on the appropriateness of management’s use of the going concern basis of accounting and based on the audit evidence                     ABDULKARIM AL SAMDAN                                                         BADER A. AL-WAZZAN
          obtained, whether a material uncertainty exists related to events or conditions that may cast significant doubt on the Group’s ability           LICENCE NO. 208 A                                                            LICENCE NO. 62 A
          to continue as a going concern. If we conclude that a material uncertainty exists, we are required to draw attention in our auditors’            EY                                                                           DELOITTE & TOUCHE
          report to the related disclosures in the consolidated financial statements or, if such disclosures are inadequate, to modify our                 AL-AIBAN, AL-OSAIMI & PARTNERS                                               AL WAZZAN & CO.
          opinion. Our conclusions are based on the audit evidence obtained up to the date of our auditors’ report. However, future events or
          conditions may cause the Group to cease to continue as a going concern.                                                                          31 January 2024
                                                                                                                                                           Kuwait

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                                                                                                                 Consolidated Statement of
                                                                                                                 Income
                                                                                                                 For the year ended 31 December 2023


    Consolidated Financial Statements                                                                                                                                                                           2023         2022         2023        2022
    									                                                                                                                                                                                       Notes    KD 000’s     KD 000’s    USD 000’s   USD 000’s
              Consolidated Statement of Income                                      119
              Consolidated Statement of Comprehensive Income                        120
                                                                                                                 Interest income                                                                       4    1,632,748     947,589     5,322,732   3,089,125
              Consolidated Statement of Financial Position                          121
                                                                                                                 Interest expense                                                                      5     908,154      363,821     2,960,567   1,186,051
              Consolidated Statement of Cash Flows                                  122
              Consolidated Statement of Changes in Equity                           123                          Net interest income                                                                         724,594      583,768     2,362,165   1,903,074


     Notes To The Consolidated Financial Statements                                                              Murabaha and other Islamic financing income                                                 402,482      287,558     1,312,085    937,435

      1                                                                                                          Finance cost and Distribution to depositors                                                 221,939      115,487      723,518     376,486
              Incorporation and Registration                                        125
      2       Material Accounting Policies                                          125                          Net income from Islamic financing                                                           180,543      172,071      588,567     560,949
      3       Segmental Analysis                                                    141                          Net interest income and net income from Islamic financing                                   905,137      755,839     2,950,732   2,464,023
      4       Interest Income                                                       143                          Net fees and commissions                                                              6     196,606      181,778      640,932     592,593
      5       Interest Expense                                                      144                          Net investment income                                                                 7      27,466       15,736       89,539      51,299
      6       Net Fees and Commissions                                              144
                                                                                                                 Net gains from dealing in foreign currencies                                                 36,123       55,379      117,760     180,535
      7       Net Investment Income                                                 144
      8       Provision charge for credit losses and impairment losses                                           Other operating income                                                                        1,435        1,009        4,678       3,289
                                                                                    145
      9       Taxation                                                              145                          Non-interest income                                                                         261,630      253,902      852,909     827,716
      10      Earnings per Share                                                    146                          Net operating income                                                                       1,166,767    1,009,741    3,803,641   3,291,739
      11      Cash and Short Term Funds                                             146                          Staff expenses                                                                              233,156      220,125      760,085     717,604
      12      Deposits with Banks                                                   146
                                                                                                                 Other administrative expenses                                                               147,342      125,430      480,332     408,900
      13      Loans, Advances and Islamic Financing to Customers                    147
      14                                                                                                         Depreciation of premises and equipment                                                       44,314       38,922      144,463     126,885
              Financial Investments                                                 153
      15      Goodwill and Other Intangible Assets                                  157                          Amortisation of intangible assets                                                    15       1,647        1,647        5,369       5,369
      16      Other Assets                                                          159                          Operating expenses                                                                          426,459      386,124     1,390,249   1,258,758
      17      Other Borrowed Funds                                                  159                          Operating profit before provision for credit losses and
      18      Other Liabilities                                                     161                          impairment losses                                                                           740,308      623,617     2,413,392   2,032,981
      19      Share Capital and Reserves                                            162                          Provision charge for credit losses and impairment losses                              8     103,068       45,363      336,000     147,882
      20      Dividend                                                              165                          Operating profit before taxation and directors’ remuneration                                637,240      578,254     2,077,392   1,885,099
      21      Perpetual Tier 1 Capital Securities                                   165
                                                                                                                 Taxation                                                                              9      48,097       47,422      156,795     154,595
      22      Share Based Payment                                                   166
      23      Fair Value of Financial Instruments                                                                Directors’ remuneration                                                              27         770          770        2,511       2,511
                                                                                    166
      24      Subsidiaries                                                          169                          Profit for the year                                                                         588,373      530,062     1,918,086   1,727,993
      25      Commitments and Contingent Liabilities                                171                          Attributable to:
      26      Derivative Financial Instruments and Hedge Accounting                 171                          Shareholders of the Bank                                                                    560,620      509,085     1,827,612   1,659,609
      27      Related Party Transactions                                            173
                                                                                                                 Non-controlling interests                                                                    27,753       20,977       90,474      68,384
      28      Risk Management                                                       174
      29                                                                                                                                                                                                     588,373      530,062     1,918,086   1,727,993
              Capital                                                               187
      30      Funds Under Management                                                188                          Basic earnings per share attributable to shareholders of the Bank                    10       68 fils      61 fils    22 Cents    20 Cents
      31      Changes in Reference Rates (IBOR)                                     188



                                                                                                                 The attached notes 1 to 31 form part of these consolidated financial statements.


    NBK     Annual Report    2023                                                                                                                                                                                                                       119
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3         Financial Statements




    Consolidated Statement of                                                                                                                Consolidated Statement of
    Comprehensive Income                                                                                                                     Financial Position
    For the year ended 31 December 2023                                                                                                      As at 31 December 2023


                                                                                                 2023       2022         2023        2022                                                                                                   2023         2022         2023            2022
                                                                                       Note   KD 000’s   KD 000’s    USD 000’s   USD 000’s                                                                                      Note     KD 000’s     KD 000’s    USD 000’s       USD 000’s
                                                                                                                                             Assets
    Profit for the year                                                                       588,373     530,062    1,918,086   1,727,993   Cash and short term funds                                                          11      4,384,700    5,323,452   14,294,050      17,354,367
                                                                                                                                             Central Bank of Kuwait bonds                                                       14       856,815       881,241     2,793,203      2,872,831
    Other comprehensive income:
                                                                                                                                             Kuwait Government treasury bonds                                                   14       194,111       211,629         632,799     689,906
    Investment in debt securities measured at FVOCI:
                                                                                                                                             Deposits with banks                                                                12      1,318,121    1,490,286     4,297,053      4,858,308
    Net change in fair value                                                                    4,506       3,158      14,689      10,295    Loans, advances and Islamic financing to customers                                 13     22,281,004   20,998,416   72,635,710      68,454,494
    Net transfer to consolidated statement of income                                              376       5,129       1,226      16,720    Investment securities                                                              14      6,884,821    5,634,672   22,444,404      18,368,939
                                                                                                4,882       8,287      15,915      27,015    Land, premises and equipment                                                                506,812       474,724     1,652,199      1,547,593
                                                                                                                                             Goodwill and other intangible assets                                               15       508,416       534,936     1,657,428      1,743,883
    Exchange differences on translation of foreign operations                                 (13,699)   (125,273)    (44,658)   (408,387)
                                                                                                                                             Other assets                                                                       16       730,191       789,007     2,380,411      2,572,150
    Other comprehensive loss for the year reclassifiable to
                                                                                                                                             Total assets                                                                              37,664,991   36,338,363 122,787,257 118,462,471
    consolidated statement of income in subsequent years                                       (8,817)   (116,986)    (28,743)   (381,372)
                                                                                                                                             Liabilities
    Net gain (loss) on investments in equity instruments designated at                                                                       Due to banks                                                                               3,963,802    4,017,979   12,921,930      13,098,546
    FVOCI                                                                                         601      (4,446)      1,959     (14,494)
                                                                                                                                             Deposits from other financial institutions                                                 3,725,629    3,740,877   12,145,490      12,195,198
    Actuarial gain in respect of defined benefit plans                                 18       3,969       8,252      12,939      26,901    Customer deposits                                                                         21,948,957   20,178,062   71,553,242      65,780,153
    Other comprehensive income for the year not reclassifiable to                                                                            Certificates of deposit issued                                                              822,899     1,801,623     2,682,637      5,873,262
    consolidated statement of income in subsequent years                                        4,570       3,806      14,898      12,407    Other borrowed funds                                                               17      1,331,006    1,243,563     4,339,058      4,053,995
    Other comprehensive loss for the year                                                      (4,247)   (113,180)    (13,845)   (368,965)   Other liabilities                                                                  18       966,123       721,313     3,149,545      2,351,469
    Total comprehensive income for the year                                                   584,126     416,882    1,904,241   1,359,028   Total liabilities                                                                         32,758,416   31,703,417 106,791,902 103,352,623
                                                                                                                                             Equity
    Attributable to:
                                                                                                                                             Share capital                                                                      19       792,995       755,233    2,585,151       2,462,047
    Shareholders of the Bank                                                                  553,485     398,266    1,804,352   1,298,341
                                                                                                                                             Proposed bonus shares                                                              20         39,649       37,762         129,255     123,104
    Non-controlling interests                                                                  30,641      18,616      99,889      60,687    Statutory reserve                                                                  19       396,499       377,618    1,292,580       1,231,029
                                                                                              584,126     416,882    1,904,241   1,359,028   Share premium account                                                              19       803,028       803,028    2,617,858       2,617,858
                                                                                                                                             Treasury share reserve                                                             19         34,961       34,961         113,972     113,972
                                                                                                                                             Other reserves                                                                     19      1,816,640    1,614,386    5,922,217       5,262,872
                                                                                                                                             Equity attributable to shareholders of the Bank                                            3,883,772    3,622,988   12,661,033      11,810,882
                                                                                                                                             Perpetual Tier 1 Capital Securities                                                21       439,032       439,032    1,431,237       1,431,237
                                                                                                                                             Non-controlling interests                                                          24       583,771       572,926    1,903,085       1,867,729
                                                                                                                                             Total equity                                                                               4,906,575    4,634,946   15,995,355      15,109,848
                                                                                                                                             Total liabilities and equity                                                              37,664,991   36,338,363 122,787,257 118,462,471




                                                                                                                                             Hamad Mohamed Al-Bahar                                                                    Isam J. Al Sager
                                                                                                                                             Chairman                                                                                  Vice Chairman and Group Chief
                                                                                                                                                                                                                                       Executive Officer

    The attached notes 1 to 31 form part of these consolidated financial statements.                                                         The attached notes 1 to 31 form part of these consolidated financial statements.



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3         Financial Statements




    Consolidated Statement of                                                                                                                                   Consolidated Statement of
    Cash Flows                                                                                                                                                  Changes in Equity
    For the year ended 31 December 2023                                                                                                                         For the year ended 31 December 2023


                                                                                                    2023              2022            2023           2022




                                                                                                                                                                KD 000’s



                                                                                                                                                                                                                                 Total
                                                                                                                                                                                                                                equity


                                                                                                                                                                                                                                                             4,634,946
                                                                                                                                                                                                                                                                                            588,373

                                                                                                                                                                                                                                                                                                                               (4,247)
                                                                                                                                                                                                                                                                                                                                               584,126

                                                                                                                                                                                                                                                                                                                                                                                           -

                                                                                                                                                                                                                                                                                                                                                                                                                          -

                                                                                                                                                                                                                                                                                                                                                                                                                                                      (188,808)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (79,299)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (18,224)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (6,079)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (11,884)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (9,606)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1,403
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        4,906,575
                                                                                       Note      KD 000’s          KD 000’s       USD 000’s      USD 000’s
    Operating activities
    Profit for the year                                                                           588,373           530,062       1,918,086       1,727,993
    Adjustments for:




                                                                                                                                                                                                                                        Non -
                                                                                                                                                                                                                          Capital controlling
                                                                                                                                                                                                                                    interests


                                                                                                                                                                                                                                                             572,926
                                                                                                                                                                                                                                                                                            27,753

                                                                                                                                                                                                                                                                                                                               2,888
                                                                                                                                                                                                                                                                                                                                               30,641

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (2,415)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (7,978)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (9,606)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      203
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        583,771
    Net investment income                                                               7         (27,466)          (15,736)        (89,539)        (51,299)
    Depreciation of premises and equipment                                                          44,314            38,922        144,464         126,885
    Amortisation of intangible assets                                                  15            1,647             1,647           5,369           5,369
    Provision charge for credit losses and impairment losses                            8         103,068             45,363        336,000         147,883




                                                                                                                                                                                                                        Perpetual
                                                                                                                                                                                                                           Tier 1

                                                                                                                                                                                                                  Total Securities


                                                                                                                                                                                                                                                             439,032
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        439,032
    Taxation                                                                            9           48,097            47,422        156,795         154,595
    Cash flows from operating activities before changes in operating
    assets and liabilities                                                                        758,033           647,680       2,471,175       2,111,426
    Changes in operating assets and liabilities:




                                                                                                                                                                                                                                                             3,622,988
                                                                                                                                                                                                                                                                                            560,620

                                                                                                                                                                                                                                                                                                                               (7,135)
                                                                                                                                                                                                                                                                                                                                               553,485

                                                                                                                                                                                                                                                                                                                                                                                           -    

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                                                                                                                                                                                                                                                                                                                                                                                                                                                      (188,808)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (79,299)

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (18,224)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (3,664)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (3,906)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -    
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1,200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        3,883,772
    Central Bank of Kuwait bonds                                                                    24,426           (51,187)          79,628      (166,869)
    Kuwait Government treasury bonds                                                                20,138           188,596           65,650        614,820
    Deposits with banks                                                                           174,677          (612,423)         569,444     (1,996,489)
    Loans, advances and Islamic financing to customers                                        (1,354,615)        (1,528,359)     (4,416,023)     (4,982,426)




                                                                                                                                                                                                                                   Other
                                                                                                                                                                                                                                reserves


                                                                                                                                                                                                                                                             1,614,386
                                                                                                                                                                                                                                                                                            560,620

                                                                                                                                                                                                                                                                                                                               (7,135)
                                                                                                                                                                                                                                                                                                                                               553,485

                                                                                                                                                                                                                                                                                                                                                                                           (18,881)

                                                                                                                                                                                                                                                                                                                                                                                                                          -    

                                                                                                                                                                                                                                                                                                                                                                                                                                                      (188,808)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (79,299)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (39,649)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (18,224)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (3,664)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (3,906)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -    
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1,200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1,816,640
                                                                                                                                                                                                                                                (Note 19e)
    Other assets                                                                                    46,773         (122,294)         152,479       (398,676)
    Due to banks                                                                                  (54,177)           (79,345)      (176,616)       (258,663)




                                                                                                                                                                Equity attributable to shareholders of the Bank
    Deposits from other financial institutions                                                    (15,248)           605,672         (49,708)      1,974,481
    Customer deposits                                                                           1,770,895          2,254,665       5,773,089       7,350,171
                                                                                                (978,724)




                                                                                                                                                                                                                         Treasury
                                                                                                                                                                                                                            share
                                                                                                                                                                                                                          reserve


                                                                                                                                                                                                                                                             34,961
                                                                                                                                                                                                                                                                                            -

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        34,961
    Certificates of deposit issued                                                                                   462,269     (3,190,624)       1,506,989
    Other liabilities                                                                             178,390              90,925        581,548         296,414
    Tax paid                                                                                      (39,587)           (33,856)      (129,053)       (110,370)
    Net cash from operating activities                                                            530,981          1,822,343       1,730,989       5,940,808




                                                                                                                                                                                                                            Share
                                                                                                                                                                                                                         premium
                                                                                                                                                                                                                          account


                                                                                                                                                                                                                                                             803,028
                                                                                                                                                                                                                                                                                            -

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        803,028
    Investing activities
    Purchase of investment securities                                                         (3,633,073)        (4,131,965)    (11,843,759)    (13,470,139)
    Proceeds from sale/redemption of investment securities                                      2,480,036          2,871,878       8,084,877       9,362,275
    Dividend income                                                                     7            2,570              2,272           8,378           7,407




                                                                                                                                                                                                                                Statutory
                                                                                                                                                                                                                                  reserve


                                                                                                                                                                                                                                                             377,618
                                                                                                                                                                                                                                                                                            -

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                                                                                                                                                                                                                                                                                                                                                                                           18,881

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        396,499
    Proceeds from sale of a foreign branch                                                               -             25,597               -          83,446
    Proceeds from sale of land, premises and equipment                                               1,817              2,732           5,923           8,906




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               The attached notes 1 to 31 form part of these consolidated financial statements.
    Purchase of land, premises and equipment                                                      (56,260)           (61,505)      (183,406)       (200,505)
    Change in holding in subsidiaries                                                             (11,884)            (7,889)        (38,741)        (25,718)




                                                                                                                                                                                                                         Proposed
                                                                                                                                                                                                                            bonus
                                                                                                                                                                                                                            shares


                                                                                                                                                                                                                                                             37,762
                                                                                                                                                                                                                                                                                            -

                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                               -

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                                                                                                                                                                                                                                                                                                                                                                                                                          (37,762)

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        39,649
    Purchase of investment properties                                                             (38,494)           (22,914)      (125,490)         (74,699)
    Proceeds from sale of investment properties                                                      1,281             12,625           4,176          41,157
    Net cash used in investing activities                                                     (1,254,007)        (1,309,169)     (4,088,042)     (4,267,870)
    Financing activities
    Proceeds from issue of unsecured sukuk by a subsidiary                                               -          152,225                -        496,251


                                                                                                                                                                                                                                 Share
                                                                                                                                                                                                                                capital


                                                                                                                                                                                                                                                             755,233
                                                                                                                                                                                                                                                                                            -

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                                                                                                                                                                                                                                                                                                                                               -

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                                                                                                                                                                                                                                                                                                                                                                                                                          37,762

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        792,995
    Redemption of Global Medium term notes                                                               -        (229,238)                -      (747,312)
    Proceeds from capital increase in a subsidiary                                                       -            80,238               -        261,575
    Interest paid on Perpetual Tier 1 Capital Securities                                          (18,224)          (18,119)        (59,410)        (59,068)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Interim cash dividend paid –10
                                                                                                   (6,079)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Interest paid on perpetual Tier
    Profit distribution on Perpetual Tier 1 Sukuk by a subsidiary                                                    (6,068)        (19,818)        (19,782)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Proposed bonus shares (Note
                                                                                                                                                                                                                                                             Balance as at 1 January 2023




                                                                                                                                                                                                                                                                                                                                               Total comprehensive income
                                                                                                                                                                                                                                                                                                                                                                            Transfer to statutory reserve

                                                                                                                                                                                                                                                                                                                                                                                                            Issue of bonus shares (Note
                                                                                                                                                                                                                                                                                                                  Other comprehensive (loss)
                                                                                                    86,290




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Perpetual Tier 1 Sukuk by a
    Net movement in other medium and short term borrowing                                                             47,335         281,304        154,311




                                                                                                                                                                                                                                                                                                                                                                                                                                          Final cash dividend paid
    Dividends paid                                                                              (268,107)         (291,304)        (874,025)      (949,645)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     fils per share (Note 20)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           controlling interests by



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        At 31 December 2023
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Dividend paid to non-
    Dividends paid by subsidiaries to non-controlling interests                                    (9,606)           (6,782)        (31,315)        (22,109)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Profit distribution on


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Change in holding in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1 Capital Securities




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Other movements
    Net cash used in financing activities                                                       (215,726)         (271,713)        (703,264)      (885,779)
                                                                                                                                                                                                                                                                                            Profit for the year


    (Decrease) increase in cash and short term funds                                            (938,752)           241,461      (3,060,317)        787,159




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    subsidiaries


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           subsidiaries
    Cash and short term funds at the beginning of the year                                      5,323,452         5,081,991      17,354,367      16,567,208

                                                                                                                                                                                                                                                                                                                                                                            (Note 19b)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      subsidiary
    Cash and short term funds at the end of the year                                   11       4,384,700         5,323,452      14,294,050      17,354,367
                                                                                                                                                                                                                                                                                                                  income




                                                                                                                                                                                                                                                                                                                                                                                                                                          (2022)
                                                                                                                                                                                                                                                                                                                                                                                                            19a)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      20)
    The attached notes 1 to 31 form part of these consolidated financial statements.


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    Consolidated Statement of                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Notes to the Consolidated Financial
    Changes in Equity                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Statements
    For the year ended 31 December 2023                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                31 December 2023


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1      INCORPORATION AND REGISTRATION
    KD 000’s

                             Total
                            equity



                                                                   4,467,117
                                                                                                  530,062
                                                                                                                        (113,180)
                                                                                                                                                   416,882

                                                                                                                                                                                               -

                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              (215,781)

                                                                                                                                                                                                                                                                                         (75,523)

                                                                                                                                                                                                                                                                                                                       -

                                                                                                                                                                                                                                                                                                                                                     (18,119)



                                                                                                                                                                                                                                                                                                                                                                                       (6,068)

                                                                                                                                                                                                                                                                                                                                                                                                            (7,889)

                                                                                                                                                                                                                                                                                                                                                                                                                                    80,238



                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (6,782)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            871
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              4,634,946
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The consolidated financial statements of National Bank of Kuwait S.A.K.P. (the “Bank”) and its subsidiaries (collectively the “Group”) for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       year ended 31 December 2023 were authorised for issue in accordance with a resolution of the directors on 15 January 2024. The Annual
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       General Meeting of the shareholders has the power to amend these consolidated financial statements after issuance. The Bank is a public
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       shareholding company incorporated in Kuwait in 1952 and is registered as a bank (commercial registration number - 8490) with the Central
                     Non -
                controlling
                 interests



                                                                   488,518
                                                                                                  20,977
                                                                                                                        (2,361)
                                                                                                                                                   18,616

                                                                                                                                                                                               -

                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              -

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                                                                                                                                                                                                                                                                                                                                                                                       (2,426)

                                                                                                                                                                                                                                                                                                                                                                                                            (5,332)

                                                                                                                                                                                                                                                                                                                                                                                                                                    80,238



                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (6,782)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            94
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              572,926
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Bank of Kuwait. The Bank’s registered office is at Al Shuhada Street, P.O. Box 95, Safat 13001, Kuwait. The principal activities of the Bank
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       are described in Note 3.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2      MATERIAL ACCOUNTING POLICIES
                          Perpetual
                      Tier 1 Capital
                         Securities



                                                                   439,032
                                                                                                  -    
                                                                                                                        -    
                                                                                                                                                   -

                                                                                                                                                                                               -

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              439,032
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2.1     Basis of preparation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The consolidated financial statements have been prepared in accordance with the regulations for financial services institutions as issued
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       by the Central Bank of Kuwait (CBK) in the State of Kuwait. These regulations require banks and other financial institutions regulated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       by CBK to adopt the International Financial Reporting Standards (“IFRS”) with an amendment for measuring the expected credit loss
                Total



                                                                   1,586,708 3,539,567
                                                                                                  509,085
                                                                                                                        (110,819)
                                                                                                                                                   398,266

                                                                                                                                                                                               -

                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              (215,781)

                                                                                                                                                                                                                                                                                         (75,523)

                                                                                                                                                                                                                                                                                                                       -

                                                                                                                                                                                                                                                                                                                                                     (18,119)



                                                                                                                                                                                                                                                                                                                                                                                       (3,642)

                                                                                                                                                                                                                                                                                                                                                                                                            (2,557)

                                                                                                                                                                                                                                                                                                                                                                                                                                    -



                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            777
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1,614,386 3,622,988
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       (“ECL”) on credit facilities at the higher of ECL computed under IFRS 9 – ‘Financial Instruments’ in accordance to the CBK guidelines or the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       provisions as required by CBK instructions along with its consequent impact on related disclosures.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The above framework is hereinafter referred to as ‘IFRS as adopted by CBK for use in the State of Kuwait’.
                                                           Other
                                                        reserves




                                                                                                  509,085
                                                                                                                        (110,819)
                                                                                                                                                   398,266

                                                                                                                                                                                               (17,981)

                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              (215,781)

                                                                                                                                                                                                                                                                                         (75,523)

                                                                                                                                                                                                                                                                                                                       (37,762)

                                                                                                                                                                                                                                                                                                                                                     (18,119)



                                                                                                                                                                                                                                                                                                                                                                                       (3,642)

                                                                                                                                                                                                                                                                                                                                                                                                            (2,557)

                                                                                                                                                                                                                                                                                                                                                                                                                                    -



                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            777
                                                     (Note 19e)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The consolidated financial statements are prepared under the historical cost convention except for the measurement at fair value of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       derivatives, investment securities measured at fair value and investment properties. In addition and as more fully described below, assets
         Equity attributable to shareholders of the Bank




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       and liabilities that are hedged in fair value hedging relationships are carried at fair value to the extent of the risk being hedged.
                                 Share Treasury
                                             share
                                           reserve



                                                                   34,961
                                                                                                  -    
                                                                                                                        -    
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              34,961
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2.2    Changes in material accounting policies
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New and amended standards and interpretations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The Group applied the following amendments effective from 1 January 2023:
                              premium
                               account



                                                                   803,028
                                                                                                  -    
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              803,028




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       International Tax Reform – Pillar Two Model Rules (Amendments to IAS 12)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The IASB amended the scope of IAS 12 to clarify that the Standard applies to income taxes arising from tax law enacted or substantively
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       enacted to implement the Pillar Two model rules published by the OECD, including tax law that implements qualified domestic minimum
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       top-up taxes described in those rules. The amendments introduce a temporary exception to the accounting requirements for deferred
       bonus Statutory
                  reserve



                                                                   359,637
                                                                                                  -    
                                                                                                                        -    
                                                                                                                                                   -

                                                                                                                                                                                               17,981

                                                                                                                                                                                                                              -
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              377,618




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       taxes in IAS 12, so that an entity would neither recognise nor disclose information about deferred tax assets and liabilities related to Pillar
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    The attached notes 1 to 31 form part of these consolidated financial statements.



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Two income taxes. In periods in which Pillar Two legislation is enacted or substantively enacted but not yet in effect, an entity shall disclose
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       known or reasonably estimable information that helps users of financial statements understand the entity’s exposure to Pillar Two income
    Proposed

       shares



                                                                   35,964
                                                                                                  -    
                                                                                                                        -    
                                                                                                                                                   -

                                                                                                                                                                                               -

                                                                                                                                                                                                                              (35,964)
                                                                                                                                                                                                                                              -

                                                                                                                                                                                                                                                                                         -

                                                                                                                                                                                                                                                                                                                       37,762

                                                                                                                                                                                                                                                                                                                                                     -



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                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              37,762




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       taxes arising from that legislation. Refer note 9 for further information.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Disclosure of Accounting Policies (Amendments to IAS 1 and IFRS Practise Statement 2)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The amendments require the disclosure of ‘material’, rather than ‘significant’, accounting policies. The amendments also provide guidance
                             Share
                            capital



                                                                   719,269
                                                                                                  -    
                                                                                                                        -    
                                                                                                                                                   -

                                                                                                                                                                                               -

                                                                                                                                                                                                                              35,964
                                                                                                                                                                                                                                              -

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              755,233




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       on the application of materiality to disclosure of accounting policies, assisting entities to provide useful, entity-specific accounting policy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       information that users need to understand other information in the financial statements.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The amendments have an impact on the Group’s disclosures of accounting policies, but not on the measurement, recognition or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       presentation of any items in the Group’s consolidated financial statements.
                                                                                                                                                                                                                                                                                                         Proposed bonus shares (Note
                                                                   Balance as at 1 January 2022



                                                                                                                                                   Total comprehensive income
                                                                                                                                                                                Transfer to statutory reserve

                                                                                                                                                                                                                Issue of bonus shares (Note




                                                                                                                                                                                                                                                                                                                                                                    Perpetual Tier 1 Sukuk by a
                                                                                                                                                                                                                                                                          –10 fils per share (Note 20)
                                                                                                                                                                                                                                                                          Interim cash dividend paid
                                                                                                                        Other comprehensive loss




                                                                                                                                                                                                                                              Cash dividend paid (2021)




                                                                                                                                                                                                                                                                                                                                       Interest paid on perpetual
                                                                                                                                                                                                                                                                                                                                       Tier 1 Capital Securities




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       IFRS 17 Insurance Contracts
                                                                                                                                                                                                                                                                                                                                                                                                                                                 controlling interests by



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              At 31 December 2022
                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dividend paid to non-




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       IFRS 17 Insurance Contracts (IFRS 17) is effective for reporting periods beginning on or after 1 January 2023. IFRS 17 applies to all types
                                                                                                                                                                                                                                                                                                                                                                    Profit distribution on




                                                                                                                                                                                                                                                                                                                                                                                                                         Capital increase in a
                                                                                                                                                                                                                                                                                                                                                                                                  Change in holding in




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Other movements




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       of insurance contracts (i.e., life, non-life, direct insurance and re-insurance), regardless of the type of entities that issue them, as well as to
                                                                                                  Profit for the year




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       certain guarantees and financial instruments with discretionary participation features. Limited scope exceptions apply.
                                                                                                                                                                                                                                                                                                                                                                                                  subsidiaries




                                                                                                                                                                                                                                                                                                                                                                                                                                                 subsidiaries
                                                                                                                                                                                (Note 19b)




                                                                                                                                                                                                                                                                                                                                                                    subsidiary




                                                                                                                                                                                                                                                                                                                                                                                                                         subsidiary




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The Group has not identified contracts that result in the transfer of significant insurance risk, and therefore it has concluded that IFRS 17
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       does not have a material impact on the financial statements for the year ended 31 December 2023.
                                                                                                                                                                                                                19a)




                                                                                                                                                                                                                                                                                                         20)




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    Notes to the Consolidated Financial Statements (continued)
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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                         2 MATERIAL ACCOUNTING POLICIES (continued)
    2.2 Changes in material accounting policies (continued)                                                                                            2.3  Basis of consolidation (continued)
    New and amended standards and interpretations (continued)                                                                                          b. Non-controlling interest (continued)

    Other amendments to IFRSs which are effective for annual accounting period starting from 1 January 2023 did not have any material                  share of equity in the subsidiary. Transactions with non-controlling interests are treated as transactions with equity owners of the
    impact on the accounting policies, financial position or performance of the Group.                                                                 Group. Gains or losses on changes in non-controlling interests without loss of control are recorded in equity.

    Standards issued but not yet effective                                                                                                             c. Associates
    The new and amended standards and interpretations that are issued, but not yet effective, up to the date of issuance of the Group’s                Associates are all entities over which the Group has significant influence but not control, generally accompanying a shareholding of
    consolidated financial statements are disclosed below.                                                                                             between 20% and 50% of the voting rights. Investment in an associate is initially recognised at cost and subsequently accounted for
                                                                                                                                                       by the equity method of accounting. The Group’s investment in associates includes goodwill identified on acquisition. The Group’s
    General requirements for disclosure of sustainability-related financial information (IFRS S1) and Climate-related disclosures (IFRS S2) – 1        share of its associates’ post-acquisition profits or losses is recognised in the consolidated statement of income, and its share of post-
    January 2024                                                                                                                                       acquisition movements in other comprehensive income is recognised in other comprehensive income. The cumulative post-acquisition
                                                                                                                                                       movements are adjusted against the carrying amount of the investment.
    In June 2023 the International Sustainability Standards Board (ISSB) issued its first two IFRS Sustainability Disclosure Standards, IFRS
    S1 General Requirements for Disclosure of Sustainability-related Financial Information and IFRS S2 Climate-related Disclosures. IFRS               The Group determines at each reporting date whether there is any objective evidence that the investment in the associate is impaired.
    S1 includes the core framework for the disclosure of material information about sustainability-related risks and opportunities across              If this is the case, the Group calculates the amount of impairment as the difference between the recoverable amount of the associate
    a Group’s value chain. IFRS S2 is the first thematic standard issued that sets out requirements for entities to disclose information               and its carrying value and recognises the amount in the consolidated statement of income. Upon loss of significant influence over the
    about climate-related risks and opportunities. The standard requires an entity to disclose information about climate-related risks and             associate, the Group measures and recognises any retained investment at its fair value. Gain or loss on this transaction is computed
    opportunities that could reasonably be expected to affect the entity’s cash flows, its access to finance or cost of capital over the short,        by comparing the carrying amount of the associate at the time of loss of significant influence with the aggregate of fair value of the
    medium or long term.                                                                                                                               retained investment and proceeds from disposal. This is recognised in the consolidated statement of income.

    Lack of Exchangeability (Amendments to IAS 21) – 1 January 2025                                                                                    2.4    Foreign currencies
                                                                                                                                                       The consolidated financial statements are presented in Kuwaiti Dinars (thousand) which is also the Bank’s functional currency.
    The amendments to IAS 21 specify how to assess whether a currency is exchangeable and how to determine the exchange rate when
    it is not. Applying the amendments, a currency is not exchangeable into the other currency if an entity can only obtain no more than an            a. Translation of foreign currency transactions
    insignificant amount of the other currency at the measurement date for a specified purpose. When a currency is not exchangeable at the             Transactions in foreign currencies are initially recorded in the functional currency rate of exchange ruling at the date of the transaction.
    measurement date, an entity is required to estimate the spot exchange rate as the rate that would have applied to an orderly exchange              Monetary assets and monetary liabilities in foreign currencies (other than monetary items that form part of the net investment in a
    transaction at the measurement date between market participants under prevailing economic conditions. In that case, an entity is required          foreign operation) are translated into functional currency at rates of exchange prevailing at the reporting date. Any gains or losses are
    to disclose information that enables users of its financial statements to evaluate how the currency’s lack of exchangeability affects, or is       taken to the consolidated statement of income. Exchange differences arising on monetary items that form part of the net investment
    expected to affect, the entity’s financial performance, financial position and cash flows.                                                         in a foreign operation are determined using closing rates and recognised in other comprehensive income and presented in the foreign
                                                                                                                                                       currency translation reserve in equity. When a foreign operation is disposed of, the cumulative amount in foreign currency translation
    The Group is currently evaluating the impact of these amendments. The Group will adopt it when the amendments become effective.                    reserve relating to that foreign operation is recognised in the consolidated statement of income. Goodwill, intangible assets and any fair
                                                                                                                                                       value adjustments to the carrying value of assets and liabilities are recorded at the functional currency of the foreign operation and are
    2.3     Basis of consolidation                                                                                                                     translated to the presentation currency at the rate of exchange prevailing at the reporting date. All resulting exchange differences are
    The consolidated financial statements comprise the financial statements of the Bank as at 31 December each year and its subsidiaries               recognised in other comprehensive income and accumulated in foreign currency translation reserve within equity.
    as at the same date or a date not earlier than three months from 31 December. The financial statements of subsidiaries and associates
    are prepared using consistent accounting policies and are adjusted, where necessary, to bring the accounting policies in line with those           Translation gains or losses on non-monetary items are recognised in other comprehensive income when non-monetary items are
    of the Group. All intercompany balances and transactions, including unrealised profits arising from intra-group transactions have been             measured at fair value through other comprehensive income. Translation gains or losses on non-monetary items measured at fair value
    eliminated on consolidation.                                                                                                                       through profit or loss are recognised in consolidated statement of income.

    a. Subsidiaries                                                                                                                                    b. Translation of financial statements of foreign entities
    Subsidiaries are all entities over which the Bank has control. The control is achieved when the Bank is exposed, or has rights, to variable        The results and financial position of all the Group entities that have a functional currency different from the presentation currency are
    returns from its involvement with the investee and has the ability to affect those returns through its power over the investee. The Group          translated to presentation currency as follows:
    re-assesses whether or not it controls an investee if facts and circumstances indicate that there are changes to one or more of the three
    elements of control. Consolidation of a subsidiary begins when the Group obtains control over the subsidiary and ceases when the Group             The assets and liabilities are translated at rates of exchange ruling at the reporting date. Income and expense items are translated at
    loses control of the subsidiary. Refer Note 24 for the list of major subsidiaries, their principal businesses and the Group’s effective holding.   average exchange rates for the year. All resulting exchange differences are recognised in other comprehensive income and accumulated
                                                                                                                                                       in foreign currency translation reserve within equity and duly recognised in the consolidated statement of income on disposal of the
    b. Non-controlling interest                                                                                                                        foreign operation.
    Interest in the equity of subsidiaries not attributable to the Group is reported as non-controlling interest in the consolidated statement
    of financial position. Non-controlling interest in the acquiree is measured at the proportionate share in the recognised amounts of the
    acquiree’s identifiable net assets. Losses are allocated to the non-controlling interest even if they exceed the non-controlling interest’s




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    Notes to the Consolidated Financial Statements (continued)
    31 December 2023


    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                     2 MATERIAL ACCOUNTING POLICIES (continued)
                                                                                                                                                   2.9 Impairment of financial assets (continued)


    2.5      Interest income and expenses                                                                                                          Expected Credit Losses
    Interest income and expense for all interest-bearing financial instruments are recognised within ‘interest income’ and ‘interest expense’      The Group applies a three-stage approach to measure the expected credit loss as follows:
    in the consolidated statement of income using the effective interest method. The effective interest method is a method of calculating
    the amortised cost of a financial asset or a financial liability and of allocating the interest income or interest expense over the relevant   Stage 1: 12 month ECL
    period.                                                                                                                                        The Group measures loss allowances at an amount equal to 12-month ECL on financial assets where there has not been significant
                                                                                                                                                   increase in credit risk since their initial recognition or on exposures that are determined to have a low credit risk at the reporting date.
    The effective interest rate is the rate that exactly discounts estimated future cash payments or receipts through the expected life of         The Group considers a financial asset to have low credit risk when its credit risk rating is equivalent to the globally understood definition
    the financial instrument or, when appropriate, a shorter period to the net carrying amount of the financial asset or financial liability.      of ‘investment grade’.
    Fees which are considered as an integral part of the effective yield of a financial asset are recognised using effective yield method.
    Once a financial asset or a group of similar financial assets has been written down as a result of an impairment loss, interest income is      Stage 2: Lifetime ECL – not credit impaired
    recognised using the rate of interest used to discount the future cash flows for the purpose of measuring the impairment loss.                 The Group measures loss allowances at an amount equal to lifetime ECL on financial assets where there has been a significant increase
                                                                                                                                                   in credit risk since initial recognition but are not credit impaired.
    2.6     Murabaha and other Islamic financing income
    Income from Murabaha, Wakala and Leased assets is recognized on a pattern reflecting a constant periodic return on the outstanding             Stage 3: Lifetime ECL – credit impaired
    net investment.                                                                                                                                The Group measures loss allowances at an amount equal to lifetime ECL on financial assets that are determined to be credit impaired
                                                                                                                                                   based on objective evidence of impairment.
    2.7      Fees and commissions income
     Fees and commission income are recognised when the Group satisfies the performance obligation by transferring the promised service            Life time ECL is the ECL that result from all possible default events over the expected life of a financial instrument. The 12 month ECL
    to customers. At inception of the contract, the Group determines whether it satisfies the performance obligation over a period of time         is the portion of lifetime expected credit loss that result from default events that are possible within the 12 months after the reporting
    or at a point in time. Fees income earned from services provided over a period of time is recognised over the period of service. Fees and      date. Both lifetime ECLs and 12 month ECLs are calculated either on an individual basis or on a collective basis depending on the nature
    commissions arising from providing a transaction service are recognised at a point in time on completion of the underlying transaction.        of the underlying portfolio of financial instruments.
    Portfolio and other management advisory and service fees are recognised based on the applicable service contracts, usually on a time-
    apportioned basis. Asset management fees related to investment funds are recognised over the period in which the service is provided. The      Determining the stage of Expected Credit Loss
    same principle is applied for wealth management and custody services that are continuously provided over an extended period of time.           At each reporting date, the Group assesses whether there has been significant increase in credit risk since initial recognition by
                                                                                                                                                   comparing the risk of default occurring over the remaining expected life from the reporting date with the risk of default at the date of
    2.8    Dividend income                                                                                                                         initial recognition. The quantitative criteria used to determine a significant increase in credit risk is a series of relative and absolute
    Dividend income is recognised when the right to receive payment is established.                                                                thresholds. All financial assets that are 30 days past due are generally deemed to have significant increase in credit risk since initial
                                                                                                                                                   recognition and migrated to stage 2 even if other criteria do not indicate a significant increase in credit risk unless this is rebutted.
    2.9      Impairment of financial assets
    The Group computes Expected Credit Losses (ECL) on the following financial instruments that are not measured at fair value through             At each reporting date, the Group also assesses whether a financial asset or group of financial assets is credit-impaired. The Group
    profit or loss:                                                                                                                                considers a financial asset to be credit impaired when one or more events that have a detrimental impact on the estimated future cash
                                                                                                                                                   flows of the financial asset have occurred or when contractual payments are 90 days past due. All credit-impaired financial assets are
          •    loans and advances, Islamic financing to customers including credit commitments                                                     classified as stage 3 for ECL measurement purposes. Evidence of credit impairment includes observable data about the following:
          •    letters of credit and financial guarantee contracts including commitments
          •    investment in debt securities measured at amortised cost or FVOCI                                                                       •    Significant financial difficulty of the borrower or issuer
          •    balances and deposits with banks                                                                                                        •    A breach of contract such as default or past due event
                                                                                                                                                       •    The lender having granted to the borrower a concession, that the lender would otherwise not consider, for economic or
    Equity investments are not subject to ECL.                                                                                                              contractual reasons relating to the borrower’s financial difficulty
                                                                                                                                                       •    The disappearance of an active market for a security because of financial difficulties
    Impairment of credit facilities                                                                                                                    •    Purchase of a financial asset at a deep discount that reflects the incurred credit loss
    Credit facilities granted by the Group consists of loans and advances, Islamic financing to customers, letters of credit and financial
    guarantee contracts and commitments to grant credit facilities. Impairment on credit facilities shall be recognised in the consolidated        At the reporting date, if the credit risk of a financial asset or group of financial assets has not increased significantly since initial
    statement of financial position at an amount equal to the higher of ECL under IFRS 9 according to the CBK guidelines, or the provisions        recognition or not become credit impaired, these financial assets are classified as stage 1.
    required by the CBK instructions.
                                                                                                                                                   Measurement of ECLs
    Impairment of financial assets other than credit facilities                                                                                    ECL is probability weighted estimates of credit losses and are measured as the present value of all cash shortfalls discounted at the
    The Group recognises ECL on investment in debt securities measured at amortised cost or FVOCI and on balances and deposits with                effective interest rate of the financial instrument. Cash shortfall represents the difference between cash flows due to the Group in
    banks.                                                                                                                                         accordance with the contract and the cash flows that the Group expects to receive. The key elements in the measurement of ECL
                                                                                                                                                   include probability of default (PD), loss given default (LGD) and exposure at default (EAD). The Group estimates these elements using
                                                                                                                                                   appropriate credit risk models taking into consideration the internal and external credit ratings of the assets, nature and value of
                                                                                                                                                   collaterals, forward-looking macroeconomic scenarios, etc.


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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                         2 MATERIAL ACCOUNTING POLICIES (continued)
    2.9 Impairment of financial assets (continued)
    Expected Credit Losses (continued)

    Incorporation of forward-looking information                                                                                                       2.10 Impairment of non-financial assets
    The Group considers key economic variables that are expected to have an impact on the credit risk and the ECL in order to incorporate              Goodwill and intangible assets that have an indefinite useful life are not subject to amortisation and are tested annually for impairment.
    forward-looking information into the ECL models. These primarily reflect reasonable and supportable forecasts of the future macro-                 Other non-financial assets are reviewed for impairment whenever events or changes in circumstances indicate that the carrying amount
    economic conditions. The consideration of such factors increases the degree of judgment in determination of ECL. The management                    may not be recoverable. An impairment loss is recognised in the consolidated statement of income for the amount by which the asset’s
    reviews the methodologies and assumptions including any forecasts of future economic conditions on regular basis.                                  carrying amount exceeds its recoverable amount. The recoverable amount is the higher of an asset’s fair value less costs to sell and
                                                                                                                                                       value in use. Refer Note 15 Goodwill and other intangible assets for more details on assessment of value in use. If previously recognised
    Modification of loans and Islamic financing to customers                                                                                           impairment losses have decreased, such excess impairment provision is reversed in the consolidated statement of income for non-
    Under certain circumstances, the Group seeks to restructure loans, advances and Islamic financing to customers rather than taking                  financial assets other than goodwill.
    possession of collateral. This may involve extending the payment arrangements, reduction in the amount of principal or interest and the
    agreement of new loan or financing conditions. If the modifications are substantial, such a facility is derecognised and a new facility is         2.11 Share based compensation
    recognised with substantially different terms and conditions. The facility will have a loss allowance measured based on 12 month ECL               Cash settled share based compensation
    except in rare occasions where the new facility is considered to be originated and credit impaired. Management continuously reviews                The fair value of the employee services received in exchange for the cash settled share based payment is recognised as an expense,
    modified loans and islamic financing to customers to ensure that all criteria are met and that future payments are likely to occur.                together with a corresponding increase in liability. The total amount to be expensed over the vesting period is determined by reference
    Management also assesses whether there has been significant increase in credit risk or the facility should be classified in stage 3.               to the fair value of the options determined using the Black Scholes model. The liability is remeasured to fair value at each reporting date
    When loans, advances and Islamic financing to customers have been modified but not derecognised, any impairment is measured using                  up to and including the settlement date, with changes in fair value recognised in the consolidated statement of income.
    the original effective interest rate as calculated before the modification of terms.
                                                                                                                                                       2.12 Post-employment benefits
    Write off                                                                                                                                          The Group is liable to make defined contributions to State plans and lump sum payments under defined benefit plans to employees
    The gross carrying amount of a financial asset is written off (either partially or in full) when the Group determines that the debtor does         at cessation of employment, in accordance with the laws of the place they are employed. The defined benefit plans are unfunded. The
    not have assets or sources of income that could generate sufficient cash flows to repay the amounts. However, financial assets that are            present value of the defined benefit obligation is determined annually by actuarial valuations using the projected unit credit method.
    written off could still be subject to enforcement activities in order to comply with the Group’s procedures for recovery of amounts due.           An actuarial valuation involves making various assumptions such as determination of the discount rate, future salary increases and
                                                                                                                                                       mortality rates. These assumptions are reviewed at each reporting date. Current service cost, past service cost and net interest expense
    Presentation of allowance for ECL in the consolidated statement of financial position                                                              on the defined benefit plans are recognized in consolidated statement of income and is included in staff expenses. Any gains or losses
    Loss allowances for ECL are presented as a deduction from the gross carrying amount of the financial assets for financial assets carried           on re-measurement of defined benefit plans attributable to changes in actuarial assumptions are recognized in other comprehensive
    at amortised cost. In the case of debt instruments measured at FVOCI, the Group recognises the ECL charge in the consolidated                      income and is included in Actuarial Valuation reserve.
    statement of income and a corresponding amount is recognised in other comprehensive income with no reduction in the carrying
    amount of the financial asset in the consolidated statement of financial position. ECL for loan commitments, letters of credit and                 2.13 Taxation
    financial guarantee contracts are recognised in other liabilities. When the Group is unable to identify the ECL on the undrawn portion of          National Labour Support Tax, Zakat, Contribution to Kuwait Foundation for the Advancement of Sciences
    credit commitments separately from drawn portion of commitments, the combined amount of ECL is presented as a deduction from                       National Labour Support Tax and Zakat are provided for in accordance with the applicable fiscal laws, rules and regulations.
    the gross carrying amount of the drawn portion.                                                                                                    Contribution to Kuwait Foundation for the Advancement of Sciences is provided at 1% of the eligible profits in accordance with the
                                                                                                                                                       Amiri Decree issued on 12 December 1976.
    Provisions for credit losses in accordance with CBK instructions
    The Group is required to calculate provisions for credit losses on credit facilities in accordance with the instructions of CBK on the             Overseas tax
    classification of credit facilities and calculation of provisions. Credit facilities are classified as past due when a payment has not been        Income tax payable on taxable profit (‘current tax’) is recognised as an expense in the period in which the profits arise in accordance
    received on its contractual payment date or if the facility is in excess of pre-approved limits. A credit facility is classified as past due and   with the fiscal regulations of the respective countries in which the Group operates. Deferred tax assets are recognised for deductible
    impaired when the interest/profit or a principal instalment is past due for more than 90 days and if the carrying amount of the facility is        temporary differences, carry forward of unused tax credits and unused tax losses, to the extent it is probable that taxable profit will be
    greater than its estimated recoverable value. Past due but not impaired and past due and impaired loans are managed and monitored                  available to utilise these. Deferred tax liabilities are recognised for taxable temporary differences. Deferred tax assets and liabilities are
    as irregular facilities and are classified into the following four categories which are then used to determine the provisions.                     measured using tax rates and applicable legislation enacted at the reporting date.


    Category                            Criteria                                            Specific provisions                                        2.14 Recognition of financial assets and financial liabilities
                                                                                                                                                       Financial assets and financial liabilities are recognised when the Group becomes party to contractual provisions of the instrument and
    Watch list                          Irregular for a period of up to 90 days             -                                                          are initially measured at fair value. Transaction costs are included only for those financial instruments that are not measured at fair
    Substandard                         Irregular for a period of 91- 180 days              20%                                                        value through statement of income.
    Doubtful                            Irregular for a period of 181- 365 days             50%
                                                                                                                                                       2.15 Classification and measurement of financial assets
    Bad                                 Irregular for a period exceeding 365 days           100%                                                       The Group determines the classification of financial assets based on the business model it uses to manage the financial assets and the
                                                                                                                                                       contractual cash flow characteristics of the financial assets.
    The Group may also include a credit facility in one of the above categories based on management’s judgement of a customer’s financial
    and/or non-financial circumstances.

    In addition to specific provisions, minimum general provisions of 1% on cash facilities and 0.5% on non-cash facilities are made on all
    applicable credit facilities (net of certain restricted categories of collateral) which are not subject to specific provisioning.

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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                     2 MATERIAL ACCOUNTING POLICIES (continued)
    2.15 Classification and measurement of financial assets (continued)                                                                            2.15 Classification and measurement of financial assets (continued)


    Business model assessment                                                                                                                      Financial assets carried at fair value through other comprehensive income (FVOCI):
    The Group determines its business model at the level that best reflects how it manages groups of financial assets to achieve its
    business objective. The Group’s business model is not assessed on an instrument by instrument basis but at a higher level of                   (i) Debt Securities at FVOCI
    aggregated portfolios and is based on a number of observable factors. The information considered includes:                                     A debt security is carried at FVOCI if it meets both of the following conditions:

    •   The stated policies and objectives for the portfolio and the operation of those policies in practice                                       •   it is held within a business model whose objective is achieved by both collecting contractual cash flows and selling financial assets;
    •   The risks that affect the performance of the business model (and the financial assets held within that business model) and how                 and
        those risks are managed;                                                                                                                   •   its contractual terms give rise on specified dates to cash flows that are solely payments of principal and interest on the principal
    • The frequency, volume and timing of sales in prior periods, the reasons for such sales and its expectations about future sales                   amount outstanding
        activity.
    The business model assessment is based on reasonably expected scenarios without taking ‘worst case’ or ‘stress case’ scenarios into            Debt Securities at FVOCI are subsequently measured at fair value. Interest income calculated using the effective interest method, foreign
    account. If cash flows after initial recognition are realised in a way that is different from the Group’s original expectations, the Group     exchange gains and losses and impairment losses are recognised in the consolidated statement of income. Fair value changes which are
    does not change the classification of the remaining financial assets held in that business model, but incorporates such information            not part of an effective hedging relationship are recognised in other comprehensive income and presented in the cumulative changes in fair
    when assessing newly originated or newly purchased financial assets going forward.                                                             values as part of equity until the asset is derecognised or reclassified. When the financial asset is derecognised, the cumulative gain or loss
                                                                                                                                                   previously recognised in other comprehensive income is reclassified from equity to the consolidated statement of income.
    Assessment of whether contractual cash flows are solely payments of principal and interest (SPPI test)
    The Group assesses the contractual terms of financial assets to identify whether they meet the SPPI test. ‘Principal’ for the purpose          (ii) Equity investments at FVOCI
    of this test is defined as the fair value of the financial asset at initial recognition and may change over the life of the financial asset.   Upon initial recognition, the Group makes an irrevocable election to classify some of its equity investments as equity investments
    Interest is defined as consideration for time value of money and for the credit risk associated with the principal and for other basic         at FVOCI if they meet the definition of Equity under IAS 32 Financial Instruments: Presentation and are not held for trading. Such
    lending risks and costs as well as a profit margin. In assessing whether the contractual cash flows are solely payments of principal           classification is determined on an instrument by instrument basis. Equity investments at FVOCI are subsequently measured at fair
    and interest, the Group considers whether the financial asset contains a contractual term that could change the timing or amount of            value. Changes in fair values including foreign exchange component are recognised in other comprehensive income and presented
    contractual cash flows such that it would not meet this condition. The Group considers:                                                        in the cumulative changes in fair values as part of equity. Cumulative gains and losses previously recognised in other comprehensive
                                                                                                                                                   income are transferred to retained earnings on de-recognition and are not recognised in the consolidated statement of income.
    •     Contingent events that would change the amount and timing of cash flows;                                                                 Dividend income on equity investments at FVOCI are recognised in the consolidated statement of income unless they clearly represent
    •     Leverage features;                                                                                                                       a recovery of part of the cost of the investment. Equity investments at FVOCI are not subject to impairment assessment.
    •     Prepayment and extension terms;
    •     Terms that limit the Group’s claim to cash flows from specified assets (e.g. non-recourse asset arrangements); and                       Financial assets carried at fair value through profit or loss:
    •     Features that modify consideration of the time value of money – e.g. periodical reset of interest rates.                                 Financial assets in this category are those assets which have been either designated by management upon initial recognition or are
                                                                                                                                                   mandatorily required to be measured at fair value under IFRS 9. Management designates an instrument as FVTPL that otherwise meet
    Contractual terms that introduce a more than de minimus exposure to risks or volatility in the contractual cash flows that are unrelated       the requirements to be measured at amortised cost or at FVOCI only if it eliminates, or significantly reduces, an accounting mismatch
    to a basic lending arrangement do not give rise to contractual cash flows that are solely payment of principal and interest. In such           that would otherwise arise. Financial assets with contractual cash flows not representing solely payment of principal and interest are
    cases, the financial asset is measured at fair value through profit or loss.                                                                   mandatorily required to be measured at FVTPL.

    The Group classifies its financial assets upon initial recognition into the following categories:                                              Financial assets at FVTPL are subsequently measured at fair value. Changes in fair value are recognised in the consolidated statement
                                                                                                                                                   of income. Interest income is recognised using the effective interest method. Dividend income from equity investments measured at
    •     Financial assets carried at amortised cost                                                                                               FVTPL is recognised in the consolidated statement of income when the right to the payment has been established.
    •     Financial assets carried at fair value through other comprehensive income (FVOCI)
    •     Financial assets carried at fair value through profit or loss (FVTPL)                                                                    The Group’s financial assets are classified and measured as follows:

    Financial assets carried at amortized cost:                                                                                                    Cash and short term funds
    A financial asset is carried at amortised cost if it meets both of the following conditions:                                                   Cash and short term funds consist of cash in hand, current account and money at call with other banks and deposits with banks
                                                                                                                                                   maturing within seven days. Cash and short term funds are classified and carried at amortised cost using effective interest rate.
    •     it is held within a business model whose objective is to hold assets to collect contractual cash flows ; and
    •     its contractual terms give rise, on specified dates, to cash flows that are solely payments of principal and interest on the principal   Deposits with banks
          amount outstanding                                                                                                                       Deposits with banks are classified and carried at amortised cost using the effective interest method. The carrying values of such assets
                                                                                                                                                   which are being effectively hedged for changes in fair value are adjusted to the extent of the changes in fair value attributable to the risk
    Financial assets carried at amortised cost are subsequently measured at amortised cost using the effective interest method. Interest           being hedged.
    income, foreign exchange gains and losses and charge for expected credit losses are recognised in the consolidated statement of
    income. Any gain or loss on de-recognition is recognised in the consolidated statement of income.                                              Loans and advances to customers
                                                                                                                                                   Loans and advances are stated at amortised cost using the effective interest method. The carrying values of such assets which are being
                                                                                                                                                   effectively hedged for changes in fair value are adjusted to the extent of the changes in fair value attributable to the risk being hedged.


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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                      2 MATERIAL ACCOUNTING POLICIES (continued)
    2.15 Classification and measurement of financial assets (continued)


    Islamic financing to customers                                                                                                                  2.17 Repurchase and resale agreements
    Islamic financing to customers are financial assets with fixed or determinable payments that are not quoted in an active market. Major          Assets sold with a simultaneous commitment to repurchase at a specified future date at an agreed price (repos) are not derecognised
    islamic financing products are:                                                                                                                 in the consolidated statement of financial position. Amounts received under these agreements are treated as interest bearing
                                                                                                                                                    liabilities and the difference between the sale and repurchase price treated as interest expense using the effective yield method. Assets
    a. Murabaha                                                                                                                                     purchased with a corresponding commitment to resell at a specified future date at an agreed price (reverse repos) are not recognised in
    Murabaha is an agreement relating to the sale of commodities at cost plus an agreed upon profit margin, whereby the seller informs              the consolidated statement of financial position. Amounts paid under these agreements are treated as interest earning assets and the
    the buyer of the price at which the deal will be completed and also the amount of profit to be recognized. Murabaha is a financial asset        difference between the purchase and resale price treated as interest income using the effective yield method.
    originated by the Group and is stated at amortised cost.
                                                                                                                                                    2.18 Offsetting of financial assets and liabilities
    b. Wakala                                                                                                                                       Financial assets and financial liabilities are only offset and the net amount reported in the consolidated statement of financial position
    Wakala is an agreement involving Al-Muwakkil (the Principal) who wishes to appoint Al-Wakil (the Agent) to be his agent with respect to         when there is a legally enforceable right to set off the recognised amounts and the Group intends to either settle on a net basis, or to
    the investment of Al-Muwakkil’s fund, in accordance with regulations of the Islamic Sharia’a. Wakala is a financial asset originated by the     realise the asset and settle the liability simultaneously.
    Group and stated at amortised cost.
                                                                                                                                                    2.19 Modification of financial assets and and financial liabilities
    c. Leased assets - the Group as a lessor                                                                                                        If the terms of a financial asset are modified, the Group evaluates whether the cash flows of the modified asset are substantially
    Leases are classified as finance leases whenever the terms of the lease transfer substantially all the risks and rewards of ownership to        different. If the cash flows are substantially different, then the contractual rights to cash flows from the original financial asset are
    the lessee. All other leases are classified as operating lease. Leased assets are stated at amortised cost using effective profit rate.         deemed to have expired. In this case, the original financial asset is derecognised and a new financial asset is recognised at fair value.

    Financial investments                                                                                                                           If the cash flows of the modified asset are not substantially different, then the modification does not result in derecognition of the
    Group’s financial investments consist of debt securities, equity investments and other investments.                                             financial asset. In this case, the Group recalculates the gross carrying amount of the financial asset using the original effective interest
                                                                                                                                                    rate and recognises the amount arising from adjusting the gross carrying amount as modification gain or loss in the Consolidated
    Debt securities are classified as either at amortised cost or at fair value through other comprehensive income based on the business model in   Statement of Income.
    which these securities are managed. Debt securities are classified at fair value through profit or loss, if they do not meet SPPI criteria.
                                                                                                                                                    The Group derecognises a financial liability when its terms are modified and the cash flows of the modified liability are substantially
    Equity investments are generally carried at fair value through profit or loss except for those specific investments for which the Group         different. In this case, a new financial liability based on the modified terms is recognised at fair value. The difference between
    has made an election to classify at fair value through other comprehensive income.                                                              the carrying amount of the financial liability extinguished and the new financial liability with modified terms is recognised in the
                                                                                                                                                    Consolidated Statement of Income.
    Other investments are carried at fair value through profit or loss.
                                                                                                                                                    Interest Rate Benchmark Reform
    2.16 Fair value measurement
    Fair value is the price that would be received to sell an asset or paid to transfer a liability in an orderly transaction between market        In the context of IBOR reform, the Group’s assessment of whether a change to a financial asset or financial liability is substantial is
    participants at the measurement date in the principal or, in its absence, in the most advantageous market to which the Group has                made after applying the practical expedient introduced by Interest Rate Benchmark Reform, Amendments to IFRS 9, Phase 2. This
    access at that date under current market conditions regardless of whether that price is directly observable or estimated using another          practical expedient allows changes to the basis for determining contractual cash flows as a direct result of interest rate benchmark
    valuation technique.                                                                                                                            reform to be treated as changes to a floating interest rate to that instrument, if the transition from the IBOR benchmark rate to the
                                                                                                                                                    alternative RFR takes place on an economically equivalent basis. In such cases, the Group updates the effective interest rate to reflect
    When available, the Group measures the fair value of an instrument using the quoted price in an active market for that instrument. A            the change in an interest rate benchmark from IBOR to Risk Free Rate (RFR) without adjusting the carrying amount.
    market is regarded as active if transactions for the asset or liability take place with sufficient frequency and volume to provide pricing
    information on an ongoing basis.                                                                                                                When additional changes are made, which are not economically equivalent, the Group applies accounting policy on accounting for
                                                                                                                                                    modification of financial assets and financial liabilities.
    If there is no quoted price in an active market, then the Group uses valuation techniques that include the use of valuation models
    that maximise the use of relevant observable inputs and minimise the use of unobservable inputs. The chosen valuation technique                 2.20 De-recognition of financial assets and and financial liabilities
    incorporates all of the factors that market participants would take into account in pricing a transaction. The inputs to these models           Financial assets
    are taken from observable markets where possible, but where this is not feasible, estimation is required in establishing fair values.           A financial asset (or where applicable, a part of a financial asset or part of a group of similar financial assets) is derecognised where:
    Judgements and estimates include considerations of liquidity and model inputs related to items such as credit risk (both own and
    counterparty), funding value adjustments, correlation and volatility.                                                                           •   the rights to receive cash flows from the asset have expired, or
                                                                                                                                                    •   the Group retains the right to receive cash flows from the asset, but has assumed an obligation to pay them in full without material
    If an asset or liability measured at fair value has a bid price and an ask price, then the Group measures assets at a bid price and                 delay to a third party under a ‘pass through’ arrangement, or
    liabilities at an ask price.                                                                                                                    •   the Group has transferred its rights to receive cash flows from the asset and either (a) has transferred substantially all the risks
                                                                                                                                                        and rewards of the asset, or (b) has neither transferred nor retained substantially all the risks and rewards of the asset, but has
    Fair values of investment properties are determined by appraisers having an appropriate recognised professional qualification and                   transferred control of the asset.
    recent experience in the location and category of the property being valued and also considering the ability to generate economic
    benefits by using the property in its highest and best use.
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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                         2 MATERIAL ACCOUNTING POLICIES (continued)
    2.20 De-recognition of financial assets and and financial liabilities (continued)
    Financial assets (continued)

    When the Group has transferred its rights to receive cash flows from an asset and has neither transferred nor retained substantially all           2.22      Trade and settlement date accounting
    the risks and rewards of the asset nor transferred control of the asset, the asset is recognised to the extent of the Group’s continuing           All “regular way” purchase and sale of financial assets other than investments in equity instruments are recognised on the settlement
    involvement in the asset. Continuing involvement that takes the form of a guarantee over the transferred asset is measured at the lower            date, i.e. the date the asset is delivered to the Group. Investments in equity instruments are recognised on the trade date, i.e. the date
    of the original carrying amount of the asset and the maximum amount of consideration that the Group could be required to repay.                    that the Group commits to purchase or sell the asset. Regular way purchases or sales are purchases or sales of financial assets that
                                                                                                                                                       require delivery of assets within the time frame generally established by the regulation or convention in the market place.
    Financial liabilities
    A financial liability is derecognised when the obligation under the liability is discharged or cancelled or expired. Where an existing financial   2.23     Investment properties
    liability is replaced by another from the same lender on substantially different terms, or the terms of an existing liability are substantially    Investment properties are properties held either to earn rental income or for capital appreciation or for both, but not for sale in the
    modified, such an exchange or modification is treated as a de-recognition of the original liability and the recognition of a new liability.        ordinary course of business, use in the production or supply of goods or services or for administrative purposes. Investment property is
                                                                                                                                                       measured at cost on initial recognition and subsequently at fair value with any change therein recognised in consolidated statement of
    2.21 Derivative financial instruments and hedge accounting                                                                                         income. Cost includes expenditure that is directly attributable to the acquisition of the investment property. Fair values of investment
    The Group deals in interest rate swaps to manage its interest rate risk on interest bearing assets and liabilities. Similarly the Group deals      properties are determined by appraisers having an appropriate recognised professional qualification and recent experience in the
    in forward foreign exchange contracts for customers and to manage its foreign currency positions and cash flows. All derivative financial          location and category of the property being valued. Any gain or loss on disposal of an investment property (calculated as the difference
    instruments of the Group are recorded in the consolidated statement of financial position at fair value. The fair value of a derivative is the     between the net proceeds from disposal and the carrying amount of the item) is recognised in consolidated statement of income. When
    equivalent of the unrealised gain or loss from marking to market the derivative using prevailing market rates or internal pricing models.          the use of a property changes such that it is reclassified as Land, premises and equipment, its fair value at the date of reclassification
    Positive and negative fair values are reported as assets and liabilities respectively and are offset when there is both an intention to settle     becomes its cost for subsequent accounting. The Group presents investment properties in other assets in the consolidated statement
    net and a legal right to offset exists.                                                                                                            of financial position.

    For the purposes of hedge accounting, hedges are classified into two categories: (a) fair value hedges which hedge the exposure to changes         2.24     Land, premises and equipment
    in the fair value of a recognised asset or liability and (b) cash flow hedges which hedge exposure to variability in cash flows that is either     Land and premises comprise mainly branches and offices. All premises and equipment are stated at historical cost less depreciation.
    attributable to a particular risk associated with a recognised financial asset or liability or a highly probable forecast transaction.             Historical cost includes expenditure that is directly attributable to the acquisition of the items.

    In relation to fair value hedges which meet the conditions for hedge accounting, any gain or loss from remeasuring the hedging instrument          Projects and work in progress are stated at cost less impairment if any. Costs are those expenses incurred by the Group that are directly
    is recognised immediately in the consolidated statement of income. The carrying amounts of hedged items are adjusted for fair value                attributable to the creation of the asset. When the asset is ready for use, capital work in progress is transferred to the appropriate
    changes attributable to the risk being hedged and the difference is recognised in the consolidated statement of income.                            category and depreciated in accordance with the Group’s policies.

    In relation to cash flow hedges which meet the conditions for hedge accounting, the portion of the gain or loss on the hedging instrument          Subsequent costs are included in the asset’s carrying amount or are recognised as a separate asset, as appropriate, only when it is
    that is determined to be an effective hedge is recognised initially in equity and any ineffective portion is recognised in the consolidated        probable that future economic benefits associated with the item will flow to the Group and the cost of the item can be measured
    statement of income. The gains or losses on cash flow hedges recognised initially in equity are transferred to the consolidated statement          reliably. All other repairs and maintenance are charged to the consolidated statement of income during the period in which they are
    of income in the period in which the hedged transaction impacts the consolidated statement of income. Where the hedged transaction                 incurred.
    results in the recognition of an asset or liability, the associated gains or losses that had initially been recognised in equity are included in
    the initial measurement of the cost of the related asset or liability. For hedges that do not qualify for hedge accounting, any gains or losses    Land is not depreciated. Depreciation is provided on the depreciable amount of other items of premises and equipment on a straight
    arising from changes in fair value of the hedging instrument are taken directly to the consolidated statement of income.                           line basis over their estimated useful life. The depreciable amount is the gross carrying value, less the estimated residual value at the
                                                                                                                                                       end of its useful life. The estimated useful life of premises and equipment are as follows:
    Hedges of net investment in a foreign operation, including a hedge of a monetary item that is accounted for as part of the net investment,
    are accounted for in a way similar to cash flow hedges. Gains or losses on the hedging instrument relating to the effective portion of the         Building on leasehold land			                   term of lease (maximum 20 years)
    hedge are recognised as other comprehensive income while any gains or losses relating to the ineffective portion are recognised in the             Building on freehold land			                    50 years
    consolidated income statement. On disposal of the foreign operation, the cumulative value of any such gains or losses recorded in equity is        IT systems and equipment			                     3-10 years
    transferred to the consolidated income statement.
                                                                                                                                                       Residual values and useful lives of assets are reviewed, and adjusted if appropriate, at each reporting date. The carrying values of land,
    Hedge accounting is discontinued when the hedging instrument expires or is sold, terminated or exercised, no longer qualifies for hedge            premises and equipment are reviewed for impairment when events or changes in circumstances indicate that the carrying value may not
    accounting or is revoked by the Group. For cash flow hedges, any cumulative gain or loss on the hedging instrument recognised in equity            be recoverable. Gains and losses on disposals are determined by comparing proceeds with the carrying amount. These are included in
    remains in equity until the forecast transaction occurs. In the case of fair value hedges of interest bearing financial instruments, any           the consolidated statement of income.
    adjustment relating to the hedge is amortised over the remaining term to maturity. Where the hedged transaction is no longer expected
    to occur, the net cumulative gain or loss recognised in equity is transferred to the consolidated statement of income.                             2.25    Leases
                                                                                                                                                       At inception of a contract, the Group assesses whether the contract is a lease. A contract is a lease if the contract conveys the right
    Based on the Amendments to IFRS 7 and IFRS 9 “Interest Rate Benchmark reforms : “Phase 2” issued in August 2020, the Group has                     to control the use of an identified asset for a period of time in exchange for a consideration. If the contract is identified as a lease, the
    availed reliefs that allow the Group’s hedging relationships to continue upon the replacement of an existing interest rate benchmark               Group recognises a right-of-use asset and a lease liability at the lease commencement date. The Group elected to use the recognition
    rate with an RFR. The relief requires the Group to amend hedge designations and hedge documentation. This includes redefining the                  exemptions for lease contracts that, at the commencement date, have a lease term of 12 months or less and lease contracts for which
    hedged risk to reference an RFR, redefining the description of the hedging instrument and / or the hedged item to reference the RFR                the underlying asset is of low value.
    and amending the method for assessing hedge effectiveness. Updates to the hedging documentation must be made by the end of the
    reporting period in which a replacement takes place.
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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                      2 MATERIAL ACCOUNTING POLICIES (continued)
    2.25 Leases (continued)                                                                                                                         2.27 Goodwill and intangible assets (continued)
                                                                                                                                                    b.   Intangible assets (continued)

    Right-of-use assets                                                                                                                             down to its recoverable amount. The excess of carrying value over the recoverable amount is recognised in the consolidated statement
    The right-of-use asset is initially measured at cost, which comprises the initial amount of the lease liability adjusted for any lease          of income. Impairment losses on intangible assets recognised in the consolidated statement of income in previous periods are reversed
    payments made at or before the commencement date, plus any initial direct costs incurred. The right-of-use asset is subsequently                when there is an increase in the recoverable amount.
    depreciated using the straight-line method over the lease term. In addition, the right-of-use asset is periodically reduced by impairment
    losses, if any. The Group presents right-of-use assets in ‘land, premises and equipment’ in the consolidated statement of financial             2.28     Property acquired on settlement of debt
    position.                                                                                                                                       Property acquired on settlement of debt is stated at the lower of the related loans and advances and the current fair value of such
                                                                                                                                                    assets. Gains or losses on disposal and revaluation losses are recognised in the consolidated statement of income.
    Lease Liabilities
    The lease liability is initially measured at the present value of the lease payments that are not paid at the commencement date,                2.29     Due to Banks and Financial Institutions, Customer deposits & Certificates of deposit issued
    discounted using the Group’s incremental borrowing rate. The lease liability is subsequently measured at amortised cost using the               Due to Banks, Deposits from other Financial Institutions, Customer Deposits & Certificates of deposit issued are stated at amortised
    effective interest method. In addition, the carrying amount of lease liabilities is remeasured if there is a modification, a change in the      cost using effective interest method. The carrying values of such liabilities which are being effectively hedged for changes in fair value
    lease term, or a change in the lease payments. The Group presents lease liabilities in ‘other liabilities’ in the consolidated statement of     are adjusted to the extent of the changes in fair value being hedged.
    financial position.
                                                                                                                                                    2.30     Islamic customer deposits
    Based on the Amendments to IFRS 16 “Covid-19 Related Rent Concessions” issued in May 2020, the Group has elected not to follow                  Islamic customer deposits comprise of Investment accounts and Non-investment accounts.
    lease modification accounting in respect of Covid-19 related rent concessions obtained from its lessors until 30 June 2023. Instead
    such rent concessions are accounted in the same way as if they were not a lease modification.                                                   Investment accounts
                                                                                                                                                    Investment accounts may take the form of investment deposits, which are valid for specified periods of time, and are automatically
    2.26     Business combinations                                                                                                                  renewable on maturity for the same period, unless the concerned depositors give written notice to the contrary, or take the form of
    Business combinations are accounted for using the acquisition method of accounting. The cost of an acquisition is measured as the               investment saving accounts for unspecified periods. In all cases, investment accounts receive a proportion of the profit, bear a share of
    aggregate of the consideration transferred, measured at acquisition date fair value and the amount of any non-controlling interest in the       loss and are carried at cost plus profit payable.
    acquiree. Non-controlling interest in the acquiree is measured at the proportionate share in the recognised amounts of the acquiree’s
    identifiable net assets. Other acquisition related costs incurred are expensed and included in other administrative expenses.                   Non-investment accounts
                                                                                                                                                    Non-investment accounts represent, in accordance with Islamic Sharia’a, Qard Hasan from depositors to the Group. These accounts
    If the business combination is achieved in stages, the acquirer’s previously held equity interest in the acquiree is remeasured to fair         are neither entitled to profit nor do they bear any risk of loss, as the Group guarantees to pay the related balance. Investing Qard Hasan
    value at the acquisition date and included in cost of acquisition. Any resulting gain or loss is recognised in consolidated statement of        is made at the discretion of the Group and the results of such investments are attributable to the shareholders of the Group. Non-
    income. Identifiable assets acquired and liabilities assumed in a business combination are measured initially at their fair values at the       investment accounts are carried at cost.
    acquisition date. The excess of the cost of acquisition over the fair value of the identifiable net assets acquired is recorded as goodwill.
    If the cost of acquisition is less than the fair value of the net assets of the subsidiary acquired, the difference is recognised directly in   2.31      Other borrowed funds
    the consolidated statement of income.                                                                                                           Other borrowed funds includes Tier 2 bonds, Global Medium Term Notes, Global Medium Term Sukuk, Medium and short term borrowings.
                                                                                                                                                    These are financial liabilities and are initially recognised at their fair value being the issue proceeds net of transaction costs and are
    2.27 Goodwill and intangible assets                                                                                                             subsequently measured at their amortised cost using the effective interest rate method. The carrying values of such liabilities which are
    a.      Goodwill                                                                                                                                being effectively hedged for changes in fair value are adjusted to the extent of the changes in fair value being hedged.
    Goodwill acquired in a business combination is initially measured at cost, being the excess of the cost of the acquisition over the net fair
    value of the identifiable assets and liabilities acquired. Following initial recognition, goodwill is measured at cost less any accumulated     2.32       Financial guarantees
    impairment losses. Goodwill is reviewed for impairment, annually or more frequently if events or changes in circumstances indicate              In the ordinary course of business, the Group gives financial guarantees, consisting of letters of credit, guarantees and acceptances.
    that the carrying value may be impaired. Goodwill is recorded in the functional currency of the foreign operation and is translated to          Financial guarantees are initially recognised in the consolidated financial statements at fair value, being the premium received, in other
    the presentation currency at the rate of exchange prevailing at the reporting date. When subsidiaries are sold, the difference between          liabilities. The premium received is recognised in the consolidated statement of income in ‘net fees and commissions’ on a straight
    the selling price and the net assets plus cumulative translation differences and goodwill is recognised in the consolidated statement of        line basis over the life of the guarantee. The guarantee liability is subsequently carried at initial measurement less amortisation. When
    income.                                                                                                                                         a payment under the guarantee is likely to become payable, the present value of the expected net payments less the unamortised
                                                                                                                                                    premium is charged to the consolidated statement of income.
    b.     Intangible assets
    Intangible assets comprise separately identifiable intangible items arising from business combinations. An intangible asset is                  2.33 Treasury shares
    recognised only when its cost can be measured reliably and it is probable that the expected future economic benefit will flow to the            The Bank’s holding of its own shares are accounted for as treasury shares and are stated at purchase consideration including directly
    Group. Intangible assets are initially measured at cost. The cost of intangible assets acquired in a business combination is their fair         attributable costs. When the treasury shares are sold, gains are credited to a separate account in equity (treasury share reserve) which is
    value as at the date of acquisition. Following initial recognition, intangible assets are carried at cost less any accumulated amortisation     non distributable. Any realised losses are charged to the same account to the extent of the credit balance on that account. Any excess
    and any accumulated impairment losses. The useful lives of the intangible assets are assessed to be either finite or indefinite.                losses are charged to retained earnings then to reserves. Gains realised subsequently on the sale of treasury shares are first used to offset
    Intangible assets with finite lives are amortised on a straight line basis over the useful economic life of 5 to 15 years and tested for        any previously recorded losses in the order of reserves, retained earnings and the treasury share reserve amount. No cash dividends are
    impairment whenever there is an indication that the intangible asset may be impaired. Intangible assets with indefinite useful lives are        distributed on these shares. The issue of bonus shares increases the number of shares proportionately and reduces the average cost per
    not amortised but tested for impairment annually or whenever there is an indication that the intangible asset may be impaired. If the           share without affecting the total cost of treasury shares.
    carrying value of the intangible asset is more than the recoverable amount, the intangible asset is considered impaired and is written


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    2 MATERIAL ACCOUNTING POLICIES (continued)                                                                                                         2 MATERIAL ACCOUNTING POLICIES (continued)
                                                                                                                                                       2.36 Significant accounting judgements and estimates (continued)


    2.34 Contingent liabilities and contingent assets                                                                                                  Fair values of assets and liabilities including intangibles
    Contingent liabilities are not recognized in the consolidated financial statements. They are disclosed in the notes to the consolidated            Considerable judgment by management is required in the estimation of the fair value of the assets including intangibles with definite
    financial statements, unless the possibility of an outflow of resources embodying economic benefits is remote.                                     and indefinite useful life, liabilities and contingent liabilities acquired as a result of business combination.

    Contingent assets are not recognized in the consolidated financial statements but are disclosed when an inflow of economic benefits is probable.   Share based payments
                                                                                                                                                       The Group measures the share based payments to employees by reference to the fair value of the relevant equity instruments.
    2.35 Fiduciary assets                                                                                                                              Estimating fair value for share based payment transactions requires determination of the most appropriate valuation model. This
    Assets and related deposits held in trust or in a fiduciary capacity are not treated as assets or liabilities of the Group and accordingly are     estimate also requires determination of the most appropriate inputs to the valuation model including the expected life of the share
    not included in the consolidated statement of financial position.                                                                                  option, volatility and dividend yield and making assumptions about them. The assumptions and models used for estimating fair value
                                                                                                                                                       for share based payment transactions are disclosed in Note 22.
    2.36 Significant accounting judgements and estimates
    In the process of applying the Group’s accounting policies, management has used judgements and made estimates in determining the                   Valuation of unquoted financial assets
    amounts recognised in the consolidated financial statements. The most significant use of judgements and estimates are as follows:
                                                                                                                                                       Fair value of unquoted financial assets is determined using valuation techniques including the discounted cash flow model. The inputs
                                                                                                                                                       to these models are taken from observable markets where possible, but where this is not feasible, a degree of judgment is required
    Accounting Judgements
                                                                                                                                                       in establishing fair values. The judgments include considerations of inputs such as liquidity risk, credit risk and volatility. Changes in
    Classification of financial assets
                                                                                                                                                       assumptions about these factors could affect the reported fair value of financial instruments. The determination of the cash flows and
    The Group determines the classification of financial assets based on the assessment of the business model within which the assets
                                                                                                                                                       discount factors requires significant estimation.
    are held and assessment of whether the contractual terms of the financial asset are solely payments of principal and interest on the
    principal amount outstanding. Judgments are required in determining the business model at an appropriate level that best reflects an
    aggregated group or portfolio of assets which are managed together to achieve a particular business objective. The Group also applies              2.37 Basis of translation
    judgment to assess if there is a change in business model in circumstances when the assets with in that business model are realised                The United States dollar amounts in the Consolidated Statement of Income, Consolidated Statement of Comprehensive income,
    differently than the original expectations. Refer Note 2.15 classification of financial assets for more information.                               Consolidated Statement of Financial Position and Consolidated Statement of Cash Flows represent supplementary information and
                                                                                                                                                       have been translated at a rate of KD 0.30675 per USD which represents the mid-market rate at 31 December 2023.
    Estimation uncertainty and assumptions
    The key assumptions concerning the future and other key sources of estimation uncertainty at the reporting date, that have a significant           3      SEGMENTAL ANALYSIS
    risk of causing a material adjustment to the carrying amounts of assets and liabilities within the next financial year are discussed below:
                                                                                                                                                       The Group has six reportable segments as described below. Management treats the operations of these segments separately for the
    Expected Credit Losses on financial assets                                                                                                         purposes of decision making, resource allocation and performance assessment.
    The Group estimates Expected Credit Loss (ECL) for all financial assets carried at amortised cost or fair value through other
    comprehensive income except for equity instruments.                                                                                                Consumer Banking
                                                                                                                                                       Consumer Banking provides a diversified range of products and services to individuals. The range includes consumer loans, credit
    Significant judgements are required in applying the accounting requirements for measuring ECL, such as:                                            cards, deposits, foreign exchange and other branch related services.

    •     Determining criteria for significant increase in credit risk                                                                                 Corporate Banking
    •     Choosing appropriate models and assumptions for measurement of ECL                                                                           Corporate Banking provides a comprehensive product and service offering to business and corporate customers, including lending,
    •     Establishing the number and relative weightings of forward-looking scenarios for each type of product/market and the                         deposits, trade finance, foreign exchange and advisory services.
          associated ECL; and
    •     Establishing group of similar financial assets for the purpose of measuring ECL.                                                             NBK Wealth
                                                                                                                                                       NBK Wealth provides a full range of asset management, custody, brokerage, lending, deposits and other customized and innovative
    Information about significant judgements and estimates made by the Group in the above areas is set out in Note 28.1.1.                             banking services to high net worth individuals and institutional clients across the Group.

    Provision for credit losses as per CBK guidelines                                                                                                  Islamic Banking
    The Group reviews its Loans, advances and Islamic financing to customers on a quarterly basis to assess whether a provision for credit
                                                                                                                                                       Islamic banking represents the financial results of Boubyan Bank K.S.C.P., the Islamic banking subsidiary of the Group.
    losses should be recorded in the consolidated statement of income. In particular, considerable judgment by management is required
    in the estimation of the amount and timing of future cash flows when determining the level of provisions required. Such estimates are
                                                                                                                                                       Group Centre
    necessarily based on assumptions about several factors involving varying degrees of judgment and uncertainty, and actual results may
                                                                                                                                                       Group Centre includes treasury, investments, and other defined Group activities. Treasury provides a comprehensive range of treasury
    differ resulting in future changes to such provisions.
                                                                                                                                                       services and products to its clients, and is also responsible for the Bank’s liquidity and market risk management. Group Centre
                                                                                                                                                       includes any residual in respect of transfer pricing and inter segment allocations.
    Impairment of goodwill and intangible assets with indefinite useful life
    The Group determines whether goodwill and intangible assets with indefinite useful life is impaired at least on an annual basis. This
    requires an estimation of the value in use of the cash-generating units to which the goodwill or intangible assets is allocated. Estimating        International Banking
    the value in use requires the Group to make an estimate of the expected future cash flows from the cash-generating unit and also to                International Banking provides a broad range of products and services including lending, deposits, trade finance etc. to corporate and
    choose a suitable discount rate in order to calculate the present value of those cash flows.                                                       individual customers at Group’s overseas locations.


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    3 SEGMENTAL ANALYSIS (continued)                                                                                                            3 SEGMENTAL ANALYSIS (continued)




    The following table shows net interest income and net income from Islamic financing, net operating income, profit for the year, total       Geographic information:
    assets and total liabilities information in respect of the Group’s business segments:                                                       The following table shows the geographic distribution of the Group’s operating income based on the location of the operating entities.


                                                                                                                                                                                                                                                                 2023            2022
                                                                                                                                                Net operating income
                                                                                                                                                                                                                                                              KD 000’s        KD 000’s
    2023
                                               Consumer     Corporate                       Islamic      Group International
                                                                                                                                                Kuwait                                                                                                        867,692         743,128
                                                 Banking      Banking     NBK Wealth       Banking       Centre     Banking             Total
                                                                                                                                                Other Middle East and North Africa                                                                            182,146         173,027
                                                KD 000’s     KD 000’s        KD 000’s     KD 000’s     KD 000’s      KD 000’s      KD 000’s
                                                                                                                                                Europe & UK                                                                                                     69,840          55,059
    Net interest income and net income
    from Islamic financing                       182,745      123,688          45,919     180,543      136,760        235,482       905,137     Others                                                                                                          47,089          38,527
    Net operating income                         237,974      162,894        112,192      224,424      152,182        277,101     1,166,767                                                                                                                 1,166,767        1,009,741
    Profit for the year                         102,060       145,818          66,667      78,221        58,686       136,921       588,373

    Total assets                               5,084,225    5,105,296        981,443    8,404,989     1,971,188   16,117,850     37,664,991     The following table shows the geographic distribution of the Group’s non-current assets based on the location of the operating entities.
    Total liabilities                          4,869,759    3,229,839      2,169,885    7,376,154      622,634    14,490,145     32,758,416

                                                                                                                                                                                                                                                                 2023            2022
                                                                                                                                                Non-current assets
                                                                                                                                                                                                                                                              KD 000’s        KD 000’s
                                                                                                                                                Kuwait                                                                                                      1,032,503         997,294
    2022
                                              Consumer      Corporate                       Islamic      Group International
                                                                                                                                                Other Middle East and North Africa                                                                              46,010          40,102
                                                Banking       Banking     NBK Wealth       Banking       Centre     Banking             Total
                                                                                                                                                Europe & UK                                                                                                     14,822           9,881
                                                KD 000’s     KD 000’s        KD 000’s     KD 000’s     KD 000’s       KD 000’s     KD 000’s
                                                                                                                                                Others                                                                                                           2,993           3,646
    Net interest income and net income
    from Islamic financing                       188,558      105,182          32,866     172,071        47,757       209,405       755,839                                                                                                                  1,096,328       1,050,923
    Net operating income                         241,910      145,443          93,800     207,528        72,688       248,372     1,009,741

    Profit (loss) for the year                   117,750      199,544          55,199       54,273     (28,465)       131,761       530,062     Non-current assets consist of land, premises and equipment, goodwill and other intangible assets, investment properties and property
    Total assets                               5,036,519    4,933,723        997,905    7,880,757     1,971,281    15,518,178 36,338,363        acquired on settlement of debts.

    Total liabilities                          4,967,315    2,459,515      2,152,615    6,901,058      200,551     15,022,363 31,703,417
                                                                                                                                                4        INTEREST INCOME


                                                                                                                                                                                                                                                                 2023            2022
                                                                                                                                                                                                                                                              KD 000’s        KD 000’s
                                                                                                                                                Deposits with banks                                                                                           233,519           90,873
                                                                                                                                                Loans and advances to customers                                                                               979,350          629,180
                                                                                                                                                Debt investment securities                                                                                    370,889          202,916
                                                                                                                                                Kuwait Government treasury bonds and CBK bonds                                                                  48,990          24,620

                                                                                                                                                                                                                                                            1,632,748         947,589




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    5      INTEREST EXPENSE                                                                                                        8       PROVISION CHARGE FOR CREDIT LOSSES AND IMPAIRMENT LOSSES


                                                                                                            2023           2022                                                                                                                      2023             2022
                                                                                                         KD 000’s       KD 000’s                                                                                                                  KD 000’s         KD 000’s

    Due to banks                                                                                         202,697          64,625   Provision charge for credit losses (Note 13)                                                                     81,765            5,350

    Deposits from other financial institutions                                                           106,991          58,846   ECL charge for investment in debt securities (Note 14)                                                             2,501           2,991

    Customer deposits                                                                                    493,049        199,930    ECL (release) charge for other financial assets                                                                  (2,512)           3,493

    Certificates of deposit issued                                                                         82,229         22,712   Impairment loss on goodwill (Note 15)                                                                            20,174           20,199

    Other borrowed funds                                                                                   23,188         17,708   Other impairment losses                                                                                            1,140          13,330

                                                                                                         908,154        363,821                                                                                                                    103,068           45,363

    6      NET FEES AND COMMISSIONS                                                                                                9       TAXATION


                                                                                                            2023           2022                                                                                                                      2023             2022
                                                                                                         KD 000’s       KD 000’s                                                                                                                  KD 000’s         KD 000’s

    Fees and commissions income                                                                          300,354        259,080    National Labour Support Tax                                                                                      14,088           13,116

    Fees and commissions related expenses                                                               (103,748)       (77,302)   Zakat                                                                                                              6,267           5,693

    Net fees and commissions                                                                             196,606        181,778    Contribution to Kuwait Foundation for the Advancement of Sciences                                                  5,911           5,557

                                                                                                                                   Overseas tax                                                                                                     21,831           23,056

    Fees and commissions income includes asset management fees of KD 57,732 thousand (2022: KD 52,270 thousand) earned on trust                                                                                                                      48,097          47,422
    and fiduciary activities where the Group holds or invests assets on behalf of its customers.
                                                                                                                                   Pillar 2 Income Taxes
    7      NET INVESTMENT INCOME                                                                                                   In 2021, OECD’s Inclusive Framework (IF) on Base Erosion and Profit Shifting (BEPS) had agreed to a two-pillar solution in order to
                                                                                                                                   address tax challenges arising from digitalization of the economy. Under Pillar 2, multinational entities whose revenue exceeds EUR
                                                                                                            2023           2022    750 million are liable to pay corporate income tax at a minimum effective tax rate of 15%.
                                                                                                         KD 000’s       KD 000’s
                                                                                                                                   The jurisdictions in which the Group operates including the State of Kuwait have joined the IF. The Group expects to be liable for the
    Net realised loss on sale of investments                                                                (239)          (238)   Global Minimum Tax under Pillar 2 of the BEPS regulations starting from the year 2025.
    Net gains from investments carried at fair value through statement of income                           19,130          2,993
                                                                                                                                   The Group is currently assessing its exposure to the additional income taxes under Pillar 2 regulations. The assessment indicates that
    Realised gain from disposal of a foreign branch                                                             -          1,283   a substantial portion of Group’s earnings, primarily from Kuwait and Bahrain, will be subject to additional income taxes under Pillar
                                                                                                                                   2 regulations. A reasonable estimate of the additional tax cannot be provided at this stage, as the relevant tax legislation is yet to be
    Dividend income                                                                                         2,570          2,272
                                                                                                                                   introduced in Kuwait and some other jurisdictions.
    Share of results of associates                                                                            765           786

    Other investment income                                                                                 5,240          8,640

                                                                                                           27,466        15,736




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    10     EARNINGS PER SHARE                                                                                                                    13       LOANS, ADVANCES AND ISLAMIC FINANCING TO CUSTOMERS

    Basic earnings per share is calculated by dividing the profit for the year attributable to shareholders of the Bank (adjusted for interest
                                                                                                                                                                                                  Middle
    and profit paid on Perpetual Tier 1 Capital Securities and Sukuk) by the weighted average number of shares outstanding during the year
                                                                                                                                                                                                East and           North
    net of treasury shares. There are no dilutive potential shares that are convertible into shares.                                             2023
                                                                                                                                                                                             North Africa        America      Europe & UK              Asia          Others             Total
                                                                                                                                                                                                KD 000’s         KD 000’s         KD 000’s         KD 000’s         KD 000’s         KD 000’s
                                                                                                                       2023            2022
                                                                                                                                                 Corporate                                    11,807,679          606,107        1,912,542          658,681          436,341      15,421,350
                                                                                                                    KD 000’s        KD 000’s
                                                                                                                                                 Retail                                        7,718,323                  -           4,181                 -               -      7,722,504
    Profit for the year attributable to shareholders of the Bank                                                    560,620          509,085
                                                                                                                                                 Loans, advances and Islamic
    Less: Interest paid on Perpetual Tier 1 Capital Securities                                                      (18,224)         (18,119)    financing to customers                       19,526,002          606,107        1,916,723          658,681          436,341      23,143,854
    Less: Profit distribution on Perpetual Tier 1 Sukuk by a subsidiary                                                                          Provision for credit losses                                                                                                        (862,850)
    attributable to shareholders of the Bank                                                                         (3,664)          (3,642)
                                                                                                                                                                                                                                                                                  22,281,004
                                                                                                                    538,732          487,324

    Weighted average number of shares outstanding during the year net of treasury shares (thousand)               7,929,946        7,929,946
                                                                                                                                                                                                  Middle
    Basic earnings per share                                                                                          68 Fils          61 fils                                                  East and            North
                                                                                                                                                 2022
                                                                                                                                                                                             North Africa        America       Europe & UK             Asia          Others             Total
    Earnings per share calculations for 2022 have been adjusted to take account of the bonus shares issued in 2023.                                                                             KD 000’s         KD 000’s         KD 000’s         KD 000’s         KD 000’s         KD 000’s
                                                                                                                                                 Corporate                                    11,145,896          599,238        1,638,332          455,489          378,088      14,217,043
    11     CASH AND SHORT TERM FUNDS
                                                                                                                                                 Retail                                        7,604,694                  -           4,620                 -                -     7,609,314
                                                                                                                       2023            2022      Loans, advances and Islamic
                                                                                                                    KD 000’s        KD 000’s     financing to customers                       18,750,590          599,238        1,642,952          455,489          378,088      21,826,357

    Cash on hand                                                                                                    165,937          213,598     Provision for credit losses                                                                                                        (827,941)

    Current account with other banks                                                                              1,525,474        2,925,399                                                                                                                                      20,998,416

    Money at call                                                                                                   635,106          487,281     In March 2007, the Central Bank of Kuwait issued a circular amending the basis of making general provisions on facilities changing the
    Balances and deposits with the Central Bank of Kuwait                                                         1,526,210        1,124,507     minimum rate from 2% to 1% for cash facilities and 0.5% for non-cash facilities. The required rates were effective from 1 January 2007
                                                                                                                                                 on the net increase in facilities, net of certain restricted categories of collateral, during the reporting period. Pending further directive
    Deposits and Murabaha with banks maturing within seven days                                                     560,352          601,823     from the Central Bank of Kuwait, the general provision in excess of 1% for cash facilities and 0.5% for non-cash facilities was retained
                                                                                                                  4,413,079        5,352,608     as general provision.

    Expected credit losses                                                                                          (28,379)         (29,156)

                                                                                                                  4,384,700        5,323,452

    12     DEPOSITS WITH BANKS
                                                                                                                       2023            2022
                                                                                                                    KD 000’s        KD 000’s

    Deposits with the Central Bank of Kuwait                                                                        115,969           97,627

    Deposits with other banks                                                                                     1,203,256        1,395,489

                                                                                                                  1,319,225        1,493,116

    Expected credit losses                                                                                           (1,104)          (2,830)

                                                                                                                  1,318,121        1,490,286



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    13 LOANS, ADVANCES AND ISLAMIC FINANCING TO CUSTOMERS (continued)                                                                           13 LOANS, ADVANCES AND ISLAMIC FINANCING TO CUSTOMERS (continued)




    Provisions for credit losses on cash facilities are as follows:                                                                             Analysis of total provision charge (release) for credit losses is given below:


                                                                  Specific                       General                    Total                                                                             Specific                       General                          Total

                                                               2023             2022        2023              2022       2023          2022                                                                2023             2022          2023            2022           2023            2022
                                                            KD 000’s         KD 000’s    KD 000’s          KD 000’s   KD 000’s      KD 000’s                                                            KD 000’s         KD 000’s      KD 000’s        KD 000’s       KD 000’s        KD 000’s

    Balance at beginning of the year                         167,921          123,857     660,020          509,667    827,941        633,524    Cash facilities                                           45,052         (157,433)       36,519        151,684          81,571          (5,749)

    Provided (release) during the year                        45,052         (157,433)     36,519          151,684     81,571         (5,749)   Non cash facilities                                         (507)          10,637            701            462             194         11,099

    Amounts (written off) recovered net of exchange                                                                                             Provision charge (release) for credit losses              44,545         (146,796)       37,220        152,146          81,765           5,350
    movements                                               (47,700)          201,497          1,038        (1,331)   (46,662)       200,166

    Balance at end of the year                               165,273          167,921     697,577          660,020    862,850        827,941
                                                                                                                                                Non-performing loans, advances and Islamic financing to customers and related provisions are as follows:


    Further analysis of specific provision based on class of financial asset is given below:                                                                                                                                                                             2023            2022
                                                                                                                                                                                                                                                                      KD 000’s        KD 000’s

                                                                                                                                                Loans, advances and Islamic financing to customers                                                                     318,386         310,046
                                                                 Corporate                        Retail                    Total
                                                                                                                                                Provisions                                                                                                             159,150         159,870
                                                               2023             2022        2023              2022       2023          2022
                                                            KD 000’s         KD 000’s    KD 000’s          KD 000’s   KD 000’s      KD 000’s    The fair value of collateral that the Group holds relating to loans, advances and Islamic financing to customers individually determined to
    Balance at beginning of the year                          72,002           42,469      95,919           81,388    167,921        123,857    be non-performing at 31 December 2023 amounts to KD 172,260 thousand (2022: KD 197,822 thousand). The collateral consists of cash,
                                                                                                                                                securities, bank guarantees and properties.
    Provided (release) during the year                        12,955         (184,247)     32,097           26,814     45,052       (157,433)
                                                                                                                                                The available provision on non-cash facilities of KD 40,540 thousand (2022: KD 40,344 thousand) is included under other liabilities (Note
    Amounts (written off) recovered net of exchange
                                                                                                                                                18). The total provision for cash and non cash credit facilities in accordance with CBK guidelines amounted to KD 903,390 thousand as at
    movements                                               (21,892)          213,780    (25,808)          (12,283)   (47,700)       201,497
                                                                                                                                                31 December 2023 (31 December 2022: KD 868,285 thousand).
    Balance at end of the year                                63,065           72,002     102,208           95,919    165,273        167,921
                                                                                                                                                The Expected Credit Losses (“ECL”) on credit facilities determined under IFRS 9 in accordance to the CBK guidelines amounted to
                                                                                                                                                KD 615,659 thousand as at 31 December 2023 (2022: KD 577,435 thousand). CBK guidelines prescribe certain parameters to determine
                                                                                                                                                the ECL on credit facilities such as floors for estimating Probability of Default (PD), eligible collateral with haircuts for determining Loss
                                                                                                                                                Given Default (LGD), deemed minimum maturity for Stage 2 exposures, 100% credit conversion factors for utilised cash and non-cash
                                                                                                                                                facilities, Stage 3 ECLs at 100% of the defaulted exposure net of eligible collateral after applying applicable haircuts etc.




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    13 LOANS, ADVANCES AND ISLAMIC FINANCING TO CUSTOMERS (continued)                                                                                13 LOANS, ADVANCES AND ISLAMIC FINANCING TO CUSTOMERS (continued)




    An analysis of the carrying amounts of credit facilities by credit quality, and the corresponding ECL based on the staging criteria under IFRS   Ageing analysis of past due or impaired Loans, advances and Islamic financing to customers:
    9 in accordance to the CBK guidelines is as follows:


                                                                                                                                                                                                                Corporate                       Retail                           Total
                                                                                           Stage 1        Stage 2        Stage 3           Total
    2023                                                                                  KD 000’s       KD 000’s       KD 000’s        KD 000’s                                                       Past due and                Past due and                   Past due and
                                                                                                                                                                                                       not impaired       Impaired not impaired          Impaired not impaired           Impaired
    High                                                                               19,239,616         780,821                -   20,020,437                                                            KD 000’s       KD 000’s     KD 000’s          KD 000’s     KD 000’s           KD 000’s
    Standard                                                                            2,099,895         705,136                -    2,805,031      2023

    Impaired                                                                                      -              -       318,386        318,386      Up to 30 days                                           13,145           7,773        39,738            746         52,883            8,519

    Loans, advances and Islamic financing to customers                                 21,339,511       1,485,957        318,386     23,143,854      31 - 60 days                                             8,477             -          22,172            120         30,649              120

    Contingent liabilities (Note 25)                                                    3,895,079         708,129         12,703      4,615,911      61 - 90 days                                             3,112             -           6,148             89          9,260               89
                                                                                                                                                     91-180 days                                                 -           26,525            -          27,681             -            54,206
    Commitments (revocable and irrevocable) to extend credit                            8,046,514       1,010,524           1,175     9,058,213
                                                                                                                                                     More than 180 days                                          -          147,442            -         108,010             -           255,452
    ECL allowance for credit facilities                                                   195,114         174,258        246,287        615,659
                                                                                                                                                                                                             24,734         181,740        68,058        136,646         92,792          318,386



                                                                                           Stage 1        Stage 2         Stage 3          Total
                                                                                                                                                                                                                Corporate                       Retail                           Total
    2022                                                                                  KD 000’s       KD 000’s        KD 000’s       KD 000’s
                                                                                                                                                                                                       Past due and                Past due and                   Past due and
    High                                                                               18,187,036         862,868                -   19,049,904
                                                                                                                                                                                                       not impaired       Impaired not impaired          Impaired not impaired           Impaired
    Standard                                                                            1,509,061         957,346                -    2,466,407                                                            KD 000’s       KD 000’s     KD 000’s          KD 000’s     KD 000’s           KD 000’s

    Impaired                                                                                       -              -      310,046        310,046      2022

    Loans, advances and Islamic financing to customers                                 19,696,097       1,820,214        310,046     21,826,357      Up to 30 days                                           96,722          12,422        31,769             23       128,491            12,445
                                                                                                                                                     31 - 60 days                                             2,735             -          20,251               4        22,986                4
    Contingent liabilities (Note 25)                                                    3,799,942         655,399         12,045      4,467,386
                                                                                                                                                     61 - 90 days                                             4,652             -           7,079               3        11,731                3
    Commitments (revocable and irrevocable) to extend credit                            7,505,629       1,165,237                6    8,670,872
                                                                                                                                                     91-180 days                                                 -           47,028            -          22,439             -            69,467
    ECL allowance for credit facilities                                                   169,351         169,228        238,856        577,435
                                                                                                                                                     More than 180 days                                          -          124,931            -         103,196             -           228,127
                                                                                                                                                                                                           104,109          184,381        59,099        125,665       163,208           310,046

                                                                                                                                                     Of the aggregate amount of gross past due or impaired loans, advances and Islamic financing to customers, the fair value of collateral that
                                                                                                                                                     the Group held as at 31 December 2023 was KD 227,510 thousand (2022: KD 211,212 thousand).




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    13 LOANS, ADVANCES AND ISLAMIC FINANCING TO CUSTOMERS (continued)




    An analysis of the changes in the ECL in relation to credit facilities (cash and non-cash facilities) computed under IFRS 9 in accordance to   14     FINANCIAL INVESTMENTS
    the CBK guidelines is as follows:
                                                                                                                                                   The table below provides the details of the categorisation of financial investments:


                                                                                         Stage 1        Stage 2         Stage 3          Total                                                                                                  Fair value      Fair value
                                                                                        KD 000’s       KD 000’s        KD 000’s       KD 000’s                                                                                              through other         through
                                                                                                                                                   2023                                                                  Amortised        comprehensive      statement of
    ECL allowance as at 1 January 2023                                                   169,351        169,228        238,856        577,435
                                                                                                                                                                                                                              cost                income          income         Total
    Transfer between stages                                                                                                                                                                                               KD 000’s               KD 000’s        KD 000’s     KD 000’s

       Transfer from Stage 1                                                              (5,100)          3,435          1,665               -    Investment securities
                                                                                                                                                   Debt securities - Government (Non Kuwait)                              1,073,186            2,959,018                 -   4,032,204
       Transfer from Stage 2                                                              34,837        (50,082)         15,245               -
                                                                                                                                                   Debt securities - Non Government                                                -           2,560,626          17,979     2,578,605
       Transfer from Stage 3                                                              12,503           1,858       (14,361)               -
                                                                                                                                                   Equities                                                                        -              40,987          34,767       75,754
    Amounts recovered (written off) net of exchange movements                                 143            232       (46,958)       (46,583)     Other investments                                                               -                     -       217,184      217,184
    Net (decrease) increase in ECL for the year                                          (16,620)        49,587         51,840          84,807                                                                            1,073,186            5,560,631         269,930     6,903,747
    At 31 December 2023                                                                  195,114        174,258        246,287        615,659      Expected credit losses                                                  (18,926)                      -               -    (18,926)
                                                                                                                                                                                                                          1,054,260            5,560,631         269,930     6,884,821
                                                                                                                                                   Central Bank of Kuwait bonds                                             856,815                      -               -    856,815
                                                                                                                                                   Kuwait Government treasury bonds                                         194,111                      -               -    194,111
                                                                                         Stage 1        Stage 2        Stage 3          Total
                                                                                                                                                                                                                          2,105,186            5,560,631         269,930     7,935,747
                                                                                        KD 000’s       KD 000’s       KD 000’s       KD 000’s

    ECL allowance as at 1 January 2022                                                   134,762        163,737        163,296        461,795

    Transfer between stages                                                                                                                                                                                                                    Fair value       Fair value
                                                                                                                                                                                                                                           through other          through
       Transfer from Stage 1                                                              (5,870)          2,590          3,280               -    2022                                                                  Amortised        comprehensive      statement of
       Transfer from Stage 2                                                              24,258        (39,667)        15,409                -                                                                               cost               income           income         Total
                                                                                                                                                                                                                          KD 000’s              KD 000’s         KD 000’s     KD 000’s
       Transfer from Stage 3                                                               4,132            877         (5,009)               -
                                                                                                                                                   Investment securities
    Amounts (written off) recovered net of exchange movements                               (177)               -      200,878        200,701      Debt securities - Government (Non Kuwait)                                929,170            2,320,660                 -   3,249,830
    Net increase(decrease) in ECL for the year                                            12,246         41,691      (138,998)        (85,061)     Debt securities - Non Government                                                -           2,065,075          17,671     2,082,746

    At 31 December 2022                                                                  169,351        169,228        238,856        577,435      Equities                                                                        -              37,168          31,552       68,720
                                                                                                                                                   Other investments                                                               -                     -       249,938      249,938
                                                                                                                                                                                                                            929,170            4,422,903         299,161     5,651,234
                                                                                                                                                   Expected credit losses                                                  (16,562)                      -               -    (16,562)
                                                                                                                                                                                                                            912,608            4,422,903         299,161     5,634,672
                                                                                                                                                   Central Bank of Kuwait bonds                                             881,241                      -               -    881,241
                                                                                                                                                   Kuwait Government treasury bonds                                         211,629                      -               -    211,629
                                                                                                                                                                                                                          2,005,478            4,422,903         299,161     6,727,542




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    14 FINANCIAL INVESTMENTS (continued)                                                                                                       14 FINANCIAL INVESTMENTS (continued)




    The Group has classified certain unquoted equity investments at fair value through other comprehensive income on the basis that these      An analysis of changes in the gross carrying amount and the corresponding Expected Credit Losses in relation to Investment in debt
    are not held for trading. The dividend received on such investments during 2023 was KD 1,520 thousand (2022: KD 1,426 thousand).           securities are as follows:
                                                                                                                                                                                                                                 Stage 1        Stage 2       Stage 3          Total
    An analysis of the carrying amounts of investments in debt securities, by credit quality, and the corresponding ECL based on the staging
                                                                                                                                               2023                                                                             KD 000’s       KD 000’s      KD 000’s       KD 000’s
    criteria under IFRS 9 in accordance to the CBK guidelines is as follows:
                                                                                                                                               Gross carrying amount as at 1 January 2023                                      5,126,350       188,078            477     5,314,905
                                                                                       Stage 1        Stage 2        Stage 3         Total     Assets purchased/(de-recognised) during the year -Net                           1,198,327        (1,436)              -    1,196,891
    2023                                                                              KD 000’s       KD 000’s       KD 000’s      KD 000’s
                                                                                                                                               Fair value and exchange movements                                                  80,762            278            (6)       81,034
    High                                                                             5,167,946               -              -    5,167,946
                                                                                                                                               At 31 December 2023                                                             6,405,439       186,920            471     6,592,830
    Standard                                                                         1,237,493        186,920               -    1,424,413

    Impaired                                                                                  -              -           471           471

    Investments in debt securities                                                   6,405,439        186,920            471     6,592,830
                                                                                                                                                                                                                                 Stage 1        Stage 2       Stage 3          Total
    ECL allowance for debt securities                                                   16,691         18,228          8,305        43,224     2022                                                                             KD 000’s       KD 000’s      KD 000’s       KD 000’s

                                                                                                                                               Gross carrying amount as at 1 January 2022                                      4,383,442       242,127            897     4,626,466

                                                                                                                                               Assets purchased/(de-recognised) during the year -Net                           1,103,411       (55,639)              -    1,047,772

                                                                                       Stage 1        Stage 2        Stage 3         Total     Fair value and exchange movements                                               (360,503)          1,590          (420)     (359,333)
    2022                                                                              KD 000’s       KD 000’s       KD 000’s      KD 000’s
                                                                                                                                               At 31 December 2022                                                             5,126,350       188,078            477     5,314,905
    High                                                                             3,770,532               -              -    3,770,532

    Standard                                                                         1,355,818       188,078                -    1,543,896
                                                                                                                                               There were no transfers between stage 1, stage 2 and stage 3.
    Impaired                                                                                  -              -           477           477

    Investments in debt securities                                                   5,126,350       188,078             477     5,314,905

    ECL allowance for debt securities                                                   16,676         15,778          8,269        40,723



    ECL allowance for investments in debt securities as at 31 December 2023 consists of KD 18,926 thousand (2022: KD 16,562 thousand)
    in respect of debt securities carried at amortised cost and KD 24,298 thousand (2022: KD 24,161 thousand) in respect of debt
    securities carried at fair value through other comprehensive income.

    Investments in debt securities carried at fair value through statement of income are not subject to Expected Credit Losses. Central Bank
    of Kuwait bonds and Kuwait Government treasury bonds are also not subject to Expected Credit Losses.




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    14 FINANCIAL INVESTMENTS (continued)




                                                      Stage 1    Stage 2    Stage 3      Total     15      GOODWILL AND OTHER INTANGIBLE ASSETS
    2023                                             KD 000’s   KD 000’s   KD 000’s   KD 000’s
                                                                                                                                                             Intangible
    ECL allowance as at 1 January 2023                16,676     15,778      8,269     40,723
                                                                                                                                                  Goodwill      Assets       Total
    Impact due to purchase/(de-recognition)            2,939         (7)          -     2,932                                                     KD 000’s    KD 000’s    KD 000’s

    Re-measurement of ECL                             (2,924)     2,457         36       (431)      Cost

    Net charge to consolidated statement of income        15      2,450         36      2,501       At 1 January 2023                             382,252     213,955     596,207

    At 31 December 2023                               16,691     18,228      8,305     43,224       Exchange rate adjustments                      (8,480)     (2,586)    (11,066)

                                                                                                    At 31 December 2023                           373,772     211,369     585,141

                                                                                                    Accumulated amortisation & impairment

                                                      Stage 1    Stage 2    Stage 3      Total      At 1 January 2023                              20,199      41,072      61,271
    2022                                             KD 000’s   KD 000’s   KD 000’s   KD 000’s
                                                                                                    Amortisation charge for the year                     -       1,647      1,647
    ECL allowance as at 1 January 2022                14,433     15,126      8,173     37,732
                                                                                                    Impairment charge for the year                 20,174             -    20,174
    Impact due to purchase/(de-recognition)            4,943       (195)          -     4,748
                                                                                                    Exchange rate adjustments                      (3,781)     (2,586)     (6,367)
    Re-measurement of ECL                             (2,700)       847         96     (1,757)
                                                                                                    At 31 December 2023                            36,592      40,133      76,725
    Net charge to consolidated statement of income     2,243        652         96      2,991
                                                                                                    Net book value
    At 31 December 2022                               16,676     15,778      8,269     40,723
                                                                                                    At 31 December 2023                           337,180     171,236     508,416



                                                                                                                                                             Intangible
                                                                                                                                                  Goodwill      Assets       Total
                                                                                                                                                  KD 000’s    KD 000’s    KD 000’s

                                                                                                    Cost

                                                                                                    At 1 January 2022                             406,734     221,194     627,928

                                                                                                    Exchange rate adjustments                     (24,482)     (7,239)    (31,721)

                                                                                                    At 31 December 2022                           382,252     213,955     596,207

                                                                                                    Accumulated amortisation & impairment

                                                                                                    At 1 January 2022                                    -     46,664      46,664

                                                                                                    Amortisation charge for the year                     -       1,647      1,647

                                                                                                    Impairment charge for the year                 20,199             -    20,199

                                                                                                    Exchange rate adjustments                            -     (7,239)     (7,239)

                                                                                                    At 31 December 2022                            20,199      41,072      61,271

                                                                                                    Net book value

                                                                                                    At 31 December 2022                           362,053     172,883     534,936




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    15 GOODWILL AND OTHER INTANGIBLE ASSETS (continued)




    Net book value of goodwill as at 31 December 2023 includes KD 334,531 thousand (2022: KD 334,531 thousand) in respect of Boubyan             16       OTHER ASSETS
    Bank K.S.C.P., KD Nil (2022: KD 25,149 thousand) in respect of National Bank of Kuwait - Egypt S.A.E. and KD 2,649 thousand (2022: KD
    2,373 thousand) in respect of Credit Bank of Iraq S.A.
                                                                                                                                                                                                                             2023        2022
                                                                                                                                                                                                                          KD 000’s    KD 000’s
    Net book value of intangible assets as at 31 December 2023 includes banking licences and brand amounting to KD 158,623 thousand
    (2022: KD 158,623 thousand), customer relationships and core deposits amounting to KD 5,903 thousand (2022: KD 7,550 thousand)               Interest receivable                                                      203,757     147,900
    and brokerage licences amounting to KD 6,710 thousand (2022: KD 6,710 thousand). Intangible assets with indefinite useful life
                                                                                                                                                 Positive fair value of derivatives (Note 26)                             310,446     355,308
    amounts to KD 165,333 thousand (2022: KD 165,333 thousand). Intangible assets with definite useful life amounting to KD 5,903
    thousand (2022: KD 7,550 thousand) are amortised over a period of 15 years.                                                                  Sundry debtors and other receivables                                      51,084      58,039

                                                                                                                                                 Investment in associates                                                   2,809       3,119
    Impairment testing for goodwill and intangible assets with indefinite useful life
    The carrying value of goodwill and intangible assets with indefinite useful life are tested for impairment on an annual basis (or more       Investment properties                                                     73,521      33,618
    frequently if evidence exists that goodwill or intangible assets might be impaired) by estimating the recoverable amount of the cash
                                                                                                                                                 Properties acquired on settlement of debts                                 7,579       7,645
    generating unit (CGU) to which these items are allocated using value-in-use calculations unless fair value based on an active market
    price is higher than the carrying value of the CGU. The value in use calculations use pre-tax cash flow projections based on financial       Government grant receivable                                                     -    139,582
    budgets approved by management over a five years period and a relevant terminal growth rate. These cash flows are then discounted to
                                                                                                                                                 Others                                                                    80,995      43,796
    derive a net present value which is compared to the carrying value. The discount rate used is pre-tax and reflects specific risks relating
    to the relevant cash generating unit.                                                                                                                                                                                 730,191     789,007

    Since the fair value less cost of disposal of the Group’s holding in Boubyan Bank K.S.C.P. is higher than its carrying value, there is no
    indication that the associated goodwill or intangible assets with indefinite useful life is impaired. Recoverable amount of other goodwill   17     OTHER BORROWED FUNDS
    and other intangible assets with indefinite useful life is calculated using value-in-use method based on following inputs. The goodwill
    in respect of National Bank of Kuwait - Egypt S.A.E. is allocated to a single CGU which consists of identifiable net assets including
    intangible assets of National Bank of Kuwait - Egypt S.A.E. A discount rate of 28.6% (2022: 21.5%) and a terminal growth rate of 7%
                                                                                                                                                                                                                             2023        2022
    (2022: 7%) are used to estimate the recoverable amount of this cash generating unit. A discount rate of 13% (2022: 13%) and terminal
                                                                                                                                                                                                                          KD 000’s    KD 000’s
    growth rate of 2.4% (2022: 2.6%) are used to estimate the recoverable amount of the brokerage licence in Kuwait. The Group has also
    performed a sensitivity analysis by varying these input factors by a reasonable margin.                                                      Global Medium Term Notes - USD 1,000,000 thousand                        305,338     304,459

                                                                                                                                                 Global Medium Term Sukuk - USD 750,000 thousand                          230,063     231,947
    Based on such analysis, the Group has recorded an impairment loss of KD 20,174 thousand (2022: KD 20,199 thousand) relating to the
    goodwill in respect of National Bank of Kuwait – Egypt S.A.E.                                                                                Global Medium Term Sukuk - USD 500,000 thousand                          146,451     144,896

                                                                                                                                                 Subordinated Tier 2 bonds - KD 150,000 thousand                          149,800     149,638
    There are no indications that the remaining goodwill or intangible assets with indefinite useful life are impaired.
                                                                                                                                                 Subordinated Tier 2 bonds - USD 300,000 thousand                          91,902      91,757

                                                                                                                                                 Medium and short term borrowing from banks and financial institutions    407,452     320,866

                                                                                                                                                                                                                         1,331,006   1,243,563




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    17 OTHER BORROWED FUNDS (continued)




    Global Medium-Term senior unsecured notes of USD 1,000,000 thousand were issued on 15 September 2021, under the Bank’s USD                  18       OTHER LIABILITIES
    5 billion Global Medium Term Note programme, maturing on 15 September 2027 with first optional redemption date on 15 September
    2026. These notes were issued at 99.518 per cent of nominal value and carry a fixed interest rate of 1.625% per annum payable
    semi-annually in arrears until the first optional redemption date, followed by a floating rate of SOFR + 105 basis points paid quarterly
                                                                                                                                                                                                                                                              2023               2022
    thereafter.
                                                                                                                                                                                                                                                           KD 000’s           KD 000’s

    Global Medium-Term senior unsecured Sukuk of USD 750,000 thousand were issued by Boubyan Bank K.S.C.P, a subsidiary of the Group            Interest payable                                                                                            317,428           150,414
    in February 2020, with a tenor of 5 years, issued at par and carry at a fixed profit rate of 2.593% per annum, payable semi-annually in
                                                                                                                                                Income received in advance                                                                                   56,362            48,740
    arrears.
                                                                                                                                                Taxation                                                                                                     56,436            41,442
    Global Medium-Term senior unsecured Sukuk of USD 500,000 thousand were issued by Boubyan Bank K.S.C.P, a subsidiary of the Group
                                                                                                                                                Provision on non-cash facilities (Note 13)                                                                   40,540            40,344
    in March 2022, with a tenor of 5 years, issued at par and carry at a fixed profit rate of 3.389% per annum, payable semi-annually in
    arrears.                                                                                                                                    Accrued expenses                                                                                             82,221            67,313

                                                                                                                                                Negative fair value of derivatives (Note 26)                                                                 62,752            40,761
    Subordinated Tier 2 bonds of KD 150,000 thousand were issued in November 2020 with a tenor of up to 10 years, comprising equal
    tranches of fixed rate bonds and floating rate bonds. Fixed rate bonds carry an interest rate of 4.75% per annum for the first five years   Post-employment benefit                                                                                      53,257            54,208
    and will be reset on the fifth year anniversary of date of issuance. Floating-rate bonds carry an interest rate of 3% per annum over the
                                                                                                                                                Lease liabilities                                                                                            32,972            25,728
    CBK discount rate, reset semi-annually, subject to a maximum of 1% over the prevailing rate for the fixed-rate bonds. These bonds
    are unsecured and callable in whole or in part at the option of the Bank after 5 years from the date of issuance, subject to certain        Others                                                                                                      264,155           252,363
    conditions and regulatory approvals.
                                                                                                                                                                                                                                                            966,123           721,313
    Subordinated Tier 2 bonds of USD 300,000 thousand were issued in November 2020 with a tenor of up to 10 years, carry a fixed rate of
    2.5% per annum for the first five years and will be reset on the fifth year anniversary of date of issuance. These bonds are unsecured
    and callable in whole or in part at the option of the Bank after 5 years from the date of issuance, subject to certain conditions and       Post-Employment Benefit
    regulatory approvals.                                                                                                                       The present value of defined benefit obligations and the related current and past service cost was determined by actuarial valuations
                                                                                                                                                using the projected unit credit method. The significant inputs used in the actuarial valuation are a discount rate of 5.94% (2022:
                                                                                                                                                5.25%), future salary increases in line with expected consumer price inflation and demographic assumptions of mortality, withdrawal,
                                                                                                                                                retirement and disability rates.

                                                                                                                                                The movement in the post-employment benefit was as follows:



                                                                                                                                                                                                                                                              2023               2022
                                                                                                                                                                                                                                                           KD 000’s           KD 000’s

                                                                                                                                                Balance at 1 January                                                                                         54,208            56,822

                                                                                                                                                Net charge during the year                                                                                    9,981            11,106

                                                                                                                                                Paid during the year                                                                                         (6,963)           (5,468)

                                                                                                                                                Actuarial gain in respect of defined benefit plans                                                           (3,969)           (8,252)

                                                                                                                                                Balance at 31 December                                                                                       53,257            54,208




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                                                                                                                                               19 SHARE CAPITAL AND RESERVES (continued)




    19     SHARE CAPITAL AND RESERVES                                                                                                          d)     Treasury shares and Treasury share reserve

    a)     Share capital                                                                                                                       The balance in the treasury share reserve account is not available for distribution. Further, an amount equal to the cost of treasury
                                                                                                                                               shares is not available for distribution from general reserve throughout the holding period of these treasury shares.
    The authorised share capital of the Bank comprises 10,000,000,000 (2022: 10,000,000,000) shares of 100 fils each.

                                                                                                                                               e)     Other reserves
                                                                                                                    2023              2022
                                                                                                                 KD 000’s          KD 000’s
                                                                                                                                                                                                                                                                                KD 000’s
    Issued and fully paid in cash:
                                                                                                                                                                                                                   Foreign               Share
    7,929,945,620 (2022: 7,552,329,162) shares of 100 fils each                                                  792,995            755,233                                                                       currency Cumulative    based Actuarial           Proposed         Total
                                                                                                                                                                                            General    Retained translation changes in payment valuation                cash       other
    Annual General Meeting of the shareholders held on 18 March 2023 approved an increase of KD 37,762 thousand (2022: KD 35,964                                                            reserve    earnings    reserve fair values reserve reserve              dividend    reserves
    thousand) in the issued and fully paid share capital of the Bank by issuing 377,616,458 (2022: 359,634,722) bonus shares representing
                                                                                                                                               Balance as at 1 January 2023                117,058 1,550,747 (336,789)            79,139      14,409      1,014     188,808 1,614,386
    5% of the share capital. The issued and fully paid-up share capital increased from KD 7,552,329,162 to KD 7,929,945,620 and the
    change in share capital was recorded in the commercial register on 20 March 2023.                                                          Profit for the year                                 -   560,620              -            -          -          -           -    560,620
                                                                                                                                               Other comprehensive (loss) income                   -           -   (15,049)         4,414           -     3,500            -     (7,135)
    The movement in ordinary shares in issue during the year was as follows:
                                                                                                                                               Total comprehensive income (loss)                   -   560,620     (15,049)         4,414           -     3,500            -    553,485

                                                                                                                     2023             2022     Transfer to statutory reserve (Note 19b)            -   (18,881)            -             -          -          -           -    (18,881)

    Number of shares in issue as at 1 January                                                              7,552,329,162      7,192,694,440    Final cash dividend paid (2022)                     -           -           -             -          -          - (188,808) (188,808)
                                                                                                                                               Interim cash dividend paid - 10 fils per
    Bonus issue                                                                                              377,616,458       359,634,722
                                                                                                                                               share (Note 20)                                     -   (79,299)            -             -          -          -           -    (79,299)
    Number of shares in issue as at 31 December                                                            7,929,945,620      7,552,329,162
                                                                                                                                               Proposed final cash dividend - 25 fils
                                                                                                                                               per share (Note 20)                                 - (198,249)             -             -          -          -    198,249             -
    b)     Statutory reserve
                                                                                                                                               Proposed bonus shares (Note 20)                     -   (39,649)            -             -          -          -           -    (39,649)
    The Board of Directors recommended a transfer of KD 18,881 thousand (2022: KD 17,981 thousand) to the statutory reserve. This is           Interest paid on perpetual Tier 1 Capital
    in compliance with the Bank’s Articles of Association and the Companies Law, as amended, which require a minimum of 10% of profit          Securities                                          -   (18,224)            -             -          -          -           -    (18,224)
    for the year attributable to the shareholders of the Bank before KFAS, NLST and Zakat to be transferred to a non-distributable statutory
                                                                                                                                               Profit distribution on Perpetual Tier 1
    reserve until such time as this reserve exceeds 50% of the Bank’s issued capital. Accordingly, the transfer to statutory reserve, which
                                                                                                                                               Sukuk by a subsidiary                               -    (3,664)            -             -          -          -           -     (3,664)
    is less than 10% of the profit for the year, is that amount required to make the statutory reserve in excess of 50% of the Bank’s issued
    capital.                                                                                                                                   Change in holding in subsidiaries                   -    (3,906)            -             -          -          -           -     (3,906)
                                                                                                                                               Other movements                                     -      1,200            -             -          -          -           -       1,200
    Distribution of this reserve is limited to the amount required to enable payment of a dividend of 5% of share capital in years when
    accumulated profits are not sufficient for the payment of a dividend of that amount.                                                       At 31 December 2023 117,058 1,750,695 (351,838) 83,553 14,409                                              4,514     198,249 1,816,640
                                                                                                                                               												
    c)     Share premium account

    The balance in the share premium account is not available for distribution.




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    19 SHARE CAPITAL AND RESERVES (continued)
    e) Other reserves (continued)



                                                                                                                                                        KD 000’s   20      DIVIDEND

                                                                            Foreign               Share                                                            The Board of Directors approved distribution of an interim cash dividend 10 fils per share amounting to KD 79,299 thousand on the
                                                                           currency Cumulative   based                     Actuarial Proposed              Total   outstanding shares as at 30 June 2023 (30 June 2022: KD 75,523 thousand for 10 fils per share), which was paid subsequently.
                                               General         Retained translation changes in payment                     valuation     cash              other
                                               reserve         earnings     reserve fair values reserve                      reserve dividend           reserves   The Board of Directors recommended distribution of final cash dividend of 25 fils per share (2022: 25 fils per share) and bonus shares
    Balance as at 1 January 2022               117,058 1,385,277               (214,176)       74,648         14,409        (6,289)       215,781 1,586,708        of 5% (2022: 5%) on outstanding shares as at 31 December 2023. The final cash dividend and bonus shares, if approved by the
                                                                                                                                                                   Shareholders’ Annual General Meeting, shall be payable to the shareholders after obtaining the necessary regulatory approvals.
    Profit for the year                                -        509,085                -            -              -              -             -       509,085
    Other comprehensive (loss) income                  -               -       (122,613)        4,491              -         7,303              -     (110,819)
    Total comprehensive income (loss)                  -        509,085        (122,613)        4,491              -         7,303              -       398,266    21      PERPETUAL TIER 1 CAPITAL SECURITIES

    Transfer to statutory reserve (Note
    19b)                                               -        (17,981)               -            -              -              -             -       (17,981)   The Bank issued the following Perpetual Tier 1 Capital Securities (the “Capital Securities”), through wholly owned special-purpose vehicles:
    Cash dividend paid (2021)                          -               -               -            -              -              -     (215,781) (215,781)
    Interim cash dividend paid - 10 fils per                                                                                                                                                                                                                                          2023                2022
    share (Note 20)                                    -        (75,523)               -            -              -              -             -       (75,523)                                                                                                                   KD 000’s            KD 000’s

    Proposed final cash dividend - 25 fils                                                                                                                         USD 700,000 thousand (issued in February 2021 at an interest rate of 3.625% per annum, semi-
    per share (Note 20)                                -       (188,808)               -            -              -              -       188,808              -   annually in arrears, until the first reset date in February 2027, redeemable at the option of the Bank
                                                                                                                                                                   in August 2026)                                                                                                  211,294            211,294
    Proposed bonus shares (Note 20)                    -        (37,762)               -            -              -              -             -       (37,762)
    Interest paid on perpetual Tier 1                                                                                                                              USD 750,000 thousand (issued in November 2019 at an interest rate of 4.5% per annum, semi-
    Capital Securities                                 -        (18,119)               -            -              -              -             -       (18,119)   annually in arrears, until the first reset date in November 2025, redeemable at the option of the
                                                                                                                                                                   Bank in August 2025)                                                                                             227,738            227,738
    Profit distribution on Perpetual Tier 1
    Sukuk by a subsidiary                              -         (3,642)               -            -              -              -             -        (3,642)   Balance at 31 December                                                                                           439,032            439,032

    Change in holding in subsidiaries                  -         (2,557)               -            -              -              -             -        (2,557)
    Other movements                                    -            777                -            -              -              -             -           777    The above mentioned Capital securities are subordinated, unsecured and are eligible to be classified under equity in accordance with IAS
                                                                                                                                                                   32: Financial Instruments – Presentation. Payments of interest in respect of the Capital Securities may be cancelled (in whole or in part)
    At 31 December 2022                        117,058 1,550,747               (336,789)       79,139         14,409         1,014        188,808 1,614,386        at the sole discretion of the Bank on a non-cumulative basis. Any such cancellation is not considered an event of default. Payments of
                                                                                                                                                                   interest are treated as a deduction from equity. The Capital Securities have no maturity date and are callable (in whole but not in part) at
    The general reserve was created in accordance with Bank’s Articles of Association and is freely distributable, except for the amount                           par at the option of the Bank on the first call date and on every interest payment date thereafter, subject to certain conditions.
    equivalent to the cost of treasury shares.
                                                                                                                                                                   During 2021, Boubyan Bank K.S.C.P issued “Tier 1 Sukuk”, through a Sharia’s compliant Sukuk arrangement amounting to USD 500,000
    The foreign currency translation reserve includes the exchange differences on conversion of results and financial position of all group                        thousand, callable in October 2026 and bears an expected profit rate of 3.95% per annum until the first reset date in April 2027, payable
    entities including goodwill, intangible assets and any fair value adjustments to the carrying value of assets and liabilities from their                       semi-annually in arrears.
    functional currency to the presentation currency.
                                                                                                                                                                   Tier 1 Sukuk is a perpetual security with no fixed redemption date and constitutes direct, unsecured, subordinated obligations subject
    Actuarial valuation reserve represents the gain (loss) resulting from increase in the present value of defined benefit plans due to                            to the terms and conditions of the Mudaraba Agreement .Tier 1 Sukuk is eligible to be classified under equity in accordance with IAS 32 :
    changes in actuarial assumptions.                                                                                                                              Financial Instruments – Presentation. The Parent Bank did not subscribe to the Tier 1 Sukuk issue and the total amount is included in non-
                                                                                                                                                                   controlling interest in the consolidated statement of financial position.




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                                                                                                                                                  23 FAIR VALUE OF FINANCIAL INSTRUMENTS (continued)




    22      SHARE BASED PAYMENT                                                                                                                   Level 3: valuation techniques which use inputs that have a significant effect on the recorded fair value that are not based on observable
                                                                                                                                                  market data.

    The Bank operates a cash-settled share-based compensation plan and granted options to its senior executives. These options vest if            Valuation techniques include discounted cash flow models, comparison with similar instruments for which market observable prices
    the employees remain in service for a period of three years and will be settled by cash payment determined based on the market value          exist, recent transaction information and net asset values. Assumptions and inputs used in valuation techniques include risk-free
    of the Bank’s equity shares on vesting date.                                                                                                  and benchmark interest rates, credit spreads and other premium used in estimating discount rates, bond and equity prices, foreign
                                                                                                                                                  currency exchange rates and expected price volatilities and correlations. The objective of valuation techniques is to arrive at a fair value
    The fair value of options granted during the year as determined using the Black-Scholes valuation model was KD 0.837 (2022: KD 1.020)         measurement that reflects the price that would be received to sell the asset or paid to transfer the liability in an orderly transaction
    as at the end of the year. The significant inputs into the model were a share price of KD 0.894 (2022: KD 1.078) at the measurement           between market participants at the measurement date.
    date, a standard deviation of expected share price returns of 26.06% (2022: 26.3%), option life disclosed above and annual risk free
    interest rate of 4.25% (2022: 3.5%). The volatility measured at the standard deviation of expected share price returns is based on            The Group determines whether transfers have occurred between levels in the hierarchy by reassessing categorisation (based on the
    statistical analysis of daily share prices over the last three years.                                                                         lowest level input that is significant to the fair value measurement as a whole) at the end of each reporting period. During the year
                                                                                                                                                  ended 31 December 2023, there were no transfers between level 1, level 2 and level 3.
    The following table shows the movement in number of share options during the year:
                                                                                                                                                  The following table provides the fair value measurement hierarchy of the Group’s financial instruments recorded at fair value:


                                                                                                                       2023               2022                                                                               Level 1            Level 2            Level 3             Total
                                                                                                                                                  2023
                                                                                                                No. of share       No. of share                                                                             KD 000’s           KD 000’s           KD 000’s          KD 000’s
                                                                                                                    options            options
                                                                                                                                                  Debt securities                                                         5,192,114            345,509                    -        5,537,623
    Outstanding at 1 January                                                                                      7,575,281          7,187,358
                                                                                                                                                  Equities and other investments                                              61,356           188,570              43,012           292,938
    Granted during the year                                                                                       2,875,178          2,835,231
                                                                                                                                                                                                                          5,253,470            534,079              43,012         5,830,561
    Exercised during the year                                                                                   (1,974,760)         (2,237,096)
                                                                                                                                                  Derivative financial instruments (Note 26)                                        -          247,694                    -          247,694
    Lapsed during the year                                                                                        (272,837)          (210,212)

    Outstanding at 31 December                                                                                    8,202,862          7,575,281

    The expense accrued on account of share-based compensation plans for the year amounts to KD 1,759 thousand (2022: KD 2,720                                                                                               Level 1            Level 2           Level 3              Total
                                                                                                                                                  2022
    thousand) and is included under staff expenses.                                                                                                                                                                         KD 000’s           KD 000’s          KD 000’s           KD 000’s

                                                                                                                                                  Debt securities                                                         4,076,198            327,208                    -        4,403,406

    23       FAIR VALUE OF FINANCIAL INSTRUMENTS                                                                                                  Equities and other investments                                              53,251           217,361             48,046            318,658

                                                                                                                                                                                                                          4,129,449            544,569             48,046          4,722,064

    The fair value of financial assets and financial liabilities that are traded in active markets are based on quoted market prices or dealer    Derivative financial instruments (Note 26)                                        -          314,547                    -          314,547
    price quotations. For all other financial instruments the Group determines fair values using valuation techniques.

    The Group measures fair values using the following fair value hierarchy, which reflects the significance of the inputs used in making the
    measurements:

    Level 1: quoted (unadjusted) prices in active markets for identical assets or liabilities.

    Level 2: inputs other than quoted prices included within Level 1 that are observable either directly (i.e. as prices) or indirectly (i.e.
    derived from prices). This category includes instruments valued using quoted prices for identical or similar instruments in market that
    are considered less than active or other valuation techniques in which all significant inputs are observable from market data. Debt
    securities under this category mainly include sovereign debt instruments in the Middle East & North Africa (MENA) region.




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    23 FAIR VALUE OF FINANCIAL INSTRUMENTS (continued)




    The table below analyses the movement in level 3 and the income (dividend and realised gain) generated during the year.                      24      SUBSIDIARIES

                                                                                                                                                 Principal operating subsidiaries:
                                                                                                                                   Net gains
                                                                                                                                       in the
                                                                                                                      At 31     consolidated                                                                    Country of        Principal
                              At 1 January Change in fair                            Sale/ Exchange rate          December      statement of     Name of entities                                               incorporation     business                       Percentage ownership
                                     2023         value           Additions     redemption   movements                2023           income
                                                                                                                                                                                                                                                                2023              2022
                                    KD 000’s      KD 000’s         KD 000’s        KD 000’s        KD 000’s         KD 000’s        KD 000’s
                                                                                                                                                  Boubyan Bank K.S.C.P.                                         Kuwait            Islamic Banking               60.4               60.1
    Equities and
                                                                                                                                                  National Bank of Kuwait - Egypt S.A.E.                        Egypt             Banking                       99.1               99.1
    other investments                48,046           (266)             849          (5,705)              88          43,012             2,244
                                                                                                                                                                                                                                  Investment
                                     48,046           (266)             849          (5,705)              88          43,012             2,244
                                                                                                                                                  Watani Investment Company K.S.C.(Closed)                      Kuwait            Company                      100.0               99.9

                                                                                                                                                  National Bank of Kuwait (International) PLC                   United Kingdom    Banking                      100.0             100.0

                                                                                                                                                  National Bank of Kuwait France SA                             France            Banking                      100.0             100.0
                                                                                                                                    Net gains
                                                                                                                                                                                                                                  Investment
                                                                                                                                       in the
                                                                                                                                                  NBK Banque Privée (Suisse) S.A.                               Switzerland       Management                   100.0             100.0
                                                                                                                      At 31     consolidated
                              At 1 January Change in fair                            Sale/ Exchange rate          December      statement of      National Bank of Kuwait (Lebanon) S.A.L.                      Lebanon           Banking                       85.5               85.5
                                     2022          value          Additions     redemption   movements                2022           income
                                                                                                                                                  Credit Bank of Iraq S.A.                                      Iraq              Banking                       91.0               91.0
                                    KD 000’s      KD 000’s         KD 000’s        KD 000’s        KD 000’s         KD 000’s        KD 000’s
                                                                                                                                                                                                                                  Investment
    Equities and                                                                                                                                  National Investors Group Holdings Limited                     Cayman Islands    Company                      100.0             100.0
    other investments                51,464         (4,410)           5,278          (4,364)              78          48,046              905
                                                                                                                                                                                                                                  Investment
                                     51,464         (4,410)           5,278          (4,364)              78          48,046              905     Watani Wealth Management Company                              Saudi Arabia      Management                   100.0             100.0

                                                                                                                                                  Watani Financial Brokerage Company
                                                                                                                                                  K.S.C. (Closed)                                               Kuwait            Brokerage                    100.0               98.3
    Equities and other securities included in this category mainly include strategic equity investments and private equity funds which are
    not traded in an active market. The fair values of these investments are estimated by using valuation techniques that are appropriate                                                                                         Treasury
    in the circumstances. Valuation techniques include discounted cash flow models, observable market information of comparable                   NBK GDM (Caymans) Limited                                     Cayman Islands    activities                   100.0             100.0
    companies, recent transaction information and net asset values. Significant unobservable inputs used in valuation techniques mainly
                                                                                                                                                  Bank of London and the Middle East (held through Boubyan
    include discount rate, terminal growth rate, revenue, profit estimates and market multiples such as price to book and price to earnings.
                                                                                                                                                  Bank K.S.C.P.)                                           United Kingdom         Islamic Banking               72.1               71.5
    Given the diverse nature of these investments, it is not practical to disclose a range of significant unobservable inputs.
    			
    Other financial assets and liabilities are carried at amortised cost and the carrying values are not materially different from their fair
                                                                                                                                                 At 31 December 2023, 38.1% (2022: 38.1%) of the Group’s interest in National Bank of Kuwait (Lebanon) S.A.L. was held by an
    values as most of these assets and liabilities are of short term maturities or are repriced immediately based on market movement in
                                                                                                                                                 intermediate holding company, NBK Holding (Liban) S.A.L.
    interest rates. Fair values of remaining financial assets and liabilities carried at amortised cost are estimated mainly using discounted
    cash flow models incorporating certain assumptions such as credit spreads that are appropriate in the circumstances.
                                                                                                                                                 The Bank also holds voting capital in certain special-purpose entities which have been established to manage funds and fiduciary
                                                                                                                                                 assets on behalf of the Bank’s customers. The Bank does not have a beneficial interest in the underlying assets of these companies.
    Sensitivity analysis on fair value estimations, by varying input assumptions by a reasonable margin, did not indicate any material
                                                                                                                                                 Information about the Group’s fund management activities is set out in Note 30.
    impacts on consolidated statement of financial position or consolidated statement of income.




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    24 SUBSIDIARIES (continued)




    Significant non-controlling interest exists in Boubyan Bank K.S.C.P. as follows:                                           25        COMMITMENTS AND CONTINGENT LIABILITIES


                                                                                                     2023         2022
                                                                                                  KD 000’s     KD 000’s                                                                                                                            2023                  2022
                                                                                                                                                                                                                                                KD 000’s              KD 000’s
    Accumulated balances of non-controlling interest                                               575,626     565,000
                                                                                                                                Commitments on behalf of customers for which there are corresponding
    Profit attributable to non-controlling interest                                                 27,179      20,785
                                                                                                                                liabilities by the customers concerned:

                                                                                                                                Acceptances                                                                                                     189,080               281,958
    Summarized financial information of Boubyan Bank K.S.C.P. is as follows:                                                    Letters of credit                                                                                               391,486               410,321

                                                                                                                                Guarantees                                                                                                    4,035,345             3,775,107

                                                                                                     2023         2022                                                                                                                        4,615,911             4,467,386
                                                                                                  KD 000’s     KD 000’s

    Summarized financial information                                                                                           Irrevocable commitments to extend credit amount to KD 1,327,508 thousand (2022: KD 1,024,290 thousand). This includes commitments
                                                                                                                               to extend credit which are irrevocable over the life of the facility or are revocable only in response to a material adverse change.
    Assets                                                                                        8,404,989   7,880,757
                                                                                                                               In the normal course of business, the Group has exposure to various indirect credit commitments which, though not reflected in the
    Liabilities                                                                                   7,376,154   6,901,058
                                                                                                                               consolidated statement of financial position, are subject to normal credit standards, financial controls and monitoring procedures.
    Net operating income                                                                           218,030     201,363
                                                                                                                               These credit commitments do not necessarily represent future cash requirements, since many of these commitments will expire or terminate
    Results for the year                                                                            78,221      54,273
                                                                                                                               without being funded. Credit losses, if any, which may result from exposure to such commitments are not expected to be significant.
    Other comprehensive income (loss) for the year                                                   4,819      (1,619)
                                                                                                                               The Group has commitments in respect of capital expenditure amounting to KD 85,980 thousand (2022: KD 82,124 thousand).


                                                                                                     2023        2022
                                                                                                                               26      DERIVATIVE FINANCIAL INSTRUMENTS AND HEDGE ACCOUNTING
                                                                                                  KD 000’s    KD 000’s

    Summarized cash flow information
                                                                                                                               Derivative financial instruments are financial instruments that derive their value by referring to interest rates, foreign exchange rates, index
    Operating cash flow                                                                            273,595    (166,793)
                                                                                                                               of prices or rates and credit rating or credit index. Notional principal amounts merely represent amounts to which a rate or price is applied
    Investing cash flow                                                                           (336,084)   (180,388)        to determine the amounts of cash flows to be exchanged and do not represent the potential gain or loss associated with the market or
                                                                                                                               credit risk of such instruments.
    Financing cash flow                                                                           (104,200)    312,313
                                                                                                                               Derivative financial instruments are carried at fair value in the consolidated statement of financial position. Positive fair value represents
                                                                                                                               the cost of replacing all transactions with a fair value in the Group’s favour had the rights and obligations arising from that instrument
                                                                                                                               been closed in an orderly market transaction at the reporting date. Credit risk in respect of derivative financial instruments is limited
                                                                                                                               to the positive fair value of the instruments. Negative fair value represents the cost to the Group’s counter-parties of replacing all their
                                                                                                                               transactions with the Group.

                                                                                                                               The Group deals in interest rate swaps to manage its interest rate risk on interest-bearing assets and liabilities and to provide interest rate
                                                                                                                               risk management solutions to customers. Similarly the Group deals in forward foreign exchange contracts for customers and to manage its
                                                                                                                               foreign currency positions and cash flows.

                                                                                                                               Interest rate swaps used to hedge the change in fair value of the Group’s financial assets and liabilities and which qualifies as effective
                                                                                                                               hedging instruments are disclosed as ‘held as fair value hedges’. Other interest rate swaps and forward foreign exchange contracts are
                                                                                                                               carried out for customers or used for hedging purpose but do not meet the qualifying criteria for hedge accounting. The risk exposures
                                                                                                                               on account of derivative financial instruments for customers are covered by entering into opposite transactions (back to back) with
                                                                                                                               counterparties or by other risk mitigating transactions.



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    26 DERIVATIVE FINANCIAL INSTRUMENTS AND HEDGE ACCOUNTING (continued)




    Interest rate swaps                                                                                                                            27      RELATED PARTY TRANSACTIONS
    Interest rate swaps are contractual agreements between two counter-parties to exchange interest payments on a defined principal
    amount for a fixed period of time. In cross currency interest rate swaps, the Group exchanges interest payment in two different                Related parties comprise board members and executive officers of the Bank, their close family members, companies controlled by
    currencies on a defined principal amount for a fixed period of time and also exchanges defined principal amounts in two different              them or close family members and associates of the Group. Certain related parties were customers of the Group in the ordinary course
    currencies at inception of the contract and re-exchanges principal amounts on maturity. Profit rate swaps are also included in this            of business. Transactions with related parties were made on substantially the same terms, including interest rates and collateral, as
    category.                                                                                                                                      those prevailing at the same time for comparable transactions with unrelated parties and did not involve more than a normal amount
                                                                                                                                                   of risk. Lending to Board Members and their related parties is secured by tangible collateral in accordance with regulations of Central
    Forward foreign exchange                                                                                                                       Bank of Kuwait.
    Forward foreign exchange contracts are agreements to buy or sell currencies at a specified rate and at a future date.
                                                                                                                                                   Details of the interests of related parties are as follows:
    The fair value of derivative financial instruments included in the financial records, together with their notional amounts is summarised as
    follows:
                                                                                                                                                                                                       Number of Board Members           Number of
                                                                                                                                                                                                         and Executive Officers        related parties

                                                                                                                                                                                                                 2023     2022           2023            2022        2023           2022
                                                          2023                                                       2022
                                                                                                                                                                                                                                                                  KD 000’s       KD 000’s
                                       Positive fair     Negative fair                          Positive fair      Negative fair
                                                                                                                                                   Board Members and Executive Officers
                                              value             value           Notional               value              value        Notional
                                         KD 000’s           KD 000’s            KD 000’s          KD 000’s            KD 000’s         KD 000’s    Loans                                                           6          6            22             18        49,652         54,038
    Interest rate swaps (held                                                                                                                      Contingent liabilities                                          1          2              7             9        22,719         20,476
    as fair value hedges)                 282,008             43,973           5,826,052            330,703              12,922       4,559,283
                                                                                                                                                   Credit cards                                                   19         18            28             31           187              178
    Interest rate swaps
                                                                                                                                                   Deposits                                                       24         24            88             80        36,927         52,351
    (others)                                   891               1,753            86,318               1,259                1,270        21,441
                                                                                                                                                   Collateral against credit facilities                            3          2            14             13       153,137       174,926
    Forward foreign
    exchange contracts                      27,547            17,026           4,112,667             23,346              26,569       4,116,666    Interest and fee income                                                                                           3,005          1,817
                                          310,446             62,752         10,025,037             355,308              40,761       8,697,390    Interest expense                                                                                                  1,205              432

                                                                                                                                                   Purchase of equipment and other expenses                                                                            330              367
    Positive fair value is included in other assets (Note 16) and negative fair value is included in other liabilities (Note 18).

    The Group’s strategy is not to carry interest rate risk for long duration assets. The Group uses interest rate swaps to hedge its exposure
                                                                                                                                                   Details of compensation to key management personnel are as follows:
    to changes in the fair values due to interest rate risk on certain investments in fixed rate debt securities, fixed-rate corporate loans and
    fixed-rate liabilities issued. Hedge accounting is applied where economic hedge relationships meet the hedge accounting criteria. In fair
    value hedge relationships, the Group assesses whether the interest rate swaps designated in each hedging relationship is expected to                                                                                                                             2023           2022
    be highly effective in offsetting changes in fair value of the hedged item attributable to interest rate risk using appropriate qualitative                                                                                                                   KD 000’s       KD 000’s
    and quantitative methods. The Group generally seeks to fully match the critical terms (tenor, notionals, interest rate exposure, currency,
                                                                                                                                                   Salaries and other short term benefits                                                                           14,095         12,199
    interest payments frequency and payment periods) of the hedged item and hedging instrument.
                                                                                                                                                   Post-employment benefits                                                                                            341              314
    The Group minimises counterparty credit risk in derivative instruments by entering into transactions with high-quality counterparties.
                                                                                                                                                   Share based compensation                                                                                            656          1,050

                                                                                                                                                                                                                                                                    15,092         13,563

                                                                                                                                                   Remuneration to directors of the Bank amounting to KD 770 thousand for the year ended 31 December 2023 (31 December 2022:
                                                                                                                                                   KD 770 thousand) is in accordance with local regulations and is subject to approval of shareholders at the Annual General Meeting.

                                                                                                                                                   								




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                                                                                                                                                      28 RISK MANAGEMENT (continued)
                                                                                                                                                      28.1 CREDIT RISK (continued)



    28      RISK MANAGEMENT                                                                                                                           28.1. 1 ASSESSMENT OF EXPECTED CREDIT LOSSES

                                                                                                                                                      Definition of default
    Risk is inherent in the Group’s activities but is managed in a structured, systematic manner through a global risk policy which                   The Group considers a financial asset to be in default and therefore Stage 3 (credit impaired) for ECL calculations when:
    embeds comprehensive risk management into organisational structure, risk measurement and monitoring processes. The overall
    risk management direction and oversight are provided by the Board of Directors with the support of the Board Risk and Compliance                  •   the borrower is unlikely to pay its credit obligations to the Group in full, without recourse by the Group to actions such as realising
    Committee and the Board Audit Committee. The Group’s Risk Management and Internal Audit functions assist Executive Management                         security (if any is held);
    in controlling and actively managing the Group’s overall risk profile.                                                                            •   the borrower is past due more than 90 days on any material credit obligation to the Group; or
                                                                                                                                                      •   borrower is considered as credit-impaired based on qualitative assessment for internal credit risk Management purposes
    The Group is exposed to credit risk, liquidity risk, market risk and operational risk.                                                            •   retail facilities from commencement of legal recourse

    In accordance with the Central Bank of Kuwait’s directives, the Group has implemented a comprehensive system for the measurement                  The Group considers investments and interbank balances as in default when the coupon or principal payment is past due for 1 day. The
    and management of risk. This methodology helps in reflecting both the expected loss likely to arise in normal circumstances and                   Group considers externally-rated portfolio with ratings ‘D’ from S&P and Fitch, and ‘C’ from Moody’s as defaulted.
    unexpected losses, which are an estimate of the ultimate actual loss based on statistical models. Information compiled from all internal
    business groups are closely examined and analysed to identify and control risks.                                                                  The Group considers a variety of indicators that may indicate unlikeliness to pay as part of a qualitative assessment of whether a
                                                                                                                                                      customer is in default. Such indicators include:
    Transactions and outstanding risk exposures are quantified and compared against authorised limits, whereas non- quantifiable risks
    are monitored against policy guidelines and key risk and control indicators. Any discrepancies, excesses or deviation are escalated to            •   breaches of covenants
    management for appropriate action.                                                                                                                •   borrower having past due liabilities to public creditors or employees
                                                                                                                                                      •   borrower is deceased
    As part of its overall risk management, the Group uses interest rate swaps, forward foreign exchange contracts and other instruments
    to manage exposures resulting from changes in interest rates, foreign exchange, equity risks, credit risks and exposures arising from             The Group considers a financial asset to be no longer in default and therefore reclassified out of stage 3, when it no longer meets
    forecast transactions. Collaterals are used to reduce the Group’s credit risks.                                                                   any of the default criteria. Transfer from Stage 3 to Stage 2/Stage 1 requires a notification to be sent to the Regulator with the proper
                                                                                                                                                      justification.
    The Group’s comprehensive risk management framework has specific guidelines that focus on maintaining a diversified portfolio to
    avoid excessive concentration of risk.                                                                                                            Significant increase in credit risk
                                                                                                                                                      The Group continuously monitors all assets subject to ECLs. In order to determine whether an instrument or a portfolio of instruments
    28.1      CREDIT RISK                                                                                                                             is subject to 12 months ECL or life time ECL, the Group assess as whether there has been a significant increase in credit risk since
                                                                                                                                                      initial recognition. The quantitative criteria used to determine a significant increase in credit risk is a series of relative and absolute
    Credit risk is the risk that counterparty will cause a financial loss to the Group by failing to discharge an obligation. Credit risk arises in   thresholds. Financial assets that are 30 days past due are generally deemed to have significant increase in credit risk since initial
    the Group’s normal course of business.                                                                                                            recognition and migrated to stage 2 even if other criteria do not indicate a significant increase in credit risk unless this is rebutted.

    All significant policies relating to credit risks are reviewed and approved by the Board of Directors.                                            Any stressed credit facility that has been restructured would also be classified in stage 2 unless it qualifies for stage 3 classification.
                                                                                                                                                      The Group considers a financial asset as ‘cured’ (i.e., in a lowered distressed state) and therefore reclassified out of stage 2 when it
    Credit limits are established for all customers after a careful assessment of their creditworthiness. Standing procedures, outlined in the        no longer meets the criteria for inclusion in Stage 2. According to the regulatory requirements, for facilities (except for retail facilities)
    Group’s Credit Policy Manual, require that all credit proposals be subjected to detailed screening by the domestic or international credit        classified under Stage 2, these would require completing a minimum of 1 year, post recovery, of meeting the scheduled payments, to be
    control divisions pending submission to the appropriate credit committee. Whenever necessary, all loans are secured by acceptable                 classified in Stage 1. Transfer from Stage 2 to Stage 1 requires a notification to be sent to the Regulator with the proper justification.
    forms of collateral to mitigate the related credit risks.
                                                                                                                                                      The Group considers a financial instrument with an external rating of “investment grade” as at the reporting date to have low credit risk.
    In accordance with the instructions of the Central Bank of Kuwait dated 18 December 1996, setting out the rules and regulations                   In addition to the above quantitative criteria, the Group applies qualitative criteria for the assessment of significant increase in credit
    regarding the classification of credit facilities, the Group has formed an internal committee comprising competent professional staff             risk based on monitoring of certain early warning signals.
    and having as its purpose the study and evaluation of the existing credit facilities of each customer of the Group. This committee is
    required to identify any abnormal situations and difficulties associated with a customer’s position which might cause the debt to be              Measurement of ECLs
    classified as irregular, and to determine an appropriate provisioning level. The committee, which meets regularly throughout the year,            ECLs are probability-weighted estimates of credit losses and are measured as the present value of all cash shortfalls discounted at
    also studies the positions of those customers whose irregular balances exceed 25% of their total debt, in order to determine whether              the effective interest rate of the financial instrument. Cash shortfall represents the difference between cash flows due to the Group
    further provisions are required.                                                                                                                  in accordance with the contract and the cash flows that the Group expects to receive. The key elements in the measurement of ECL
                                                                                                                                                      include probability of default (PD), loss given default (LGD) and exposure at default (EAD). The Group estimates these elements using
    The Group further limits risk through diversification of its assets by geography and industry sector. In addition, all credit facilities are      appropriate credit risk models taking into consideration the internal and external credit ratings of the assets, nature and value of
    continually monitored based on a periodical review of the credit performance and account rating.                                                  collaterals, forward-looking macro-economic scenarios, etc.




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    28.1 CREDIT RISK (continued)                                                                                                                   28.1 CREDIT RISK (continued)
    28.1. 1 ASSESSMENT OF EXPECTED CREDIT LOSSES (continued)                                                                                       28.1. 1 ASSESSMENT OF EXPECTED CREDIT LOSSES (continued)

    The Group calculates ECL on credit facilities classified in stage 3 at 100% of the defaulted exposure net of the value of eligible             Loss given default
    collaterals after applying applicable haircuts.                                                                                                Loss-given-default (LGD) is the magnitude of the likely loss if there is a default. The Group estimates LGD parameters based on the
                                                                                                                                                   history of recovery rates of claims against defaulted counterparties. The LGD models consider the structure, collateral, seniority of the
    The Group in estimating ECL for credit facilities has taken into consideration the following key parameters based on inputs from CBK:          claim, counterparty industry and recovery costs of any collateral that is integral to the financial asset.

    •   Floor for estimating PDs for specific portfolios                                                                                           Incorporation of forward-looking information
    •   Eligible collateral with haircuts for determining LGD and floor for LGD for unsecured facilities.                                          The Group considers various key economic variables which reflect the continuing uncertainties and effect stemming from Covid-19
    •   Deemed maturity for exposures in Stage 2                                                                                                   and other emerging risks, which may be expected to have an impact on credit risk and the ECL, when incorporating forward-looking
    •   Credit Conversion Factor on utilized and un-utilized portions for cash and non-cash facilities                                             information into the ECL models. Key economic variables include, but are not limited to, Gross Domestic Product, Equity price index, Oil
                                                                                                                                                   prices, and Government expenditure. Together, they provide reasonable indications and forecasts of future macro-economic conditions.
    Internal rating and PD estimation process                                                                                                      The consideration of such factors increases the degree of judgment in determination of ECL. The Group employs statistical models
    In managing its portfolio, the Group utilises ratings and other measures and techniques which seek to take account of all aspects of           which incorporate the effect of macro-economic factors to adjust the historical TTC PDs to arrive at the PiT PDs. The Group considers
    perceived risk. The Group uses industry-standard rating tools for assessing ratings/scores that are then leveraged for PD estimation           three scenarios (baseline, upside and downside) of forecasts of macro-economic data separately for designated geographies and
    process. The tool provides the ability to analyse a business and produces risk ratings at both the obligor and facility levels. The analysis   segments, and appropriate probability weights are applied to these scenarios to derive a probability-weighted outcome of expected
    supports the usage of financial factors as well as non-financial subjective factors. The Group also uses external ratings by recognised        credit loss. Management reviews the methodologies and assumptions including any forecasts of future economic conditions, on a
    rating agencies for externally-rated portfolios.                                                                                               regular basis.

    The Probability of Default (PD) is the likelihood that an obligor will default on its obligations in the future. IFRS 9 requires the use of    The weighting of the multiple scenarios increased the Group’s reported allowance for expected credit losses on financial assets, other
    separate PD for a 12-month duration and lifetime duration depending on the stage allocation of the obligor. A PD used for IFRS 9 should        than credit facilities, in Stage 1 and Stage 2, relative to the base case scenario, by KD 3,503 thousand (2022: increased by KD 2,689
    reflect the Group’s estimate of the future asset quality. The through-the-cycle (TTC) PDs are generated from the rating tool based on the      thousand). If the Group were to use only downside case scenario, allowance for expected credit losses on financial assets other than
    internal/external credit ratings. The Group converts the TTC PDs to point-in-time (PIT) PD term structures using appropriate models and        credit facilities would be KD 13,176 thousand (2022: KD 7,583 thousand) higher than the reported allowance for expected credit losses
    techniques.                                                                                                                                    on financial assets, other than credit facilities, as at 31 December 2023.

    The Group assesses the PD for its retail portfolio through behavioural scorecards. The Consumer portfolio is further segmented                 The weighting of the multiple scenarios increased the Group’s reported allowance for expected credit losses on credit facilities, in Stage
    statistically and risk pools with shared risk characteristics are addressed with different scorecards relevant for each of the risk pool.      1 and Stage 2, relative to the base case scenario, by KD 11,927 thousand (2022: increased by KD 11,917 thousand). If the Group were
    The segmentation is based on demographic, behavioural and financial variables which distinctly rank order risk. The scorecards were            to use only downside case scenario, allowance for expected credit losses on credit facilities would be KD 54,644 thousand (2022: KD
    developed using statistical techniques. Executing the scorecard will return an associated PD value for each of the facility. The term          32,003 thousand) higher than the reported allowance for expected credit losses on credit facilities as at 31 December 2023.
    structure PDs are then derived using a base PD.
                                                                                                                                                   Actual outcomes may differ as this neither considers the migration of exposures nor incorporates changes which would occur in the
    Exposure at default                                                                                                                            portfolio due to risk mitigation actions and other factors.
    Exposure at default (EAD) represents the amount which the obligor will owe to the Group at the time of default. The Group considers
    variable exposures that may increase the EAD in addition to the drawn credit line. These exposures arise from undrawn limits
    and contingent liabilities. Therefore, the exposure will contain both on and off balance sheet values. EAD is estimated taking into
    consideration the contractual terms such as coupon rates, frequency, reference curves, maturity, pre-payment options, amortization
    schedule, credit conversion factors, etc. EAD for retail loans incorporate prepayment assumptions whereas, for credit cards portfolio,
    credit conversion factors are applied to estimate the future drawdowns.




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    28.1 CREDIT RISK (continued)                                                                                                                     28.1 CREDIT RISK (continued)
                                                                                                                                                     28.1. 3 RISK CONCENTRATION OF THE MAXIMUM EXPOSURE TO CREDIT RISK (continued)

    28.1. 2 MAXIMUM EXPOSURE TO CREDIT RISK                                                                                                          The Group’s financial assets and off-balance sheet items, before taking into account any collateral held or credit enhancements can be
                                                                                                                                                     analysed by the following geographic regions:
    An analysis of loans, advances and Islamic facilities to customers and contingent liabilities before and after taking account of eligible
    collateral held or other credit enhancements, is as follows:
                                                                                                                                                     2023                                         Middle
                                                                                                                                                                                                 East and           North          Europe
                                                                                      2023                                   2022                                                           North Africa          America            & UK             Asia         Others            Total
                                                                                                                                                     Geographic region                           KD 000’s         KD 000’s        KD 000’s        KD 000’s        KD 000’s        KD 000’s
                                                                                 Gross                 Net              Gross                Net
                                                                              exposure            exposure           exposure           exposure     Balances and deposits with banks            3,300,992       1,255,953         700,504         279,435                -      5,536,884
                                                                              KD 000’s            KD 000’s           KD 000’s           KD 000’s  
                                                                                                                                                     Central Bank of Kuwait bonds                 856,815                 -               -               -               -       856,815
    Loans, advances and Islamic financing to customers                      22,281,004         15,841,839          20,998,416         14,845,174
                                                                                                                                                     Kuwait Government treasury Bonds             194,111                 -               -               -               -       194,111
    Contingent liabilities                                                    4,615,911          4,430,493          4,467,386          4,291,810
                                                                                                                                                     Loans, advances and Islamic
                                                                                                                                                     financing to customers                    18,706,076          579,586       1,911,118         652,231         431,993     22,281,004
    For other financials assets, the gross exposure amounts are equal to net exposure amounts.
                                                                                                                                                     Investment securities                       4,783,897          51,918         420,703       1,304,861          30,504       6,591,883
    Collateral and other credit enhancements
                                                                                                                                                     Other assets                                 305,897           35,361        294,212            8,678           2,134         646,282
    The amount, type and valuation of collateral are based on guidelines specified in the risk management framework. The main types of
    collateral accepted includes real estate, quoted shares, cash collateral and bank guarantees. The revaluation and custody of collaterals                                                   28,147,788        1,922,818       3,326,537       2,245,205        464,631      36,106,979
    are performed independent of the business units.
                                                                                                                                                     Commitments and contingent
                                                                                                                                                     liabilities (Note 25)                       3,391,864        320,596        1,181,022       1,008,663          41,274       5,943,419
    28.1. 3 RISK CONCENTRATION OF THE MAXIMUM EXPOSURE TO CREDIT RISK
                                                                                                                                                                                               31,539,652        2,243,414       4,507,559       3,253,868        505,905      42,050,398
    Concentrations of credit risk arise from exposure to customers having similar characteristics in terms of the geographic location in
    which they operate or the industry sector in which they are engaged, such that their ability to discharge contractual obligations may be
    similarly affected by changes in political, economic or other conditions.
                                                                                                                                                     2022                                           Middle
                                                                                                                                                                                                  East and           North         Europe
    Credit risk can also arise due to a significant concentration of Group’s assets to any single counterparty. This risk is managed by
                                                                                                                                                                                             North Africa         America             & UK            Asia         Others            Total
    diversification of the portfolio. The 20 largest loans, advances and Islamic financing to customers outstanding as a percentage of gross
                                                                                                                                                     Geographic region                            KD 000’s        KD 000’s        KD 000’s        KD 000’s        KD 000’s        KD 000’s
    loans, advances and Islamic financing to customers as at 31 December 2023 is 14% (2022: 15%).
                                                                                                                                                     Balances and deposits with banks            3,050,068       2,704,510         676,096         169,466                -      6,600,140

                                                                                                                                                     Central Bank of Kuwait bonds                  881,241                -               -               -               -        881,241

                                                                                                                                                     Kuwait Government treasury Bonds              211,629                -               -               -               -        211,629

                                                                                                                                                     Loans, advances and Islamic
                                                                                                                                                     financing to customers                    17,971,676          583,386       1,618,143         450,892         374,319     20,998,416

                                                                                                                                                     Investment securities                       3,953,530          24,610         187,967       1,119,462          30,445       5,316,014

                                                                                                                                                     Other assets                                  399,866          19,933         315,336           7,539           1,951         744,625

                                                                                                                                                                                               26,468,010        3,332,439       2,797,542       1,747,359         406,715     34,752,065

                                                                                                                                                     Commitments and contingent
                                                                                                                                                     liabilities (Note 25)                       3,037,221         280,380       1,173,523         996,393           4,159       5,491,676

                                                                                                                                                                                               29,505,231        3,612,819       3,971,065       2,743,752         410,874     40,243,741




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    28 RISK MANAGEMENT (continued)                                                                                                               28 RISK MANAGEMENT (continued)
    28.1 CREDIT RISK (continued)                                                                                                                 28.1 CREDIT RISK (continued)
    28.1. 3 RISK CONCENTRATION OF THE MAXIMUM EXPOSURE TO CREDIT RISK (continued)                                                                28.1. 4 CREDIT QUALITY PER CLASS OF FINANCIAL ASSETS (continued)

    The Group’s financial assets and off-balance sheet items, before taking into account any collateral held or credit enhancements, can be      The table below shows the credit quality by class of financial assets for statement of financial position lines, based on the Group’s
    analysed by the following industry sectors:                                                                                                  credit rating system.


                                                                                                                     2023               2022
                                                                                                                  KD 000’s           KD 000’s                                                                                High           Standard           Impaired             Total
                                                                                                                                                 2023
                                                                                                                                                                                                                         KD 000’s           KD 000’s           KD 000’s          KD 000’s
    Industry sector
                                                                                                                                                 Balances and short term deposits with banks                            4,220,354                   -            26,788         4,247,142
    Trading                                                                                                      2,206,795          2,136,617
                                                                                                                                                 Central Bank of Kuwait bonds                                             856,815                   -                  -          856,815
    Manufacturing                                                                                                3,369,644          3,290,431
                                                                                                                                                 Kuwait Government treasury bonds                                         194,111                   -                  -          194,111
    Banks and other financial institutions                                                                      12,929,028        12,810,369
                                                                                                                                                 Deposits with banks                                                    1,028,972            289,946                307         1,319,225
    Construction                                                                                                 1,658,949          1,594,674
                                                                                                                                                 Loans, advances and Islamic financing to customers                    20,020,437          2,805,031           318,386         23,143,854
    Real Estate                                                                                                  4,596,994          4,229,800
                                                                                                                                                 Investments in debt securities – Amortized cost                          171,468            901,718                   -        1,073,186
    Retail                                                                                                       7,435,574          7,382,170
                                                                                                                                                 Investments in debt securities – FVOCI                                 4,996,478            522,695                471         5,519,644
    Government                                                                                                   3,658,123          3,497,046
                                                                                                                                                 Investments in debt securities – FVPL                                     17,979                   -                  -           17,979
    Others                                                                                                       6,195,291          5,302,634
                                                                                                                                                                                                                       31,506,614          4,519,390           345,952         36,371,956
                                                                                                               42,050,398         40,243,741

    28.1. 4 CREDIT QUALITY PER CLASS OF FINANCIAL ASSETS
                                                                                                                                                                                                                             High           Standard           Impaired             Total
    In managing its portfolio, the Group utilises ratings and other measures and techniques which seek to take account of all aspects of         2022
                                                                                                                                                                                                                         KD 000’s           KD 000’s           KD 000’s          KD 000’s
    perceived risk. Credit exposures classified as ‘High’ quality are those where the default risk from the obligor’s failure to discharge its
    obligation is assessed to be low. These include facilities to corporate entities with financial condition, risk indicators and capacity to   Balances and short term deposits with banks                            5,109,486                    -           29,524         5,139,010
    repay which are considered to be good to excellent. Credit exposures classified as ‘Standard’ quality comprise all other facilities whose
                                                                                                                                                 Central Bank of Kuwait bonds                                             881,241                    -                 -          881,241
    payment performance is fully compliant with contractual conditions and which are not ‘impaired’. The default risk on ‘Standard’ quality
    is assessed to be higher than that for the exposures classified within the ‘High’ quality range.                                             Kuwait Government treasury bonds                                         211,629                    -                 -          211,629

                                                                                                                                                 Deposits with banks                                                    1,250,912            238,262              3,942         1,493,116

                                                                                                                                                 Loans, advances and Islamic financing to customers                    19,049,904          2,466,407           310,046         21,826,357

                                                                                                                                                 Investments in debt securities – Amortized cost                           13,860            915,310                   -          929,170

                                                                                                                                                 Investments in debt securities – FVOCI                                 3,756,672            628,586                477         4,385,735

                                                                                                                                                 Investments in debt securities – FVPL                                     17,671                    -                 -           17,671

                                                                                                                                                                                                                       30,291,375          4,248,565           343,989         34,883,929




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    28 RISK MANAGEMENT (continued)                                                                                                                  28 RISK MANAGEMENT (continued)
                                                                                                                                                    28.2 LIQUIDITY RISK (continued)



    28.2      LIQUIDITY RISK
                                                                                                                                                                                                            Up to 3     3 to 12       Over 1
                                                                                                                                                    2022                                                    months      months          year        Total
    Liquidity risk is the risk that the Group will be unable to meet its financial liabilities when they fall due. To limit this risk, management                                                          KD 000’s    KD 000’s     KD 000’s     KD 000’s
    has arranged diversified funding sources, manages assets with liquidity in mind and monitors liquidity on a daily basis.
                                                                                                                                                    Assets
    The table below summarises the maturity profile of Group’s assets, liabilities and equity based on contractual cash flows and maturity
                                                                                                                                                    Cash and deposits with banks                          6,613,969    197,600         2,169    6,813,738
    dates. This does not necessarily take account of the effective maturities.
                                                                                                                                                    Central Bank of Kuwait bonds                           494,770     386,471             -     881,241
                                                                                Up to 3            3 to 12             Over 1                       Kuwait Government treasury bonds                        15,000       5,000      191,629      211,629
    2023                                                                        months             months                 year              Total
                                                                                                                                                    Loans, advances and Islamic financing to Customers    6,173,559   2,248,920   12,575,937   20,998,416
                                                                               KD 000’s           KD 000’s            KD 000’s           KD 000’s
                                                                                                                                                    Investment securities                                  624,743     518,416     4,491,513    5,634,672
    Assets
                                                                                                                                                    Land, premises and equipment                                  -           -     474,724      474,724
    Cash and deposits with banks                                              5,520,612            182,209                     -        5,702,821
                                                                                                                                                    Goodwill and other intangible assets                          -           -     534,936      534,936
    Central Bank of Kuwait bonds                                                472,911            383,904                     -          856,815
                                                                                                                                                    Other assets                                           367,267      47,811      373,929      789,007
    Kuwait Government treasury bonds                                                    -           47,000             147,111            194,111
                                                                                                                                                                                                         14,289,308   3,404,218   18,644,837   36,338,363
    Loans, advances and Islamic financing to customers                        6,271,945          2,794,350         13,214,709          22,281,004
                                                                                                                                                    Liabilities and equity
    Investment securities                                                       779,059            539,776          5,565,986           6,884,821
                                                                                                                                                    Due to banks                                          3,586,607    419,823       11,549     4,017,979
    Land, premises and equipment                                                        -                  -           506,812            506,812
                                                                                                                                                    Deposits from other financial institutions            2,245,402   1,300,885     194,590     3,740,877
    Goodwill and other intangible assets                                                -                  -           508,416            508,416
                                                                                                                                                    Customer deposits                                    14,717,473   4,656,934     803,655    20,178,062
    Other assets                                                                313,603             53,340             363,248            730,191
                                                                                                                                                    Certificates of deposit issued                        1,426,253    375,370             -    1,801,623
                                                                            13,358,130           4,000,579         20,306,282          37,664,991
                                                                                                                                                    Other borrowed funds                                    39,819      76,575     1,127,169    1,243,563
    Liabilities and equity
                                                                                                                                                    Other liabilities                                      585,794       8,840      126,679      721,313
    Due to banks                                                              3,223,281            728,464              12,057          3,963,802
                                                                                                                                                    Share capital and reserves                                    -           -    3,434,180    3,434,180
    Deposits from other financial institutions                                2,543,653          1,167,902              14,074          3,725,629
                                                                                                                                                    Proposed cash dividend                                 188,808            -            -     188,808
    Customer deposits                                                       15,776,574           5,493,783             678,600         21,948,957
                                                                                                                                                    Perpetual Tier 1 Capital Securities                           -           -     439,032      439,032
    Certificates of deposit issued                                              637,710            185,189                     -          822,899
                                                                                                                                                    Non-controlling interests                                     -           -     572,926      572,926
    Other borrowed funds                                                                -          153,690          1,177,316           1,331,006
                                                                                                                                                                                                         22,790,156   6,838,427    6,709,780   36,338,363
    Other liabilities                                                           783,894             18,927             163,302            966,123

    Share capital and reserves                                                          -                  -        3,685,523           3,685,523

    Proposed cash dividend                                                              -          198,249                     -          198,249

    Perpetual Tier 1 Capital Securities                                                 -                  -           439,032            439,032

    Non-controlling interests                                                           -                  -           583,771            583,771

                                                                            22,965,112           7,946,204          6,753,675          37,664,991




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    28 RISK MANAGEMENT (continued)                                                                                                              28 RISK MANAGEMENT (continued)
    28.2 LIQUIDITY RISK (continued)



    The liquidity profile of financial liabilities of the Group summarised below reflects the cash flows including future interest payments     28.3     MARKET RISK
    over the life of these financial liabilities based on contractual repayment arrangements.
                                                                                                                                                Market risk is the risk that the fair value or future cash flows of financial instruments will fluctuate due to changes in market prices.
                                                                                                                                                Market risks arise from open positions in interest rate, currency and equity products, all of which are exposed to general and specific
                                                                              Up to 3            3 to 12            Over 1
                                                                                                                                                market movements and changes in the level of volatility of market rates or prices such as interest rates, foreign exchange rates and
    2023                                                                      months             months                year             Total
                                                                                                                                                equity prices.
                                                                             KD 000’s           KD 000’s           KD 000’s          KD 000’s
    Financial Liabilities                                                                                                                       28.3.1 INTEREST RATE RISK
    Due to banks                                                            3,230,779           752,183              13,212         3,996,174
                                                                                                                                                Interest rate risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in market
    Deposits from other financial institutions                              2,554,144         1,198,201              15,658         3,768,003
                                                                                                                                                interest rates.
    Customer deposits                                                     15,831,255          5,658,392            763,543         22,253,190
    Certificates of deposit issued                                            642,697           190,310                    -          833,007   The Group is not excessively exposed to interest rate risk as its assets and liabilities are repriced regularly and most exposures arising
                                                                                                                                                on medium-term fixed-rate lending or fixed-rate borrowing are covered by interest rate swaps. Furthermore, the re-pricing gaps of its
    Other borrowed funds                                                        8,540           195,681          1,291,674          1,495,895   assets and liabilities are carefully monitored and controlled through limits pre-established by the Board of Directors and adjusted where
                                                                          22,267,415          7,994,767          2,084,087         32,346,269   necessary, to reflect the changing market conditions.

    Contingent liabilities and commitments
                                                                                                                                                Interest rate sensitivity
    Contingent liabilities                                                  1,364,374         1,885,643          1,365,894          4,615,911   Interest rate sensitivity of profit measures the effect of the assumed changes in interest rates on the net interest income for one
    Irrevocable commitments                                                   274,707           313,361            739,440          1,327,508   year, based on the interest-bearing financial assets and financial liabilities held at the year end. This includes the effect of hedging
                                                                                                                                                instruments but excludes loan commitments. The sensitivity on equity is the impact arising from changes in interest rate on fair value
                                                                            1,639,081         2,199,004          2,105,334          5,943,419   of investments in debt securities classified as FVOCI. Sensitivity to interest rate movements will be on a symmetric basis as financial
    Derivative financial instruments settled on a gross basis                                                                                   instruments giving rise to non-symmetric movements are not significant.

    Contractual amounts payable                                             3,051,777         1,056,390            309,391          4,417,558
                                                                                                                                                Based on the Group’s financial assets and financial liabilities held at the year end, an assumed 25 basis points increase in interest rate,
    Contractual amounts receivable                                          3,046,421         1,053,861            299,513          4,399,795   with all other variables held constant, would impact the Group’s profit and equity as follows:


                                                                              Up to 3            3 to 12             Over 1
    2022                                                                      months             months                year             Total                                                                                     2023                                   2022
                                                                             KD 000’s           KD 000’s           KD 000’s          KD 000’s
                                                                                                                                                                                                                           Effect on          Effect on          Effect on          Effect on
    Financial Liabilities                                                                                                                                                                                                      profit            equity              profit            equity
    Due to banks                                                            3,597,177           432,031              12,526         4,041,734                                                                              KD 000’s           KD 000’s           KD 000’s           KD 000’s

    Deposits from other financial institutions                              2,251,298         1,321,018            207,792          3,780,108   Currency                    Movement in Basis points
    Customer deposits                                                     14,761,211          4,771,459            882,025         20,414,695
    Certificates of deposit issued                                          1,432,841           384,877                    -        1,817,718   KWD                         +25                                               8,525                    -            9,138                       -
    Other borrowed funds                                                       49,381           108,373          1,263,374          1,421,128   USD                         +25                                               5,548                    -            5,579                       -
                                                                          22,091,908          7,017,758          2,365,717         31,475,383   EUR                         +25                                                 305                    -              463                       -
    Contingent liabilities and commitments
                                                                                                                                                GBP                         +25                                                 788                   -               621                       -
    Contingent liabilities                                                  1,280,110         1,685,461          1,501,815          4,467,386
                                                                                                                                                EGP                         +25                                                 366               (180)               169               (402)
    Irrevocable commitments                                                    90,996           280,629            652,665          1,024,290
                                                                            1,371,106         1,966,090          2,154,480          5,491,676
    Derivative financial instruments settled on a gross basis
    Contractual amounts payable                                             2,302,538         1,626,029            349,018          4,277,585
    Contractual amounts receivable                                          2,304,139         1,625,124            348,507          4,277,770



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    28 RISK MANAGEMENT (continued)                                                                                                                        28 RISK MANAGEMENT (continued)
    28.3 MARKET RISK (continued)



    28.3.2 FOREIGN EXCHANGE RISK                                                                                                                          28.4   OPERATIONAL RISK

    Foreign exchange risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in             Operational risk is the risk of loss arising from inadequate or failed internal processes, human error, systems failure or from external
    foreign exchange rates.                                                                                                                               events. The Group has a set of policies and procedures, which are approved by the Board of Directors and are applied to identify, assess
                                                                                                                                                          and supervise operational risk in addition to other types of risks relating to the banking and financial activities of the Group. Operational
    Foreign exchange risks are controlled through limits pre-established by the Board of Directors on currency position exposures. In general             risk is managed by the operational risk function, which ensures compliance with policies and procedures and monitors operational risk
    assets are typically funded in the same currency as that of the business being transacted to eliminate exchange exposures. Appropriate                as part of overall global risk management.
    segregation of duties exists between the treasury front and back office functions, while compliance with position limits is independently
    monitored on an ongoing basis.                                                                                                                        The Operational Risk function of the Group is in line with the Central Bank of Kuwait instructions dated 14 November 1996, concerning
                                                                                                                                                          the general guidelines for internal controls and the instructions dated 13 October 2003, regarding the sound practices for managing and
    The table below analyses the effect on profit of an assumed 5% strengthening in value of the currency rate against the Kuwaiti Dinar                  supervising operational risks in banks.
    from levels applicable at the year-end, with all other variables held constant. A negative amount in the table reflects a potential net
    reduction in profit, whereas a positive amount reflects a net potential increase.                                                                     29 CAPITAL

                                                                                                                                                          A key objective of the Group is to maximise shareholders’ value with optimal levels of risk, whilst maintaining a strong capital base to
                                                                                                       2023                          2022
                                                                                                                                                          support the development of its business and comply with the externally-imposed capital requirements.
                                                                                                        Effect on profit              Effect on profit
                                                                                                              KD 000’s                      KD 000’s      The disclosures relating to the capital adequacy regulations issued by Central Bank of Kuwait (CBK) as stipulated in CBK Circular
                                                                                                                                                          number 2/RB, RBA/A336/2014 dated 24 June 2014 (Basel III) and the Leverage regulations as stipulated in CBK Circular number 2/
    Currency                      % Change in currency rate
                                                                                                                                                          BS/ 342/2014 dated 21 October 2014 under the Basel Committee framework are included under the ‘Risk Management’ section of the
    USD                           +5                                                                              (393)                         (248)     Annual Report.
    GBP                           +5                                                                                 (1)                           99
                                                                                                                                                          Capital adequacy, financial leverage and the use of various levels of regulatory capital are monitored regularly by the Group’s
    EUR                           +5                                                                                 38                            57     management and are, also, governed by guidelines of Basel Committee on Banking Supervision as adopted by the CBK.
    Other                         +5                                                                                108                           (74)
                                                                                                                                                          The Group’s regulatory capital and capital adequacy ratios (Basel III) are shown below:


    28.3.3 EQUITY PRICE RISK                                                                                                                                                                                                                                                2023                2022
                                                                                                                                                                                                                                                                         KD 000’s            KD 000’s
    Equity price risk is the risk that the fair values of equities will fluctuate as a result of changes in the level of equity indices or the value of   Risk-Weighted Assets                                                                                         26,469,664         24,571,451
    individual share prices. Equity price risk arises from the change in fair values of equity investments. The Group manages the risk through
    diversification of investments in terms of geographic distribution and industry concentration. The table below analyses the effect of                 Total Capital required                                                                                        3,970,540           3,317,146
    equity price risk on profit (as a result of change in the fair value of equity investments held as fair value through profit or loss) and on          Total Capital available
    equity (as a result of change in the fair value of equity investments classified as FVOCI) at the year end due to an assumed 5% change in
    market indices, with all other variables held constant.                                                                                               Common Equity Tier 1 Capital                                                                                  3,442,577           3,170,120

                                                                                                                                                          Additional Tier 1 Capital                                                                                       531,776            527,411
                                                                                         2023                                   2022
                                                                                                                                                          Tier 1 Capital                                                                                                3,974,353           3,697,531
                                                     % Change in          Effect on profit   Effect on equity     Effect on profit   Effect on equity
                                                                                                                                                          Tier 2 Capital                                                                                                  597,889            573,564
    Market indices                                   equity price               KD 000’s            KD 000’s            KD 000’s            KD 000’s
                                                                                                                                                          Total Capital                                                                                                 4,572,242           4,271,095
    Kuwait stock exchange                            +5                                 82                  32                121                  28
                                                                                                                                                          Common Equity Tier 1 Capital adequacy ratio                                                                       13.0%              12.9%
    Qatar stock exchange                             +5                               177                     -                97                    -
                                                                                                                                                          Tier 1 Capital adequacy ratio                                                                                     15.0%              15.0%
    UAE stock indices                                +5                               366                     -               342                    -
                                                                                                                                                          Total Capital adequacy ratio                                                                                      17.3%              17.4%
    Saudi stock exchange                             +5                               999                 220                 883                  81




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    29 CAPITAL (continued)




    Total capital requirement as at 31 December 2023 is 15% (31 December 2022:13.5%) including capital conservation buffer of 2.5% (31
    December 2022 :1%). The relief on capital conservation buffer allowed by CBK in response to Covid-19 is not available effective from 1
    January 2023.

    The calculations include Boubyan Bank K.S.C.P., an Islamic Banking subsidiary. For purposes of determining risk-weighted assets and
    capital required, exposures and assets at Boubyan Bank K.S.C.P. are risk weighted, and capital charge calculated, in accordance with
    Central Bank of Kuwait regulations applicable to banks providing banking services compliant with Codes of Islamic Sharia’a. Those
    figures are then added to corresponding figures pertaining to all the rest of the Group, identical with the treatment in relevant reports
    submitted to the Central Bank of Kuwait.

    The Group’s financial leverage ratio is calculated in accordance with CBK circular number 2/BS/ 342/2014 dated 21 October 2014 is
    shown below:



                                                                                                                      2023               2022
                                                                                                                   KD 000’s           KD 000’s

    Tier 1 capital                                                                                                3,974,353         3,697,531

    Total exposures                                                                                             40,989,808         39,373,804

    Leverage ratio                                                                                                     9.7%               9.4%



    30       FUNDS UNDER MANAGEMENT



    The Group manages a number of funds, some of which are managed in association with other professional fund managers. The funds
    have no recourse to the general assets of the Group and the Group has no recourse to the assets of the funds. Accordingly, the assets
    of these funds are not included in the consolidated statement of financial position. As at 31 December 2023, funds under management
    were KD 6,600 million (2022: KD 5,682 million).



    31     CHANGES IN REFERENCE RATES (IBOR)

    The Group’s exposure to its floating-rate financial assets and liabilities denominated in foreign currencies, is mainly through USD
    LIBOR. As at 31 December 2023, the Group has transitioned a significant majority of its contracts to “Risk-Free Rates” (RFRs). For the
    remaining contracts which are mainly syndicated contracts, discussions are currently in progress with the counterparties/customers to
    complete transition before the next repricing date. For a limited number of contracts whose transition is not expected to be completed
    by next repricing date, the Group will continue with the ‘synthetic’ Libor benchmark published by the ICE Benchmark Administration
    until 30 September 2024.

    Derivatives held for hedging purposes

    The Group has completed the transition of all USD and non-USD linked derivatives as per ISDA Fallbacks protocol.



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    Group Directory                                                                                                             Local Branches


    HEAD OFFICE                    CONSUMER BANKING GROUP       Treasury Group                   Information Technology Group   Ahmad Al-Jaber                    Farwaniya                                          PIFSS
                                                                Ext: 3567                        Ext: 3797                      Ahmadi                            Fintas                                             Qadsiya
    Al Shuhada Street, Sharq       Retail Banking                                                                               Airport T1                        Ghazali                                            Qortouba
    P.O.Box: 95, Safat             Ext: 2053                    Group Risk Management            Group Financial Control        Airport T4                        Grand Avenues Plaza                                Qurain
    13001 Kuwait                                                Ext: 2321                        Ext: 3009                      AIU - Self-service Branch         Hadiya                                             Ras Al-Salmiya
                                                                                                                                Al-Rihab                          Hamra Tower                                        Rawda
    Tel: +965 2229 1111            Domestic Branches
                                                                                                                                Al-Rumaithiya                     Hawally                                            Riqqa
    Fax: +965 2229 1444            Ext: 3250                    Economic Research Group          Executive Office
                                                                                                                                Ali Sabah Al-Salem                HQ                                                 Saad Al-Abdullah
                                                                Ext: 3136                        Ext: 2230
                                                                                                                                Andalus                           Jabriya                                            Sabah Al-Nasser
                                   Direct Sales                                                                                 Ardiya                            Jahra                                              Sabah Al Salem
                                   Ext: 5003                    Legal Affairs Group              Public Relations               Avenues                           Jahra Commercial                                   Sabahiya
                                                                Ext: 3091                        Ext: 3166                      Bayan                             Jleeb Shuyoukh                                     Sabhan
                                   Consumer Lending                                                                             Boursa                            Kuwait Airways Head Office - Self-service Branch   Salmiya Salam Mall
                                   Ext: 3374                    Human Resources                  Media Relations                Cinema Salmiya                    Kaifa                                              Salwa
                                                                Ext: 5162                        Ext: 2789                      Dahiyat A. Salem                  Khairan Hybrid Outlet Mall                         Shamiya
                                   Marketing                                                                                    Daiya                             Khairan Square - Self-service Branch               Sharq
                                   Ext: 3507                    International Banking Group      Advertising                    Dasma                             Kheitan                                            Shuwaikh
                                                                                                 Ext: 2665                      Doha                              KNPC                                               Shuwaikh Medical
                                                                                                                                Edge Mall                         KOC                                                Siddiq
                                   Consumer Credit Collection   Regional Institutional Banking
                                                                                                                                Eqaila                            Ministries Complex                                 Sour
                                   Ext: 2305                    Ext: 5328                        Group Internal Audit
                                                                                                                                Fahad Al-Salem                    Mishref                                            South Surra
                                                                                                 Ext: 5405
                                                                                                                                Fahaheel                          MTC Headquarters                                   Surra
                                   Private Banking Group        Please refer to international                                   Fahaheel Sahely                   Mubarak Al Kabeer                                  The Warehouse
                                   Ext: 2553                    network for a complete listing                                  Faiha                             Nuzha                                              Yarmouk

                                   Domestic Corporate Banking   Operations Group
                                   Ext: 2373                    Ext: 3354


                                   Foreign Corporate, Oil and
                                   Trade Finance Group                                                                          Head Office Tel.: 2229 1111
                                   Ext: 2307                                                                                    Call Center Tel.: 1801801



                                                                                                                                For More Information About National Bank of Kuwait:




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    International Branches




    Bahrain                          United Arab Emirates              Lebanon                          Egypt                             France                           China                          Kuwait
    National Bank of Kuwait SAKP     National Bank of Kuwait SAKP      National Bank of Kuwait          National Bank of Kuwait - Egypt   National Bank of Kuwait France   National Bank of Kuwait SAKP   Watani Financial
    Bahrain Branch                   Dubai Branch                      (Lebanon) SAL                    SAE                               SA                               Shanghai Branch                Brokerage Co
    GFH Tower Block 346              Latifa Tower                      Sanayeh Head Office              Plot No. 155, City Center         90 Avenue des                    Suite 1501-1502                Abdullah Al-Ahmed Street
    Road 4626, Building 1411         Sheikh Zayed Road                 BAC Building, Justinian Street   First Sector 5th settlement       Champs-Elysées                   AZIA Center                    AI-Naqi Building, Office 17
    P.O. Box 5290, Manama            P.O. Box 9293, Dubai, U.A.E       P.O. Box 11-5727, Riad El-Solh   P.O. Box 229                      75008 Paris, France              1233 Lujiazui Ring Road        P.O. Box 21350
    Kingdom of Bahrain               Tel: +971 4 3161 600              1107 2200 Beirut, Lebanon        Postal Code 11835                 Tel: +33 1 5659 8600             Shanghai 200120                Safat 13074
    Tel: +973 17 155 555             Fax: +971 4 3888 588              Tel: +9611 759 700               New Cairo, Egypt                  Fax: +33 1 5659 8623             China                          Kuwait
    Fax: +973 17 104 860                                               Fax: +9611 747 866               Tel: +202 26149300                                                 Tel: +86-21-8036-0800          Tel: +965 2259 5102
                                     Abu Dhabi Branch                                                   Fax: +202 2613 5864               Singapore                        Fax: +86-21-8036-0801          Fax: +965 2224 6979
    Saudi Arabia                     Sheikh Rashid Bin Saeed Street    Bhamdoun Branch                                                    National Bank of Kuwait SAKP
    National Bank of Kuwait SAKP     (Old Airport Road)                Tel: +961 5 260 100              United Kingdom                    9 Raffles Place # 44-01          United States of America       NBK Capital
    Jeddah Branch                    P.O. Box 113567                   Fax: +961 5 260 102              National Bank of Kuwait           Republic Plaza                   National Bank of Kuwait SAKP   NBK Headquarters
    AI-Khalidiah District            Abu Dhabi, U.A.E                                                   (International) PLC               Singapore 048619                 New York Branch                Al Shuhada Street
    AI-Mukmal Tower                  Tel: +971 2 4199 555              Iraq                             Head Office                       Tel: +65 6222 5348               299 Park Avenue, 17th Floor    Block 6, Sharq
    P.O. Box 15385                   Fax: +971 2 2222 477              Credit Bank of Iraq              NBK House, 13 George Street,      Fax: +65 6224 5438               New York, NY 10171             P.O.Box 4950
    Jeddah 21444                                                       Head Office                      London, W1U 3QJ, UK                                                USA                            Safat 13050 Kuwait
    Saudi Arabia                     NBK Capital Partners Limited -    Street 9, Building 187           Tel: +44 20 7224 2277                                              Tel: +1 212 303 9800           Tel: +965 2224 6900
    Tel: +966 2 603 6300             DIFC, Dubai                       (Elwiya Building)                                                                                   Fax: +1 212 319 8269           Fax: +965 2224 6905
    Fax: +966 2 603 6318             Precinct Building 3, Office 404   Sadoun Street District 102
                                     Dubai International Financial     P.O. Box 3420
                                     Centre                            Baghdad, Iraq
                                     P.O. Box 506506, Dubai, U.A.E     Tel: +964 1 7182198/ 7191944
                                     Tel: +971 4 365 2800
                                     Fax: +971 4 365 2805



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National Bank of Kuwait
(S.A.K.P)

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